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                             13
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                                                             UNITED STATES BANKRUPTCY COURT
                             14
                                                             NORTHERN DISTRICT OF CALIFORNIA
                             15
                                                                      SAN FRANCISCO DIVISION
                             16
                                                                                Case Nos. 19 -_____ (___)
                             17     In re:                                                19 -_____ (___)
                             18     PG&E CORPORATION,                           Chapter 11
                             19                                 Debtor.         DECLARATION OF JASON P. WELLS IN
                                                                                SUPPORT OF FIRST DAY MOTIONS AND
                             20     Tax I.D. No. XX-XXXXXXX                     RELATED RELIEF
                             21                                                 Date:
                                    In re:                                      Time:
                             22                                                 Place:
                                    PACIFIC GAS AND ELECTRIC
                             23     COMPANY,
                             24                                 Debtor.
                             25     Tax I.D. No. XX-XXXXXXX
                             26
                             27
                             28
                                  DECLARATION OF JASON P. WELLS
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1           I, Jason P. Wells, pursuant to section 1746 of title 28 of the United States Code, hereby declare
                              2   that the following is true to the best of my knowledge, information, and belief:
                              3           I am the Senior Vice President and Chief Financial Officer of PG&E Corporation (“PG&E
                              4   Corp.”). In 2007, I joined PG&E Corp. as the Director of Technical Accounting and was promoted to
                              5   Senior Director of Corporate Accounting and Assistant Controller in 2008. I transferred from PG&E
                              6   Corp. to Pacific Gas and Electric Company (the “Utility”) in 2009 and continued in the role of Senior
                              7   Director of Corporate Accounting and Assistant Controller. I became Vice President, Finance of the
                              8   Utility in October 2011, and became Vice President, Business Finance of the Utility in August 2013. I
                              9   was appointed to my current position at PG&E Corp. in January 2016. I have a bachelor’s degree and
                             10   a master’s degree in accounting from the University of Florida and I am a Certified Public Accountant
                             11   in the State of Florida. The Utility is a wholly-owned subsidiary of PG&E Corp.
                             12           On the date hereof (the “Petition Date”), PG&E Corp. and the Utility (collectively, the
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                             13   “Debtors” or “PG&E”) each commenced with this Court (the “Court”) a voluntary case under
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                             14   chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).
                             15           I am knowledgeable and familiar with the Debtors’ day-to-day operations, business, and
                             16   financial affairs, and the circumstances leading to the commencement of the Debtors’ chapter 11 cases
                             17   (the “Chapter 11 Cases”). I am authorized to submit this Declaration on behalf of the Debtors.
                             18   Except as otherwise indicated herein, the facts set forth in this Declaration are based upon my personal
                             19   knowledge, my review of relevant documents, information provided to me by the Debtors or the
                             20   Debtors’ legal, restructuring, and financial advisors, or my opinions based upon experience,
                             21   knowledge, and information concerning the Debtors’ operations and the electricity and natural gas
                             22   industries in the State of California. If called upon to testify, I would testify to the facts set forth in this
                             23   Declaration.
                             24           This Declaration is submitted for the purpose of apprising the Court and other parties in interest

                             25   of the circumstances that compelled the commencement of the Chapter 11 Cases, and in support of (i)
                             26   the Debtors’ chapter 11 petitions, and (ii) the motions and applications that the Debtors have filed with
                             27   the Court contemporaneously with the filing of the chapter 11 petitions (the “First Day Motions”).
                             28
                                  DECLARATION OF JASON P. WELLS                         2
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1                                           Preliminary Statement
                              2          The Debtors’ decision to seek relief under chapter 11 followed a comprehensive review of a
                              3   variety of factors and the issues facing the Debtors. It represents the only viable alternative under the
                              4   stark circumstances with which the Debtors are faced, and is in the best interests of all of the Debtors’
                              5   stakeholders, including their millions of customers, employees, wildfire claimants, other creditors,
                              6   employees, and shareholders. The chapter 11 filings were necessitated by a confluence of factors
                              7   resulting from the catastrophic and tragic wildfires that occurred in Northern California in 2017 and
                              8   2018, and PG&E’s potential liabilities arising therefrom.        The multitude of pending claims and
                              9   lawsuits, and the thousands of additional claims that will be asserted, made it abundantly clear that
                             10   PG&E could not continue to address those claims and potential liabilities in the California state court
                             11   system, continue to deliver safe and reliable service to its 16 million customers, and remain
                             12   economically viable. As noted in PG&E’s Form 8-K (the “Form 8-K”) filed on January 14, 2019 with
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                             13   the United States Securities Exchange Commission (the “SEC”), PG&E’s potential liability with
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                             14   respect to the 2017 and 2018 Northern California wildfires could exceed $30 billion, without taking
                             15   into account potential punitive damages, fines and penalties or damages with respect to “future
                             16   claims.”   Under certain circumstances, PG&E’s potential liability could be substantially greater.
                             17   Further, as described more fully below, PG&E’s potential liability is exacerbated by the unique
                             18   doctrine of “inverse condemnation,” which imposes strict liability on PG&E regardless of whether it
                             19   was negligent, and by the continuing uncertainty surrounding PG&E’s ability to recover costs
                             20   associated with inverse condemnation.
                             21          In view of the circumstances confronting PG&E, it did not have the ability to access the capital
                             22   necessary to (a) address and resolve the thousands of wildfire claims that already had been asserted and
                             23   would be asserted against it over the next several months and years; (b) operate its business and
                             24   provide prudent and efficient electric and gas services to its millions of customers; (c) properly invest

                             25   in its infrastructure and critical initiatives to provide safe and reliable service, and to mitigate future
                             26   wildfire risks in an environment impacted by climate change; and (d) service and, as required,
                             27   refinance or satisfy its approximate $24 billion in outstanding funded debt obligations.
                             28
                                  DECLARATION OF JASON P. WELLS                       3
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          PG&E’s decision to seek relief under chapter 11 followed a comprehensive review of all
                              2   realistic alternatives and the consideration and balancing of a variety of factors, including (a) the need
                              3   for an orderly, fair, and expeditious process to assess and resolve PG&E’s potential liabilities resulting
                              4   from the 2017 and 2018 Northern California wildfires; and (b) how to best preserve and maximize the
                              5   value of PG&E’s business enterprise for the benefit of all of its economic stakeholders, including
                              6   wildfire claimants, PG&E’s other creditors, and PG&E Corp.’s shareholders.
                              7          To be clear, the Chapter 11 Cases are not a strategy or attempt to avoid PG&E’s responsibility
                              8   for the heartbreaking and tragic loss of life, devastating damage and destruction to homes and
                              9   businesses, and harm to the communities that has been incurred as a result of the 2017 and 2018
                             10   Northern California wildfires. Rather, the principal objectives of the Chapter 11 Cases are directly to
                             11   the contrary:
                             12          •   First, to establish a process for PG&E to fully address and resolve its liabilities resulting
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                             13              from the 2017 and 2018 Northern California wildfires and to provide compensation to those
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                             14              entitled to compensation from the Debtors fairly and expeditiously – indeed, more quickly

                             15              and more equitably than those liabilities could be addressed and resolved in the state court

                             16              system;

                             17          •   Second, to restore PG&E’s financial stability and assure that PG&E has access to the

                             18              capital and resources necessary to sustain and support its ongoing operations and to enable
                             19              PG&E to continue investing in its systems infrastructure and critical safety and wildfire
                             20              prevention initiatives, including investing in PG&E’s Community Wildfire Safety Program
                             21              (a program to further reduce wildfire risks and help keep our customers and the
                             22              communities we serve safe through enhanced real-time monitoring and intelligence, safety
                             23              measures, and electrical system equipment);
                             24          •   Third, to work collaboratively and constructively with State regulators and policy makers to

                             25              (a) address safety, and operational and structural reforms; (b) determine the most effective

                             26              way for PG&E to provide safe and reliable electric and natural gas service to its customers

                             27              and communities for the long term; and (c) address the significant increase in wildfire risk

                             28
                                  DECLARATION OF JASON P. WELLS                       4
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1              in an environment that continues to be challenged by climate change and its ongoing and
                              2              future impact on California, including on PG&E and its operations; and
                              3          •   Fourth, to enable PG&E to continue its extensive restoration and rebuilding efforts to assist
                              4              the communities affected by the 2017 and 2018 Northern California wildfires.
                              5          Chapter 11 provides the unique opportunity for all of the wildfire claims asserted and to be
                              6   asserted against the Debtors to be comprehensively addressed in one forum. It will avoid the lengthy
                              7   process necessarily attendant to the state court system (including applicable statutes of limitation) and,
                              8   perhaps more importantly, avoid the risk that, due to PG&E’s financial condition, those having their
                              9   wildfire claims dealt with earlier in the state court process will fare substantially better than other
                             10   wildfire claimants. Chapter 11 mandates that all wildfire claimants be treated similarly, and provides
                             11   the statutory framework and tools to accomplish that goal on an expedited basis.
                             12          PG&E could have accessed a limited amount of secured indebtedness or other alternative forms
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                             13   of capital to temporarily extend its liquidity runway outside of chapter 11. That alternative, however,
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                             14   was not a solution nor was it in the best interests of PG&E’s stakeholders, including wildfire claimants
                             15   (who could face subordination of their claims in certain circumstances). This course of action would
                             16   not have addressed the fundamental issues facing PG&E – it was not a feasible way to address and
                             17   resolve the thousands of wildfire claims and to assure PG&E would have the liquidity necessary to
                             18   sustain ongoing operations, as well as service its outstanding funded debt.
                             19          It also is important to recognize that Senate Bill 901 (“SB 901”), which was enacted by the
                             20   California legislature in September, 2018, to address a portion of the liabilities PG&E faced in
                             21   connection with the 2017 Northern California wildfires (through the issuance of recovery bonds
                             22   (referred to as “securitization”)), does not address wildfires occurring in 2018. Since the 2018 Camp
                             23   Fire and in view of PG&E’s potential liabilities relating to the Camp Fire, PG&E has been in regular
                             24   contact with representatives of the Governor’s office and the relevant regulatory agencies, including

                             25   the staff of the California Public Utilities Commission (the “CPUC”), and has apprised those parties as
                             26   to PG&E’s financial condition and its projected liquidity profile.
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                      5
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          Although, as reported, there were initial indications that relief similar to that provided for the
                              2   2017 Northern California wildfires might be available for the 2018 Camp Fire, that relief is not
                              3   available absent further legislation. As of the date hereof, there is no prospect of legislation being
                              4   enacted on a timely basis, if at all, to implement the extraordinary measures necessary to stabilize
                              5   PG&E’s financial condition and avoid the necessity of seeking relief under chapter 11.
                              6          Additionally, on January 10, 2019, the CPUC adopted an Order Instituting Rulemaking (the
                              7   “OIR”), which established a process to develop criteria and a methodology to determine the amount of
                              8   PG&E’s cost recovery related to the 2017 Northern California wildfires. Based on the OIR, PG&E
                              9   believes that any recovery of costs related to the 2017 Northern California wildfires would not occur, if
                             10   at all, until (a) PG&E has paid claims relating to such wildfires, (b) application for recovery of such
                             11   costs has been made, and (c) the CPUC has made a determination that such costs are just and
                             12   reasonable or in excess of the disallowance threshold to be established by the CPUC. Therefore,
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                             13   PG&E does not expect that it would be permitted to securitize costs relating to the 2017 Northern
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                             14   California wildfires on an expedited or emergency basis. Additionally, based on the OIR as well as
                             15   prior experience and precedent, PG&E also believes that it likely would take years for it to be able to
                             16   recover through securitization any amount related to the 2017 Northern California wildfires, further
                             17   exacerbating the situation facing the Debtors.
                             18          As discussed more fully below, seeking relief under chapter 11, however, has enabled the
                             19   Debtors to obtain a commitment for debtor in possession financing (the “DIP Financing”) in the
                             20   amount of $5.5 billion. The DIP Financing, which is subject to the Court’s approval, together with
                             21   cash on hand and the revenues generated from operations, will provide the Debtors with the liquidity to
                             22   fund their operations, administer these Chapter 11 Cases, and to make the necessary expenditures to
                             23   invest in their infrastructure, including investments to further reduce wildfire risk.
                             24          The Chapter 11 Cases represent the best means to preserve and maximize the value of the

                             25   Debtors’ business enterprise and are in the best interests of all of their economic stakeholders,
                             26   including wildfire claimants, the Debtors’ other creditors, and PG&E Corp.’s shareholders. Chapter 11
                             27   will provide the Debtors and all parties in interest with one forum to comprehensively address and
                             28
                                  DECLARATION OF JASON P. WELLS                        6
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   resolve the Debtors’ wildfire liabilities in a fair and expeditious manner, and will assure equality of
                              2   treatment among all similarly-situated creditors of the Debtors – wildfire claimants, debtholders and
                              3   others. Additionally, the Chapter 11 Cases will assure that PG&E has the resources, financial and
                              4   otherwise, to sustain its operations, provide critical utility services safely and reliably, and continue its
                              5   efforts to rebuild and restore the communities which it serves.
                              6                                           The Company’s Business
                              7          PG&E Corp. was incorporated in 1995 and is a holding company whose primary operating
                              8   subsidiary is the Utility, a public utility operating in northern and central California. The Utility was
                              9   incorporated in 1905 and PG&E Corp. became the holding company of the Utility in 1997. The Utility
                             10   provides natural gas and utility services to approximately 16 million customers. As of September 30,
                             11   2018, the Debtors, on a consolidated basis, had reported approximately $71.4 billion in assets on a
                             12   book value basis and approximately $51.7 billion in liabilities on a book value basis.
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                             13          Employees. PG&E Corp. and the Utility employ approximately 24,000 regular employees,
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                             14   approximately 20 of whom are employed by PG&E Corp.                  Of the Utility’s regular employees,

                             15   approximately 15,000 are covered by collective bargaining agreements with local chapters of three

                             16   labor unions: (i) the International Brotherhood of Electrical Workers; (ii) the Engineers and Scientists

                             17   of California; and (iii) the Service Employees International Union.

                             18          Regulatory Environment. The Utility’s business is subject to the regulatory jurisdiction of
                             19   various agencies at the federal state, and local levels, including the CPUC in the State of California,
                             20   and the Federal Energy Regulatory Commission (“FERC”) and the Nuclear Regulatory Commission
                             21   (the “NRC”) at the federal level. PG&E Corp. is a “public utility holding company” as defined in the
                             22   Public Utility Holding Company Act of 2005, and is subject to regulatory oversight by FERC.
                             23          Ratemaking. The Utility’s rates for electric and natural gas utility services are set at levels
                             24   intended to allow the Utility to recover its costs of providing service and have the opportunity to earn a

                             25   return on invested capital.     Before setting rates, the CPUC and FERC conduct proceedings to

                             26   determine the annual amount that the Utility will be authorized to collect from its customers. The

                             27   Utility’s revenue requirements consist primarily of a base amount set to enable the Utility to recover its

                             28
                                  DECLARATION OF JASON P. WELLS                        7
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   reasonable operating expenses (e.g., maintenance, administration and general expenses) and capital
                              2   costs (e.g., depreciation, tax, and financing expenses). In addition, the CPUC authorizes the Utility to
                              3   collect revenues to recover costs that the Utility is allowed to “pass-through” to customers, including
                              4   its costs to procure electricity, natural gas and nuclear fuel, to administer public purpose and customer
                              5   programs, and to decommission its nuclear facilities.
                              6          Liquidity and Financial Resources. The Utility’s ability to fund operations and to finance
                              7   capital expenditures depends on the levels of its operating cash flows and access to the capital and
                              8   credit markets. The CPUC authorizes the Utility’s capital structure, the aggregate amount of long-term
                              9   and short-term debt that the Utility may issue, and the revenue requirements the Utility is able to
                             10   collect to recover its cost of capital. The Utility has utilized equity contributions from PG&E Corp.
                             11   and long-term senior unsecured debt issuances to maintain its CPUC-authorized capital structure
                             12   consisting of 52% equity and 48% debt and preferred stock. Until recently, the Utility relied on short-
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                             13   term debt, including commercial paper, to fund temporary financing needs. Those funding alternatives
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                             14   no longer exist.
                             15          Third-Party Monitor. On April 12, 2017, the Utility retained a third-party monitor at the
                             16   Utility’s expense as part of its compliance with the sentencing terms of the Utility’s January 27, 2017

                             17   federal criminal convictions in connection with the natural gas explosion that occurred in the City of

                             18   San Bruno, California, on September 9, 2010. The Utility was sentenced to, among other things, a
                             19   five-year corporate probation period and oversight by a third-party monitor for a period of five years,
                             20   with the ability to apply for early termination after three years. The goal of the monitor is to help
                             21   ensure that the Utility takes reasonable and appropriate steps to maintain the safety of its gas and
                             22   electric operations and maintains effective ethics, compliance, and safety-related incentive programs
                             23   on a Utility-wide basis.
                             24                                     Corporate and Capital Structure

                             25          PG&E Corp. and the Utility are public reporting companies under Section 12b of the Securities

                             26   and Exchange Act of 1934. PG&E Corp.’s common stock is traded on the New York Stock Exchange

                             27   under the symbol “PCG”.

                             28
                                  DECLARATION OF JASON P. WELLS                      8
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1           Common Stock. As of September 30, 2018, PG&E Corp. had 518,674,276 shares of common
                              2   stock outstanding. PG&E Corp. holds all of the 264,374,809 shares of outstanding common stock of
                              3   the Utility. On December 20, 2017, the Board of Directors of PG&E Corp. suspended quarterly cash
                              4   dividends on PG&E Corp’s common stock, beginning with the fourth quarter of 2017 due to the
                              5   uncertainty related to the causes of and potential liabilities associated with the 2017 Northern
                              6   California wildfires. That suspension has remained in effect through the Petition Date.
                              7           Preferred Stock. PG&E Corp. has authorized 75 million shares of no par value preferred
                              8   stock and 5 million shares of $100 par value preferred stock. No such preferred stock is outstanding.
                              9   The Utility has 75 million shares of $25 par value preferred stock and 10 million shares of $100 par
                             10   value preferred stock. As of December 31, 2018, the Utility’s preferred stock outstanding included
                             11   $145 million of shares with interest rates between 5% and 6% designated as non-redeemable preferred
                             12   stock and $113 million of shares with interest rates between 4.36% and 5% that are redeemable
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                             13   between $25.75 and $27.25 per share. The Utility’s preferred stock outstanding is not subject to
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                             14   mandatory redemption. On December 20, 2017, the Boards of Directors of PG&E Corp. and the
                             15   Utility determined to suspend quarterly cash dividends on the Utility’s preferred stock beginning with
                             16   the three-month period ending January 31, 2018, due again to the uncertainty related to the causes and
                             17   potential liabilities associated with the 2017 Northern California wildfires.     That suspension has
                             18   remained in effect through the Petition Date.
                             19           Prepetition Indebtedness. The principal significant pre-Petition Date indebtedness of the
                             20   Debtors consists of the following (this summary does not include any potential liabilities associated
                             21   with the 2017 and 2018 Northern California wildfires, which, as stated above, could exceed $30
                             22   billion):
                             23           Revolving Credit Facilities. Each of PG&E Corp. and the Utility are party to a separate
                             24   revolving credit agreement with Bank of America, N.A., and Citibank, N.A., respectively, as

                             25   administrative agents (each a “Revolving Credit Facility” and collectively, the “Revolving Credit

                             26   Facilities”). The Revolving Credit Facility to which PG&E Corp. is a party permits borrowings up to

                             27   an aggregate principal amount of $300 million. The Revolving Credit Facility to which the Utility is a

                             28
                                  DECLARATION OF JASON P. WELLS                     9
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   party permits borrowings up to an aggregate amount of $3 billion. The termination date of each
                              2   facility was extended in May, 2017, by one year to April 27, 2022. As of December 31, 2018, the
                              3   Utility’s aggregate borrowings under its Revolving Credit Facility included $2.85 billion of revolving
                              4   credit loans, and approximately $80 million of letters of credit outstanding. As of December 31, 2018,
                              5   PG&E Corp.’s aggregate borrowings outstanding under its Revolving Credit Facility were in the
                              6   amount of $300 million.
                              7          The Revolving Credit Facilities include customary provisions regarding events of default and
                              8   covenants, including covenants limiting the incurrence of secured debt as permitted under the Utility’s
                              9   senior notes indentures, mergers, and imposing conditions on the sale of all or substantially all assets
                             10   and other fundamental changes. The Revolving Credit Facilities also have a covenant requiring that
                             11   PG&E Corp. and the Utility maintain a ratio of consolidated debt to total consolidated capitalization of
                             12   at most 65% as of the end of each fiscal quarter (the “Financial Covenant”).
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                             13          All obligations under the Revolving Credit Facilities are unsecured. In addition, the obligations
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                             14   under the Utility’s Revolving Credit Facility are not guaranteed by PG&E Corp.; and the obligations
                             15   under PG&E Corp.’s Revolving Credit Facility are not guaranteed by the Utility.
                             16          Term Loans. PG&E Corp. has an outstanding unsecured term loan in the principal amount of
                             17   $350 million that matures on April 16, 2020. The Utility has an outstanding unsecured term loan in the

                             18   principal amount of $250 million that matures on February 22, 2019.
                             19          Senior Notes. The Utility has outstanding various issues of senior notes (the “Senior Notes”)
                             20   with varying interest rates and maturities ranging from 2020 to 2047, in the aggregate outstanding
                             21   principal amount of approximately $17.5 billion. The Senior Notes are unsecured obligations of the
                             22   Utility and are not guaranteed by PG&E Corp. The indentures governing the Senior Notes contain a
                             23   provision commonly known as a “negative pledge” including an “equal and ratable” clause requiring
                             24   generally that in the event the Utility incurs indebtedness secured by Principal Properties (as defined in

                             25   the indentures) in excess of 10% of the Utility’s Net Tangible Assets (as defined in the indentures), the

                             26   Senior Notes must be simultaneously secured by the same assets on an equal and ratable basis with the

                             27   newly incurred secured indebtedness.

                             28
                                  DECLARATION OF JASON P. WELLS                      10
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          Pollution Control Bonds. The California Pollution Control Financing Authority and the
                              2   California Infrastructure and Economic Development Bank have issued various series of fixed-rate and
                              3   multi-modal tax-exempt pollution control bonds for the benefit of the Utility in the aggregate
                              4   outstanding principal amount of approximately $860 million. Approximately $760 million in principal
                              5   amount of such pollution control bonds are backed by letters of credit. The obligations under the
                              6   reimbursement agreements entered into by the Utility in connection with the issuance of the letters of
                              7   credit are unsecured obligations of the Utility and are not guaranteed by PG&E Corp.
                              8          Trade Payables.        As of January 28, 2019, PG&E’s outstanding trade payables totaled
                              9   approximately $2.1 billion.

                             10
                                                                     The Need for Chapter 11 Relief and
                             11                                  the Events and Circumstances Compelling
                                                                the Commencement of The Chapter 11 Cases
                             12
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                                  The Northern California Wildfires
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                             13
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                                  The 2018 Camp Fire
                             14
                                         On November 8, 2018, a wildfire began near the city of Paradise, Butte County, California (the
                             15
                                  “Camp Fire”), located in the service territory of the Utility. The California Department of Forestry
                             16
                                  and Fire Protection’s (“Cal Fire”) Camp Fire Incident Information Website as of January 4, 2019 (the
                             17
                                  “Cal Fire website”), indicated that the Camp Fire consumed 153,336 acres. On the Cal Fire website,
                             18
                                  Cal Fire reported 86 fatalities and the destruction of 13,972 residences, 528 commercial structures and
                             19
                                  4,293 other buildings resulting from the Camp Fire.
                             20
                                         The cause of the Camp Fire remains under investigation and PG&E is cooperating with those
                             21
                                  investigations. The Utility has submitted two Electric Incident Reports (the “EIRs”) to the CPUC, one
                             22
                                  on November 8, 2018 and one on November 16, 2018. On December 11, 2018, the Utility publicly
                             23
                                  released a letter to the CPUC supplementing the EIRs which stated:
                             24
                                         •   On Cal Fire’s website, Cal Fire has identified coordinates for the Camp Fire near Tower
                             25
                                             :27/222 on the Utility’s Caribou-Palermo 115 Kv Transmission Line and has identified the
                             26
                                             start time of the Camp Fire as 6:33 a.m. on November 8, 2018.
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                    11
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1           •     On November 8, 2018, at approximately 6:15 a.m., the utility’s Caribou-Palermo 115 Kv
                              2                 Transmission Line relayed and deenergized. At approximately 6:30 a.m. that day, a utility
                              3                 employee observed fire in the vicinity of Tower :27/222, and this observation was reported
                              4                 to 911 by Utility employees. In the afternoon of November 8, the Utility observed damage
                              5                 on the line at Tower :27/222. Specifically, an aerial patrol identified that a suspension
                              6                 insulator supporting a transposition jumper had separated from an arm on Tower :27/222.
                              7           •     On November 14, 2018, the Utility observed a broken C-hook attached to the separated
                              8                 suspension insulator that had connected the suspension insulator to a tower arm, along with
                              9                 wear at the connection point. In addition, the Utility observed a flash mark on Tower
                             10                 :27/222 near where the transposition jumper was suspended and damage to the transposition
                             11                 jumper and suspension insulator.
                             12           •     In addition to the events on the Caribou-Palermo 115 Kv Transmission Line, on November
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                             13                 8, 2018, at approximately 6:45 a.m., the Utility’s Big Bend 1101 12 Kv Circuit experienced
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                             14                 an outage. On November 9, 2018, a Utility employee on patrol arrived at the location of the
                             15                 pole with Line Recloser (“LR”) 1704 on the Big Bend 1101 Circuit and observed that the
                             16                 pole and other equipment were on the ground with bullets and bullet holes at the break
                             17                 point of the pole and on the equipment. On November 12, 2018, a Utility employee was
                             18                 patrolling Concow Road north of LR 1704 when he observed wires down and damaged and
                             19                 downed poles at the intersection of Concow Road and Rim Road. At this location, the
                             20                 employee observed several snapped trees, with some on top of the downed wires.
                             21   2017 Northern California Wildfires
                             22           As has been well-reported, beginning on October 8, 2017, multiple wildfires spread through
                             23   Northern California, including Napa, Sonoma, Butte, Humboldt, Mendocino, Lake, Nevada, and Yuba
                             24   Counties. According to a report issued by Cal Fire, dated October 30, 2017, at the peak of the 2017

                             25   Northern California wildfires, there were 21 major fires that, in total, burned over 245,000 acres and

                             26   destroyed an estimated 8,900 structures.         The 2017 Northern California wildfires resulted in 44

                             27   fatalities.

                             28
                                  DECLARATION OF JASON P. WELLS                        12
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          Cal Fire has issued its determination on the causes of 18 of the 2017 Northern California
                              2   wildfires, and alleged that each of these fires involved the Utility’s equipment. The remaining 2017
                              3   Northern California wildfires remain under Cal Fire’s investigation, including the possible role of the
                              4   Utility’s power lines and other facilities. Additionally, the 2017 Northern California wildfires are
                              5   under investigation by the CPUC’s Safety and Equipment Divisions.
                              6          During the second quarter of 2018, Cal Fire issued news releases announcing its determination
                              7   on the causes of 16 of the 2017 Northern California wildfires (the La Porte, McCourtney, Lobo,
                              8   Honey, Redwood, Sulphur, Cherokee, 37, Blue, Norrbom, Adobe, Patrick, Pythian, Nuna, Pocket and
                              9   Atlas fires, located in Mendocino, Lake, Butte, Sonoma, Humboldt, Nevada and Napa counties).
                             10   According to the Cal Fire news releases, the first four fires “were caused by trees coming into contact
                             11   with power lines” and the remaining 12 fires “were caused by electric power and distribution lines,
                             12   conductors and the failure of power poles.”
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                             13          On October 9, 2018, Cal Fire issued a news release announcing the results of its investigation
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                             14   into the Cascade fire, located in Yuba County, concluding the Cascade fire “was started by sagging
                             15   power lines coming into contact during heavy winds” and that “the power line in question was owned
                             16   by Pacific Gas and Electric Company.” During the third quarter of 2018, Cal Fire released its
                             17   investigation report related to the Point fire, concluding the Point fire was caused by the “failure of the
                             18   PG&E distribution line” and “could be attributed to limbs falling on the line in high winds.”
                             19          On January 24, 2019, Cal Fire released the results of its investigation of the 2017 Tubbs fire,
                             20   which concluded that the fire “was caused by a private electrical system adjacent to a residential
                             21   structure.” This conclusion is consistent with PG&E’s longstanding belief based on available evidence
                             22   that its equipment did not cause the Tubbs fire.
                             23          Cal Fire has not publicly issued any news releases or other determinations with respect to the
                             24   Maacama and Pressley wildfires. The timing and outcome of the Cal Fire investigation into the

                             25   remaining fires is uncertain.
                             26
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                      13
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Claims and Proceedings Related to the 2017 and 2018 Northern California Wildfires
                              2          It is my understanding that California law includes a doctrine of “inverse condemnation” that is
                              3   routinely invoked in California wildfire damages, claims and litigation. Inverse condemnation imposes
                              4   strict liability (including liability for attorneys’ fees) for damages as a result of the design, construction
                              5   and maintenance of utility facilities, including utilities’ transmission lines.
                              6          It also is my understanding that if the Utility’s facilities, such as its electric distribution and
                              7   transmission lines, are determined to be the substantial cause of one or more of the 2017 and 2018
                              8   Northern California wildfires, and the doctrine of inverse condemnation applies, the Utility could be
                              9   liable for property damage, business interruption, interest, and attorney’s fees without having been
                             10   found negligent. California courts have imposed liability under the doctrine of inverse condemnation
                             11   in legal actions brought by property holders against utilities on the grounds that losses borne by the
                             12   person whose property was damaged through a public use undertaking should be spread across the
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                             13   community that benefited from such undertaking, and based on the assumption that utilities have the
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                             14   ability to recover these costs from their customers. Further, courts in California have determined that
                             15   the doctrine of inverse condemnation is applicable regardless of whether the CPUC ultimately allows
                             16   recovery by the utility for any such costs. The CPUC may decide not to authorize cost recovery even
                             17   if a court decision were to determine that the Utility is liable as a result of the application of the
                             18   doctrine of inverse condemnation.
                             19          It also is my understanding that in addition to such claims for property damage, business
                             20   interruption, interest, and attorneys’ fees, the Utility could be liable for fire suppression costs,
                             21   evacuation costs, medical expenses, personal injury damages, “future claims,” and other damages
                             22   under other theories of liability, including if the Utility were found to have been negligent. Further, the
                             23   Utility could be subject to material fines or penalties if the CPUC or any law enforcement agency
                             24   brought an enforcement action, including a criminal proceeding, and determined that the Utility failed

                             25   to comply with applicable laws and regulations.
                             26          As of January 11, 2019, the Debtors were aware of approximately 46 complaints on behalf of at
                             27   least 2,000 plaintiffs related to the Camp Fire, six of which seek to be certified as class actions. The
                             28
                                  DECLARATION OF JASON P. WELLS                        14
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   litigation currently pending against PG&E related to the Camp Fire includes claims under multiple
                              2   theories of liability, including inverse condemnation, trespass, private nuisance, public nuisance,
                              3   negligence, negligence per se, negligent interference with prospective economic advantage, negligent
                              4   infliction of emotional distress, premises liability, violations of the Public Utilities Code, violations of
                              5   the Health & Safety Code, malice and false advertising in violation of the California Business and
                              6   Professions Code. The plaintiffs principally assert in that litigation that PG&E’s alleged failure to
                              7   maintain and repair its distribution and transmission lines and failure to properly maintain the
                              8   vegetation surrounding such lines were the causes of the Camp Fire. The plaintiffs seek damages and
                              9   remedies that include wrongful death, personal injury, property damage, evacuation costs, medical
                             10   expenses, establishment of a class action medical monitoring fund, punitive damages, attorney’s fees
                             11   and other damages. Less than three months have elapsed since the Camp Fire, a relatively short period
                             12   of time in which to assert claims. As such, PG&E expects a significant number of additional claims to
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                             13   be asserted with respect to the Camp Fire.
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                             14          As of January 11, 2019, PG&E was aware of approximately 700 complaints on behalf of at
                             15   least 3,600 plaintiffs related to the 2017 Northern California wildfires, five of which seek to be
                             16   certified as class actions. These cases have been coordinated in the San Francisco County Superior
                             17   Court. As of the Petition Date, the coordinated litigation is in the early stages of discovery. A trial
                             18   with respect to the Atlas fire is scheduled to begin on September 23, 2019. The litigation currently
                             19   pending against PG&E related to the 2017 Northern California wildfires includes claims under
                             20   multiple theories of liability, including inverse condemnation, trespass, private nuisance and
                             21   negligence. The claims principally assert that PG&E’s alleged failure to maintain and repair its
                             22   distribution and transmission lines and failure to properly maintain the vegetation surrounding such
                             23   lines were the causes of the 2017 Northern California wildfires. The plaintiffs seek damages that
                             24   include wrongful death, personal injury, property damage, evacuation costs, medical expenses,

                             25   punitive damages, attorneys’ fees and other damages.
                             26          Insurance carriers that have made payments to their insureds for property damage arising out of
                             27   the 2017 Northern California wildfires have filed 41 subrogation complaints in the San Francisco
                             28
                                  DECLARATION OF JASON P. WELLS                       15
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   County Superior Court as of January 11, 2019.          These complaints allege, among other things,
                              2   negligence, inverse condemnation, trespass and nuisance. The allegations are similar to the ones made
                              3   by individual plaintiffs. Insurance carriers have filed three similar subrogation complaints with respect
                              4   the Camp Fire in the Sacramento County Superior Court.
                              5          Various government entities, including Mendocino, Napa and Sonoma Counties and the City of
                              6   Santa Rosa, also have asserted claims against PG&E based on the damages that these government
                              7   entities allegedly suffered as a result of the 2017 Northern California wildfires. Such alleged damages
                              8   include, among other things, loss of natural resources, loss of public parks, property damages and fire
                              9   suppression costs. The causes of action and allegations are similar to the ones made by individual
                             10   plaintiffs and the insurance carriers. PG&E expects similar claims to be made by various government
                             11   entities with respect to the Camp Fire.
                             12          PG&E also expects to be the subject of thousands of additional claims in connection with the
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                             13   2017 and 2018 Northern California wildfires.
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                             14   Potential Losses and Claims
                             15          As noted above and as set forth in detail in the Debtors’ Form 8-K, the Debtors’ potential

                             16   exposure with respect to the 2017 and 2018 Northern California wildfires could exceed $30 billion,

                             17   exclusive of potential punitive damages, fines and penalties, or damages with respect to future claims.

                             18   Notably, the Debtors incurred significant fines and penalties in connection with past incidents – for
                             19   example, penalties in the amount of $1.6 billion in connection with the San Bruno explosion in 2015.
                             20          PG&E has approximately $840 million of insurance coverage for liabilities, including wildfire
                             21   events, for the period August 1, 2017 through July 31, 2018. During the third quarter of 2018, PG&E
                             22   renewed its liability insurance coverage for wildfire events in the aggregate amount of approximately
                             23   $1.4 billion for the period from August 1, 2018 through July 31, 2019. The Debtors expect that their
                             24   losses with respect to the 2017 and 2018 Northern California wildfires will greatly exceed available

                             25   insurance.

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                                  DECLARATION OF JASON P. WELLS                     16
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   SB 901
                              2            In apparent recognition of, among other things, the severe financial strain the potential liability
                              3   with respect to the 2017 Northern California wildfires would have on PG&E, on September 21, 2018,
                              4   California enacted SB 901 to provide PG&E with economic relief relating to certain wildfire costs
                              5   associated with the 2017 Northern California wildfires. That relief included:
                              6            •   in determining cost recovery in connection with the 2017 Northern California wildfires,
                              7                directing the CPUC to consider PG&E’s financial status and determine the maximum
                              8                amount PG&E can pay without harming customers or materially impacting its ability to
                              9                provide adequate and safe service, ensuring that the costs that are disallowed for recovery
                             10                in rates assessed for the wildfires, in the aggregate do not exceed that amount; and
                             11            •   authorizing the CPUC to issue a financing order that permits PG&E to recover through the
                             12                issuance of recovery bonds (securitization), wildfire related costs in excess of the maximum
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                             13                disallowance permitted above.
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                             14            The enactment of SB 901 in September, 2018, provided PG&E with the prospect that,
                             15   assuming cost recovery under SB 901 was timely, PG&E would have the ability to continue to access
                             16   the necessary capital on relatively customary, historical terms to address its liabilities relating to the
                             17   2017 Northern California wildfires, its other obligations, and to properly maintain and invest in its
                             18   business operations. As noted above, however, SB 901 does not address wildfires occurring in 2018
                             19   and, accordingly, provides no relief for the Camp Fire. Moreover, again as noted above, despite the
                             20   securitization relief authorized by SB 901 in connection with the 2017 Northern California wildfires,
                             21   the recent rulemaking adopted by the CPUC in the OIR has made it clear that any ability of the
                             22   Debtors to recover costs for the 2017 Northern California wildfires through securitization would not be
                             23   available for years, if at all, and only after the Debtors have actually paid claims arising from the 2017
                             24   Northern California wildfires.

                             25   The Debtors’ Liquidity and Financial Resources
                             26            As a result of the 2017 and 2018 Northern California wildfires, PG&E’s potential liability with

                             27   respect thereto, and the failure to expressly provide relief for 2018 wildfires in SB 901, PG&E’s credit

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                                  DECLARATION OF JASON P. WELLS                       17
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   profile has deteriorated severely. During 2018 and 2019, the Debtors’ credit ratings were subject to
                              2   multiple downgrades by the credit agencies, and are currently rated below “investment grade” by all
                              3   three major rating agencies. On November 13, 2018, PG&E Corp. and the Utility drew all amounts
                              4   available under their respective Revolving Credit Facilities to assure access to additional liquidity.
                              5   Events in recent weeks have caused significant further deterioration by reason of:
                              6           (a)    Further downgrades of the Debtors’ credit ratings on January 7, 2019 and January 10,
                              7   2019, that triggered a requirement that PG&E post substantial cash collateral in connection with its
                              8   power purchase and other supply arrangements;
                              9           (b)    other requests for cash collateral made by third parties, including the California State
                             10   Division of Workers’ Compensation, and in connection with State environmental remediation projects;
                             11           (c)    potential impending defaults under the agreements governing PG&E’s existing funded
                             12   debt;
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                             13           (d)    significant contraction in customary trade terms;
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                             14           (e)    the negative impact and uncertainty created by:
                             15                  •   the recent CPUC order instituting an investigation to determine whether PG&E
                             16                      violated legal requirements to timely locate and mark natural gas pipelines for safety
                             17                      purposes and falsified records;
                             18                  •   the recent CPUC Scoping Memo and Ruling setting forth the scope to be addressed
                             19                      in the next phase of its ongoing investigation into whether the organizational culture
                             20                      and governance of PG&E prioritizes safety and adequately directs resources to
                             21                      promote accountability and achieve safety goals and standards; and
                             22                  •   recent orders entered by the United States District Court (a) regarding whether
                             23                      PG&E has been in violation of its “conditions of supervision” in connection with its
                             24                      probation period related to the San Bruno explosion; and (b) proposing new

                             25                      conditions of probation.
                             26
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                                  DECLARATION OF JASON P. WELLS                        18
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   In addition, to preserve liquidity, on January 15, 2019, PG&E did not make the interest payment of
                              2   approximately $21.6 million with respect to its outstanding 5.40% of Senior Notes due January 15,
                              3   2040.
                              4           As explained above, PG&E believed it could have accessed outside of chapter 11 limited
                              5   additional capital in the form of secured indebtedness or in more esoteric forms that would have been
                              6   expensive or dilutive. In addition, the ability to incur additional secured indebtedness would be limited
                              7   by covenants in PG&E’s applicable loan documents, accounting accruals, as well as by “equal and
                              8   ratable clauses” in its indentures that, if triggered, would have had the effect of subordinating wildfire
                              9   claims to PG&E’s existing funded debt obligations that have the benefit of such clauses and which
                             10   obligations currently are of the same rank and priority as wildfire claims.
                             11           After a comprehensive review, the Boards of both PG&E Corp. and the Utility, and
                             12   management determined that temporarily extending PG&E’s liquidity runway was not in the best
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                             13   interests of its economic stakeholders and would not address and, indeed would merely postpone
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                             14   addressing, the fundamental issues facing PG&E and jeopardize its long-term viability.
                             15           PG&E is faced with a crisis that threatens its ability to continue to operate as a going concern
                             16   and to provide safe and reliable electric and gas services to its millions of customers. The Chapter 11
                             17   Cases are the only viable option to fairly and expeditiously resolve PG&E’s wildfire liability, to restore
                             18   PG&E’s financial health and stability, and to make sure that PG&E has the liquidity and resources to
                             19   fund its operations. In connection with the administration of the Chapter 11 Cases, PG&E will
                             20   continue to consider all possible solutions to improve safety, reliability and service, while assuring fair
                             21   and equitable treatment for wildfire claimants, other creditors, its employees, customers, communities,
                             22   shareholders and all other parties in interest. The Chapter 11 Cases will facilitate PG&E working with
                             23   these various constituencies in one centralized forum to comprehensively address and resolve its
                             24   liabilities, explore structural alternatives, and implement necessary changes to maximize value for all

                             25   of its economic stakeholders and to assure PG&E’s long-term viability.
                             26
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                             28
                                  DECLARATION OF JASON P. WELLS                      19
                                  IN SUPPORT OF FIRST DAY MOTIONS
                                                                             First Day Motions
                              1
                                           The Debtors have filed their First Day Motions contemporaneously herewith to ensure that the
                              2
                                  Debtors’ businesses continue to function during these Chapter 11 Cases. For the reasons set forth
                              3
                                  below, I submit that (a) the relief requested in the First Day Motions is necessary to enable the Debtors
                              4
                                  to operate with minimal disruption during the pendency of their Chapter 11 Cases, and (b) approval of
                              5
                                  the First Day Motions is warranted.1
                              6
                                  I.       MOTION OF DEBTORS PURSUANT TO FED. R. BANKR. P. 1015(b) FOR ENTRY
                              7            OF ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES (THE
                                           “JOINT ADMINISTRATION MOTION”)
                              8
                                           Pursuant to the Joint Administration Motion, the Debtors request entry of an order directing
                              9
                                  joint administration of the Chapter 11 Cases for procedural purposes only pursuant to Bankruptcy Rule
                             10
                                  1015(b) and request that each of their Chapter 11 Cases be administered under a consolidated caption,
                             11
                                  in the following form:
                             12                              UNITED STATES BANKRUPTCY COURT
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                             13                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                  SAN FRANCISCO DIVISION
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                             14
                                                                             §
                             15   In re:                                              Case No. 19-______ (___)
                                                                             §
                             16   PG&E CORPORATION et al.,                   §        Chapter 11
                                                                             §
                             17                   Debtors.                            (Jointly Administered)
                                                                             §
                             18
                             19            The Debtors further request the Court’s direction that a notation substantially similar to the
                             20   following language be entered on the docket maintained by the Clerk of the Court to reflect the joint
                             21   administration of the Chapter 11 Cases:
                             22
                                           An order has been entered in accordance with Bankruptcy Rule 1015(b) directing the
                             23            procedural consolidation and joint administration of the Chapter 11 Cases as set forth in
                                           the Motion of Debtors Pursuant to Fed. R. Bankr. P. 1015(b) for Entry of Order
                             24            Directing Joint Administration of Chapter 11 Cases, as filed on the docket in Case No.
                                           19-[_____] ( ). The docket in Case No. 19-[_____] ( ) should be consulted for all
                             25            matters affecting the case.
                             26
                             27   1
                                    Capitalized terms used in this part of the Declaration and not defined herein shall have the meanings
                             28   ascribed to them in the relevant First Day Motion.
                                  DECLARATION OF JASON P. WELLS                      20
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1           Joint administration of the Chapter 11 Cases will provide significant administrative efficiencies
                              2   without harming the substantive rights of any party in interest. Many of the motions, hearings, and
                              3   orders that will be filed in the Chapter 11 Cases almost certainly will affect each of the Debtors. I
                              4   believe that the entry of an order directing joint administration of the Chapter 11 Cases will reduce fees
                              5   and costs by avoiding duplicative filings, objections, notices, and hearings, and will allow the United
                              6   States Trustee for Region 17 (the “U.S. Trustee”) and all parties in interest to monitor the Chapter 11
                              7   Cases with greater ease and efficiency.
                              8           Accordingly, I respectfully submit that the relief requested in the Joint Administration Motion
                              9   is in the best interests of the Debtors’ estates, their creditors, their shareholders, and all other parties in
                             10   interest, and should be granted.
                             11   II.     MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 105, 362, 363, 364, 503 AND 507,
                                          AND FED. R. BANKR. P. 2002, 4001, 6003, 6004 AND 9014 FOR INTERIM AND
                             12           FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO OBTAIN SENIOR
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                                          SECURED, SUPERPRIORITY, POSTPETITION FINANCING, (II) GRANTING
                             13           LIENS AND SUPERPRIORITY CLAIMS, (III) MODIFYING THE AUTOMATIC
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                                          STAY, (IV) SCHEDULING FINAL HEARING AND (V) GRANTING RELATED
                             14           RELIEF (THE “DIP MOTION”)
                             15           As the Senior Vice President and Chief Financial Officer of PG&E Corp., I was intimately
                             16   involved in assessing the Debtors’ financing needs during the course of the Chapter 11 Cases. As of
                             17   the Petition Date, PG&E Corp. had approximately $370 million of cash on hand. I anticipate that
                             18   amount will be more than sufficient for PG&E Corp. to meet its obligations during the course of the
                             19   Chapter 11 Cases. As reported in the January 14, 2018 Form 8-K filed with the SEC, the Utility had
                             20   approximately $1.1 billion in cash on hand as of that date. However, starting in early January 2019, as
                             21   a consequence of supplier uncertainty, media speculation, credit downgrades, and reactions to the SB
                             22   901 15 day notice, the Utility’s liquidity was depleted by an aggregate of approximately $811 million
                             23   used to satisfy collateral posting needs, address accelerated payment and pre-pay demands of energy
                             24   commodity suppliers, and address requests from other essential suppliers for shortened payment terms.

                             25   As of the filing, the Utility had cash on hand of approximately $240 million, net of customer deposits
                             26   and cash held from counterparties of approximately $250 million.
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                        21
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          Prior to the commencement of the Chapter 11 Cases, the finance team, under my direction,
                              2   developed a bottoms up projection of operating cash flows and projected capital investment. The
                              3   Debtors are net users of cash given the substantial capital invested in the business for routine and
                              4   replenishment capital expenditures, wildfire prevention and restoration efforts; additionally, the
                              5   Debtors invest in energy storage, electric vehicle initiatives and related technologies to meet
                              6   California’s carbon reduction goals. In addition, with the help of the Debtors’ outside advisors, we
                              7   developed and applied adjustments to the projections to account for the impacts of chapter 11, the
                              8   working capital effect of the notice under SB 901 described above and anticipated chapter 11 expenses.
                              9   That work led us to conclude that the Utility would require $5.5 billion of debtor in possession
                             10   financing over a two-year period.
                             11          The Debtors project capital spending to exceed cash flow from operations by approximately
                             12   $1.6 billion in each of 2019 and 2020 largely driven by projected capital spending of $6.6 billion in
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                             13   2019 and $6.9 billion in 2020, as well as other investing activities of more than $300 million
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                             14   forecasted for 2019 and more than $125 million for 2020. This forecasted level of capital spending is
                             15   in-line with historical capital spending of $5.8 billion in 2017 and $6.6 billion in 2018. Due to the
                             16   regulated nature of the Utility’s businesses, only a small fraction of the capital spending program is
                             17   discretionary.   Cash flow from operations is forecasted to be $5.3 billion in 2019 and $5.5 billion in
                             18   2020. This creates an aggregate operating cash flow deficit after capital expenditures of nearly $3.2
                             19   billion over the two-year forecast period which PG&E must finance externally.
                             20          In addition to the combined operating deficit of $3.2 billion mentioned above, the Debtors need
                             21   additional funding to service the DIP Financing and pay related costs. Furthermore, the Debtors’
                             22   advisors have projected that the Debtors will need to post additional collateral in 2019 of
                             23   approximately $500 million to meet, among other things, environmental and other state requirements.
                             24   The DIP Financing sizing also incorporates projected professional fees for estate-paid professionals to

                             25   be paid during the pendency of the Chapter 11 Cases.
                             26          In the event the Chapter 11 Cases extend beyond 2020, the DIP Facility permits the Debtors,
                             27   subject to Court approval and obtaining commitments from lenders, to access up to $4 billion of
                             28
                                  DECLARATION OF JASON P. WELLS                     22
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   incremental DIP Financing. The incremental financing need was derived by assuming that cash flow
                              2   from operations remain consistent with prior years, capital spending increases slightly from 2020 and
                              3   all other costs related to the Chapter 11 Cases are extended for an additional year. I believe that the
                              4   DIP Facility and incremental financing will provide adequate liquidity to the Debtors throughout the
                              5   pendency of the Chapter 11 Cases, assuming emergence from chapter 11 no later than 2021.
                              6          The Debtors would experience irreparable harm if the interim order approving the DIP Motion
                              7   is not entered. Access to immediate financing is essential to ensure that the Utility has sufficient
                              8   working capital to continue operating. Absent authority to borrow under the DIP Facility on an
                              9   emergency basis, the Debtors will not be able to continue operations on a normal basis which could
                             10   potentially create public safety issues due to the inability to provide services to their customers and
                             11   maintain safe operations, resulting in immediate and irreparable harm to the Debtors and their estates,
                             12   creditors (including wildfire claimants), employees, customers, and PG&E Corp.’s shareholders, and
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                             13   jeopardize their ability to successfully administer these Chapter 11 Cases.
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                             14          The Debtors enter chapter 11 with only $860 million of aggregate cash. Approximately $250
                             15   million of that cash is comprised of customer deposits that the Debtors believe should not be used to
                             16   fund their operations and working capital needs. Approximately $370 million is held by PG&E Corp.
                             17   for its own uses. As a result, the Utility, which is the operating entity of the Debtors, has access to
                             18   only $240 million of cash as of the Petition Date, which is insufficient to meet operating expenses and
                             19   address short-term working capital needs and to have sufficient additional liquidity to address both
                             20   ordinary course and non-ordinary course variability in the business. The Debtors believe they need
                             21   access to $1.5 billion of post-petition DIP financing during the course of the interim period to operate
                             22   their businesses in an appropriate and prudent manner.
                             23          The Debtors evaluated, with the assistance of their advisors, the amount of funding that they
                             24   will require during the interim borrowing period of the Chapter 11 Cases. The amount was derived

                             25   from a cashflow projection developed from an analysis of the Debtors’ receipts and disbursements (the
                             26   “13-Week Budget,” attached to the DIP Motion as Exhibit C). I believe the 13-Week Budget presents
                             27   a reasonable estimate of the Debtors’ cash sources and needs during the next thirteen weeks.

                             28
                                  DECLARATION OF JASON P. WELLS                     23
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          Given these estimates, access to the requested portion of the DIP Facility would provide the
                              2   Debtors sufficient liquidity to stabilize their operations during the Interim Period.    Specifically, the
                              3   DIP Facility will allow the Debtors to: (a) acquire timely energy supply that is essential to the Debtors’
                              4   ability to provide uninterrupted services to their customers; (b) provide the liquidity necessary to
                              5   stabilize supply with other non-energy vendors including those performing critical safety, vegetation
                              6   management, and wildfire restoration services; (c) fund approximately $260 million of payroll
                              7   obligations coming due in the first month of the Chapter 11 Cases; (d) fund other essential payments to
                              8   be made under first day orders; (e) fund collateral that the state has requested to backstop the Debtors’
                              9   workers’ compensation programs; (f) fund the near-term administrative costs of these Chapter 11
                             10   Cases; and (g) permit the Debtors to maintain a working capital reserve of $450 million to cover the
                             11   intra month timing of energy supply costs. The interim DIP funding amount would also provide a
                             12   reasonable liquidity buffer to the Debtors in the event they underperform their projections, or in case
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                             13   unexpected fluctuations occur in energy markets causing a disruption in supply or requirements to post
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                             14   additional collateral, which could result in the need to access several hundred million dollars within a
                             15   day’s time. Furthermore, the liquidity buffer provides the Utility with the necessary resources to
                             16   respond to winter storms or other emergency circumstances.
                             17          By contrast, without the funding provided by the DIP Facility during the Interim Period, the
                             18   Debtors’ access to cash needed to operate their businesses would evaporate and energy suppliers and
                             19   trade creditors would likely cease extending credit, creating a vicious cycle that would jeopardize the
                             20   Debtors’ ability to operate.
                             21          Moreover, ensuring that the Debtors continue to operate pending a final hearing on the DIP
                             22   Motion is not merely a commercial objective.         Unlike many other chapter 11 cases, here, it is
                             23   especially crucial that the Debtors obtain financing to continue their operations because the Debtors
                             24   provide energy to nearly 16 million people across 700,000 square miles in Northern and Central

                             25   California. Given the nature of the Debtors’ businesses, any interruption of the Debtors’ ability to pay
                             26   vendors and operate their businesses could potentially (i) cause environmental hazards or pose
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                      24
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   significant risk to the environment, (ii) pose a threat to health and public safety, or (iii) compromise the
                              2   ability to provide power to the California electrical grid.
                              3          Based upon the above, I believe the DIP Facility represents the best option for meeting the
                              4   Debtors’ liquidity needs, and respectfully submit that the Debtors should be authorized to access up to
                              5   $1.5 billion of the DIP Facility during the Interim Period.
                              6   III.   MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 105(a), 363(b), AND 507 AND
                                         FED. R. BANKR. P. 6003 AND 6004 FOR INTERIM AND FINAL AUTHORITY TO (I)
                              7          (A) CONTINUE EXISTING CASH MANAGEMENT SYSTEM, (B) HONOR CERTAIN
                                         PREPETITION OBLIGATIONS RELATED TO THE USE THEREOF, (C) CONTINUE
                              8          INTERCOMPANY ARRANGEMENTS, (D) CONTINUE TO HONOR OBLIGATIONS
                                         RELATED TO JOINT INFRASTRUCTURE PROJECTS, AND (E) MAINTAIN
                              9          EXISTING BANK ACCOUNTS AND BUSINESS FORMS; AND (II) WAIVING THE
                                         REQUIREMENTS OF 11 U.S.C. § 345(b) (THE “CASH MANAGEMENT MOTION”).
                             10
                                         Pursuant to the Cash Management Motion, the Debtors are seeking interim and final authority,
                             11
                                  in the ordinary course of business and consistent with the Debtors’ prepetition practices, to (i)(a)
                             12
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                                  continue operating their existing cash management system (the “Cash Management System”), as
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                             13
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                                  described herein, including the continued maintenance of existing bank accounts at the Debtors' banks
                             14
                                  (the “Banks”), (b) honor certain prepetition obligations related to the Cash Management System, (c)
                             15
                                  continue certain intercompany arrangements among the Debtors and certain non-Debtor affiliates and
                             16
                                  subsidiaries (the “Non-Debtor Affiliates and Subsidiaries”), (d) continue to honor all obligations
                             17
                                  with respect to certain Joint Infrastructure Projects (as defined below), and (e) maintain existing
                             18
                                  business forms; and (ii) waive the requirements of section 345(b) of the Bankruptcy Code to the extent
                             19
                                  they apply to any of the Bank Accounts (as defined below).                Further, pursuant to the Cash
                             20
                                  Management Motion, the Debtors request that the Court authorize, but not direct, the Banks to receive,
                             21
                                  process, honor, and pay all checks presented for payment and electronic payment requests relating to
                             22
                                  the foregoing to the extent the Debtors have sufficient funds standing to their credit with such Bank,
                             23
                                  whether such checks were presented or electronic request were submitted before or after the Petition
                             24
                                  Date, and that all such Banks be authorized to rely on the Debtors’ designation of any particular check
                             25
                                  or electronic payment request as appropriate pursuant to the Cash Management Motion without any
                             26
                                  duty of further inquiry and without liability for following the Debtors’ instructions.
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                       25
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1           In the ordinary course of business, the Debtors utilize their Cash Management System, which is
                              2   an integrated, centralized system designed to collect, transfer, and disburse funds generated by their
                              3   electricity and natural gas operations. The Cash Management System has several main components:
                              4   (i) cash collection, including the collection of payments made to the Debtors from revenue generated in
                              5   the ordinary course through the sale and delivery of electricity and natural gas to customers; (ii)
                              6   relatively minimal cash transfers among the Debtors and certain Non-Debtor Affiliates and
                              7   Subsidiaries; and (iii) cash disbursements that fund the Debtors’ business operations and related
                              8   obligations.   Although the Utility and PG&E Corp. each maintain separate systems, the Cash
                              9   Management System is an integrated system. Pursuant to that certain Restated Continuing Services
                             10   Agreement, dated October 15, 1999, between the Utility and PG&E Corp, (the “PG&E Corp. CSA”),
                             11   the Utility operates the cash management system of PG&E Corp. and all transfers between accounts
                             12   held by PG&E Corp. and the Utility are made pursuant to wire transfers in accordance with the PG&E
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                             13   Corp. CSA. It is critical that the Cash Management System remains intact during these Chapter 11
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                             14   Cases to ensure the seamless continuation of transactions and the uninterrupted supply of power and
                             15   electricity to the Utility's customers.
                             16           The Cash Management System facilitates cash monitoring, forecasting, and reporting and
                             17   enables the Debtors to maintain control over the administration of the Bank Accounts located at the
                             18   Banks, including, but not limited to, the accounts listed on Schedule 1 to the proposed interim order
                             19   annexed to the Cash Management Motion.         The Debtors maintain one-hundred eight (108) bank
                             20   accounts (each, a “Bank Account” and, collectively, the “Bank Accounts”) at various Banks, of
                             21   which thirty (30) are actively used in the Cash Management System (such accounts, the “Primary
                             22   Bank Accounts”). Of the Primary Bank Accounts, sixteen (16) accounts are maintained at The Bank
                             23   of New York Mellon (“BNYM”), six (6) accounts are maintained at Bank of America, N.A.
                             24   (“BoAML”), four (4) accounts are maintained at Citibank, N.A. (“Citi”), one (1) account is

                             25   maintained at Royal Bank of Canada (“RBC”), two (2) accounts are maintained at Union Bank of
                             26   California (“Union Bank”), and one (1) account is maintained at U.S. Bank, N.A (“U.S. Bank”).
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                    26
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Twenty-one (21) of the Primary Bank Accounts are maintained at Banks designated as authorized
                              2   depositories by the U.S. Trustee pursuant to the U.S. Trustee’s Guidelines (the “UST Guidelines”).
                              3          The remaining seventy-eight (78) Bank Accounts are not utilized in the day-to-day flow of
                              4   funds throughout the Cash Management System and are comprised mainly of specialized accounts,
                              5   including: (a) forty-nine (49) tax-exempt bond accounts, maintained in connection with each of the
                              6   Debtors' tax-exempt debt issuances, held at Deutsche Bank Trust Company Americas (the “Deutsche
                              7   Bank Bond Accounts”), (b) six (6) escrow accounts maintained in connection with ongoing
                              8   partnerships with third-parties held at U.S. Bank N.A. Global Corporate Trust Services (the “U.S Bank
                              9   Escrow Accounts”), (c) three (3) trust accounts maintained in connection with retirement benefits -
                             10   two (2) held at Wells Fargo Bank N.A. (Acct No. XX5300 and XX5400) and one (1) at Fidelity
                             11   Management Trust Company (Acct No. XX0137) (the “Retiree Benefit Trust Accounts”), (d) one (1)
                             12   account to hold certain reserve funds for employees who work with asbestos in the course of their
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                             13   employment required under the Asbestos Hazard Emergency Response Act held at BoAML (Acct No.
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                             14   XX2988) (the “Asbestos Medical Reserve Account”), (e) two (2) accounts for contributions to
                             15   political action committees funded from voluntary deductions from employee payroll held at Bank of
                             16   Marin (Acct Nos. XX0132 and XX0140) (the “PAC Accounts”), (f) two (2) legacy accounts
                             17   established prior to the transition to payroll at BoAML (Acct No. XX7115) for employees to cash
                             18   checks held at BNYM (Acct No. XX4017) and at BoAML (Acct No. XX1675) (the “Legacy Payroll
                             19   Accounts”), (g) one (1) account that was used to hold funds from PG&E Corp.’s Commercial Paper
                             20   Program held at Citi (Acct No. XX9167) (the “CP Account” and together with the Deutsche Bank
                             21   Bond Accounts, the U.S Bank Escrow Accounts, the Retiree Benefit Trust Accounts, the Asbestos
                             22   Medical Reserve Account, the PAC Accounts, and the Legacy Payroll Accounts, the “Specialty
                             23   Accounts”), and (h) fourteen (14) dormant accounts with no activity or de minimis balances (the
                             24   “Dormant Accounts”).

                             25          The Debtors maintain robust controls relating to the Cash Management System. The Cash
                             26   Management System is overseen by personnel working in the Banking and Money Management
                             27   (“B&MM”) division of the Utility's treasury department (the “Treasury Department”). B&MM
                             28
                                  DECLARATION OF JASON P. WELLS                    27
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   manages all aspects of the Cash Management System, providing services that include cash positioning,
                              2   cash concentration, wire transfers, automated clearing house (“ACH”) transfers, tax payments, and the
                              3   issuance of short-term debt and purchase or redemption of investments, as well as managing bank
                              4   accounts for certain Non-Debtor Affiliates and Subsidiaries. On a daily basis, B&MM prepares a cash
                              5   summary that reflects the cash position after incoming and outgoing payments (via cash, wire transfer,
                              6   ACH, or check), including short-term debt and short-term investment purchases or redemptions.
                              7   Although certain recurring electronic payments are made automatically, disbursements by wire transfer
                              8   require dual approval, and disbursements by check are reconciled before they clear. In preparing the
                              9   daily cash summary, B&MM conducts a review of cash account balances, confirms that all manual
                             10   wire transfers have been properly authorized, and determines whether all investments are in line with
                             11   the Debtors' short-term investment policy (the “Short-Term Investment Policy”).            Under the
                             12   oversight of each of the Debtors’ Controller, corporate accounting reconciles all Bank Account
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                             13   balances against the Debtors’ books and records on a monthly basis. Various levels of authorizations
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                             14   are required for the release of disbursements, which are determined by the size and type of the
                             15   disbursement.
                             16          As explained in further detail below, the Cash Management System is generally comprised of
                             17   four (4) different types of accounts: (a) collection accounts into which cash and other receivables
                             18   generated from the Debtors' operations are deposited (collectively, the “Collection Accounts”), (b)
                             19   concentration accounts into which cash is automatically swept from the various Collection Accounts
                             20   on a daily basis (collectively, the “Concentration Accounts”),        (c) disbursement accounts for
                             21   designated disbursements (collectively, the “Disbursement Accounts”), and (d) the Specialty
                             22   Accounts. An average of approximately $81.6 million in receipts and $86.0 million in disbursements
                             23   flows through the Cash Management System per banking day. A diagram illustrating the general
                             24   movement of cash through the Cash Management System is annexed as Exhibit B to the Cash

                             25   Management Motion.

                             26          Given the complexity of the Debtors’ operations and the volume of transactions processed

                             27   through the Cash Management System each day, maintaining the Cash Management System in its

                             28
                                  DECLARATION OF JASON P. WELLS                    28
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   current state is crucial to the Debtors’ continued operations. Any disruption to the Cash Management
                              2   System would unnecessarily and significantly disrupt the Debtors’ operations, which may result in
                              3   power outages or other service disruptions to the Debtors’ customers, and may impede the successful
                              4   administration of these Chapter 11 Cases.
                              5          A.      Collection Accounts

                              6                  1.      Utility Collection Accounts

                              7          As part of its daily operations, the Utility collects cash, checks, wire transfers, ACH payments,

                              8   and credit card and debit card payments from customers and certain third parties. As described below,

                              9   these funding sources flow into the Utility Master Concentration Account (as defined below) through

                             10   nine (9) depository accounts (the “Utility Depository Accounts”). When the Utility is in receipt of

                             11   proceeds from non-recurring funding sources such as tax refunds, debt issuances, and rebates issued by

                             12   regional service operators and/or independent system operators, such proceeds are deposited directly
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                             13   into the Utility Master Concentration Account (as defined below).
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                             14                          a)     Customer Depository Accounts
                                         The Utility maintains five (5) Utility Depository Accounts (each a “Utility Customer
                             15
                                  Depository Account”) that process customer payments.            Two (2) Utility Customer Depository
                             16
                                  Accounts (Acct Nos. XX5477 and XX7822) are held at BNYM, one (1) account (Acct No. XX1958) is
                             17
                                  held at Citi, one (1) account (Acct No. XX0817) is held at BoAML, and one (1) account (Acct No.
                             18
                                  XX5581) is held at Union Bank.         The BNYM, BoAML, and Citi Utility Customer Depository
                             19
                                  Accounts only accept electronic payments posted through online and mobile payment channels and
                             20
                                  customer ACH debits. The Union Bank Utility Customer Depository Account collects cash and check
                             21
                                  payments that are either mailed to the Utility or made directly at the Utility’s local offices. All of the
                             22
                                  Utility Customer Depository Accounts, except for the Union Bank Account, are zero balance accounts,
                             23
                                  meaning they do not carry a cash balance at the end of each business day. The funds in the Citi and
                             24
                                  BoAML Utility Customer Depository Accounts are swept into the Citi Utility Concentration Account
                             25
                                  and BoaML Utility Concentration Accounts (each as defined below), respectively, on a daily basis,
                             26
                                  where the funds ultimately flow into the Utility Master Concentration Account. The BNYM Utility
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                      29
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Customer Depository Accounts are swept into the Utility Master Concentration Account on a daily
                              2   basis.
                              3                           b)      Utility Campground Collection Accounts

                              4            The Utility also maintains two (2) Utility Depository Accounts (the “Utility Campground

                              5   Depository Accounts”) that process payments from customers that use campgrounds owned by the

                              6   Utility. One (1) Utility Campground Depository Account is held at U.S. Bank (Acct No. XX2311) and

                              7   one (1) Utility Campground Depository Account is held at BoAML (Acct No. XX2302).
                                                          c)      Non-Energy Collection Account
                              8
                                           The Utility also maintains one (1) Utility Depository Account to collect funds from certain non-
                              9
                                  energy related revenue sources held at Citi (Acct No. XX2901).
                             10
                                                          d)      Outside Collections Accounts
                             11
                                           In the ordinary course of business, the Utility contracts with third-parties to collect on customer
                             12
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                                  accounts that have fallen into delinquency. The proceeds of such activities are deposited into a Utility
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                             13
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                                  Customer Depository Account held at Citi (Acct No. XXX2316) (the “Utility Outside Collection
                             14
                                  Account”). The Utility Outside Collection Account is a zero balance account and is swept into the Citi
                             15
                                  Utility Concentration Account on a daily basis.
                             16
                                                  2.      PG&E Corp. Collection Accounts
                             17
                                           As PG&E Corp.’s primary asset is its equity interest in the Utility, it does not maintain any
                             18
                                  third-party collection accounts.
                             19            B.     Concentration Accounts2
                             20                   1.      Utility Concentration Accounts
                             21            The Utility maintains three (3) accounts where it concentrates and collects cash from its various

                             22   Depository Accounts (collectively, the “Utility Concentration Accounts”): (a) one (1) primary

                             23   concentration account with BNYM (Acct No. XX9994) (the “Utility Master Concentration

                             24   Account”); (b) one (1) customer deposit concentration account with BoAML (Acct No. XX3212) (the

                             25
                                  2
                             26    Prior to the Petition Date, the Utility issued commercial paper in the ordinary course of business to
                                  cover short-term liquidity needs (the “Commercial Paper Program”). Citi served as the issuing and
                             27   payment agent with respect to issuances and redemptions of commercial paper under the Commercial
                                  Paper Program. The Commercial Paper Program is not currently active and the Debtors are not
                             28   currently seeking relief to continue the Commercial Paper Program at this time.
                                  DECLARATION OF JASON P. WELLS                       30
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   “BoAML Utility Concentration Account”); and (c) one (1) customer deposit concentration account
                              2   with Citi (Acct No. XX0901) (the “Citi Utility Concentration Account”). The Utility funds its
                              3   business operations and related expenditures from the revenues and funds that flow through the Utility
                              4   Concentration Accounts, including payments of principal and interest on account of the Utility's
                              5   prepetition debt and intercompany payments made to StanPac (as defined below), Gill Ranch (as
                              6   defined below), and PG&E Corp. (pursuant to the PG&E Corp. CSA).                 The Utility Master
                              7   Concentration Account serves as the Utility’s main centralized operating account into which receipts
                              8   and customer payments are ultimately deposited from the Utility Customer Depository Accounts and
                              9   from which disbursements are made throughout the Cash Management System as necessary.
                             10   Historically, the proceeds of financings and draws on the Utility’s $3 billion prepetition unsecured
                             11   revolving credit facility were deposited directly into the Utility Master Concentration Account. As of
                             12   the date hereof, such facility had approximately $35 million of undrawn capacity. Additionally, from
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                             13   time to time, excess funds in the Utility Master Concentration Account at the close of market may be
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                             14   invested by B&MM on an overnight basis until the following business day, in accordance with the
                             15   Debtors’ Short-Term Investment Policy, which is discussed in further detail below.
                             16          Funds in the BoAML Utility Customer Depository Account are automatically swept into the
                             17   BoAML Utility Concentration Account on a daily basis.         The funds in each of the Citi Utility
                             18   Customer Depository Account and the Citi Utility Outside Collections Depository Account are
                             19   automatically swept into the Citi Utility Concentration Account on a daily basis. Funds in the BoAML
                             20   Utility Concentration Account and Citi Utility Concentration Account are manually drawn down to the
                             21   Utility Master Concentration Account on a daily basis. The Utility Campground Depository Accounts
                             22   are manual swept into the Utility Master Concentration Account on a periodic basis.
                             23                 2.      PG&E Corp. Concentration Accounts

                             24          PG&E Corp. concentrates and collects its cash in one primary account with BNYM (Acct No.

                             25   XX9023) (the “PG&E Corp. Master Concentration Account”). PG&E Corp. funds its business

                             26   operations and related expenditures from the revenues and funds that flow through the PG&E Corp.

                             27   Master Concentration Account, including payments of principal and interest on account of PG&E’s

                             28    prepetition debt and intercompany payments made to the Utility pursuant to the PG&E Corp. CSA.
                                  DECLARATION OF JASON P. WELLS                 31
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   The PG&E Corp. Master Concentration Account serves as PG&E Corp.’s main centralized operating
                              2   account into which funds are ultimately deposited from transfers from the Utility pursuant to the
                              3   PG&E Corp. CSA and from which disbursements are made throughout the Cash Management System
                              4   as necessary.
                              5          Historically, the proceeds of financings and draws on PG&E Corp.'s $300 million prepetition
                              6   unsecured revolving credit facility were deposited directly into the PG&E Corp. Master Concentration
                              7   Account. As of the date hereof, the revolving credit facility is fully drawn. Additionally, from time to
                              8   time, excess funds in the PG&E Corp. Master Concentration Account at the close of market may be
                              9   invested by B&MM on an overnight basis until the following business day, in accordance with the
                             10   Debtors’ Short-Term Investment Policy, which is discussed in further detail below.
                             11          C.       Disbursement Accounts
                                                  1.      Utility Disbursement Accounts
                             12
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                                         The Utility uses the funds in the Utility Master Concentration Account to fund its ongoing
                             13
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                                  operations through nine (9) disbursement accounts (collectively, the “Utility Disbursement
                             14
                                  Accounts”). All of the Utility Disbursement Accounts are zero balance accounts. On a daily basis, the
                             15
                                  Utility projects its disbursement obligations and funds the Utility Disbursement Accounts accordingly.
                             16
                                  The following is a brief summary of the various Utility Disbursement Accounts.
                             17
                                                • Vendor Disbursement Account. Two (2) disbursement accounts at BNYM (Acct
                             18                      Nos. XX9978 and XX9990) are designated to fund nearly all operating expenses
                                                     and capital expenditures related to the Utility’s business operations, including all
                             19                      third party vendor, supplier payments and customer payments as well as employee
                                                     expense reimbursements.
                             20
                             21                   •    BoAML Payroll Disbursement Accounts. One (1) disbursement account at
                                                       BoAML (Acct No. XX7115) is used to fund employee payroll, which is funded
                             22                        from the BoAML Concentration Account.

                             23                   •    Disability Disbursement Account. The Utility maintains an account at BNYM
                                                       (Acct No. XX8544) dedicated to making distributions to employee participants in
                             24                        the Utility’s short-term disability plan.
                             25
                                                  •    Customer Refund and Rebate Accounts. The Utility maintains two (2) additional
                             26                        disbursement accounts at BNYM (Acct Nos. XX3044 and XX3532) which
                                                       distribute refunds, rebates, and reimbursements to the Utility’s customers.
                             27
                                                  •    RBC Currency Exchange Account. The Utility maintains a disbursement account
                             28
                                  DECLARATION OF JASON P. WELLS                      32
                                  IN SUPPORT OF FIRST DAY MOTIONS
                                                     with RBC (Acct No. XX0446) to facilitate purchases of natural gas from Canadian
                              1                      entities that only accept payment in Canadian dollars.
                              2
                                                •    Gill Ranch Operating Account. As discussed in more detail below, the Utility
                              3                      maintains an operating account for the Gill Ranch natural gas storage facility at
                                                     BNYM (Acct No. XX4122).
                              4
                                                •    Land Drafts Account. The Utility maintains a disbursement account with BNYM
                              5                      (Acct No. XX0143) to issue checks in connection with health care and injury claims
                                                     incurred by individuals and with the Utility’s land management activities.
                              6
                              7                 2.      PG&E Corp. Disbursement Accounts
                                         PG&E Corp. uses the funds in the PG&E Corp. Master Concentration Account to fund its
                              8
                                  ongoing operations through five (5) disbursement accounts (collectively, the “PG&E Corp.
                              9
                                  Disbursement Accounts”).        All of the PG&E Corp. Disbursement Accounts are zero balance
                             10
                                  accounts. On a daily basis, PG&E Corp. projects its disbursement obligations and funds the PG&E
                             11
                                  Corp. Disbursement Accounts accordingly. The following is a brief summary of the various PG&E
                             12
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                                  Corp. Disbursement Accounts.
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                                                •    Vendor Disbursement Account. One (1) disbursement account at BNYM (Acct
                             14
                                                     No. XX4558) is designated to fund nearly all operating expenses and capital
                             15                      expenditures related to PG&E Corp’s operations, including all third-party vendor
                                                     and supplier payments.
                             16
                                                •    Payroll Disbursement Accounts. One (1) disbursement account at BNYM
                             17                      (Account No. XX9946) (the “PG&E Corp. Payroll Funding Account”) and two
                                                     (2) payroll disbursement accounts at BoAML (Acct Nos. XX7981 and XX7107),
                             18                      with one utilized for checks and the other for direct deposit payments, each of such
                             19                      accounts is funded from the PG&E Corp. Payroll Funding Account.

                             20                 •    Union Bank Payroll Account. PG&E Corp. maintains one (1) payroll account at
                                                     Union Bank of California (Acct No. XX9557) to comply with certain state law
                             21                      requirements.
                             22          D.     Intercompany Transactions

                             23          In the ordinary course of business, the Debtors maintain business relationships among

                             24   themselves and with the Non-Debtor Affiliates and Subsidiaries, which result in intercompany

                             25   receivables and payables (the “Intercompany Transactions”).               The various categories of

                             26   Intercompany Transactions are summarized in further detail below. The Debtors maintain records of

                             27   all transfers and, therefore, can ascertain, trace, and account for all Intercompany Transactions, and

                             28    will continue to do so during these Chapter 11 Cases. If the Intercompany Transactions were to be
                                  DECLARATION OF JASON P. WELLS                   33
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   discontinued, the Cash Management System and related administrative controls would be disrupted to
                              2   the detriment of the Debtors and all stakeholders. Accordingly, pursuant to the Cash Management
                              3   Motion, the Debtors are seeking authority to continue the Intercompany Transactions and make any
                              4   prepetition payments related thereto.
                              5                  1.     The PG&E Corp. CSA

                              6          The Utility and PG&E Corp. are parties to the PG&E Corp. CSA. Under the terms of the

                              7   PG&E Corp. CSA, PG&E Corp. provides certain corporate services to the Utility, including, among

                              8   other things, management staffing, strategic planning, and investor relations support (the “PG&E

                              9   Corp. Affiliate Services”). From time to time, PG&E Corp. also contributed certain equity securities

                             10   to the Utility, which the Utility distributed to its employees in accordance with its share-based

                             11   employee incentive plans (the “PG&E Corp. Equity Contributions”). The Utility and PG&E Corp.

                             12   also share certain corporate services and allocate the relative costs of such services and expenses
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                             13   between each other, including, without limitation, accounting and audit functions, money management
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                             14   and investment services, payroll administration, legal, governance, and public relations (the “Shared

                             15   Services”). Furthermore, the Utility funds certain of PG&E Corp.’s operating expenses, including,

                             16   among other things, the purchase of insurance (the “Corp. Expenses”). The intercompany obligations

                             17   and related transfers that arise under the PG&E Corp. CSA are governed by CPUC Decisions 96-11-

                             18   017 and 97-12-088, as well as certain other CPUC-approved tariffs, and are generally subject to CPUC

                             19   oversight. PG&E Corp. invoices the Utility on a monthly basis for reimbursement of the PG&E Corp.

                             20   Affiliate Services, the Utility’s allocation of the Shared Services, including the costs incurred by

                             21   PG&E Corp. for the purchase of any associated goods during the preceding month, and, if applicable,

                             22   the value of any PG&E Corp. Equity Contributions ultimately distributed to the Utility’s employees

                             23   (collectively, the “Corp. CSA Claims”). Likewise, the Utility invoices PG&E Corp. on a monthly

                             24   basis for reimbursement of the costs of Shared Services allocated to PG&E Corp., including the costs

                             25   of any associated goods, as well as PG&E Corp.’s allocated share of the Corp. Expenses that were

                             26   incurred during the preceding month (collectively, the “Utility CSA Claims”). Corp. CSA Claims are

                             27   paid via wire transfer directly out of the Utility Disbursement Account XX9978 (rather than book

                             28    entry) and must be paid within 30 days of receipt of invoice. Similarly, Utility CSA Claims are paid
                                  DECLARATION OF JASON P. WELLS                    34
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                              1   via wire transfer directly out of the PG&E Corp. Disbursement Account XX4558 (rather than book
                              2   entry) and must be paid within 30 days of receipt of invoice. During the 12-month period prior to the
                              3   Petition Date, the monthly average of Corp. CSA Claims that the Utility owed to PG&E Corp. was
                              4   approximately $13.8 million, and that PG&E Corp. owed to the Utility was approximately $1.8
                              5   million.
                              6                  2.      Non-Debtor Affiliates’ and Subsidiaries’ Continuing Services Agreements

                              7          The Utility is party to shared services arrangements with certain Non-Debtor Affiliates and

                              8   Subsidiaries, including the following agreements: (a) that certain Continuing Services Agreement

                              9   between the Utility and PG&E Corporation Support Services, Inc., dated Oct. 15, 1999, (b) that certain

                             10   Continuing Services Agreement between the Utility and Pacific Energy Capital IV, LLC, dated July 27,

                             11   2010, (c) that certain Continuing Services Agreement between the Utility and PCG Capital, Inc., dated

                             12   March 1, 2011, (d) that certain Continuing Services Agreement between the Utility and PG&E
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                             13   Corporation Support Services II, Inc., dated April 16, 2007, (e) that certain Continuing Services
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                             14   Agreement between the Utility and Certain Subsidiaries, including Eureka Energy Company, Natural

                             15   Gas Corporation of California, and Pacific Energy Fuels Company, dated March 28, 2008, and (f) that

                             16   certain Continuing Services Agreement between the Utility and Eureka Energy Company, dated

                             17   February 23, 2009 (collectively, the “Utility Non-Debtor CSAs”).

                             18          PG&E Corp. has also entered into shared services arrangements with certain Non-Debtor

                             19   Affiliates and Subsidiaries, including the following agreements: (a) that certain Continuing Services

                             20   Agreement between PG&E Corp. and PG&E Corporation Support Services, Inc., dated Oct. 13, 1999

                             21   and (b) that certain Continuing Services Agreement between PG&E Corp. and PG&E Corporation

                             22   Support Services II, Inc., dated April 13, 2007 (collectively, the “PG&E Corp. Non-Debtor CSAs”

                             23   and, together with the Utility Non-Debtor CSAs, the “Non-Debtor CSAs”).

                             24          The Non-Debtor CSAs provide for the exchange of certain corporate services between the

                             25   Debtors and the applicable Non-Debtor Affiliates and Subsidiaries (the “Non-Debtor Shared

                             26   Services”). These Non-Debtor Shared Services are relatively de minimis and include, but are not

                             27   limited to, joint purchasing of third-party services and goods as well as shared services related to joint

                             28    corporate oversight, governance, support systems and personnel, to the extent such shared services
                                  DECLARATION OF JASON P. WELLS                   35
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                              1   conform to requirements of CPUC Decision 97-12-088. On an annual basis, the net cash impact on the
                              2   Debtors with respect to amounts owed by the Debtors to the Non-Debtor Affiliates and Subsidiaries
                              3   and to the Debtors by the Non-Debtor Affiliates and Subsidiaries is effectively neutral. As of the
                              4   Petition Date, the Debtors estimate that they owe approximately $500,000 on account of Non-Debtor
                              5   Shared Services.
                              6                  3.      Standard Pacific Gas Line

                              7          The Utility holds an 86% ownership interest in Standard Pacific Gas Line, Inc. (“StanPac”).

                              8   StanPac owns approximately 55 miles of natural gas pipelines located in Contra Costa County and the

                              9   greater Sacramento area. The Utility operates StanPac and regularly incurs related operating expenses

                             10   and capital costs (the “StanPac Costs”). Pursuant to that certain System Management and Operating

                             11   Agreement, dated March 28, 1996, among the Utility, StanPac, and Chevron Pipeline Company (the

                             12   “StanPac Operating Agreement”), the Utility invoices StanPac for the StanPac Costs on a monthly
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                             13   basis. Under the StanPac Operating Agreement, the Utility is obligated to fund its proportional,
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                             14   allocated share of certain non-capital expenses, including taxes (the “StanPac Non-Capital Costs”),

                             15   on a monthly basis or at such time that such StanPac Non-Capital Costs come due. In the ordinary

                             16   course of business, the Utility wires an amount equal to its allocated share of the previous month’s

                             17   StanPac Non-Capital Costs directly to StanPac. During the 12-month period prior to the Petition Date,

                             18   the monthly average of StanPac Non-Capital Costs that the Utility paid to StanPac was approximately

                             19   $400,000. To maintain its pipeline connections to the intrastate and interstate natural gas pipeline grid,

                             20   it is critical that the Utility continue paying the StanPac Costs and StanPac Non-Capital Costs in the

                             21   ordinary course. As of the Petition Date, the Utility estimates that it owes approximately $400,000 on

                             22   account of StanPac Costs and Stanpac Non-Capital Costs. and that approximately $400,000 of that

                             23   amount will become due and payable within thirty (30) days after the Petition Date.
                                                 4.      Gill Ranch Project
                             24
                                         The Utility owns a 25% ownership interest in an underground natural gas storage facility (the
                             25
                                  “Gill Ranch Project”) at Gill Ranch, located near Fresno, California, with a capacity of approximately
                             26
                                  20 billion cubic feet. The other 75% of the Gill Ranch Project is owned by Gill Ranch Storage, LLC
                             27
                                  (“Gill Ranch LLC”), the operator of the Gill Ranch Project, which, in turn, is owned by Norwest
                             28
                                  DECLARATION OF JASON P. WELLS                      36
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                              1   Natural Gas. The Gill Ranch Project is linked to the Utility’s natural gas mainline transmission
                              2   system, allowing it to serve customers throughout California. Pursuant to that certain Joint Project
                              3   Agreement, dated January 31, 2018, between Gill Ranch LLC and the Utility, and that certain Operator
                              4   Agreement, dated January 31, 2008, between Gill Ranch LLC and the Utility (collectively, the “Gill
                              5   Ranch Agreements”), the Utility is obligated to fund its proportionate, allocated share of operating
                              6   costs, capital expenses, and certain other non-capital expenses for the Gill Ranch Project on a monthly
                              7   basis (the “Gill Ranch Costs”). To maintain access to its emergency natural gas reserves it is critical
                              8   that the Utility continue paying the Gill Ranch Costs in the ordinary course. Pursuant to the Gill
                              9   Ranch Agreements, and in the ordinary course of business, the Utility deposits an amount equal to its
                             10   allocated share of the previous month’s Gill Ranch Costs into an account maintained by the Utility and
                             11   held at BNYM (Acct. No. XX4122). The funds in such account are used by Gill Ranch LLC, as
                             12   operator, to develop, operate and manage the Gill Ranch Project in accordance with approved
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                             13   programs and budgets. During the 12-month period prior to the Petition Date, the monthly average of
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                             14   Gill Ranch Costs that the Utility owed in connection with the Gill Ranch Project was approximately
                             15   $200,000. As of the Petition Date, the Utility estimates that it owes approximately $200,000 on
                             16   account of Gill Ranch Costs and that approximately $200,000 of that amount will become due and
                             17   payable within thirty (30) days after the Petition Date.
                             18          The Cash Management System is similar to those commonly employed by other large corporate
                             19   enterprises in which transfers between related entities are tracked as Intercompany Transactions. At
                             20   any point in time, there may be outstanding amounts due and owing between the Debtors themselves
                             21   as well as between the Debtors and their Non-Debtor Affiliates and Subsidiaries, all of which are
                             22   recorded and documented as Intercompany Transactions.
                             23          It is my understanding based upon discussions with counsel, that the Debtors do not require the
                             24   Court’s approval to continue entering into and performing under the Intercompany Transactions

                             25   because the Debtors enter into and perform under Intercompany Transactions “in the ordinary course
                             26   of business.” Furthermore, as stated above, transfers that take place pursuant to the PG&E Corp. CSA
                             27   are subject to CPUC oversight. The Intercompany Transactions between PG&E Corp. and the Utility
                             28
                                  DECLARATION OF JASON P. WELLS                      37
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                              1   are integral to their ongoing operations and to providing reliable utility services to their customers. As
                              2   previous stated, the Intercompany Transaction between the Debtors and the Non-Debtor Affiliates and
                              3   Subsidiaries are relatively de minimis.
                              4          In addition, prepetition payments of amount owing with respect to StanPac, the Gill Ranch
                              5   Project, and the Joint Infrastructure Projects will assure the ongoing operation of those ventures, that
                              6   the Debtors continue to receive certain basic services on an uninterrupted basis, and allow the Debtors
                              7   to maintain their investment in such ventures. The Debtors also intend to continue making all post
                              8   Petition Date payments relating to those ventures in the ordinary course of business.
                              9          E.      Joint Infrastructure and Co-Ownership Projects

                             10          In the operation of its gas delivery and power distribution business, the Utility’s infrastructure

                             11   often interfaces with third-party equipment, including various gas pipeline and electric transmission

                             12   interconnections. In some instances, certain pipelines, facilities, and transmission infrastructure are
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                             13   jointly owned by the Utility and one or more third-parties (the “Joint Infrastructure Projects”) and,
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                             14   in some cases, are maintained to comply with regulatory and compliance requirements. The Joint

                             15   Infrastructure Projects are typically governed by contractual arrangements between the Utility and the

                             16   applicable third-party that provide for the scope of each party’s obligations, including obligations to

                             17   operate and maintain the infrastructure, contribute capital, and/or pay for services. During the 12-

                             18   month period prior to the Petition Date, the monthly average that the Utility paid in connection with

                             19   the Joint Infrastructure Projects was de minimis and the monthly average that the Utility received in

                             20   connection with Joint Infrastructure Projects was approximately $600,000. As of the Petition Date, the

                             21   Utility estimates that any amounts owed on account of the Joint Infrastructure Projects are de minimis.

                             22   The Debtors seek authority to pay such amounts, including any amounts relating to the period prior to

                             23   the Petition Date, as they come due in the ordinary course of business.
                                         F.      Short-Term Investment Policy
                             24
                                         The Short-Term Investment Policy, a copy of which is annexed as Exhibit C to the Cash
                             25
                                  Management Motion, provides guidance for the Debtors to sweep excess funds in the Utility Master
                             26
                                  Concentration Account and the PG&E Corp. Master Concentration Account on an overnight basis.
                             27
                                  The Debtors move excess funds from those accounts to brokerage accounts held at BNYM (Acct No.
                             28
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                              1   XX98400 for the Utility and Acct No. XX18400 for PG&E Corp). The amounts invested pursuant to
                              2   the Short-Term Investment Policy vary on a daily basis. Pursuant to the Short-Term Investment
                              3   Policy, (i) investments are limited to highly marketable, interest-earning securities with stable market
                              4   values and maturities of 12 months or less, and (ii) the Debtors must sufficiently assess the credit
                              5   rating for parent companies of entities issuing securities prior to investing in those securities.3   The
                              6   objective of the Short-Term Investment Policy is to achieve the best available yield while ensuring
                              7   safety and preservation of principal and maintaining adequate liquidity to meet cash flow requirements.
                              8   Investments made pursuant to the Short-Term Investment Policy are subject to multiple internal
                              9   controls which require, among other things, that only designated employees may make investments
                             10   pursuant to the Short-Term Investment Policy, all investments must be in compliance with the
                             11   Sarbanes–Oxley Act of 2002, financial institutions must send confirmations of investment transactions
                             12   directly to persons or departments responsible for recording cash transactions, and monthly investment
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                             13   statements must be reconciled to the Debtors’ general ledger accounts. Typically, the following types
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                             14   of investments are approved pursuant to the Short-Term Investment Policy: (i) money market mutual
                             15   funds, (ii) bank-related securities, (iii) U.S. government and government-sponsored securities, (iv)
                             16   repurchase agreements, (v) corporate debt securities, and (vi) state and local government obligations.
                             17   During the pendency of the Chapter 11 Cases, the Debtors will limit investments to U.S. government
                             18   and government-sponsored securities that are backed by the full faith and credit of the United States.
                             19          It is my understanding based upon discussions with counsel that section 345(a) of the
                             20   Bankruptcy Code governs a debtor’s deposit and investment of cash during a chapter 11 case and
                             21   authorizes such deposits or investments as “will yield the maximum reasonable net return on such
                             22   money, taking into account the safety of such deposit or investment.” I further understand that, tor
                             23   deposits or investments that are not “insured or guaranteed by the United States or by a department,
                             24   agency, or instrumentality of the United States or backed by the full faith and credit of the United

                             25   States,” section 345(b) of the Bankruptcy Code requires that the debtor obtain from the “entity with
                             26   3
                                    In addition, B&MM invests certain funds held by the Utility in the Voluntary Disability Plan
                             27   Insurance (“VPDI”) brokerage account (Acct No. XX48400 held at BNYM), which account is
                                  maintained to comply with certain state requirements relating to employee contributions to the
                             28   Debtors’ VPDI.
                                  DECLARATION OF JASON P. WELLS                      39
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                              1   which the money is deposited or invested a bond in favor of the United States [that is] secured by the
                              2   undertaking of a[n adequate] corporate surety . . . unless the court for cause orders otherwise.”
                              3          It is my understanding based upon discussions with counsel that, in chapter 11 cases such as
                              4   these, strict adherence to the requirements of section 345(b) of the Bankruptcy Code would be
                              5   inconsistent with the value-maximizing purpose of chapter 11 by unduly hampering a debtor’s ability
                              6   under section 345(a) to invest money such “as will yield the maximum reasonable net return on such
                              7   money.” It is my understanding based upon discussions with counsel that, here, the Debtors satisfy
                              8   both the procedural and substantive requirements necessary to obtain a waiver of section 345(b) of the
                              9   Bankruptcy Code.
                             10          First, as set forth above, twenty-one of the thirty Primary Bank Accounts are maintained at
                             11   banks that have been approved by the U.S. Trustee as “authorized depositories” in accordance with the
                             12   UST Guidelines. Although BNYM and RBC are not U.S. Trustee-designated authorized depositories,
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                             13   BNYM is a highly rated, nationally chartered bank, and both are subject to supervision by national
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                             14   banking regulators. BNYM is the world’s largest custodian bank and asset servicing company with
                             15   $1.9 trillion in assets under management and $33.3 trillion in assets under custody as of December
                             16   2017. RBC holds consolidated assets of over $832 billion, operates in 44 countries, and has been
                             17   approved as a qualifying foreign banking organization by the Federal Reserve Board, thereby
                             18   subjecting it to the same comprehensive regulatory regime that governs the operations of U.S.
                             19   domestic banking entities. To the extent that the accounts at RBC and BNYM are not in technical
                             20   compliance with the requirements of section 345, pursuant to the Cash Management Motion, the
                             21   Debtors seek to have such requirements waived so as to allow BNYM and RBC to accept and hold
                             22   cash in accordance with the Debtors’ prepetition practices. Furthermore, the Short-Term Investment
                             23   Policy, as modified by the Debtors, is in compliance with section 345(b) as the modified Short-Term
                             24   Investment Policy limits investments to those that are either “insured or guaranteed by the United

                             25   States or by a department, agency, or instrumentality of the United States or backed by the full faith
                             26   and credit of the United States.”
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                      40
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                              1            Moreover, there is cause to warrant a waiver of the requirements of section 345(b) of the
                              2   Bankruptcy Code. It is my understanding based upon discussions with counsel, that courts consider
                              3   the “totality of the circumstances” in determining whether “cause” exists, with particular regard to the
                              4   following factors: (i) the sophistication of the debtor’s business; (ii) the size of the debtor’s business
                              5   operations; (iii) the amount of investments involved; (iv) the bank ratings (Moody’s and Standard and
                              6   Poor) of the financial institutions where debtor in possession funds are held; (v) the complexity of the
                              7   case; (vi) the safeguards in place within the debtor’s own business of insuring the safety of the funds;
                              8   (vii) the debtor’s ability to reorganize in the face of a failure of one or more of the financial
                              9   institutions; (viii) the benefit to the debtor; (ix) the harm, if any, to the estate; and (x) the
                             10   reasonableness of the debtor’s request for relief from section 345(b) requirements in light of the overall
                             11   circumstances of the case.
                             12          It is my understanding based upon discussions with counsel that, here, “cause” exists because,
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                             13   among other things: (i) all of the Banks holding significant balances are highly rated, reputable banks
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                             14   that are subject to supervision by national banking regulators; (ii) the Debtors retain the right to close
                             15   accounts with the Banks and establish new bank accounts as needed; (iii) the cost associated with
                             16   satisfying the requirements of section 345(b) is needlessly burdensome to the Debtors and their estates;
                             17   and (iv) the process of satisfying such requirements would lead to needless inconvenience and
                             18   inefficiencies in the management of the Debtors’ business.        The benefits of a waiver would far
                             19   outweigh any potential harm to the estates from noncompliance with section 345(b). The complex
                             20   nature of the Debtors’ businesses requires numerous bank accounts. Moreover, a bond secured by the
                             21   undertaking of a corporate surety would be prohibitively expensive (if such a bond could be obtained
                             22   at all). Furthermore, based on its experience opening new bank accounts, the Debtors estimate that it
                             23   would take months to create a new suite of bank accounts to service their business. I respectfully
                             24   submit that the costs of disruption to the business by having to close dozens of accounts far outweighs

                             25   the risks of the Debtors continuing to maintain their historic Bank Accounts during the administration
                             26   of the Chapter 11 Cases.       Accordingly, I respectfully submit that the Court should waive the
                             27   requirements of section 345(b) in these Chapter 11 Cases on a final basis. However, if the U.S.
                             28
                                  DECLARATION OF JASON P. WELLS                      41
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                              1   Trustee needs additional time to consider the waiver, in the alternative, the Court should, on an interim
                              2   basis, extend the Debtors’ time to comply with the requirements of section 345(b) of the Bankruptcy
                              3   Code for sixty (60) days while the Debtors discuss the issue with the U.S. Trustee and any statutory
                              4   committees appointed in these Chapter 11 Cases.
                              5           G.     Bank and Payment Processing Fees

                              6           In the ordinary course of business, the Debtors incur and pay, honor, or allow to be deducted

                              7   from the appropriate Bank Accounts, certain service charges, repayments on account of ordinary

                              8   course ACH credit extensions (e.g., in connection with the Banks’ processing of refunds or mistaken

                              9   payments into Utility Depository Accounts), and other related fees, costs, and expenses charged by the

                             10   Banks (collectively, the “Bank Fees”). To the extent the balance in the applicable Bank Account

                             11   decreases below a threshold amount established by the applicable Bank, the Debtors may incur

                             12   additional fees for sending and receiving wire transfers, clearing checks, ACH transfers, and other
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                             13   transactions. In addition, the Debtors pay certain payment processing fees to third parties relating to
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                             14   payment support and processing for customers making payments by credit card, debit card, and ACH

                             15   bank payment (collectively, the “Payment Processing Fees”).                 The Debtors currently pay

                             16   approximately $140,000 per month on account of Bank Fees and approximately $200,000 per month

                             17   on account of Payment Processing Fees.           As of the Petition Date, the Debtors estimate that

                             18   approximately $140,000 in Bank Fees and $400,000 in Payment Processing Fees are accrued and

                             19   unpaid and will become due in the first thirty (30) days after the Petition Date. The Debtors seek

                             20   authority to pay such amounts, including any amounts relating to the period prior to the Petition Date,

                             21   as they come due in the ordinary course of business.

                             22           Payment of the Bank Fees is in the best interests of the Debtors, their estates, and all parties in

                             23   interest as it will prevent any disruption to the Cash Management System. It is my understanding

                             24   based upon discussion with counsel that because the Banks may have setoff rights with respect to the

                             25   prepetition Bank Fees, payment of the prepetition Bank Fees should not affect other parties in interest

                             26   and would merely be a matter of timing. In addition, payment of the Payment Processing Fees will

                             27   prevent any disruption to the Debtors’ ability to collect payments from their customers that pay utility

                             28    bills via credit card, debit card, or ACH bank payment.
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                                         H.      The Debtors’ Existing Business Forms and Checks
                              1
                                         In the ordinary course of business, the Debtors issue checks from time to time and use a variety
                              2
                                  of correspondence and business forms, including, but not limited to, letterhead, purchase orders, and
                              3
                                  invoices (collectively, the “Business Forms”). To minimize the expense to the Debtors’ estates
                              4
                                  associated with developing and/or purchasing entirely new forms or otherwise complying with
                              5
                                  Bankruptcy Local Rule 2015-1(a), the delay in conducting business prior to obtaining such forms, and
                              6
                                  the confusion of suppliers and other vendors, pursuant to the Cash Management Motion, the Debtors
                              7
                                  seek authority to continue using their Business Forms substantially in the forms used immediately prior
                              8
                                  to the Petition Date, without reference therein to the Debtors’ status as “Debtor in Possession.” The
                              9
                                  Debtors do not believe that any prejudice will be suffered by any party of this relief is granted.
                             10
                                         Strict compliance with the UST Guidelines, which require reprinting such documents, would
                             11
                                  unnecessarily increase the Debtors’ expenses and would risk confusing the Debtors’ customers,
                             12
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                                  suppliers, and employees. Accordingly, the Debtors believe it is appropriate to continue to use all
                             13
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                                  Business Forms as such forms were in existence prior to the commencement of these Chapter 11
                             14
                                  Cases, without any reference to the Debtors’ current status as debtors in possession.
                             15
                                         The Cash Management System constitutes an ordinary-course and essential business practice
                             16
                                  providing significant benefits to the Debtors, including the ability to control corporate funds, ensure
                             17
                                  the maximum availability of funds when and where necessary, reduce borrowing costs and
                             18
                                  administrative expenses by facilitating the movement of funds, and ensure the availability of timely
                             19
                                  and accurate account balance information consistent with prepetition practices. The use of the Cash
                             20
                                  Management System has historically reduced the Debtors’ expenses by enabling the Debtors to use
                             21
                                  funds in an optimal and efficient manner. Accordingly, the continued use of the Cash Management
                             22
                                  System without interruption is vital to the Debtors’ business operations and the success of these
                             23
                                  Chapter 11 Cases.
                             24
                                         Further, in these Chapter 11 Cases, strict enforcement of the UST Guidelines would severely
                             25
                                  disrupt the Debtors’ ordinary financial operations by reducing efficiencies, increasing administrative
                             26
                                  burdens, and creating unnecessary expenses. As stated, the Debtors maintain approximately 108 Bank
                             27
                                  Accounts as part of the Cash Management System. If the Debtors were required to close these Bank
                             28
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                              1   Accounts and open new debtor-in-possession accounts, the Debtors would be forced to reconstruct the
                              2   Cash Management System in its entirety.          This reconstruction would be impractical and cost
                              3   prohibitive in an enterprise like the Debtors.       B&MM, including accounting and bookkeeping
                              4   employees, would need to focus their efforts on immediately opening new bank accounts and working
                              5   to establish proper cash flow controls, thereby diverting them from their daily responsibilities during
                              6   this critical juncture of the Debtors’ Chapter 11 Cases. Many accounts could not be replaced in time to
                              7   effectively continue the Debtors’ businesses. Even if possible, the opening of new bank accounts
                              8   would increase operating costs, and the delays that would result from opening new accounts, revising
                              9   cash management procedures, and redirecting payments would negatively impact the Debtors’ ability
                             10   to operate their business while establishing these new arrangements, to the detriment of all parties in
                             11   interest.
                             12           The Debtors’ transition into chapter 11 will be significantly smoother and more orderly, with
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                             13   minimum disruption and harm to the Debtors’ operations, if the Bank Accounts are continued
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                             14   following the Petition Date with the same account numbers. By preserving business continuity and
                             15   avoiding the disruption and delay to the Debtors’ collection and disbursement procedures that would
                             16   necessarily result from closing the Bank Accounts and opening new accounts, all parties in interest,
                             17   including employees, vendors, customers, and creditors will be best served. The confusion that would
                             18   otherwise result, absent the relief requested in the Cash Management Motion, would ill-serve the
                             19   Debtors’ rehabilitative efforts.
                             20           Accordingly, for the reasons set forth herein, I respectfully submit that the relief requested in
                             21   the Cash Management Motion is necessary and appropriate, is in the best interests of their estates and
                             22   all parties in interest, is necessary to avoid immediate and irreparable harm to the Debtors, and should
                             23   be granted.
                             24   IV.     MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 105(A), 363(B), AND 507 AND
                                          FED. R. BANKR. P. 6003 AND 6004 FOR INTERIM AND FINAL AUTHORITY TO (I)
                             25           PAY PREPETITION WAGES, SALARIES, AND OTHER COMPENSATION AND
                                          BENEFITS; (II) MAINTAIN EMPLOYEE BENEFIT PROGRAMS; AND (III) PAY
                             26           RELATED ADMINISTRATIVE OBLIGATIONS (THE “EMPLOYEE WAGES AND
                                          BENEFITS MOTION”)
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                     44
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          Pursuant to the Employee Wages and Benefits Motion, the Debtors are seeking interim and
                              2   final authority to (i) pay, in their sole discretion, all prepetition amounts required under or related to
                              3   the Debtors’ Compensation Obligations, Employee Incentive and Retention Programs, Reimbursable
                              4   Expenses, Withholding Obligations, Payroll Maintenance Fees, Severance Programs, Employee
                              5   Benefits Programs, and Supplemental Workforce Obligations (each as defined below, and together
                              6   with any Employee Program Administrative Obligations (as defined below), the “Prepetition
                              7   Employee Obligations”); (ii) continue their prepetition compensation practices, programs, benefits,
                              8   and policies for their Employees (as defined below) (collectively, the “Employee Wage and Benefits
                              9   Programs”) as such were in effect as of the date hereof and as such may be modified, amended, or
                             10   supplemented from time to time in the ordinary course of the Debtors’ businesses, and (iii) honor and
                             11   pay any related administrative fees, costs, expenses, and obligations arising thereunder (collectively,
                             12   the “Employee Program Administrative Obligations”). Further, the Debtors request that the Court
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                             13   authorize and direct all applicable Banks to receive, process, honor, and pay all checks issued or to be
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                             14   issued and electronic funds transfers requested or to be requested relating to the Prepetition Employee
                             15   Obligations.
                             16          The following chart sets forth the various categories and approximate outstanding amounts of
                             17   the Prepetition Employee Obligations4 that the Debtors are seeking authority to pay pursuant to the
                             18   Employee Wages and Benefits Motion within the first thirty days of the Chapter 11 Cases (the
                             19   “Interim Period”) and on a final basis. Each of the categories of Prepetition Employee Obligations,
                             20   including the related Employee Program Administrative Obligations, is defined and discussed in
                             21   further detail below.
                             22                                                           Approx. Amount
                                                                                                                 Approx. Amount
                                                                                           Seeking to Pay
                             23                           Category                                               Seeking to Pay on
                                                                                           During Interim
                                                                                                                    Final Basis
                                                                                               Period
                             24
                                        Compensation Obligations                            $61,200,000             $61,200,000
                             25         Incentive and Retention Program
                                                                                             $970,000               $35,970,000
                                        Obligations (excluding 2018 STIP)
                             26
                             27   4
                                    Amounts related to the Employee Program Administrative Obligations are included in the relevant
                             28   categories in the chart below and also described below.
                                  DECLARATION OF JASON P. WELLS                      45
                                  IN SUPPORT OF FIRST DAY MOTIONS
                                        Reimbursable Expenses                               $3,800,000              $3,800,000
                              1
                                        Withholding Obligations5                           $24,330,000             $24,330,000
                              2
                                        Payroll Maintenance Fees                             $75,000                  $75,000
                              3
                                        Severance Obligations                                $630,000                $820,000
                              4                                        6
                                        Benefits Program Obligations                       $73,600,000             $95,792,000
                              5
                                        Supplemental Workforce Obligations                 $25,000,000             $35,000,000
                              6
                                         As discussed above, the Utility is one of the nation’s largest utility companies, providing
                              7
                                  electric and natural gas service to approximately 16 million customers in northern and central
                              8
                                  California. Together, the Debtors employ approximately 24,000 Employees, 7 including approximately
                              9
                                  14,300 Employees who are paid on an hourly basis and approximately 9,000 Employees who earn
                             10
                                  salaries.8 Of the Debtors’ approximately 24,300 Employees, approximately 15,200 Employees are
                             11
                                  covered under collective bargaining agreements (the “Represented Employees”) with the local
                             12
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                                  chapters of three (3) labor unions: (i) the International Brotherhood of Electrical Workers (“IBEW”),
                             13
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                                  (ii) the Engineers and Scientists of California (“ESC”), and (iii) the Service Employees International
                             14
                                  Union (“SEIU”) (collectively, the “Unions”). The Debtors’ Employees perform a variety of critical
                             15
                                  functions, including operating and maintaining the Debtors’ generation units, natural gas facilities, and
                             16
                                  distribution and transmission assets; performing customer outreach and other critical customer-facing
                             17
                                  services; collecting payments from the Debtors’ customers; and ensuring the safety and reliability of
                             18
                                  the Debtors’ operations. Employees are also responsible for administering PG&E’s clean energy, low
                             19
                                  income and energy efficiency programs as well as administering payroll, benefits, facilities and
                             20
                                  information systems and technology required to support the operational employees.
                             21
                             22
                                  5
                                    Substantially all of this amount represents amounts withheld from Employee compensation for
                             23   withholding taxes and the Debtors’ payroll tax obligations.
                                  6
                             24     As noted below, a significant portion of this amount (approximately $30 million) represents amounts
                                  withheld from or contributed by Employees.
                             25   7
                                    For purposes of the Employee Wages and Benefits Motion, “Employees” means all persons entitled
                                  to, as of the Petition Date, compensation, benefits, reimbursement, and any other similar payments as a
                             26   consequence of their being employed by either Debtor. The term “Employees” does not include any
                                  Supplemental Workers (as defined below).
                             27   8
                                    The Debtors’ Employees reside in nearly every county in California, as well as in thirty-six other
                             28   states including, Arizona, Pennsylvania, Texas, and Virginia.
                                  DECLARATION OF JASON P. WELLS                     46
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1           It is my understanding based upon discussions with counsel that the Debtors have twelve (12)
                              2   Employees who constitute “insiders” for purposes of section 503 of the Bankruptcy Code (the
                              3   “Insiders”).
                              4           In addition to their Employees, the Debtors use the services of approximately 1,900
                              5   independent contractors and, through various staffing agencies (the “Staffing Agencies”), temporary
                              6   workers to assist with their operations (each, a “Supplemental Worker” and, collectively, the
                              7   “Supplemental Workforce” and, together with the Employees, the “Personnel”). Members of the
                              8   Supplemental Workforce, who complement the efforts of the Debtors’ Employees, primarily perform
                              9   specialized tasks that, for various reasons, the Employees cannot perform on their own, including, for
                             10   example, certain maintenance and repair work on transmission lines following weather-related events.
                             11           The Debtors’ Personnel are the lifeblood of the Debtors’ businesses—without them, the
                             12   Debtors’ operations would come to a halt. Due to the highly technical, specialized, and regulated
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                             13   nature of the electricity generation and energy transmission and distribution industry, the Debtors must
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                             14   maintain a uniquely skilled workforce, whose knowledge base is critical to the Debtors’ businesses and
                             15   ongoing operations and, as a result, to the success of the Chapter 11 Cases. Further, all of the Debtors’
                             16   customers, located throughout an approximately 70,000-square-mile service area in northern and
                             17   central California, rely on the Debtors’ Personnel to receive electricity and natural gas service.
                             18   Without the Debtors’ Personnel, the Debtors’ customers in northern and central California would not
                             19   receive essential utility services.
                             20           A.      Compensation Obligations

                             21           The Debtors pay their Employees salaries, wages, and other compensation, including overtime

                             22   pay, for the Employees’ services (collectively, the “Compensation Obligations”). Employees who

                             23   are paid wages on an hourly basis are paid bi-weekly in arrears, and the Debtors’ salaried Employees

                             24   receive payment on a monthly basis on approximately the 23rd day of each month for services

                             25   rendered from the 1st to the 23rd of that month as well as for services yet to be rendered for the

                             26   remainder of the month. Approximately 14,300 Employees are paid hourly and approximately 9,000

                             27   Employees are paid a monthly salary. Although the vast majority of the Debtors’ Employees elect to

                             28
                                  DECLARATION OF JASON P. WELLS                     47
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   have their compensation deposited directly into their bank accounts though an electronic funds
                              2   transfer, approximately 700 Employees are paid by check.
                              3          On average, the Debtors pay approximately $297,400,000 each month on account of
                              4   Compensation Obligations. As of the Petition Date, the Debtors estimate that the aggregate amount of
                              5   accrued, but unpaid, Compensation Obligations totals approximately $61,200,000, all of which will
                              6   come due during the Interim Period.        On a per-Employee basis, the outstanding prepetition
                              7   Compensation Obligations average approximately $4,400, below the statutory caps imposed by
                              8   sections 507(a)(4) and 507(a)(5) of the Bankruptcy Code. The Debtors do not believe that payment of
                              9   the prepetition Compensation Obligations will result in any Employee receiving more than $12,850 on
                             10   account thereof. Pursuant to the Employee Wages and Benefits Motion, the Debtors seek authority to
                             11   pay the Compensation Obligations in the ordinary course of business, including all prepetition amounts
                             12   relating to such obligations.
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                             13          B.      Employee Incentive and Limited Retention Programs
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                             14          The Debtors maintain certain incentive and retention programs9 (collectively, the “Employee

                             15   Incentive and Retention Programs” and, all amounts required under or relating thereto, the

                             16   “Incentive and Retention Program Obligations”) to motivate and reward certain Employees. The

                             17   Employee Incentive and Retention Programs include (i) the Short-Term Incentive Plan, (ii) the

                             18   Rewards and Recognition Program, (iii) the Temporary Assignment Program, (iv) the Service Award

                             19   Program, and (v) the Limited Retention Programs (each as defined below). 10 The Employee Incentive

                             20   and Retention Programs are critical components of Employees’ general compensation structure and

                             21   bring substantial value to the Debtors’ estates. The incentive programs align eligible Employees’

                             22   interests with those of the Debtors by linking awards under the incentive programs to the overall

                             23   9
                                     Unless otherwise specified, programs and practices mentioned in Employee Wages and Benefits
                                  Motion benefit Employees of both Debtors, although they may be maintained or administered by only
                             24   one of the Debtors.
                                  10
                             25      The Debtors also maintain an annual long-term incentive program (“LTIP”) for certain Employees.
                                  At this time, the Debtors are not seeking authority to make any cash payments under such programs,
                             26   and are not seeking authority to implement an LTIP and grant awards for 2019. Earned and previously
                                  granted equity awards under existing LTIPs will continue to be provided (but no cash payments or
                             27   dividend payments thereon). In addition, the Debtors reserve the right to seek Court approval to
                                  implement a key employee retention plan, a key employee incentive plan, and a short term incentive
                             28   plan for 2019.
                                  DECLARATION OF JASON P. WELLS                    48
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   performance and efficiency of the Debtors’ operations. The Limited Retention Programs include a
                              2   discrete program at the department level and a CPUC-approved retention program for Employees at
                              3   the Debtors’ Diablo Canyon Nuclear Plant.
                              4          Pursuant to the Employee Wages and Benefits Motion (except with respect to the Insiders), the
                              5   Debtors seek authority to pay obligations in connection with the Employee Incentive and Retention
                              6   Programs in the ordinary course of business (except as otherwise provided in the Employee Wages and
                              7   Benefits Motion), including all prepetition amounts on account of such obligations, and to continue to
                              8   administer the Employee Incentive and Retention Programs as set forth herein in the ordinary course of
                              9   business. Each of the Employee Incentive and Retention Programs is described in further detail below.
                             10   Although Insiders of the Debtors have historically been eligible to receive payments or awards under
                             11   certain of the Employee Incentive and Retention Programs, the Debtors are not requesting authority at
                             12   this time to make any payments under any Employee Incentive and Retention Programs to the Insiders.
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                             13                  1.      Short-Term Incentive Plan
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                             14          The Debtors maintain a broad-based program (the “Short-Term Incentive Plan”) through

                             15   which certain Employees are eligible for annual cash awards based on the Debtors’ achievement of

                             16   certain enterprise-wide performance targets and such Employees’ individual performance. Awards

                             17   under the Short-Term Incentive Plan (collectively, “STIP Awards”) are based on a formula that is

                             18   unique to each Employee and that takes into account each Employee’s base pay rate, job position, and

                             19   individual performance, as well as the Debtors’ performance as a whole. The STIP Awards are an

                             20   integral component of the compensation of Employees who participate in the plan and upon which

                             21   they rely on an annual basis. The Debtors believe that the STIP Awards incentivize strong Employee

                             22   performance and are critical to ensuring that Employees stay motivated and reach higher performance

                             23   standards, which in turn maximizes the value of the Debtors’ business for all parties in interest.

                             24          For fiscal year 2018, approximately 14,000 Employees were eligible to receive STIP Awards at

                             25   a total aggregate expected cost to the Debtors of approximately $130,000,000 for 2018 performance,

                             26   which is to be paid in March, 2019. The average individual STIP Award for 2018 is expected to be

                             27   approximately $13,000, and individual STIP Awards are expected to range from approximately $5,000

                             28    to $90,000, exclusive of the Insiders. Annually, the Compensation Committee of the PG&E Corp.
                                  DECLARATION OF JASON P. WELLS                   49
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Board of Directors (the “Compensation Committee”) certifies the Debtors’ level of achievement of
                              2   the enterprise-wide performance targets for the applicable fiscal year, and approves the final STIP
                              3   score, as well as final STIP Awards. A STIP Award is forfeited if an Employee leaves prior to
                              4   December 31 of the year in which the STIP Award is earned, unless the Employee is severed without
                              5   cause or is qualified as a Retiree (as defined below), in which case the person is entitled to a prorated
                              6   award based on the percentage of the year they were an active Employee.
                              7          Pursuant to the Employee Wages and Benefits Motion, the Debtors seek authority to pay
                              8   Employees the STIP Awards earned for 2018, except that they are not requesting authority to pay STIP
                              9   Awards to any Insiders or to any officers to the extent earned during the period they were officers.
                             10   Further, the Debtors are not requesting authority to pay any STIP Awards on an interim basis.
                             11   Consideration of the relief sought in the Employee Wages and Benefits Motion with respect to the
                             12   STIP Awards will be deferred to the final hearing on the Employee Wages and Benefits Motion.
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                             13                  2.      Rewards and Recognition Program
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                             14          The Debtors maintain a program (the “Rewards and Recognition Program”) to promote

                             15   timely recognition of Employees in good standing who have gone above and beyond their normal job

                             16   responsibilities, such as emergency response or participation in special initiatives outside their regular

                             17   job duties. Awards under the Rewards and Recognition Program (collectively, “R&R Awards”) may

                             18   be monetary, non-monetary, or both, and are made by the Debtors on a discretionary basis and in

                             19   discretionary amounts. Non-monetary awards are provided in the form of gift cards. Members of

                             20   management establish and distribute guidelines for the Rewards and Recognition Program to help

                             21   ensure consistency throughout the various departments, but R&R Awards are granted on a

                             22   departmental basis. R&R Awards are subject to the Debtors’ policies and practices, which control the

                             23   amount of R&R Awards at each level that the leadership of each department may approve. On an

                             24   annual basis, approximately 6,300 Employees receive R&R Awards at a total cost to the Debtors of

                             25   approximately $15,200,000. In 2018, the average R&R Award was approximately $1,200. R&R

                             26   Awards are processed through the Debtors’ employee and leadership SAP portal, and can be submitted

                             27   at any time. The Debtors disburse R&R Awards throughout the year, depending on the department.

                             28    As of the Petition Date, the Debtors estimate that approximately $650,000 in value of R&R Awards are
                                  DECLARATION OF JASON P. WELLS                       50
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   outstanding on account of the Rewards and Recognition Program with respect to the prepetition period,
                              2   all of which will come due during the Interim Period. Pursuant to the Employee Wages and Benefits
                              3   Motion, the Debtors request authority to pay all R&R Awards, including all prepetition amounts
                              4   relating thereto.
                              5                   3.    Temporary Assignment Program

                              6           The Debtors maintain a program (the “Temporary Assignment Program”) to provide awards

                              7   (collectively, “Temporary Assignment Awards”) to Employees who are temporarily transferred to

                              8   positions in so-called “temporary positions” (the “Temporary Positions”).         Awards are paid in

                              9   discretionary amounts based on the eligible Employee’s performance and duration of employment in

                             10   the Temporary Position.    On an annual basis, approximately 350 Employees receive Temporary

                             11   Assignment Awards at an aggregate cost to the Debtors of approximately $2,600,000. In 2018, the

                             12   average Temporary Assignment Award was approximately $5,400, and individual Temporary
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                             13   Assignment Awards ranged from approximately $160 to $28,650. The Debtors generally disburse
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                             14   Temporary Assignment Awards upon Employees’ completion of their placements in Temporary

                             15   Positions. As of the Petition Date, the Debtors estimate that approximately $250,000 is outstanding on

                             16   account of the Temporary Assignment Program, all of which will come due during the Interim Period.

                             17   Pursuant to the Employee Wages and Benefits Motion, the Debtors request authority to pay all

                             18   Temporary Assignment Awards, including all prepetition amounts relating thereto.
                                                  4.    Service Award Program
                             19
                                          The Debtors maintain a program (the “Service Award Program”) that recognizes Employee
                             20
                                  service milestones every five years and at retirement for all Employees. Full- or part-time Employees
                             21
                                  with at least five years of service are eligible to participate and may elect to receive a non-monetary
                             22
                                  award, such as gift cards and tickets to sporting events and concerts, or to make a donation in an
                             23
                                  amount determined by the Debtors, to one of the following pre-selected nonprofit organizations:
                             24
                                  REACH Program, California State Parks Foundation, or the American Red Cross Bay Area Chapter.
                             25
                                  Eligible Employees select their service award through the Debtors’ service award portal operated by BI
                             26
                                  Worldwide.
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                    51
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1           On an annual basis, approximately 5,300 Employees and Retirees receive awards under the
                              2   Service Award Program at a total cost to the Debtors of approximately $850,000. In 2018, the average
                              3   award ranged from $43 for those with five years of service to $419 for those with 25 years or more of
                              4   service. The Debtors disburse service awards throughout the year. As of the Petition Date, the
                              5   Debtors estimate that approximately $70,000 is outstanding on account of the Service Award Program,
                              6   all of which will come due during the Interim Period. Pursuant to the Employee Wages and Benefits
                              7   Motion, the Debtors request authority to pay all obligations arising under the Service Award Program,
                              8   including any prepetition amounts.
                              9                  5.     Limited Retention Programs

                             10           The Debtors maintain a limited retention-based awards program at the departmental level,

                             11   which provides cash awards to certain key, hard-to-replace Employees to ensure that they continue

                             12   their employment with the Debtors (the “Retention Program”). The Retention Program does not
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                             13   include any Insiders. To receive an award (each, a “Retention Award”) pursuant to the Retention
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                             14   Program, an Employee’s manager must articulate a business case explaining, among other things, the

                             15   need for the award and why that need cannot be met through other means. The Retention Program

                             16   awards Employees who are identified as key Employees either because they have indicated that they

                             17   are planning to leave and their job function is critical, or they are identified by the Debtors as key

                             18   based on a specific work assignment. On an annual basis, approximately 50 Employees receive

                             19   Retention Awards at a total cost to the Debtors of approximately $1,200,000. In 2018, the average

                             20   Retention Award was approximately $27,000, and Retention Awards ranged from approximately

                             21   $2,583 to $150,000. The Debtors disburse Retention Awards throughout the year. As of the Petition

                             22   Date, the Debtors estimate that there are no amounts outstanding on account of the Retention Program.

                             23           The Debtors also maintain a separate retention program for Employees (none of whom are

                             24   Insiders) at Diablo Canyon Power Plant (“DCPP”), the Utility’s nuclear generation facility.

                             25   Approximately 1,360 Employees are currently participating in the program. The Debtors made a

                             26   decision not to seek relicensing of the DCPP which will ultimately result in the plant’s closure. The

                             27   operation of the DCPP will, however, continue for several years and the Debtors need skilled and

                             28    knowledgeable personnel to operate the plant safely and reliably. In order to incentivize Employees to
                                  DECLARATION OF JASON P. WELLS                     52
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   remain at DCPP, the Debtors proposed a retention plan, which was initially approved by the CPUC in
                              2   January of 2018 with certain modifications. The California legislature subsequently passed legislation
                              3   (Public Utilities Code Section 712.7, effective January 1, 2019) requiring the CPUC to approve full
                              4   funding for the retention program and in December 2018, the CPUC issued a decision approving full
                              5   funding for the retention program initially proposed (the “Diablo Canyon Retention Program”).
                              6   Pursuant to such legislation, the retention payment percentage was raised from 15% to 25% for each
                              7   retention plan participant.   As a result, in April of 2019, the Debtors will be required to make
                              8   retroactive payments on account of each DCPP retention plan participant. The Debtors estimate that
                              9   this retroactive payment will aggregate approximately $35,000,000. Normal ongoing payments with
                             10   respect to the program will be made in the Fall of 2019.
                             11          The Diablo Canyon Retention Program includes a base retention program that is provided to
                             12   the Debtors’ Employees who satisfy the following criteria: (i) they work in a regular active full-time
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                             13   status at DCPP or solely support DCPP operations, (ii) their job or job functions will be eliminated as a
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                             14   result of the cessation of operations at DCPP, (iii) they work during the entirety of one or both of the
                             15   commitment periods, and (iv) they sign a base retention program payback agreement. The first
                             16   commitment period is a four- (4) year commitment of employment which covers years 2016 through
                             17   2020. The second period is a three- (3) year commitment which covers years 2020 through 2023.
                             18   Pursuant to the Diablo Canyon Retention Program, eligible Employees will receive a payment equal to
                             19   25% of the Employee’s base salary plus overtime for each yearly segment of the commitment period.
                             20   The Debtors make each yearly segment payment between October 1 and December 31 of each year.
                             21   At the end of the Employee’s assignment at DCPP, the Employee will have the option to select to
                             22   remain on the payroll for six months while conducting a job search for internal employment. If the
                             23   Employee is not successful in finding internal employment, their final severance payment (under the
                             24   DCPP Severance Program, discussed below) will be reduced by the amount the Employee was paid

                             25   during the six months. Employees who must relocate to secure an employment opportunity will be
                             26   reimbursed for moving expenses to a maximum of $5,000. As stated, no amounts related to the Diablo
                             27   Canyon Retention Program are payable during the Interim Period. Because, among other things, the
                             28
                                  DECLARATION OF JASON P. WELLS                     53
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   CPUC has authorized full funding for this program, the Debtors intend to continue the program in the
                              2   ordinary course.
                              3            C.     Reimbursable Expenses

                              4            In the ordinary course of business, the Debtors reimburse their Employees for reasonable and

                              5   customary expenses incurred in the scope of their employment (collectively, the “Employee

                              6   Reimbursable Expenses”).        The Employee Reimbursable Expenses can include those expenses

                              7   related to business travel, relocation, certain meals, fitness memberships, and communications (e.g.,

                              8   certain cell phone expenses), depending on the position, department, and seniority of the Employee.

                              9            In connection with this practice, the Debtors provide certain Employees with credit cards (the

                             10   “Employee Credit Cards”) to be used for paying certain Employee Reimbursable Expenses. The

                             11   Debtors’ vendor, U.S. Bank, requires that the Debtors pre-fund the accounts for the Employee Credit

                             12   Cards.
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                             13            Employees also use the Debtors’ expense reimbursement portal operated by Concur Expense
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                             14   Management to seek reimbursement for expenses charged to Employee Credit Cards and for business-

                             15   related purchases that are not charged to an Employee Credit Card.

                             16            In addition to the Employee Credit Cards, certain Employees are provided with purchasing

                             17   cards (the “Employee Purchasing Cards” and, together with the Employee Credit Cards, the

                             18   “Employee Cards”) to pay for certain emergency expenses, meals for large groups of Employees, and

                             19   expenses related to various operational materials and services necessary for the Debtors’ operations.

                             20   The Debtors’ vendor, U.S. Bank, also requires that the Debtors pre-fund the accounts for the Employee

                             21   Purchasing Cards.     The Debtors typically fund the accounts on a bi-weekly basis and maintain

                             22   approximately $20 million on account with U.S. Bank to cover obligations relating to the Employee

                             23   Cards. All Employee Cards issued by the Debtors to their Employees have pre-funded account limits

                             24   and detailed restrictions on permissible expenditures.

                             25            The Debtors also reimburse the members of their Boards of Directors for expenses incurred in

                             26   connection with the performance of their duties as directors (collectively with the Employee

                             27   Reimbursable Expenses, the “Reimbursable Expenses”).

                             28
                                  DECLARATION OF JASON P. WELLS                     54
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          The Debtors estimate that Reimbursable Expenses aggregate approximately $17,200,000 per
                              2   month, including the pre-funded accounts for the Employee Cards. As of the Petition Date, the
                              3   Debtors estimate that approximately $3,800,000 is outstanding on account of Reimbursable Expenses,
                              4   all of which will come due during the Interim Period. Pursuant to the Employee Wages and Benefits
                              5   Motion, the Debtors seek authority to satisfy all prepetition obligations related to Reimbursable
                              6   Expenses, including those incurred through the use of Employee Cards, as and when they arise and to
                              7   continue in the ordinary course the usage of the Employee Cards as described herein.
                              8          Payment of the Reimbursable Expenses is an exercise of sound business judgment and
                              9   necessary to facilitate a successful reorganization because any other treatment of would be highly
                             10   inequitable. Employees and Directors who have incurred Reimbursable Expenses on behalf of the
                             11   Debtors should not be forced to bear the cost of such expenses personally, especially because the
                             12   Reimbursable Expenses were incurred for the Debtors’ benefit, in the course of their employment or
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                             13   service, and with the understanding that they would be reimbursed. In addition, as stated, substantial
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                             14   obligations with respect to the Employee Cards have been pre-funded prior to the Petition Date to
                             15   cover charges.
                             16          D.        Withholding Obligations

                             17          As employers, the Debtors are required by law to withhold from their Employees’ salaries,

                             18   wages, and other compensation amounts related to federal, state, and local income taxes, as well as

                             19   Social Security and Medicare taxes (collectively, the “Withholding Taxes”) and to remit them to the

                             20   appropriate taxing authorities (collectively, the “Taxing Authorities”). The Debtors also are required

                             21   to make payments from their own funds on account of Social Security and Medicare taxes and to pay,

                             22   based on a percentage of gross payroll (and subject to state-imposed limits), additional amounts to the

                             23   Taxing Authorities for, among other things, state and federal unemployment insurance (collectively,

                             24   the “Employer Payroll Taxes” and, together with the Withholding Taxes, the “Payroll Tax

                             25   Obligations”). In the aggregate, the Debtors’ monthly Payroll Tax Obligations total approximately

                             26   $95,000,000. As of the Petition Date, the Debtors estimate that they owe approximately $22,000,000

                             27   on account of Payroll Tax Obligations relating to the prepetition period, all of which will come due

                             28    during the Interim Period.
                                  DECLARATION OF JASON P. WELLS                    55
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          In the ordinary course of processing payroll for the Employees, the Debtors also may be
                              2   required by law, in certain circumstances, to withhold from certain Employees’ wages amounts for
                              3   various garnishments, such as tax levies, child support, and other court-ordered garnishments
                              4   (collectively, the “Garnishments”).      Each pay cycle, the Debtors withhold Garnishments from
                              5   applicable Employees’ paychecks and remit them to the appropriate authorities or entities.           On
                              6   average, the Debtors withhold approximately $1,000,000 in Garnishments per month from Employees’
                              7   wages and salaries. As of the Petition Date, the Debtors estimate that they currently have withheld
                              8   approximately $300,000 on account of Garnishments that have not been remitted.
                              9          Further, at Employees’ request, the Debtors withhold certain amounts from Employees’ wages
                             10   and salaries for transmittal to third parties, including for the following categories: (i) the payment of
                             11   dues that Represented Employees owe to the Unions (collectively, the “Union Obligations”), (ii)
                             12   amounts to be transferred via a third-party non-profit administrator, YourCause LLC, to charitable
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                             13   organizations selected by Employees pursuant to the Campaign for the Community (collectively, the
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                             14   “Community Campaign Obligations”), (iii) amounts to be transferred to various employee-funded
                             15   political action committees (“PAC”), as selected by the Employee (collectively, the “PAC
                             16   Obligations”), and (iv) amounts to be transferred to the Pacific Service Employees Association, a not-
                             17   for-profit mutual benefit organization for dues and other benefits (“PSEA Obligations” and together
                             18   with Union Obligations, Community Campaign Obligations, and PAC Obligations, the “Employee
                             19   Elective Deduction Obligations” and together with the Payroll Tax Obligations and Garnishments,
                             20   the “Withholding Obligations”).
                             21          The Debtors withhold the Employee Elective Deduction Obligations from participating
                             22   Employees’ paychecks and remit them to the applicable recipient as described above. On average, the
                             23   Debtors withhold approximately $3,000,000 in Employee Elective Deduction Obligations each month
                             24   from participating Employees’ wages and salaries. As of the Petition Date, the Debtors estimate that

                             25   they are currently withholding but have not yet remitted approximately $2,000,000 on account of
                             26   Employee Elective Deduction Obligations. Additionally, the Debtors also pay approximately $16,000
                             27   per month in administrative fees to YourCause LLC. The Debtors estimate that, as of the Petition
                             28
                                  DECLARATION OF JASON P. WELLS                     56
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Date, they owe approximately $32,000 in such administrative fees, all of which will come due during
                              2   the Interim Period.
                              3          Pursuant to the Employee Wages and Benefits Motion, the Debtors seek authority to continue
                              4   remitting and paying the Withholding Obligations (whether pre- or postpetition) to the appropriate
                              5   authorities and entities in the ordinary course of business and to pay any administrative fees with
                              6   respect to the Withholding Obligations.
                              7          E.      Payroll Maintenance Fees

                              8          To manage the efficient processing and payment of the various obligations described above, the

                              9   Debtors rely on the services of certain third-party vendors (collectively, the “Payroll Maintenance

                             10   Vendors”), including, but not limited to, Concur, ADP, Inc. (“ADP”), and TALX Corp. (“TALX”).

                             11   As discussed above, the Debtors rely on Concur to administer their expense reimbursement portal.

                             12   The Debtors use ADP to administer wage garnishments and TALX for employment verification. The
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                             13   Debtors pay each of the Payroll Maintenance Vendors on a monthly basis for the aforementioned
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                             14   services (the “Payroll Maintenance Fees”).

                             15          On average, the Debtors pay Payroll Maintenance Vendors approximately $75,000 in the

                             16   aggregate, on a monthly basis on account of Payroll Maintenance Fees. As of the Petition Date, the

                             17   Debtors estimate that they owe approximately $75,000 on account of Payroll Maintenance Fees

                             18   relating to the prepetition period, all of which will come due during the Interim Period. Failure to pay

                             19   the Payroll Maintenance Fees could lead to delayed disbursement of payments to the Debtors’

                             20   Employees, to the detriment of the Employees and the Debtors’ operations. In addition, replacing any

                             21   of the Payroll Maintenance Vendors would take a significant amount of time and expense and result in

                             22   a disruption to normal employee payment practices. Accordingly, pursuant to the Employee Wages

                             23   and Benefits Motion, the Debtors seek authority to pay Payroll Maintenance Fees in the ordinary

                             24   course of business, including all prepetition amounts on account of such Payroll Maintenance Fees.
                                         F.      Severance Programs and Obligations
                             25
                                         In the ordinary course of business, the Debtors maintain three severance programs for the
                             26
                                  benefit of all Employees except Represented Employees. Severance for Represented Employees is
                             27
                                  covered by their respective labor agreements (the “Represented Employee Severance Obligations”).
                             28
                                  DECLARATION OF JASON P. WELLS                     57
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   The three programs are: (i) the DCPP Severance Program, (ii) the Senior Officer Severance Program,
                              2   and (iii) the General Severance Program (each as defined below, and collectively, the “Severance
                              3   Programs”). Although Employees are eligible to receive benefits under the Severance Programs, the
                              4   level of benefits that a particular eligible Employee receives varies.
                              5          Under the Senior Officer Severance Program, the forty (40) eligible Employees are entitled,
                              6   upon a qualifying termination, to receive (i) a lump-sum payment equal to one year’s base pay and
                              7   target STIP payout; (ii) a lump-sum payment which is the equivalent of 18-months of COBRA
                              8   coverage to cover transition expenses, which may include items such as medical benefits and life
                              9   insurance coverage; and (iii) career counseling services, which include outplacement services for the
                             10   length of their severance consideration period (the “Senior Officer Severance Obligations”). Absent
                             11   further order of the Court, and, based upon discussions with counsel, consistent with section 503 of the
                             12   Bankruptcy Code, the Debtors will not make any severance payments to the Insiders.
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                             13          Pursuant to the General Severance Program, eligible Employees, upon termination, are entitled
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                             14   to receive benefits which vary based on the Employees’ experience and title. Eligible Employees who
                             15   are in non-director positions are eligible to receive: (i) a lump-sum payment equal to three weeks’ pay
                             16   per year of credited service, with a 12-week minimum and a 52-week maximum; (ii) a lump-sum
                             17   payment of $9,000 to cover transition expenses, which may include items such as medical benefits and
                             18   life insurance coverage; and (iii) career counseling services, which include outplacement services for
                             19   the length of their severance consideration period. Eligible Employees in director positions are entitled
                             20   to receive (i) a lump-sum payment equal to three weeks’ base pay per year of credited service, with a
                             21   12-week minimum and a 52-week maximum, plus a similar ratable share of their STIP Award; (ii) a
                             22   lump-sum payment of $16,650 to cover transition expenses, which may include items such as medical
                             23   benefits and life insurance coverage; and (iii) career counseling services, which include outplacement
                             24   services for the length of their severance consideration period (collectively, the “General Severance

                             25   Obligations”).
                             26          Employees at DCPP are covered by a separate severance program (the “DCPP Severance
                             27   Program”). The DCPP Severance Program is similar in all respects to the General Severance Program
                             28
                                  DECLARATION OF JASON P. WELLS                       58
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   except for the maximum lump-sum payment, which is 78 weeks (the “DCPP Severance Obligations”
                              2   and together with the Senior Officer Severance Obligations and the General Severance Obligations, the
                              3   “Severance Obligations”). The Debtors have not made any payments on account of the DCPP
                              4   Severance Program in the past two years and do not anticipate making any payments under this
                              5   program in 2019.
                              6          In addition to the foregoing, less than ten (10) Employees whose positions are eliminated
                              7   because of automated meter reading are eligible to select a transitional leave program where they
                              8   receive the same applicable General Severance Obligations but such obligations are payable on an
                              9   ongoing basis for the designated time period.
                             10          The Debtors have substantial business justification for continuing the Severance Programs in
                             11   the ordinary course as requested in the Employee Wages and Benefits Motion. The Debtors’ ability to
                             12   provide terminated Employees with their severance is critical to maintaining positive Employee morale
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                             13   and loyalty.   Increased instability in the Debtors’ workforce will only undermine the Debtors’
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                             14   reorganization efforts and their long-term viability. The Severance Programs have been designed with
                             15   a specific focus on the utility industry which is highly specialized and less saturated, which may result
                             16   in challenges for Employees seeking new employment in the same or other industries. Additionally, as
                             17   a condition to receiving benefits under the Severance Programs, the Debtors require each severed
                             18   Employee to release all potential claims against the Debtors. As stated, no authority for severance
                             19   payments to Insiders is being sought pursuant to the Employee Wages and Benefits Motion.
                             20          Pursuant to the Employee Wages and Benefits Motion, the Debtors are seeking authority
                             21   (except as indicated above) to continue the Severance Programs and to pay all Severance Obligations
                             22   and all Represented Employee Severance Obligations in the ordinary course of business, whether
                             23   arising prior to or after the Petition Date. On average, the Debtors pay approximately $500,000 each
                             24   month on account of Severance Obligations. Additionally, the Debtors pay approximately $70,000

                             25   each month on account of Represented Employee Severance Obligations. As of the Petition Date,
                             26   because the Severance Programs provide for largely lump sum payments, the Debtors estimate that
                             27   there are no amounts outstanding under the DCPP Severance Program or the Senior Officer Severance
                             28
                                  DECLARATION OF JASON P. WELLS                     59
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Program. The Debtors also estimate that there is approximately $600,000 owed under the General
                              2   Severance Program, all of which is payable during the Interim Period. Additionally, as of the Petition
                              3   Date, the Debtors estimate that they owe approximately $220,000 on account of existing Represented
                              4   Employee Severance Obligations, and expect that approximately $30,000 in Represented Employee
                              5   Severance Obligations will be required to be paid during the Interim Period.
                              6           G.       Employee Benefits Programs

                              7           In the ordinary course of business, the Debtors maintain various employee benefits plans,

                              8   policies, and programs (collectively, the “Employee Benefits Programs” and, all amounts required

                              9   and payable under or relating thereto, the “Benefits Program Obligations”).          These Employee

                             10   Benefits Programs generally fall into the following categories: (i) Paid Leave, (ii) Health Insurance

                             11   Programs, (iii) Retirement Programs, (iv) Life and Disability Insurance Programs, and (v) Work/Life

                             12   Benefits (each as defined and discussed in further detail below). Pursuant to the Employee Wages and
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                             13   Benefits Motion, the Debtors request authority to continue the Employee Benefits Programs and to pay
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                             14   all Benefits Program Obligations in connection therewith in the ordinary course of business, whether

                             15   related to the period prior to or after the Petition Date.
                                                   1.     Paid Leave
                             16
                                          In the ordinary course of business, the Utility maintains a policy for providing Employees paid
                             17
                                  leave (collectively, “Paid Leave”) in the form of paid vacation (“Vacation”) and paid holidays11
                             18
                                  (“Paid Holidays”) as well as certain other items, such as sick pay (“Sick Time”). The Utility provides
                             19
                                  Vacation to most Employees, which may be used for any reason. Vacation generally accrues at
                             20
                                  specified rates up to a maximum amount based on an Employee’s length of service and whether an
                             21
                                  Employee is a Represented Employee. For most Utility Employees, the maximum yearly Vacation is
                             22
                                  thirty (30) days per year.
                             23
                                          PG&E Corp. maintains a separate Paid Leave policy for its Employees (including all
                             24
                                  management and administrative and technical Employees, which includes paid time off (“PTO”) and
                             25
                                  paid holidays.
                             26
                             27   11
                                    Paid holidays include twenty four (24) hours of paid leave in the form of “floating holidays” in
                             28   addition to 10 specific holidays.
                                  DECLARATION OF JASON P. WELLS                        60
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          Although significant accrued Vacation, PTO, and Paid Holidays exist as of the Petition Date,
                              2   Employees only are entitled to cash payouts for their accrued and unused Vacation, PTO and Paid
                              3   Holidays upon termination of their employment or on an annual basis pursuant to a lump-sum payment
                              4   each February for unused Vacation or PTO that exceeds the maximum amounts that Employees are
                              5   permitted to carry over into the next calendar year. Pursuant to the Employee Wages and Benefits
                              6   Motion, the Debtors seek authority to pay any “cash out” amounts due or that may come due with
                              7   respect to accrued but unused Vacation, PTO, Paid Leave or Paid Holidays and to continue
                              8   administering such policies and programs and making payments thereunder in the ordinary course of
                              9   business.
                             10          In addition, the Debtors also provide certain other forms of Paid Leave to Employees in the
                             11   form of:
                             12          (a)     leave under the Family and Medical Leave Act and other similar statutes; and
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                             13          (b)     other leave for personal reasons, many of which are required by law, including statutory
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                                                 sick leave, workers’ compensation leave, missed work time in the ordinary course of
                             14                  business for bereavement leave, jury duty or court attendance, and time spent voting.
                             15          These other forms of Paid Leave do not involve incremental cash outlays beyond standard
                             16   payroll obligations, and, therefore, no amounts are outstanding as of the Petition Date.
                             17          The Debtors’ Paid Leave policies are broad-based programs upon which all Employees have
                             18   come to depend and are an integral element of their compensation. Continuation of the Paid Leave
                             19   policies in accordance with the Debtors’ prior practice is essential to maintaining positive Employee
                             20   morale during the Chapter 11 Cases and maximizing the value of the Debtors’ business enterprise.
                             21          As of the Petition Date, the Debtors estimate that they owe approximately $6,200,000 on
                             22   account of excess unused Vacation, all of which will be required to be paid during the Interim Period.
                             23                  2.     Health Insurance Programs

                             24          Employees are eligible to participate in a number of health insurance programs, including the

                             25   Medical Plans, the Dental Plan, the Vision Plan, the Health Account, and the Flexible Spending

                             26   Accounts (each as defined below and, collectively, the “Health Insurance Programs”). The Debtors

                             27   also subsidize or continue to provide health benefits to certain former Employees, including health

                             28    benefits provided in accordance with the Consolidated Omnibus Budget Reconciliation Act of 1985
                                  DECLARATION OF JASON P. WELLS                   61
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   (“COBRA”). Each of the Health Insurance Programs is described in further detail below. Pursuant to
                              2   the Employee Wages and Benefits Motion, the Debtors seek authority to pay all obligations in
                              3   connection with the Health Insurance Programs and to pay all obligations in connection with COBRA
                              4   in the ordinary course of business, including all prepetition amounts on account of such obligations,
                              5   and to continue to administer and pay all amounts payable under the Health Insurance Programs and
                              6   under COBRA in the ordinary course of business.
                              7                         a)      Medical Plans

                              8          The Debtors offer medical and prescription-drug insurance coverage (the “Medical Plans”) to

                              9   Employees. The Medical Plans primarily are administered by Blue Cross of California, Inc. d/b/a

                             10   Anthem Blue Cross (“Anthem”) and Kaiser Foundation Health Plan, Inc. (“Kaiser”).                Certain

                             11   prescription drug benefits are administered by Express Scripts Holding Company (“Express Scripts”)

                             12   and Willis Towers Watson (“WTW”), and certain mental health benefits are administered by Beacon
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                             13   Health Options, Inc. (“Beacon” and, together with Anthem, Kaiser, and Express Scripts, the “Medical
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                             14   Plan Administrators”). The coverage provided to eligible Employees under the Medical Plans differs

                             15   depending on the level of coverage an Employee elects to receive, and monthly healthcare premiums

                             16   differ depending on the Medical Plan in which an Employee is enrolled and whether the Employee has

                             17   dependents covered by the applicable plan. The total cost of the Medical Plans is approximately

                             18   $33,200,000 per month, of which approximately $2,600,000 is covered by Employee contributions.

                             19          The Debtors self-insure their portion and, after accounting for Employee contributions, spend

                             20   approximately $29,400,000 per month on medical and prescription-drug claims asserted under the

                             21   Medical Plans (collectively, the “Medical Claims”). The Debtors make payments on account of such

                             22   Medical Claims on a weekly basis. Employees typically submit Medical Claims forty–six (46) days

                             23   after incurring the relevant expenses, and, thus, the Debtors are unable to ascertain with certainty the

                             24   prepetition amounts due and outstanding on account of the Medical Claims. Based on historical

                             25   trends, the Debtors estimate that, as of the Petition Date, they owe approximately $53,000,000 on

                             26   account of prepetition Medical Claims, approximately $32,000,000 of which will come due during the

                             27   Interim Period.

                             28
                                  DECLARATION OF JASON P. WELLS                     62
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1             The Debtors also maintain an account for each Employee who is enrolled in one of the Medical
                              2   Plans (each, a “Health Account”). Health Accounts do not have cash values; rather, Health Accounts
                              3   hold “credits” that can be redeemed to cover out-of-pocket medical expenses incurred by Employees.
                              4   In essence, each credit in an Employee’s Health Account represents a commitment by the Debtors to
                              5   reimburse such Employee for out-of-pocket expenses up to a certain dollar amount. On January 1 of
                              6   each year, the Debtors contribute the equivalent of $500 per Employee or $1,000 per family of credits
                              7   to each eligible Employee’s Health Account. If eligible Employees participate in health screenings
                              8   and/or verify that they are not tobacco users, the Debtors contribute up to $500 per Employee or
                              9   $1,000 per family of additional credits for each of these activities to each eligible Employee’s Health
                             10   Account. The full balance of credits remaining in an Employee’s Health Account is carried over into
                             11   the next calendar year. Employees redeem the credits in their Health Accounts by submitting a claim
                             12   with the Debtors. The Health Accounts for 2019 have been funded.
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                             13             The Debtors also pay approximately $1,900,000 per month in administrative fees payable to the
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                             14   Medical Plan Administrators.        The Debtors estimate that, as of the Petition Date, they owe
                             15   approximately $1,900,000 in such administrative fees, all of which will come due during the Interim
                             16   Period.
                             17             Additionally, the Debtors pay monthly administrative fees of approximately $315,000 to
                             18   Mercer Benefits Administration, which manages the eligibility- and enrollment-related processes for
                             19   the Medical Plans, as well as the Dental Plan and the Vision Plan (as discussed below). The Debtors
                             20   estimate that, as of the Petition Date, they owe approximately $315,000 in such administrative fees, all
                             21   of which will come due during the Interim Period.
                             22                           b)     Dental Plan

                             23             The Debtors offer dental insurance coverage (the “Dental Plan”) to Employees. The Dental

                             24   Plan is administered by Delta Dental of California (the “Dental Plan Administrator”). The total cost

                             25   of the Dental Plan is approximately $2,700,000 per month, of which approximately $80,000 is covered

                             26   by Employee contributions.

                             27             The Debtors self-insure their portion and make payments on account of claims asserted under

                             28    the Dental Plan (the “Dental Claims”) on a weekly basis. Dental Claims are typically submitted
                                  DECLARATION OF JASON P. WELLS                63
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   approximately twenty (20) days after the relevant expense is incurred, and, thus, the Debtors are unable
                              2   to ascertain with certainty the prepetition amounts due and outstanding on account of the Dental
                              3   Claims. Based on historical trends, the Debtors estimate that, as of the Petition Date, they owe
                              4   approximately $2,100,000 on account of prepetition Dental Claims, all of which will come due during
                              5   the Interim Period.
                              6          In addition, the Debtors pay administrative fees of approximately $120,000 per month to the
                              7   Dental Plan Administrator. The Debtors estimate that, as of the Petition Date, they owe the Dental
                              8   Plan Administrator approximately $120,000 in such administrative fees, all of which will come due
                              9   during the Interim Period.
                             10                         c)      Vision Plan

                             11          The Debtors offer vision insurance coverage (the “Vision Plan”) through a plan administered

                             12   by Vision Service Plan, Inc. (the “Vision Plan Administrator”). The Debtors spend approximately
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                             13   $300,000 per month on claims asserted under the Vision Plan (collectively, the “Vision Claims”). The
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                             14   Debtors make payments on account of the Vision Claims on a monthly basis. Vision Claims are

                             15   typically submitted approximately fifteen (15) days after the relevant expense is incurred, and, thus,

                             16   the Debtors are unable to ascertain with certainty the prepetition amounts due and outstanding on

                             17   account of the Vision Claims. Based on historical trends, the Debtors estimate that, as of the Petition

                             18   Date, they owe approximately $240,000 on account of prepetition Vision Claims, all of which will

                             19   come due during the Interim Period.

                             20          The Debtors pay administrative fees of approximately $30,000 per month to the Vision Plan

                             21   Administrator. The Debtors estimate that, as of the Petition Date, they owe approximately $30,000 in

                             22   such administrative fees, all which will come due during the Interim Period.
                                                        d)      Flexible Spending Accounts
                             23
                                         In addition to offering the medical benefits described above, the Debtors offer Employees the
                             24
                                  option to enroll in certain flexible spending accounts, including a healthcare flexible spending account
                             25
                                  and a dependent care flexible spending account (collectively, the “Flexible Spending Accounts”).
                             26
                                  Participating Employees can make pre-tax payroll contributions (the “Flexible Spending Account
                             27
                                  Contributions”) to the Flexible Spending Accounts up to the maximum amounts permitted by the
                             28
                                  DECLARATION OF JASON P. WELLS                     64
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Internal Revenue Service. Employees then may use the proceeds of Flexible Spending Accounts to
                              2   cover the cost of eligible health care expenses incurred by such Employees and/or their dependents,
                              3   depending on the Flexible Spending Account in which they are enrolled. Employees who participate
                              4   in the Flexible Spending Accounts may use such proceeds by, among other means, utilizing a
                              5   designated debit card provided to participating Employees or submitting claims for reimbursement.
                              6             The Debtors withhold approximately $1,000,000 per month from Employees’ compensation on
                              7   account of the Flexible Spending Account Contributions and transfer such amounts to either Wage
                              8   Works, Inc. or Kaiser Foundation Health Plan Inc. SF (together, the “Flexible Spending Account
                              9   Administrators”), depending on the Medical Plan in which an Employee is enrolled. As of the
                             10   Petition Date, the Debtors estimate that they currently are withholding approximately $1,000,000 on
                             11   account of Flexible Spending Account Contributions. Pursuant to the Employee Wages and Benefits
                             12   Motion, the Debtors seek authority to transfer all withheld amounts and to continue to withhold
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                             13   amounts on account of the Flexible Spending Account Contributions and to transfer such amounts to
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                             14   the Flexible Spending Account Administrators in the ordinary course of business.
                             15             The Debtors pay administrative fees of approximately $30,000 per month to the Flexible
                             16   Spending Account Administrators. The Debtors estimate that, as of the Petition Date, they owe
                             17   approximately $30,000 in such administrative fees, all of which will come due during the Interim
                             18   Period.
                             19                   3.     Retirement Programs

                             20             The Debtors offer various programs to help current Employees and retired Employees

                             21   (“Retirees”) to plan for and manage their retirements (collectively, the “Retirement Plans”). The

                             22   Retirement Plans are comprised of the Pension Plan, 401(k) Plan, Retiree Health Care Plan, the

                             23   Retirement Excess Benefit Plan, the Supplemental Retirement Savings Plan, and Postretirement Life

                             24   Insurance Plan (each as defined below). 12   Participation in particular Retirement Plans is based on a

                             25   number of criteria, including the nature of an Employee’s job responsibilities and duties, whether an

                             26   12
                                    The Debtors offer Supplemental Executive Retirement Plans (“SERPs”) and a Defined Contribution
                             27   Executive Supplemental Retirement Plan (“DC-ESRP”) for officers and certain key employees of the
                                  Debtors and their subsidiaries. The Debtors are not requesting authority at this time to make any
                             28   payments pursuant to the SERPs and DC-ESRP.
                                  DECLARATION OF JASON P. WELLS                    65
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Employee is a Represented Employee, and an Employee’s date of hire and length of service. Each of
                              2   the Retirement Plans is discussed in further detail below. Pursuant to the Employee Wages and
                              3   Benefits Motion, the Debtors seek authority to pay all obligations in connection with the Retirement
                              4   Plans in the ordinary course of business, including all prepetition amounts on account of such
                              5   obligations, and to continue to administer the Retirement Plans in the ordinary course of business.
                              6                           a)      Qualified Defined Benefit Pension Plan

                              7             The Utility provides a tax-qualified defined benefit plan for the benefit of all of the Debtors’

                              8   Employees and Retirees (the “Pension Plan”). The assets in the Pension Plan are not assets of the

                              9   Debtors’ estates. Participants in the Pension Plan receive a fixed pension benefit upon retirement

                             10   (collectively, the “Pension Obligations”), in the form of a final average pay benefit or a cash balance

                             11   benefit. An Employee’s final average pay benefit is calculated by utilizing formulas that reflect,

                             12   among other things, an Employee’s length of service, pay, age upon retirement, and the date when
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                             13   retirement benefits begin.      The cash balance benefit was added to the Pension Plan on January 1,
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                             14   2013. Employees hired on or after that date participate in the cash balance benefit and Employees

                             15   hired prior to that date were given a one-time opportunity to irrevocably select to switch from the final

                             16   average pay benefit to the cash balance benefit on a go-forward basis. For the cash balance benefit, on

                             17   the last day of each year (or on the date of benefit commencement, if earlier), an Employee’s cash

                             18   balance account is credited with pay credits based on a point system of age plus service and eligible

                             19   pay during the year. At the end of each calendar quarter, the account is credited with interest credits,

                             20   based on an average of the 30-year Treasury rates for the three months before the calendar quarter.

                             21   Additionally, a cash balance participant may elect a lump-sum payout that is eligible for rollover into

                             22   an Individual Retirement Account or other tax-advantaged employer plan. Cash balance participants

                             23   may elect to receive their vested benefit when they leave employment, regardless of whether they have

                             24   attained age 55.13 Approximately 23,000 Employees and 4,000 former Employees are enrolled in the

                             25   Pension Plan, and approximately 26,000 Retirees, previously-deferred pensioners, and beneficiaries

                             26   receive benefits in connection with the Pension Plan. To fund the Pension Obligations, the Debtors

                             27
                                  13
                             28        The availability of the lump sum may be impacted by the chapter 11 filings.
                                  DECLARATION OF JASON P. WELLS                       66
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   contribute, on a quarterly basis, amounts (collectively, the “Pension Contributions”) into a trust (the
                              2   “Pension Trust”), from which the Pension Obligations are satisfied.
                              3          On average, the Debtors make Pension Contributions to the Pension Trust in the amount of
                              4   approximately $81,750,000 each fiscal quarter. In addition, the Debtors pay for certain administrative
                              5   costs associated with the Pension Plan, such as actuarial studies (the “Pension Administrative
                              6   Costs”). These costs are approximately $200,000 per year. On average, approximately $62,000,000 is
                              7   paid each month from the Pension Trust on account of Pension Obligations to eligible participants. As
                              8   of the Petition Date, the Debtors estimate that there will be no amounts outstanding with respect to the
                              9   Pension Obligations, excluding Pension Administrative Costs.
                             10          As of the Petition Date, the Debtors are current with respect to the Pension Contributions and
                             11   the Debtors intend to make future quarterly Pension Contributions as and when they become payable.
                             12          The Debtors estimate that outstanding Pension Administrative Costs relating to the prepetition
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                             13   period are in the amount of approximately $20,000, which they seek authority to pay pursuant to the
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                             14   Employee Wages and Benefits Motion
                             15                         b)      401(k) Plan

                             16          The Debtors maintain a qualified defined contribution savings plan for the benefit of most of

                             17   their Employees (the “401(k) Plan”), which is designed to meet the requirements of sections 401(a)

                             18   and 401(k) of title 26 of the United States Code.       The 401(k) Plan is administered by Fidelity

                             19   Management Trust Company (the “401(k) Plan Administrator”).              Approximately 22,000 active

                             20   Employees are enrolled in the 401(k) Plan. Employees who are enrolled in the 401(k) Plan contribute

                             21   approximately $25,000,000 per month in the aggregate to the 401(k) Plan, which contributions are

                             22   withheld by the Debtors from such Employees’ compensation. The Debtors “match” Employees’

                             23   contributions by contributing $0.75 per dollar that an Employee contributes, with such “matches”

                             24   capped at up to either 6% or 8% of an Employee’s gross pay, depending on certain characteristics of

                             25   the Employee, such as an Employee’s date of hire, Union membership, and their participation in the

                             26   Pension Plan (the “401(k) Matching Obligations”).

                             27          The Debtors pay approximately $9,100,000 each month on account of 401(k) Matching

                             28    Obligations. As of the Petition Date, the Debtors estimate that they owe approximately $1,400,000 on
                                  DECLARATION OF JASON P. WELLS                     67
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   account of 401(k) Matching Obligations relating to the prepetition period, all of which will come due
                              2   during the Interim Period.
                              3          In addition, the Debtors pay administrative fees and independent fiduciary fees of
                              4   approximately $140,000 per month to the 401(k) Plan Administrator and Gallagher Fiduciary
                              5   Advisors, LLC (“Gallagher”).       The Debtors estimate that, as of the Petition Date, they owe
                              6   approximately $140,000 in such administrative fees, all of which will come due during the Interim
                              7   Period. In addition, the Debtors pay an annual fee of approximately $90,000 to Financial Engines,
                              8   which provide employees with access to additional financial planning tools, information, and services
                              9   to better manage their 401(k) investments. The Debtors estimate that, as of the Petition Date, there
                             10   will be no amounts outstanding on account of fees to the Financial Engines. Pursuant to the Employee
                             11   Wages and Benefits Motion, the Debtors seek authority to pay all amounts withheld from Employees’
                             12   paychecks as contributions to the 401(k) Plan, and all outstanding prepetition 401(k) Matching
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                             13   Obligations and administrative fees.
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                             14                         c)     Retiree Health Care Plans

                             15          The Debtors offer medical and prescription-drug insurance coverage (the “Retiree Health

                             16   Care Plans”) to Retirees who satisfy age and service requirements, which coverage is administered by

                             17   the Medical Plan Administrators, as well as Blue Cross of California, Inc. d/b/a Anthem Blue Cross

                             18   (“Anthem”) and Kaiser Foundation Health Plan, Inc. (“Kaiser”), Blue Shield of California, and

                             19   Health Net. Certain prescription drug benefits are administered by Express Scripts Holding Company

                             20   (“Express Scripts”), and certain mental health benefits are administered by Beacon. Some of the

                             21   Debtors’ Obligations under the Retiree Health Care Plans are self-insured, while others are covered by

                             22   insurance as to which the Debtors pay the premiums. The total cost of the Retiree Health Care Plans is

                             23   approximately $12,500,000 per month, of which approximately $10,000,000 is covered by Retiree

                             24   contributions, which is deducted from their pension benefit payments. To fund their self-insured

                             25   portion of the Retiree Health Care Plans, the Debtors contribute, on an annual basis, amounts into a

                             26   trust (the “Postretirement Medical Plan Trust”), from which the costs of the Retiree Health Care

                             27   Plans are paid. In 2018, the Debtors contributed approximately $28,300,000 into the Postretirement

                             28    Medical Plan Trust. The vast majority of the Debtors’ contributions to the Postretirement Medical
                                  DECLARATION OF JASON P. WELLS                  68
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Plan Trust are made at the end of the calendar year. The money contributed by the Debtors to the
                              2   Postretirement Medical Plan Trust, the Postretirement Life Insurance Plan Trust, and the Utility Long-
                              3   Term Disability Plan Trust (as discussed and defined below), is received from ratepayers for the
                              4   specific purpose of funding the trusts. It is my understanding based upon discussions with counsel that
                              5   these trusts are segregated funds that do not constitute assets of the Debtors’ estates.
                              6           The medical and prescription-drug claims submitted under the Retiree Health Care Plans
                              7   (collectively, the “Retiree Medical Claims”) are funded from the Postretirement Medical Plan Trust.
                              8   Payments are made from the Postretirement Medical Plan Trust on account of the Retiree Medical
                              9   Claims on a weekly basis. Retirees typically submit Retiree Medical Claims thirty-seven (37) days
                             10   after incurring the relevant expenses, and thus the Debtors are unable to ascertain with certainty the
                             11   prepetition amounts due and outstanding on account of the Retiree Medical Claims. In addition, as
                             12   stated, the Debtors pay insurance premiums on account of some of the Retiree Health Care Plans
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                             13   (collectively, the “Retiree Health Care Premiums”), which are also funded from the Postretirement
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                             14   Medical Plan Trust. Based on historical trends, the Debtors estimate that, as of the Petition Date,
                             15   approximately $13,900,000 is outstanding on account of prepetition Retiree Medical Claims and the
                             16   Retiree Health Care Premiums, $12,500,000 of which will come due during the Interim Period and all
                             17   of which will be funded by the funds in the Postretirement Medical Plan Trust. As of the Petition
                             18   Date, the Debtors’ contributions to the Postretirement Medical Plan Trust and insurance premiums
                             19   related thereto are current.
                             20                          d)      Retirement Excess Benefit Plan

                             21           The Debtors provide certain Retirees and Employees whose pension benefit under the Pension

                             22   Plan is reduced by reason of the application of Section 415 and/or Section 401(a)(17) of the Internal

                             23   Revenue Code, the ability to participate in a retirement excess benefit plan (the “Retirement Excess

                             24   Benefit Plan”). The Retirement Excess Benefit Plan provides participants with the monthly benefit

                             25   which would be payable under the Pension Plan if the limitation under Section 415 and/or Section

                             26   401(a)(17) of the Internal Revenue Code had not applied. Currently, ten (10) Retirees (none of whom

                             27   were officers) are receiving benefits under this plan in an aggregate monthly amount of $6,000.

                             28    During the Interim Period, $6,000 will become payable to such Retirees.
                                  DECLARATION OF JASON P. WELLS                    69
                                  IN SUPPORT OF FIRST DAY MOTIONS
                                                        e)      Supplemental Retirement Savings Plan
                              1
                                         The Debtors also maintain Supplemental Retirement Savings Plans (“SRSP”) for the benefit of
                              2
                                  officers and other key Employees. The SRSPs are unfunded deferred compensation plans, which both
                              3
                                  (1) permit participants to defer certain of their compensation and earn investment returns on those
                              4
                                  deferred amounts, and (2) allow participants to receive matching amounts that were elected under the
                              5
                                  401(k) Plan, but were not provided due to tax code limitations. The SRSP is funded primarily by
                              6
                                  eligible Employee contributions and by certain amounts funded by the Debtors. The SRSP has
                              7
                                  approximately 300 active Employee participants (the “Active Participants”), and approximately 90
                              8
                                  inactive participants, comprised largely of Retirees or those who have been terminated without cause
                              9
                                  (the “Inactive Participants”). Under the SRSP, most distributions are not made until seven months
                             10
                                  after a participant retires, although minimal distributions may be made while the participant is active.
                             11
                                  Pursuant to the Employee Wages and Benefits Motion, the Debtors are not seeking authority to make
                             12
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                                  any distributions with respect to the SRSP to currently Inactive Participants. Additionally, no further
                             13
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                                  funds are being contributed to the SRSP by the Debtors.
                             14
                                         The balances in the SRSP as to Active Participants aggregate approximately $29,000,000, of
                             15
                                  which 85% represents funds contributed directly by the Active Participants. Under the SRSP, no
                             16
                                  amounts will be paid to Active Participants in 2019 unless any of such participants retire. Assuming
                             17
                                  the same level of retirements of Active Employees that occurred in 2018, the Debtors estimate that an
                             18
                                  aggregate of approximately $2,000,000 would be distributed to Active Employees who retire in 2019,
                             19
                                  or an average of approximately $60,000 per person. Based on the fact that 85% of the funds in the
                             20
                                  SRSP attributable to Active Employees constitutes their contributions, approximately $51,000 of such
                             21
                                  average distribution would be comprised of Active Employee contributions.            The Debtors seek
                             22
                                  authority pursuant to the Employee Wages and Benefits Motion to continue the SRSP only for Active
                             23
                                  Employees on the Petition Date and to make all distributions thereunder.           Because the Active
                             24
                                  Employees are an integral part of the Debtors’ ongoing operations and because most of the funds to be
                             25
                                  distributed under the SRSP consist of contributions made by the Active Employees, the Debtors
                             26
                                  believe the relief requested is fair and appropriate.      In addition, the Debtors pay for certain
                             27
                                  administrative costs associated with the SRSP (the “Retirement Plan Administrative Costs”). These
                             28
                                  DECLARATION OF JASON P. WELLS                     70
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   costs are approximately $200,000 per quarter. As of the Petition Date, the Debtors estimate that they
                              2   owe approximately $200,000 on account of Retirement Plan Administrative Costs, all of which will
                              3   come due during the Interim Period.
                              4                         f)      Postretirement Life Insurance Plan

                              5          The Debtors provide life insurance coverage (the “Postretirement Life Insurance Plan”) to

                              6   Retirees who satisfy an age requirement through Metropolitan Life Insurance Company (the “Life

                              7   Insurance Administrator”). All Employees of the Debtors and certain subsidiaries are eligible to

                              8   receive a life insurance coverage benefit under the Postretirement Life Insurance Plan. For eligible

                              9   Retirees who have more than fifteen (15) years of service, the Postretirement Life Insurance Plan

                             10   provides coverage in an amount equal to twelve (12) months of a Retirees’ base salary prior to

                             11   retirement. Coverage for certain of these Retirees, due to their position at the time of their retirement

                             12   or the date on which they were promoted to a management position, is capped at $50,000. Separately,
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                             13   coverage for a small number of these Retirees, who were eligible to make an election prior to 2005, is
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                             14   payable seven months after retirement as a cash lump sum, rather than as life insurance. For eligible

                             15   Retirees who have less than fifteen (15) years of service, the Postretirement Life Insurance Plan

                             16   provides coverage of $8,000.      To fund the insurance premiums for the coverage, the Debtors

                             17   contributed approximately $8,000 into a trust (the “Postretirement Life Insurance Plan Trust”). In

                             18   addition, in 2018, the Debtors paid directly approximately $3,200,000 in costs in the form of life

                             19   insurance premiums for coverage over $50,000 and life insurance coverage converted to a lump sum

                             20   payment at retirement per the election of eligible Employees, and fiduciary and compliance costs. As

                             21   of the Petition Date, the Debtors estimate that approximately $10,000 is owed in administrative costs

                             22   with respect to the Postretirement Life Insurance Plan related to the prepetition period, all of which

                             23   will come due during the Interim Period. It is my understanding based upon discussions with counsel

                             24   that the Postretirement Life Insurance Plan Trust is a separate trust and is not an asset of the Debtors’

                             25   estates. Absent further order of the Court, no life insurance coverage will be converted to a lump sum

                             26   payment at retirement nor will any outstanding lump sum payments be made.

                             27
                             28
                                  DECLARATION OF JASON P. WELLS                     71
                                  IN SUPPORT OF FIRST DAY MOTIONS
                                                 4.       Life and Disability Insurance Programs
                              1
                                         The Debtors offer active Employees life insurance and various programs to aid Employees
                              2
                                  during periods in which they are physically unable to perform their duties (collectively, the “Life and
                              3
                                  Disability Insurance Programs”), including (i) the Short-Term Disability Plans, (ii) the Supplemental
                              4
                                  Wage Continuation Plans, (iii) the Long-Term Disability Plan, (iv) the Supplemental Industrial Injury
                              5
                                  Plan, (v) the Life Insurance Plan, (vi) the AD&D Insurance Plan, (vii) the Voluntary AD&D Plan, and
                              6
                                  (viii) the Business Travel Insurance Plan (each as defined below). Pursuant to the Employee Wages
                              7
                                  and Benefits Motion, the Debtors seek authority to pay all obligations in connection with the Life and
                              8
                                  Disability Insurance Programs in the ordinary course of business, including all prepetition amounts due
                              9
                                  on account of such programs, and to continue to administer the Life and Disability Insurance Programs
                             10
                                  in the ordinary course of business. Each of the Life and Disability Insurance Programs is described in
                             11
                                  further detail below.
                             12
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                                         The Utility Long-Term Disability Plan, Supplemental Wage Continuation Benefits, Voluntary
                             13
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                                  Plan (each as defined below), and the leave of absence plans are administered by Sedgwick Claims
                             14
                                  Management Services, Inc. (the “Leave of Absence and Disability Plan Administrator”). The
                             15
                                  Debtors pay administrative fees of approximately $280,000 per month to the Leave of Absence and
                             16
                                  Disability Plan Administrator.    As of the Petition Date, the Debtors estimate that approximately
                             17
                                  $280,000 is owed to the Leave of Absence and Disability Plan Administrator related to the prepetition
                             18
                                  period, all of which will come due during the Interim Period.
                             19
                                                          a)    Short-Term Disability Plans
                             20
                                         Since January 1, 2018, the Utility has provided short-term disability payments and paid family
                             21
                                  leave benefit payments to its eligible Employees located in California pursuant to the Voluntary
                             22
                                  Disability and Paid Family Leave Benefit Plan (the “Voluntary Plan”). The Utility’s Voluntary Plan
                             23
                                  is an alternative to the assistance that would otherwise be provided to Utility Employees by the
                             24
                                  California State Disability Insurance (SDI) plan (the “State Plan” and together with the Voluntary
                             25
                                  Plan, the “Short-Term Disability Plans”) and is provided to Employees in the event they become
                             26
                                  disabled due to a short-term illness or must take leave for certain familial reasons (“Paid Family
                             27
                                  Leave”). More than 85% of the Utility’s eligible workforce has elected to be covered under the
                             28
                                  DECLARATION OF JASON P. WELLS                     72
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Voluntary Plan, including both non-Represented and Represented Employees. Employees also have
                              2   the option to remain covered by the State Plan. There is also an assessment fee imposed by the
                              3   California Employment Development Department to be paid by employers for administrative costs
                              4   arising out of the Voluntary Plan. This fee is paid quarterly and calculated based on taxable wages for
                              5   Employees covered under the Voluntary Plan.
                              6          Both the Voluntary Plan and State Plan are funded by mandatory Employee contributions that
                              7   are withheld from Employees’ paychecks. For both of the Short-Term Disability Plans, the Debtors
                              8   withhold 1% of Employees’ taxable earnings, up to a specified maximum (set at $1,149.67 for 2018
                              9   and $1,183.71 for 2019). Employees of the Utility contributed approximately $25,000,000 to the
                             10   Voluntary Plan in 2018. Employees covered under the State Plan contributed approximately $820,000
                             11   to the State Plan in 2018. With the exception of the case of a shortfall under the Voluntary Plan (as
                             12   described below), all benefits under the Short-Term Disability Plans are funded through Employee
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                             13   contributions, which are deducted from Employee payroll and contributed to either the State Plan trust
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                             14   or the Voluntary Plan trust.
                             15          The State Plan pays disability and paid family benefits of 60-70% up to a specified maximum
                             16   weekly benefit. The Voluntary Plan provides the greater of (i) 55-60% of base pay without a capped
                             17   weekly benefit amount or (ii) the State Plan weekly benefit amount. Employees may be eligible for up
                             18   to 52 weeks of disability benefits under the Voluntary Plan or the State Plan. For Employees of the
                             19   Utility, all Sick Time must be exhausted prior to eligibility for the disability benefits under the Short-
                             20   Term Disability Plans. In addition, under the State Plan, eligible Employees may receive up to six
                             21   weeks of Paid Family Leave benefits within a 12-month period. Under the Voluntary Plan, eligible
                             22   Employees may receive up to eight weeks of Paid Family Leave benefits within a 12-month period.
                             23          To the extent there are not sufficient amounts contributed to the Voluntary Plan from Employee
                             24   contributions to compensate an Employee if they become disabled due to a short-term illness or are on

                             25   Paid Family Leave or to cover the assessment fee paid to the State, the Utility will fund the shortfall.
                             26   Employee contributions to the Voluntary Plan in 2018 did not fully cover the disability and Paid
                             27   Family Leave benefits paid by the Voluntary Plan or the assessment fee paid to the State. The Utility
                             28
                                  DECLARATION OF JASON P. WELLS                      73
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   funded the shortfall, which to date has totaled $4,000,000. As of the Petition Date, the Debtors
                              2   estimate that an additional approximately $620,000 is owed in connection with funding the shortfall
                              3   for the Voluntary Plan related to the prepetition period, all of which will come due during the Interim
                              4   Period.
                              5             All California PG&E Corp. Employees participate in the State Plan.         PG&E Corp. also
                              6   provides a separate supplemental short-term disability program (the “Corporation Short-Term
                              7   Disability Plan”) for its Employees. The Corporation Short-Term Disability Plan is insured by the
                              8   Standard Insurance Company. PG&E Corp. pays the premiums on such insurance monthly. The total
                              9   cost in 2018 was approximately $20,000. As of the Petition Date, the Debtors estimate that they owe
                             10   approximately $1,000 on account of the Corporation Short-Term Disability Plan, all of which will
                             11   come due during the Interim Period.
                             12             PG&E Corp. also provides supplemental disability benefits (“PG&E Corp. Short-Term
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                             13   Supplemental Benefits”) if the Corporation Short-Term Disability Plan benefit of 66 2/3% of base
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                             14   pay is limited by the maximum insured benefit. These supplemental benefits are not insured benefits
                             15   and are paid for by PG&E Corp directly. No payments were made on account of PG&E Corp. Short-
                             16   Term Supplemental Benefits in 2018 and no amounts are currently outstanding.
                             17             In addition, the PG&E Corp. provides a supplemental paid family leave payment (“Paid
                             18   Family Leave Wage Continuation”) which increases the six weeks of State Plan benefit payments up
                             19   to a total of 100% of base pay, fully taxable, within a 12-month period. Employees may be eligible for
                             20   an additional two weeks of Paid Family Leave Wage Continuation benefits for up to a total of eight
                             21   weeks of Paid Family Leave benefits within a 12-month period. No payments were made on account
                             22   of Paid Family Leave Wage Continuation in 2018 and no amounts are currently outstanding.
                             23             Beginning on July 1, 2019, contributions to fund a new paid leave program through the District
                             24   of Columbia will be withheld from Employees’ paychecks who work in the District of Columbia. The

                             25   contributions are made by covered employers who are required to contribute quarterly an amount equal
                             26   to 0.62% of the total wages of each of its covered employees to implementation of the universal paid
                             27   leave. Covered Employees become eligible for benefits starting in 2020.
                             28
                                  DECLARATION OF JASON P. WELLS                      74
                                  IN SUPPORT OF FIRST DAY MOTIONS
                                                        b)       Supplemental Wage Continuation Plans
                              1
                                         The Utility provides eligible Employees who are covered under the Voluntary Plan with
                              2
                                  additional benefits to increase the percentage of base pay that such Employees receive when disabled
                              3
                                  due to a short-term illness or when on Paid Family Leave.
                              4
                                         For California non-Represented and ESC-Represented eligible Employees covered by the
                              5
                                  Voluntary Plan, the Utility provides a supplemental disability payment (the “Supplemental Wage
                              6
                                  Continuation”) which increases the benefit payment from 60% up to a total benefit of 70% of base
                              7
                                  pay, after tax. The Utility provides eligible non-Represented and ESC-Represented Employees who do
                              8
                                  not work in California supplemental wage continuation benefits and may supplement any state
                              9
                                  disability or paid family leave program for which the Employee may be eligible. The IBEW and SEIU
                             10
                                  Represented Employees are not eligible for Supplemental Wage Continuation.
                             11
                                         In addition, for Employees in California covered in the Voluntary Plan, the Utility provides a
                             12
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                                  supplemental Paid Family Leave payment (“Paid Family Leave Wage Continuation” and together
                             13
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                                  with the Supplemental Wage Continuation, the “Supplemental Wage Continuation Plans”), which
                             14
                                  increases the benefit payments from 60% up to a total of 100% of base pay for up to eight weeks
                             15
                                  within each 12-month period.
                             16
                                         Amounts payable under the Supplemental Wage Continuation Plans are paid for by the Utility.
                             17
                                  The total annual cost of the Supplemental Wage Continuation Plans is approximately $10,400,000. As
                             18
                                  of the Petition Date, the Utility estimates that it owes approximately $860,000 on account of the
                             19
                                  Supplemental Wage Continuation Plans, all of which will come due during the Interim Period and
                             20
                                  which is included in the Compensation Obligations described above.
                             21
                                                        c)       Long-Term Disability Plans
                             22
                                         The Debtors provide long-term disability benefits, including partial income replacement and
                             23
                                  continued medical and life insurance coverage (the “Long-Term Disability Plans”), to certain of their
                             24
                                  Employees in the event that they become disabled due to an accident or a long-term illness. The
                             25
                                  Utility and PG&E Corp. provide separate Long-Term Disability Plans for their Employees
                             26
                                  (respectively, the “PG&E Corp. Long-Term Disability Plan” and the “Utility Long-Term
                             27
                                  Disability Plan”).
                             28
                                  DECLARATION OF JASON P. WELLS                    75
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          The PG&E Corp. Long-Term Disability Plan is insured and administered by The Standard
                              2   Insurance Company (the “PG&E Corp. Long-Term Disability Plan Administrator”). PG&E Corp.
                              3   pays the full cost of all premiums for the PG&E Corporation Long-Term Disability Plan monthly. The
                              4   total cost in 2018 was approximately $25,000. Employees may be eligible for benefits after six (6)
                              5   months of disability (the “PG&E Corp. Long-Term Disability Contributions”). PG&E Corp. also
                              6   provides supplemental disability benefits (“PG&E Corp. Long-Term Supplemental Benefits”) if the
                              7   PG&E Corp. Long-Term Disability Plan benefit of 66 2/3% of base pay is limited by the maximum
                              8   insured benefit. These supplemental benefits are not insured benefits and are paid for by PG&E Corp.
                              9   As of the Petition Date, PG&E Corp. estimates that it owes approximately $2,000 on account of the
                             10   PG&E Corp. Long-Term Disability Plan insurance premiums, all of which will come due during the
                             11   Interim Period. Additionally, P&E Corp. estimates that there are no amounts outstanding on account
                             12   of PG&E Corp. Long-Term Supplemental Benefits.
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                             13          The Utility Long-Term Disability Plan provides that an eligible Employee may receive 70% of
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                             14   base pay during the period of disability for a maximum of two (2) years (unless the Employee qualifies
                             15   for Social Security Disability Insurance). An Employee’s benefit amount is offset by any benefits the
                             16   Employee receives from government programs. To fund the payments made to eligible Employees
                             17   under the Utility Long-Term Disability Plan, the Utility contributes an annual amount of
                             18   approximately $32,000,000 into a trust, from which the benefits are paid (the “Utility Long-Term
                             19   Disability Trust”). Payments are made out of the Utility Long-Term Disability Trust on account of
                             20   claims under the Utility Long-Term Disability Plan on a weekly basis (the “Long-Term Disability
                             21   Claims”). In 2018, approximately $45,400,000 was paid from the Long-Term Disability Trust on
                             22   account of Long-Term Disability Claims, including certain administrative costs associated with the
                             23   Utility Long-Term Disability Plan. Based on historical trends, the Debtors estimate that, as of the
                             24   Petition Date, approximately $3,800,000 is outstanding on account of prepetition Long-Term

                             25   Disability Claims, all of which will come due during the Interim Period and all of which will be paid
                             26   from funds in the Utility Long-Term Disability Trust. As discussed above, the moneys contributed by
                             27   the Utility to the trust are received from ratepayers for the specific purpose and the Utility has made
                             28
                                  DECLARATION OF JASON P. WELLS                    76
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   the entire contribution for 2018.      In addition, as stated above, it is my understanding based upon
                              2   discussions with counsel that the Utility Long-Term Disability Trust is a separate trust and is not an
                              3   asset of the Debtors’ estates.
                              4                             d)     Supplemental Industrial Injury Plan

                              5          The Debtors provide supplemental insurance coverage (the “Supplemental Industrial Injury

                              6   Plan”) to Employees, which provides Employees with a source of income—above Employees’ income

                              7   received in connection with workers’ compensation coverage—in the event that they sustain an injury

                              8   or illness on the job. Depending on the Employee’s job title and the date of the onset of his or her

                              9   injury or illness, when combined with other benefits, an eligible Employee may receive between 50%

                             10   and 85% of his or her basic weekly wage rate. The Debtors bear the entire cost of the Supplemental

                             11   Industrial Injury Plan.

                             12          The Debtors spend approximately $100,000 per month on claims asserted under the
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                             13   Supplemental Industrial Injury Plan (collectively, the “Supplemental Industrial Injury Claims”).
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                             14   The Debtors make payments on account of the Supplemental Industrial Injury Claims on a daily basis.

                             15   Based on historical trends, the Debtors estimate that, as of the Petition Date, they owe approximately

                             16   $100,000 on account of prepetition Supplemental Industrial Injury Claims, all of which will come due

                             17   during the Interim Period.
                                                            e)     Life Insurance Plan
                             18
                                         The Debtors provide life insurance coverage (the “Life Insurance Plan”) to Employees
                             19
                                  through the Life Insurance Administrator. The Life Insurance Plan provides the vast majority of
                             20
                                  Employees with $10,000 in coverage, although some Employees have selected higher coverage limits
                             21
                                  under the Life Insurance Plan, with the cost of the coverage over $10,000 paid by the Employees
                             22
                                  through payroll deductions. The Debtors withhold approximately $800,000 per month from Employee
                             23
                                  paychecks for those Employees who have selected the higher coverage limit. The total annual cost to
                             24
                                  the Debtors of the Life Insurance Plan is approximately $450,000, all of which is paid by the Debtors
                             25
                                  in the form of premiums remitted to the Life Insurance Administrator (collectively, the “Life
                             26
                                  Insurance Obligations”). Premiums for the Life Insurance Plan are paid monthly. As of the Petition
                             27
                                  Date, the Debtors estimate that they owe approximately $40,000 on account of Life Insurance
                             28
                                  DECLARATION OF JASON P. WELLS                      77
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Obligations, all of which will come due during the Interim Period. The Debtors also seek by the
                              2   Employee Wages and Benefits Motion to remit all amounts withheld from Employee paychecks, which
                              3   have not yet been remitted.
                              4                         f)      AD&D Insurance Plan

                              5           The Debtors provide accidental death and dismemberment insurance coverage (the “AD&D

                              6   Insurance Plan”) to Employees through the Life Insurance Administrator. The AD&D Insurance Plan

                              7   provides the vast majority of Employees with $10,000 in coverage; certain members of the Debtors’

                              8   management team receive $250,000 in coverage. The total annual cost of the AD&D Insurance Plan is

                              9   approximately $80,000, all of which is paid by the Debtors in the form of premiums remitted to the

                             10   Life Insurance Administrator (collectively, the “AD&D Insurance Obligations”). AD&D Insurance

                             11   Obligations are paid monthly.      As of the Petition Date, the Debtors estimate that they owe

                             12   approximately $10,000 on account of AD&D Insurance Obligations, all of which will come due during
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                             13   the Interim Period.
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                                                        g)      Voluntary AD&D Insurance Plan
                             14
                                          The Debtors provide eligible Employees with the option to purchase additional accidental death
                             15
                                  and dismemberment coverage (the “Voluntary AD&D Insurance Plan”) through the Life Insurance
                             16
                                  Administrator. The benefits provided pursuant to the Voluntary AD&D Insurance Plan are funded
                             17
                                  entirely by amounts withheld from Employees’ paychecks and then transferred as premium payments
                             18
                                  to the Life Insurance Administrator. The Debtors withhold and transfer approximately $100,000 per
                             19
                                  month on account of the Voluntary AD&D Insurance Plan. As of the Petition Date, the Debtors
                             20
                                  estimate that they are currently withholding approximately $100,000 on account of the Voluntary
                             21
                                  AD&D Insurance Plan. Pursuant to the Employee Wages and Benefits Motion, the Debtors seek
                             22
                                  authority to transfer amounts withheld to the Life Insurance Administrator in the ordinary course of
                             23
                                  business, including all prepetition amounts withheld on account of the Voluntary AD&D Insurance
                             24
                                  Plan.
                             25
                                                        h)      Business Travel Insurance Plan
                             26
                                          The Debtors provide business travel insurance coverage (the “Business Travel Insurance
                             27
                                  Plan”) to Employees through Life Insurance Company of North America (the “Business Travel
                             28
                                  DECLARATION OF JASON P. WELLS                    78
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Insurance Administrator”). In the event that an Employee suffers an injury during work-related
                              2   travel, the Business Travel Insurance Plan provides an eligible Employee between $125,000 and
                              3   $1,000,000 in coverage, in addition to any benefits payable from the Life Insurance Plan, the AD&D
                              4   Insurance Plan, or the Voluntary AD&D Insurance Plan. The total annual cost of the Business Travel
                              5   Insurance Plan is approximately $300,000, all of which is paid by the Debtors in the form of premiums
                              6   remitted to the Business Travel Insurance Administrator (the “Business Travel Insurance
                              7   Obligations”). The Debtors pay Business Travel Insurance Obligations on an annual basis. As of the
                              8   Petition Date, the Debtors estimate that they owe no amounts on account of Business Travel Insurance
                              9   Obligations relating to the prepetition period.
                             10                  5.      Work/Life Benefits Programs

                             11          The Debtors offer Employees the opportunity to participate in a number of ancillary benefits

                             12   programs (collectively, the “Work/Life Benefits Programs”), including (i) the Employee Assistance
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                             13   Program, (ii) the Wellness Programs, (iii) Compliance Programs, (iv) the Employee Discount Program,
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                             14   (v) the Adoption Expense Reimbursement Program, (vi) the Tuition Reimbursement Program, (vii) the

                             15   Commuter Transit Program, (viii) the Relocation Program, and (ix) the Child Care Program (each as

                             16   defined below). Pursuant to the Employee Wages and Benefits Motion, the Debtors seek authority to

                             17   pay all obligations in connection with the Work/Life Benefits Programs in the ordinary course of

                             18   business, including all prepetition amounts on account of such obligations, and to continue to

                             19   administer the Work/Life Benefits Programs in the ordinary course of business. Each of the Work/Life

                             20   Benefits Programs is described in further detail below.
                                                         a)      Employee Assistance Program
                             21
                                         The Debtors offer three services through a program administered by Beacon (the “Employee
                             22
                                  Assistance Program”). The Debtors provide Employees with professional counseling, consultation,
                             23
                                  and referral services which services are intended to assist Employees to cope with issues such as
                             24
                                  family and relationship problems, workplace concerns, alcohol- and substance-abuse issues, depression
                             25
                                  and anxiety, stress, and financial or legal concerns (collectively, the “Counseling Services”). The
                             26
                                  Counseling Services are provided at no cost to Employees. Additionally, the Debtors offer Employees
                             27
                                  the opportunity to speak with licensed attorneys and certified financial advisors by telephone if such a
                             28
                                  DECLARATION OF JASON P. WELLS                     79
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   need arises. Employees can obtain cost-free advice relating to legal and financial topics such as
                              2   alimony and child support, adoptions, living wills, powers of attorney, foreclosures, savings strategies,
                              3   debt management, retirement planning, and credit scores. The Debtors also offer consultation services
                              4   for Employees who need assistance locating quality child-care or elder-care services.
                              5             The Debtors pay administrative fees of approximately $200,000 per month to Beacon to
                              6   administer the Employee Assistance Program, which administrative fees cover the entire cost of the
                              7   Employee Assistance Program.         The Debtors estimate that, as of the Petition Date, they owe
                              8   approximately $200,000 in such administrative fees, all of which will come due during the Interim
                              9   Period.
                             10                           b)     Wellness Programs

                             11             The Debtors maintain programs to offer various services to Employees with the aim of

                             12   increasing their general wellness (the “Wellness Programs”). Pursuant to the Wellness Programs,
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                             13   Employees have access to, among other things, health advocacy services, health screenings, an
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                             14   industrial athlete program, telephonic health coaching, onsite clinics in San Francisco, Fresno, San

                             15   Carlos, and at the DCPP (the “Onsite Clinics”), an online health risk questionnaire, an online health

                             16   and wellness portal, a tobacco cessation program, and discounted gym and health club memberships.

                             17             The Debtors pay administrative and other fees of approximately $750,000 per month in

                             18   connection with the Wellness Programs. As of the Petition Date, the Debtors estimate they owe

                             19   approximately $750,000 in administrative and other fees, all of which will come due during the Interim

                             20   Period.
                                                          c)     Compliance Programs
                             21
                                            As part of the Debtors’ ongoing operations, the Debtors require that certain current and all
                             22
                                  prospective employees be subject to random drug screening tests (the “Drug Screening Program”).
                             23
                                  These tests are performed pursuant to Department of Transportation requirements and the Debtors’
                             24
                                  internal policies. Approximately 740 drug screens are conducted on a monthly basis. The Debtors pay
                             25
                                  approximately $60,000 per month to EScreen for administration of the drug screens. The Debtors
                             26
                                  estimate that, as of the Petition Date, they owe approximately $120,000 to EScreen related to the
                             27
                                  prepetition period, all of which will come due during the Interim Period. EScreen has the capacity to
                             28
                                  DECLARATION OF JASON P. WELLS                     80
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   provide screening throughout the Debtors’ service area and its service would be extremely difficult to
                              2   replicate on a timely basis to meet Department of Transportation screening requirements.
                              3          The Debtors also maintain a Department of Motor Vehicle Pull Notice Program, as required by
                              4   California Vehicle Code section 1808.1 (the “DMV Compliance Program”). The DMV Compliance
                              5   Program is administered by SambaSafety, which monitors the safety of the Debtors’ approximately
                              6   3,500 commercial drivers on a daily basis. The Debtors pay SambaSafety approximately $4,000 per
                              7   month. The Debtors estimate that as of the Petition Date, they owe approximately $4,000 on account of
                              8   prepetition obligations under the DMV Compliance Program, all of which will come due during the
                              9   Interim Period. The DMV Compliance Program is mandatory and, as a practical matter, it is not
                             10   feasible to obtain another party to administer the program in a timeframe necessary for ongoing
                             11   operations.
                             12                         d)     Employee Discount Program
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                             13          Pursuant to tariffs adopted by the CPUC, the Utility offers its Employees and Retirees a 25%
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                             14   discount on Utility-supplied gas and electric service (the “Employee Discount Program”). Generally,

                             15   discounts under the Employee Discount Program only may be applied to gas and electric service at a

                             16   Utility Employee’s primary residence. Utility Employees are eligible for the Employee Discount

                             17   Program after six months of continuous service. The Employee Discount Program is not available to

                             18   Employees of any subsidiary of the Utility or to Employees of PG&E Corp.
                                                        e)     Adoption Expense Reimbursement Program
                             19
                                         The Debtors reimburse Employees for up to $2,000 of expenses related to the adoption of a
                             20
                                  child under the age of eighteen (18), including any stepchildren (the “Adoption Expense
                             21
                                  Reimbursement Program”).         Expenses eligible for reimbursement under the Adoption Expense
                             22
                                  Reimbursement Program include legal, court, adoption agency, and placement fees; medical expenses
                             23
                                  for the adopted child that are not covered by a health insurance plan; and transportation expenses
                             24
                                  associated with picking up the adopted child.
                             25
                                         The Debtors spend approximately $2,000 per month on account of obligations associated with
                             26
                                  the Adoption Expense Reimbursement Program (the “Adoption Expense Reimbursement
                             27
                                  Obligations”). Employees have up to one year following the Decree of Final Adoption to submit an
                             28
                                  DECLARATION OF JASON P. WELLS                    81
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   application for reimbursement of eligible fees, and thus the Debtors are unable to ascertain with
                              2   certainty the prepetition amounts due and outstanding on account of the Adoption Expense
                              3   Reimbursement Obligations. Based on historical trends, the Debtors estimate that, as of the Petition
                              4   Date, they owe approximately $2,000 on account of prepetition Adoption Expense Reimbursement
                              5   Obligations, all of which will come due during the Interim Period.
                              6                         f)     Tuition Reimbursement Program

                              7          The Debtors reimburse Employees for expenses related to their enrollment in approved

                              8   educational courses that are designed to assist Employees in performing their current duties and/or

                              9   provide Employees with additional skills to advance their careers within the Debtors’ organizational

                             10   structure (the “Tuition Reimbursement Program”). Under the Tuition Reimbursement Program, the

                             11   Debtors reimburse Employees for 100% of their tuition, registration fees, laboratory and technology

                             12   fees, program and academic fees, and the costs of textbooks associated with approved educational
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                             13   courses up to a maximum of between $5,250 and $8,000 per year.
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                             14          The Debtors spend approximately $300,000 per month on account of the Tuition

                             15   Reimbursement Program. Employees have up to 90 days after they complete a course to submit a

                             16   claim for reimbursement of relevant expenses, and thus the Debtors are unable to ascertain with

                             17   certainty the prepetition amounts due and outstanding on account of the Tuition Reimbursement

                             18   Program. Based on historical trends, the Debtors estimate that, as of the Petition Date, they owe

                             19   approximately $300,000 on account of prepetition obligations associated with the Tuition

                             20   Reimbursement Program, all of which will come due during the Interim Period.
                                                        g)     Commuter Transit Program
                             21
                                         The Debtors offer Employees the opportunity to purchase transit passes and pay for certain
                             22
                                  parking expenses with pre-tax contributions (the “Commuter Transit Program”).               Under the
                             23
                                  Commuter Transit Program, a portion of Employees’ wages is withheld and contributed into accounts
                             24
                                  on a pre-tax basis. Employees then utilize the proceeds of such accounts to purchase transit passes and
                             25
                                  pay for certain parking expenses.    Approximately 2,400 Employees participate in the Commuter
                             26
                                  Transit Program.
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                    82
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          The Commuter Transit Program is administered by WageWorks, Inc. (the “Commuter Transit
                              2   Program Administrator”). The Debtors pay administrative fees of approximately $10,000 per month
                              3   to the Commuter Transit Program Administrator. The Debtors estimate that, as of the Petition Date,
                              4   they owe approximately $10,000 in such administrative fees, all of which will come due during the
                              5   Interim Period. Pursuant to the Employee Wages and Benefits Motion, the Debtors also seek authority
                              6   to remit to the accounts all withheld amounts as of the Petition Date.
                              7                         h)      Relocation Program

                              8          The Debtors offer a relocation program to new or transferring Employees whose work location

                              9   is fifty (50) miles or greater than the distance from the Employees’ former residence to the previous

                             10   work location (the “Relocation Program”).          The services that are offered under the Debtors’

                             11   Relocation Program, which vary based on the level of the Employee, include temporary housing,

                             12   movement of household goods, reimbursement of certain moving related expenses, assistance with the
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                             13   sale and purchase of a home, and in some cases a lump sum cash payment. Eligible Employees have
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                             14   up to twelve (12) months to complete their relocation from the time they begin their position. In 2018,

                             15   the Debtors paid approximately $4,400,000 under the Relocation Program.

                             16          The Relocation Program is administered by Altair Global (the “Relocation Program

                             17   Administrator”). The Debtors pay administrative fees of approximately $10,000 per month to the

                             18   Relocation Program Administrator. The Debtors estimate that, as of the Petition Date, they owe

                             19   approximately $1,400,000 on account of prepetition obligations associated with the Relocation

                             20   Program, inclusive of administrative fees, approximately $100,000 of which will come due during the

                             21   Interim Period.
                                                        i)      Child Care Program
                             22
                                         The Debtors offer on-site child care services at their San Francisco corporate headquarters for a
                             23
                                  limited number of Employees’ children who are between the ages of six weeks and five years (the
                             24
                                  “Child Care Program”). The Child Care Program is paid for in part by participating Employees and
                             25
                                  is subsidized by the Debtors and administered by Bright Horizons Family Solutions LLC (the “Child
                             26
                                  Care Program Administrator”). The Debtors withhold approximately $1,500,000 from Employee
                             27
                                  payroll annually in connection with the Child Care Program. The Debtors subsidy contribution is
                             28
                                  DECLARATION OF JASON P. WELLS                      83
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   approximately $1,000,000 annually. The Debtors estimate that, as of the Petition Date, they owe
                              2   approximately $250,000 on account of the Child Care Program, which includes amounts withheld from
                              3   payroll and the Debtors’ contributions, all of which will come due during the Interim Period.
                              4          H.      Supplemental Workforce Obligations

                              5          As set forth above, in addition to their Employees, the Debtors use the services of

                              6   approximately 3,200 Supplemental Workers.           To compensate the Supplemental Workforce, the

                              7   Debtors either pay members of the Supplemental Workforce directly or pay Staffing Agencies, which

                              8   then make payments to the Supplemental Workforce on the Debtors’ behalf (collectively, the

                              9   “Supplemental Workforce Obligations”). It is critical that the Debtors be able to continue honoring

                             10   their obligations with respect to the Supplemental Workforce Obligations. Staying current with respect

                             11   to the obligations owed to the Supplemental Workforce will minimize unnecessary disruption to the

                             12   Debtors’ businesses. This is particularly important, given that the Debtors heavily rely on members of
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                             13   the Supplemental Workforce to perform specialized tasks that, for various reasons, the Employees
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                             14   cannot perform on their own in connection with the Debtors’ operation and maintenance of their

                             15   generation units, electric transmission and distribution and natural gas facilities.      For example,

                             16   members of the Supplemental Workforce perform tasks for which Employees otherwise lack the

                             17   training or licensure, as well as tasks for which there are a shortage of Employees, including

                             18   maintenance and repair work on transmission lines following weather-related events. If the Debtors

                             19   fail to pay the Supplemental Workforce Obligations, members of the Supplemental Workforce may

                             20   refuse to continue to perform services for the Debtors. Thus, failure to make timely payments on

                             21   account of the Supplemental Workforce Obligations could interrupt the Debtors’ ability to provide

                             22   electric and natural gas service to their customers in northern and central California.

                             23          The Debtors average approximately $180,000,000 in annual aggregate Supplemental

                             24   Workforce Obligations. As of the Petition Date, the Debtors estimate that they owe approximately

                             25   $35,000,000 on account of Supplemental Workforce Obligations relating to the prepetition period,

                             26   $25,000,000 of which will come due during the Interim Period. Pursuant to the Employee Wages and

                             27   Benefits Motion, the Debtors seek authority to pay the Supplemental Workforce Obligations in the

                             28    ordinary course of business, including all prepetition amounts on account of such obligations.
                                  DECLARATION OF JASON P. WELLS                  84
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Accordingly, I respectfully submit that it is an exercise of sound business judgment and necessary to
                              2   facilitate a successful reorganization to pay the Supplemental Workforce Obligations.
                              3          Payment of the Prepetition Employee Obligations, including the Employee Program
                              4   Administrative Obligations, is an exercise of sound business judgment and necessary to facilitate a
                              5   successful reorganization.    The Employees—many of whom possess unique skills, licenses, or
                              6   certifications—are vital to the continued operation of the Debtors’ businesses and vital to the success
                              7   of the Chapter 11 Cases. The Debtors believe that the majority of the Employees rely exclusively on
                              8   their compensation and, as applicable, the benefits provided under the Employee Wage and Benefits
                              9   Programs to satisfy their daily living expenses and other basic needs such as access to health, dental,
                             10   and vision care coverage.       Consequently, Employees will be exposed to significant financial
                             11   difficulties if the Debtors are not permitted to honor obligations with respect to the Prepetition
                             12   Employee Obligations. Moreover, honoring the Prepetition Employee Obligations and continuing the
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                             13   Employee Wage and Benefits Programs will help maintain morale and minimize the adverse effect of
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                             14   the commencement of these Chapter 11 Cases on the Debtors’ ongoing business operations, as well as
                             15   their relationships with the Unions. The failure to honor the Prepetition Employee Obligations could
                             16   lead to turnover, attrition, and instability at this critical time in the Chapter 11 Cases, which is a risk
                             17   that is especially consequential in these Chapter 11 Cases due to the highly specialized nature of many
                             18   of the duties that the Employees perform and the critical nature of the Debtors’ business as the sole
                             19   utility provider to approximately 16 million customers.
                             20          The Debtors also believe that it is an exercise of sound business judgment and necessary to
                             21   facilitate a successful reorganization to pay the Employee Program Administrative Obligations,
                             22   including administrative costs and expenses owed to the Payroll Maintenance Vendors, which provide
                             23   compensation and other benefit-related services and products and which have institutional knowledge
                             24   of the Debtors’ operations that would be difficult and costly to replace. Absent the relief requested the

                             25   Debtors would be unable to maintain their Employee Wage and Benefits Programs in an efficient and
                             26   cost-effective manner.
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                      85
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          The Debtors cannot risk the damage to their businesses, and the potential disruption of their
                              2   ability to provide essential utility service to 16 million Californians, that would follow any decline in
                              3   Employee morale and the resulting attrition that likely would occur if the Debtors are not granted the
                              4   relief requested herein. Accordingly, the Debtors respectfully request that the Court authorize them to
                              5   pay the Prepetition Employee Obligations including the Employee Program Administrative
                              6   Obligations, and continue the Employee Wage and Benefits Programs in the ordinary course of
                              7   business, consistent with past practice.
                              8          Accordingly, I respectfully submit that the relief requested in the Employee Wages and
                              9   Benefits Motion is necessary and appropriate, is in the best interests of their estates and all parties in
                             10   interest, is necessary to avoid immediate and irreparable harm to the Debtors, and should be granted.
                             11   V.     MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 105(a), 363(b), AND 507(a)(7)
                                         AND FED. R. BANKR. P. 6003 AND 6004 FOR INTERIM AND FINAL ORDERS
                             12          (I) AUTHORIZING DEBTORS TO (A) MAINTAIN AND ADMINISTER CUSTOMER
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                                         PROGRAMS, INCLUDING PUBLIC PURPOSE PROGRAMS, AND (B) HONOR ANY
                             13          PREPETITION OBLIGATIONS RELATING THERETO; AND (II) AUTHORIZING
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                                         FINANCIAL INSTITUTIONS TO HONOR AND PROCESS RELATED CHECKS AND
                             14          TRANSFERS (THE “CUSTOMER PROGRAMS MOTION”)
                             15          Pursuant to the Customer Programs Motion, the Debtors request interim and final authority, in
                             16   the ordinary course of business and consistent with past practices, to (a) maintain and administer their
                             17   Customer Programs (as defined below) including the (i) Deposit and Reimbursement Programs (as
                             18   defined below), (ii) Public Purpose Programs (as defined below), (iii) Environmental Cleanup
                             19   Programs (as defined below), (iv) Third-Party Programs (as defined below), (v) GHG Credit Programs
                             20   (as defined below), and (vi) Customer Support Programs (as defined below), and (b) pay and otherwise
                             21   honor all obligations relating to each of the foregoing, whether arising prior to, or after, the Petition
                             22   Date, as necessary and appropriate in the Debtors’ business judgment. Additionally, the Debtors seek
                             23   authority to issue new postpetition checks or effect new electronic funds transfer requests on account
                             24   of such obligations to replace any prepetition checks or electronic funds transfer requests that may be

                             25   lost, dishonored, or rejected as a result of the commencement of these Chapter 11 Cases.
                             26          As a regulated, investor-owned utility, the bulk of the Debtors’ business operations are subject
                             27   to oversight by the CPUC. The complex regulatory and statutory framework within which the Debtors
                             28
                                  DECLARATION OF JASON P. WELLS                      86
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   operate mandates that, in the ordinary course of business, the Debtors maintain certain programs and
                              2   initiatives for the benefit of a customer base that includes, in the aggregate, over 16 million residential
                              3   and non-residential customers (collectively, the “Customers”). It is my understanding based on
                              4   discussions with counsel that, as virtually all of such programs are mandated pursuant to state or local
                              5   laws, federal law, regulations, tariffs, and regulatory decisions14 the failure of the Debtors to continue
                              6   to honor and maintain these programs would result in noncompliance with such laws, regulations, and
                              7   tariffs, and could materially disrupt the Debtors’ operations and jeopardize their ability to successfully
                              8   reorganize.    Additionally, applicable legislation requires that the projected costs associated with
                              9   several of the programs discussed in the Customer Programs Motion be funded through various
                             10   surcharges and fees collected by the Debtors through rates from Customers and earmarked to pay the
                             11   costs of such programs. In other words, in many instances the Debtors act as a conduit for collected
                             12   funds, which the Debtors pass through to the programs’ beneficiaries and use to pay other program
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                             13   costs.
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                             14            A.     The Customer Programs.

                             15            As set forth below, these programs include the following: (a) programs made available to and

                             16   measures taken for Customers in the ordinary course of providing utility services including the

                             17   Security Deposit Programs, the MLX Programs, the UG Programs, and the Other Customer Programs

                             18   (each, as defined below) (collectively, the “Deposit and Reimbursement Programs”); (b) programs

                             19   designed to advance public policy goals such as local and state energy efficiency, renewable energy,

                             20   carbon reduction, and energy conservation (collectively, the “Public Purpose Programs”); (c)

                             21   programs designed to manage the Debtors’ environmental cleanup and nuclear power plant

                             22   decommissioning efforts (collectively, the “Environmental Cleanup Programs”); (d) third-party

                             23   programs pursuant to which the Debtors invoice Customers on behalf of third parties that have

                             24   14
                                    Such statutes, regulations, tariffs, and decisions include, without limitation: Cal. Pub. Util. Code
                             25   §§ 379, 380.5, 381, 381.1, 382, 399.4, 399.8, 454.55, 454.56, 890-899, 2790, and 8326; Cal. Water
                                  Code § 80110a; PG&E Elec. Rules 6, 7, 9G, 15, 16, 17, 17.1, 17.2, and 20; PG&E Gas Rules 6, 7, 9G,
                             26   15, 16, 17, 17.1, and 17.2 (available at https://www.pge.com /tariffs/index.page); and California Public
                                  Utilities Commission Decision Nos. 94-05-020, 01-03-073, 06-01-024, 07-11-045, 08-10-036, 10-01-
                             27   022, 14-12-024, 16-01-044, 17-12-022, 18-01-004, 18-06-027, and 18-12-015. See also, the California
                                  Global Warming Solutions Act of 2006, Cal. Health and Safety Code §§ 38500, et. seq.; Low Carbon
                             28   Fuel Standard (LCFS), Cal. Code of Regs. tit. 17, §§95480-95503.
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                              1   purchased and provide electricity or natural gas to Customers using the Debtors’ transmission and
                              2   distribution facilities (collectively, the “Third-Party Programs”); (e) greenhouse gas (“GHG”)
                              3   emissions reduction programs required by the California Air Resources Board that provide certain
                              4   credits to customers (collectively, the “GHG Credit Programs”); and (f) customer support programs
                              5   pursuant to which the Debtors support Customers by engaging contractors and other third parties to
                              6   complete certain Customer projects (collectively, the “Customer Support Programs” and, all such
                              7   programs collectively, including the Deposit and Reimbursement Programs, the Public Purpose
                              8   Programs, the Environmental Cleanup Programs, the Third-Party Programs, the GHG Credit Programs,
                              9   and the Customer Support Programs collectively, the “Customer Programs,” and any and all fees,
                             10   costs, reimbursement obligations, credits, refunds, or expenses incurred, whether prior to or after the
                             11   Petition Date, in connection with the Customer Programs, the “Customer Program Obligations”).
                             12   Each of the aforementioned Customer Programs is discussed in further detail below.15
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                             13                 1.      The Deposit and Reimbursement Programs
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                             14                 •    The Security Deposit Programs. Pursuant to the Debtors’ security deposit
                                                     programs, which have been approved by the CPUC and, as I understand based on
                             15                      discussions with counsel, have the effect of state law16 (the “Security Deposit
                                                     Programs”), Customers must demonstrate sufficient creditworthiness before the
                             16                      Debtors begin providing gas and electric services. In some cases, the existence of a
                                                     third-party guarantor or a demonstrable ability to pay will satisfy the Debtors’
                             17                      creditworthiness requirements. In many cases, however, if a potential Customer’s
                             18                      gas and/or electric services were discontinued in the past due to non-payment, or if a
                                                     Customer has no previous service history with the Debtors, the Debtors will require
                             19                      such Customers, pursuant to the Security Deposit Programs, to provide a security
                                                     deposit to the Debtors before initiating service (“Security Deposit”). Certain of the
                             20                      Debtors’ nonresidential Customers provide letters of credit to the Debtors to fulfill
                                                     such creditworthiness requirements. In the ordinary course of business, upon
                             21                      discontinuance of service and payment of all obligations owed to the Debtors, the
                             22                      Debtors return the letters of credit back to such Customers. The Debtors intend to
                                                     continue such practice in the ordinary course.
                             23
                                  15
                                    The Debtors are also obligated to perform under other miscellaneous customer-benefiting programs
                             24   and services, including, without limitation, certain customer-benefiting programs and obligations
                             25   required in connection with settlements entered into by the Debtors and approved by the Bankruptcy
                                  Court in their prior chapter 11 case, such as the payment of certain disputed claims from escrowed
                             26   funds and donation of land and land conservation easements to public agencies or non-profit
                                  conservation organizations. The Debtors intend to continue to comply with such obligations.
                             27   16
                                     See PG&E Electric Rules 6 and 7; PG&E Gas Rules 6 and 7. All tariffs applicable to the Debtors
                             28   are available at https://www.pge.com/tariffs/index.page.
                                  DECLARATION OF JASON P. WELLS                     88
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                                                      In the ordinary course of business, the Debtors refund Security Deposits with
                              1                       accrued interest (the “Security Deposit Refunds”) to Customers if (a) a Customer
                              2                       has no more than two past-due bills during the twelve-month period after
                                                      commencing service and/or has not had service otherwise discontinued for non-
                              3                       payment during such twelve-month period; (b) a Customer voluntarily discontinues
                                                      service; or (c) a Customer otherwise meets the Debtors’ criteria for creditworthiness
                              4                       and requests the return of a Security Deposit. Once the Debtors determine that the
                                                      Customer is entitled to a Security Deposit Refund, the deposit is first used to satisfy
                              5                       the Customer’s outstanding bill or credited to the Customer’s open account. The
                              6                       Debtors also issue Security Deposit Refunds in the form of a check or through an
                                                      automated clearinghouse transfer directly into a Customer’s bank account.
                              7                       Customers may also elect to receive a refund in the form of a credit to another
                                                      account held with the Debtors.
                              8
                                                      In 2018, the Debtors issued approximately $52.3 million in Security Deposit
                              9                       Refunds to approximately 240,000 residential Customers (on average,
                             10                       approximately $220 per identified residential Customer) and approximately $41.5
                                                      million in Security Deposit Refunds to approximately 20,000 non-residential
                             11                       Customers. As of the Petition Date, the Debtors hold an aggregate of approximately
                                                      $181.2 million in Security Deposits.
                             12
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                                                      Based on historical averages, the Debtors estimate that they will be obligated to
                             13                       refund or credit on a monthly basis approximately $5 million in Security Deposit
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                                                      Refunds to approximately 20,000 residential Customers (on average $250 per
                             14
                                                      identified residential Customer) and approximately $4 million in Security Deposit
                             15                       Refunds to approximately 1,600 non-residential Customers.

                             16                   •   The MLX Programs. The Debtors have mainline extension and interconnection
                                                      (“MLX”) programs (collectively, the “MLX Programs”) approved by the CPUC
                             17                       that, as I understand based on discussions with counsel, are required by law.
                                                      Generally speaking, an MLX is an electric line or a gas main that is typically
                             18
                                                      installed to provide permanent gas and electricity service to premises that otherwise
                             19                       lack connection to the Debtors’ extensive natural gas and electric network.17 As
                                                      used herein, an MLX may also be used to add load capacity to otherwise grid-
                             20                       connected premises in anticipation of increased energy usage or to interconnect
                                                      customer generation facilities. 18 The MLX Programs generally work in the
                             21                       following manner: either the Customer builds the MLX and pays for associated
                                                      construction costs, or the Debtors build the MLX and the Customer provides the
                             22
                                                      Debtors with an up-front deposit corresponding to estimated construction costs. As
                             23                       the Debtors may benefit from an MLX through Customer revenues associated with
                                                      such MLX over time, the Debtors issue (i) payments to the Customer who built the
                             24                       MLX, and (ii) refunds to Customers who provided the Debtors with up-front
                                                      deposits (collectively, including refunds of Engineering Advances (as defined
                             25                       below) in excess of remaining project costs, the “MLX Deposit Refunds”). The
                             26                       Debtors also receive engineering advances when Customers apply for new line

                             27   17
                                       See PG&E Electric Rules 15 and 16; PG&E Gas Rules 15 and 16.
                                  18
                             28        See PG&E Electric Rule 21.
                                  DECLARATION OF JASON P. WELLS                       89
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                                                    extension or relocation projects (the “Engineering Advances”) which are applied to
                              1                     the cost of the project.
                              2
                                                    In 2018, the Debtors paid approximately $55 million in MLX Deposit Refunds
                              3                     (excluding refunds for Engineering Advances) to approximately 2,100 Customers
                                                    and approximately $11.1 million in refunds of Engineering Advances to
                              4                     approximately 5,300 Customers. As of the Petition Date, the Debtors hold an
                                                    aggregate of approximately $112.7 million in MLX deposits and Engineering
                              5                     Advances. Based on historical averages, the Debtors estimate that they will be
                                                    obligated to refund or credit on a monthly basis approximately $4.6 million in MLX
                              6
                                                    Deposit Refunds (excluding refunds for Engineering Advances) to approximately
                              7                     150 Customers and $1 million in refunds of Engineering Advances to approximately
                                                    440 Customers.
                              8
                                                •   The Underground Programs. The Debtors undertake programs that are approved
                              9                     by the CPUC and are required by law to convert existing overhead electric
                                                    distribution facilities to underground (“UG Programs”).19 In order for a project to
                             10
                                                    qualify under the program, the project must meet specific criteria outlined in the
                             11                     Debtors’ Rule 20 tariff. Under the UG Programs, the Debtors undertake projects at
                                                    the request of governmental entities that cover the costs of the conversions (the “UG
                             12                     Costs”). The governmental entities have the option of covering the conversion
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                                                    costs either through direct payment to the Debtors or, more commonly, through the
                             13                     use of work credits that are allocated to communities according to a formula that is
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                             14                     set forth in Debtors’ tariffs. In 2018, the Debtors expended approximately $33
                                                    million in connection with the UG Programs. As of the Petition Date, the Debtors
                             15                     estimate that approximately $5.4 million in UG Costs owed to third parties in
                                                    connection with the UG Programs are accrued and unpaid, all of which the Debtors
                             16                     estimate will come due within thirty (30) days after the Petition Date.
                             17                 •   The Other Customer Programs. In the ordinary course of business, the Debtors
                                                    also provide credits to Customers (i) as a result of corrections in rates, metering and
                             18
                                                    other charges,20 (ii) in connection with the Debtors’ budget billing plan, which is
                             19                     intended to normalize Customer payments over the course of a year21 and the
                                                    Debtors’ solar tariffs22 which compensate Customers for surplus energy delivery,
                             20                     and (iii) to address other similar Customer concerns and issues (collectively, the
                                                    “Other Customer Programs” and the obligations related thereto, the “OCP
                             21                     Costs”). The Debtors’ monthly Other Customer Program activity is irregular. In
                             22                     the eleven (11) month period ending November 30, 2018, the Debtors incurred
                                                    monthly OCP Costs up to approximately $4 million.
                             23
                             24

                             25
                                  19
                                     See PG&E Electric Rule 20.
                             26   20
                                     See PG&E Electric Rules 17, 17.1 and 17.2; PG&E Gas Rules 17, 17.1 and 17.2.
                             27   21
                                     See PG&E Electric Rule 9G; PG&E Gas Rule 9G.
                                  22
                             28      See PG&E Electric Rate Schedule NEM2.
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                                                 2.      The Public Purpose Programs.
                              1
                                         The Debtors administer, both directly and indirectly, a host of separate Public Purpose
                              2
                                  Programs across the Debtors’ service area in California pursuant to a series of statutory mandates,
                              3
                                  including those set forth in the California Public Utilities Code, and regulatory mandates and decisions
                              4
                                  issued by the CPUC and local and regulatory agencies.23 The Public Purpose Programs are tailored to
                              5
                                  effectuate public policies supporting energy efficiency (“EE”), carbon reduction, renewable energy,
                              6
                                  and energy management and conservation by (a) providing direct financial incentives (including
                              7
                                  rebates) to individuals, businesses, and local governments to install, sell, or manufacture energy
                              8
                                  efficient and renewable energy equipment, (b) implementing education and outreach initiatives that
                              9
                                  promote and support the widespread adoption of EE, renewable energy, reductions in GHG emissions,
                             10
                                  and energy conservation practices, (c) supporting research and development aimed at improving
                             11
                                  existing and developing new EE, clean energy technologies, and renewable energy technologies, and
                             12
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                                  (d) administering and supporting demand response programs which seek to maximize grid-wide
                             13
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                                  efficiencies through targeted increases and decreases in electricity consumption. A non-exhaustive list
                             14
                                  and general description of the types of Public Purpose Programs follows.
                             15
                                         The Debtors administer mandated programs that cover nearly every market sector and customer
                             16
                                  type, across all technology families, and use a variety of market intervention strategies, including
                             17
                                  rebates targeted at manufacturers and distributors. These programs support California’s “Long-Term
                             18
                                  Energy Efficiency Strategic Plan,” a framework created by the CPUC that is designed to integrate EE
                             19
                                  into the everyday activities of ratepayers, to provide a more integrated EE experience for Customers
                             20
                                  and to provide Customers with access to information and greater financing opportunities.
                             21
                                                 •    Energy Efficiency. The Debtors’ CPUC-mandated EE programs (collectively, the
                             22                       “EE Programs”) offer incentives, services, education and tools aimed to assist
                                                      residential, commercial, industrial, and agricultural Customers and local
                             23                       government partners in eliminating unnecessary energy use and saving money.
                             24                       Through strategic energy planning support, technical support services, and financial
                                                      support through rebates, incentives, education, and financing options, the EE
                             25                       Programs empower Customers to better understand, manage, and eliminate

                             26   23
                                    Such statutes and Commission Decisions include without limitation: Cal. Pub. Util. Code §§ 380.5,
                             27   381, 381.1, 382, 399.4, 399.8, 454.55, 454.56, 890-899 and 2790; and California Public Utilities
                                  Commission Decision Nos. 01-03-073, 06-01-024, 07-11-045, 08-10-036, 10-01-022, 14-12-024, 16-
                             28   01-044, 17-12-022, 18-01-004, 18-06-027, and 18-12-015.
                                  DECLARATION OF JASON P. WELLS                     91
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                                                  unnecessary energy use. A general description of the types of EE Programs follows.
                              1
                                                     o Energy Efficiency: Residential Programs. The Debtors administer twelve
                              2
                                                       (12) residential EE programs (collectively, the “Residential Programs”)
                              3                        designed to achieve energy savings for residential Customers. For example,
                                                       the Debtors provide rebates to residential Customers who purchase energy
                              4                        efficient products like washing machines, dishwashers, and water heaters. In
                                                       addition, the Debtors offer incentives to Customers who work with
                              5                        contractors to perform home retrofits and who do air conditioning
                                                       installation and maintenance. Through the Residential Programs, property
                              6
                                                       owners and Customers can receive incentives to install efficient equipment
                              7                        in multifamily housing units, ranging from central systems like boilers to
                                                       simple lighting fixtures. The Residential Programs offer incentives to
                              8                        manufacturers, distributors, and retailers to manufacture, stock, and sell
                                                       energy efficient consumer electronics (such as televisions and computers)
                              9                        and lighting. In addition, the Debtors provide audit and energy savings
                             10                        equipment installation services to moderate income residential Customers.
                                                       Through home energy management tools the Debtors provide residential
                             11                        Customers tools and information to help them maximize energy savings.

                             12                      o Energy Efficiency: Commercial Programs. The Debtors administer a variety
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                                                       of commercial EE programs (collectively, the “Commercial Programs”)
                             13                        that target Customers in new and existing facilities and in a variety of sectors
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                                                       including healthcare, hospitality, large office, high tech, and retail. Through
                             14
                                                       the Commercial Programs, the Debtors provide incentives and financing to
                             15                        encourage investment in energy efficient products and services. Typical
                                                       commercial EE projects focus on equipment upgrades in lighting, HVAC,
                             16                        food service, refrigeration, water heating, and general plug loads. The
                                                       Debtors also offer strategic energy planning, technical support services,
                             17                        calculation or design assistance, and benchmarking tools to their commercial
                             18                        Customers. The Debtors deliver this suite of Commercial EE Programs
                                                       through a network of trade professionals, third-party partners, and local
                             19                        government partnerships. The Debtors also offer in-house engineering and
                                                       project development support to commercial Customers.
                             20
                                                     o Energy Efficiency: Industrial Programs. The Debtors administer a variety
                             21                        of industrial EE programs (collectively, the “Industrial Programs”) that are
                                                       designed to reduce energy consumption, lower GHG emissions, and increase
                             22
                                                       Customers’ profitability by lowering energy costs. The Industrial Programs
                             23                        include rebates, incentives, and financing for efficient equipment and
                                                       systems; technical support such as facility audits and energy savings
                             24                        analysis; and strategic energy planning. Typical industrial EE projects focus
                                                       on lighting, pumps, fans, motors, boilers, insulation, heat recovery, process
                             25                        heating, drip irrigation, low pressure sprinkler nozzles, and refrigeration
                                                       equipment. The Industrial Programs target various facility types including
                             26
                                                       oil production, lumber and paper mills, cement and quarries, metals
                             27                        processing, petroleum refineries, chemical industries, assembly plants, and
                                                       water and wastewater treatment plants. The Debtors deliver their suite of
                             28
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                                                          Industrial Programs through a network of trade professionals and third-party
                              1                           partners.    The Debtors also offer in-house engineering and project
                              2                           development support to industrial Customers.

                              3                        o Energy Efficiency: Agricultural Programs. The Debtors administer a variety
                                                         of agricultural EE programs (collectively, the “Agricultural Programs”)
                              4                          that help agricultural producers and processors manage energy costs and
                                                         make informed investments in new energy-saving equipment. The Debtors
                              5                          offer a full suite of tools to position agricultural Customers to eliminate
                                                         unnecessary energy use. Key offerings include rebates, incentives, and
                              6
                                                         financing for efficient equipment and systems; technical support such as
                              7                          facility audits and energy savings analysis; and pump efficiency education.
                                                         The Agricultural Programs target agricultural growers, post-harvest
                              8                          processors, dairies, irrigation districts/agencies, fruit and vegetable
                                                         processors, agricultural service providers, wineries, and other beverage
                              9                          manufacturers. The Debtors deliver their suite of Agricultural Programs
                             10                          through a network of trade professionals and third-party partners. The
                                                         Debtors also offers in-house engineering and project development support to
                             11                          agricultural Customers.

                             12                        o Energy Efficiency: Local, State, and Federal Government (Public Sector)
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                                                         Programs. The Debtors administer a variety of EE programs focused on the
                             13                          public sector (collectively, the “Public Sector Programs”). Through
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                                                         Debtors’ government and community partnerships, the Debtors collaborate
                             14
                                                         with public entities to shape EE and sustainability at the local, regional, and
                             15                          statewide levels. These partnerships aim to meet the needs of local and state
                                                         governments and schools and educational institutions to offer comprehensive
                             16                          solutions that are flexible, innovative, and a reflection of the communities’
                                                         needs. The Public Sector Programs also focus on K-12 public schools and
                             17                          offer energy planning services for public entities interested in benchmarking
                             18                          their facilities and pursuing local energy reach codes and ordinances. In
                                                         addition, the Debtors offer a light emitting diode (“LED”) streetlights
                             19                          program serving public sector customers.

                             20                        o Energy Efficiency: Financing Programs. The Debtors administer the on-bill
                                                         financing program (the “OBF Program”) that provides zero-interest loans
                             21                          to help commercial customers invest in efficient products and pay for these
                                                         investments through their utility bill. The OBF Program is offered in
                             22
                                                         conjunction with other EE Programs to stimulate and enable higher levels of
                             23                          customer participation. Additionally, the Debtors support the California
                                                         Alternative Energy and Advanced Transportation Financing Authority
                             24                          (CAEATFA) in the development of statewide finance pilots, which include
                                                         on and off-bill financing options.
                             25
                                                     o Energy Efficiency: Codes and Standards Program. The Debtors administer
                             26                         the codes and standards program (the “C&S Program”), which saves
                             27                         energy on behalf of ratepayers by influencing regulatory bodies such as the
                                                        California Energy Commission and the U.S. Department of Energy to
                             28                         strengthen EE regulations. The C&S Program conducts efforts to increase
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                                                          compliance with existing codes, standards, and regulations to ensure that the
                              1                           State of California realizes the savings from new codes and standards and
                              2                           support local governments that include reach codes as a climate strategy.
                                                          The C&S Program also provides for planning and coordination with other
                              3                           California investor-owned utilities to optimize collaboration, and code
                                                          readiness activities to prepare for future codes. The C&S Program advocacy
                              4                           and compliance improvement activities extend to virtually all buildings and
                                                          appliances sold in California in support of the state’s climate and energy
                              5                           goals.
                              6
                                                      o Energy Efficiency: Workforce Education and Training Program. The
                              7                         Debtors administer a workforce education and training program (the
                                                        “WE&T Program”), which provides professionals who design, build, and
                              8                         operate buildings the relevant skills needed to help eliminate unnecessary
                                                        energy use in buildings. The WE&T Program provides technical advice to
                              9                         local workforce development organizations, postsecondary educational
                             10                         institutions, and training programs for various trades. The Debtors operate
                                                        three energy centers that offer courses, technical consultations, and events.
                             11                         The centers include the Pacific Energy Center in San Francisco, which
                                                        focuses on building design, the Stockton Energy Training Center, which
                             12                         focuses on workforce training, and the Food Service Technology Center in
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                                                        San Ramon. Through the WE&T Program, the Debtors work with
                             13                         educational institutions, community-based organizations and state education
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                             14                         agencies to offer energy education to K-12, community colleges, adult
                                                        education, and higher education institutions.
                             15
                                                      o Energy Efficiency: Emerging Technologies Program.             The Debtors
                             16                         administer an emerging technologies program (the “ETP”), which evaluates
                                                        new and/or promising EE technologies, showcases these technologies, and
                             17                         facilitates the entry of such technologies to market. Through the ETP, the
                             18                         Debtors communicate and collaborate with entrepreneurs and technology
                                                        providers to increase the supply of EE technology solutions and identify and
                             19                         assesses the performance of emerging EE technology solutions through lab
                                                        and field testing and demonstration showcases. The ETP is focused on the
                             20                         following areas across all customer segments: lighting, HVAC, building
                                                        shells, energy management systems, appliances, plug loads, and food
                             21                         services technologies.
                             22
                                               •   Statewide, Marketing and Education. The Debtors serve as the fiscal manager for a
                             23                    joint utility statewide marketing, education, and outreach program that is performed
                                                   under contracts with third-party advertising and media firms. The statewide
                             24                    marketing, education, and outreach program motivates Customers to take action on
                                                   EE and energy conservation measures, increases Customer awareness of such
                             25                    measures, and facilitates Customers’ ability to act and incorporate technological
                             26                    advances.

                             27                •   Low-Income. The Debtors serve as program administrator for programs aimed at
                                                   helping income-qualified Customers pay their energy bills. Over 1.4 million
                             28
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                                                   Customers are receiving a bill discount through the California Alternative Rates for
                              1                    Energy (CARE) program and Family Electric Rate Assistance Program (FERA)
                              2                    program.

                              3                •   Energy Savings Assistance Program. The Debtors administer the energy savings
                                                   assistance program which provides income-qualified residential Customers with
                              4                    home energy-saving improvements at no charge. The program supports the EE and
                                                   weatherization of approximately 100,000 homes per year.
                              5
                              6                •   Self-Generation Incentive Program. The Debtors serve as program administrators
                                                   for the self-generation incentive program (the “SGIP”) and provide rebates to
                              7                    Customers and renewable energy providers for the installation of new qualifying
                                                   technologies that meet all or a portion of the electric needs of a facility. The
                              8                    purpose of the SGIP is to achieve GHG emission reductions, electricity demand
                                                   reductions, and reduced Customer electricity usage.
                              9
                                               •   California Solar Initiative and Other Solar Programs. The Debtors administer
                             10
                                                   California solar initiative and other solar programs by providing financial incentives
                             11                    for installation of qualifying photovoltaic systems for multi-family and single-
                                                   family affordable housing and solar thermal technology. These programs include
                             12                    without limitation, the California Solar Initiative Program; the California Solar
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                                                   Initiative Multifamily Affordable Solar Housing Program; the California Solar
                             13                    Initiative Thermal Program; the Single Family Affordable Solar Housing Program;
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                             14                    the Multifamily Affordable Housing Solar Roofs Program; the Net Energy Metering
                                                   Program; the Community Solar Green Tariff Program; the Disadvantaged
                             15                    Communities—Green Tariff Program, and the Disadvantaged Communities—
                                                   Single Family Solar Homes Program. Under these programs, the Debtors provide
                             16                    financial incentives and other customer assistance including through a contract with
                                                   a third-party administrator for the installation of solar energy systems on qualifying
                             17                    properties throughout California. The goal of the programs is to encourage the
                             18                    development and installation of solar systems including in California’s
                                                   disadvantaged communities.
                             19
                                               •   Demand Response Programs. The Debtors administer demand response programs
                             20                    designed to enable Customers to contribute to energy load reduction during peak
                                                   times of demand. Demand response programs are designed to be both fiscally and
                             21                    environmentally responsible by responding to occasional and temporary peak
                             22                    demand. The programs offer incentives to businesses that volunteer and participate
                                                   by temporarily reducing their energy use when demand could outpace supply.
                             23
                                               •   San Joaquin Valley Disadvantaged Communities Pilot Projects. In December 2018,
                             24                    the CPUC authorized the Debtors and other investor-owned utilities to implement
                                                   and administer a variety of pilots and various support programs to provide improved
                             25                    utility services to disadvantaged communities in the San Joaquin Valley. The
                                                   Debtors are responsible for certain of these pilots as well as providing credits and
                             26
                                                   education for impacted customers. The Debtors are also responsible for facilitating
                             27                    the hiring of an independent administrator to oversee the pilots.

                             28                •    Clean Energy Transportation Programs. The Debtors have been authorized to
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                                                     implement multiple electric vehicle programs, including the “Electric Vehicle
                              1                      Charging Network Program,” which will increase access to charging for electric
                              2                      vehicles within the Debtors’ service territory; the “Electric Vehicle Fleet Ready
                                                     Program,” which serves to build electric vehicle charging infrastructure for 700 sites
                              3                      to support medium and heavy duty vehicle fleets; the “Priority Review Projects
                                                     Program,” which pilots new methods and projects to promote deployment of electric
                              4                      vehicles; and the “Electric Vehicle Fast Charge Program,” which targets transit
                                                     corridors and urban areas to provide them with charging infrastructure that allows
                              5                      electric vehicles to fully charge quickly. 24
                              6
                                                 •   Residential Rate Reform. The Debtors implement residential rate plan changes and
                              7                      increase customer awareness of rate options in preparation for the mandated
                                                     transition of approximately 2.7 million Customers to “time-of-use” rate plans
                              8                      starting in October 2020 under which energy costs will be directly related to the
                                                     time of day energy is used. Customer awareness includes an extensive multi-media
                              9                      statewide campaign informing Customers of the importance of energy management
                             10                      and the time of day that energy is used.

                             11                  •   Mobile Home Park Utility Upgrade Program. The Debtors participate in a program
                                                     to replace mobile home park (“MHP”) operated utility systems with direct public
                             12                      utility natural gas and electric service for MHP residents. The goal of the program
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                                                     is to provide safe, reliable, and clean energy to MHP residents.
                             13
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                                         On an annual basis, the CPUC commissions studies of California’s residential and commercial
                             14
                                  buildings, equipment and processes, and industrial and agricultural sectors with the objective of
                             15
                                  developing energy savings and conservation objectives and determining the annual budget for the
                             16
                                  Public Purpose Programs. Following approval by the CPUC, the projected costs associated with the
                             17
                                  Public Purpose Programs (the “PPP Costs”) are funded through various surcharges and fees collected
                             18
                                  by the Debtors through rates from Customers (the “PPP Funds”).25 In order to meet the objectives of
                             19
                                  the Public Purpose Programs, the CPUC has approved approximately $950 million in PPP Costs for
                             20
                                  2019. As of the Petition Date, the Debtors estimate that approximately $131 million in PPP Costs
                             21
                                  owed to third parties are accrued and unpaid, all of which the Debtors estimate will come due within
                             22
                                  thirty (30) days after the Petition Date.
                             23
                             24

                             25   24
                                     These clean energy transportation programs have been authorized by Decision Nos. 16-12-065, 18-
                                  01-024 and 18-05-040 of the CPUC.
                             26   25
                                     For a list of examples of such balancing accounts, see PG&E Advice Letter 5376-E, Annual Electric
                             27   True-Up Submittal – Change to PG&E’s Electric Rates on January 1, 2019, filed with CPUC on
                                  September 4, 2018; PG&E Advice Letter 4053-G, Annual Gas True-Up of Gas Transportation
                             28   Balancing Accounts for Rates Effective January 1, 2019, filed with CPUC on December 21, 2018.
                                  DECLARATION OF JASON P. WELLS                     96
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          The funds collected, allocated, and distributed by the Debtors on account of the Public Purpose
                              2   Programs are typically tracked by the Debtors through regulatory “balancing accounts” required by the
                              3   CPUC for legal ratemaking purposes. All costs recorded in these accounts are reserved for the
                              4   payment of PPP Costs as approved by the CPUC. Surplus funds remaining in these accounts at the end
                              5   of the year are either rolled over and allocated to Public Purpose Programs for the next fiscal year or
                              6   refunded to Customers through rate adjustments.
                              7                  3.      The Environmental Cleanup Programs

                              8          The Debtors’ operations include or have included nuclear power plants, manufactured gas plant

                              9   sites, natural gas gathering system sites, natural gas compressor station sites, electric transmission and

                             10   distribution facilities, steam-electric power plant sites, and hydroelectric power plant sites. As a result

                             11   of current and historical operations, that state and federal statutes and agencies such as the Federal

                             12   Comprehensive Environmental Response, Compensation and Liability Act of 1980 (CERCLA), the
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                             13   NRC, and the CPUC nuclear safety and cost recovery regulations require the Debtors to administer and
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                             14   maintain the Environmental Cleanup Programs described below. 26 The Debtors operate such programs

                             15   under state and federal regulatory oversight.

                             16          As a necessary part of their business, the Debtors use, or have used, a variety of different

                             17   hazardous or radioactive materials in a number of their sites, the cleanup of which is an ordinary and

                             18   recurring part of the Debtors’ business. In connection therewith, the Debtors (a) evaluate existing and

                             19   historical operating sites for potential releases of hazardous materials by performing site investigations

                             20   and conducting human health and ecological assessments, and (b) design, implement, and perform

                             21   remedial measures at designated sites to address ongoing or potential exposure risks. The Debtors use

                             22   a number of third-party environmental contracting and consulting firms in the administration of the

                             23   Environmental Cleanup Programs, as well as outside legal firms to provide guidance and direction on

                             24

                             25
                                  26
                             26      Such authorities include: Cal. Pub. Util. Code §§ 379, 8325 and 8326, and PG&E’s Electric
                                  Preliminary Statement DB (Nuclear Decommissioning Adjustment Mechanism), https://www.pge.
                             27   com/tariffs/assets/pdf/tariffbook/ELEC_PRELIM_DB.pdf; and CPUC Decision 94-05-020, and
                                  PG&E’s Electric Preliminary Statement Part S (Hazardous Substance Mechanism), https://www.pge.
                             28   com/tariffs/assets/pdf/tariffbook/ELEC_PRELIM_S%20(Prelim).pdf.
                                  DECLARATION OF JASON P. WELLS                      97
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   legal and regulatory issues, to manage regulatory and third-party claims with respect to environmental
                              2   issues, and to assist in the development of environmental policies.
                              3             Additionally, the Debtors’ routine work includes active decommissioning of the Debtors’
                              4   Humboldt Bay nuclear facility and decommissioning planning activities of the Debtors’ DCPP. I
                              5   understand based on discussion with counsel that federal law requires all operators of nuclear facilities
                              6   to create and fund a nuclear decommissioning trust fund with adequate funds to decommission those
                              7   facilities such that they present no risk to public health and safety or the environment when they are
                              8   removed from service.27
                              9             The Debtors collect and recover hazardous substance clean up and litigation costs, net of
                             10   related insurance recoveries, as approved by the CPUC. The CPUC allows for the recovery of eligible
                             11   costs at CPUC-approved manufactured gas plant sites, federal superfund sites, and other specified
                             12   sites. Additionally, I understand based on discussions with counsel that Section 8326 of the California
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                             13   Public Utilities Code and CPUC decisions and orders require that the Debtors periodically estimate the
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                             14   costs associated with the Debtors’ nuclear decommissioning efforts, seek CPUC authorization for the
                             15   funding of such costs, and deposit such funding into externally managed and segregated nuclear
                             16   decommissioning trusts (collectively, the “Decommissioning Trusts”).28 The Debtors routinely seek
                             17   reimbursement from the Decommissioning Trusts for prudent decommissioning expenditures approved

                             18   by the CPUC.
                             19             Following approval by the CPUC, the projected costs associated with the Environmental
                             20   Cleanup Programs (the “ECP Costs”) are funded through various surcharges and fees collected by the
                             21   Debtors through rates from Customers (the “ECP Funds”). In order to meet the objectives of the
                             22   Environmental Cleanup Programs, the CPUC has approved $130.8 million in ECP Costs for 2019. As
                             23   of the Petition Date, the Debtors estimate that approximately $39.4 million in ECP Costs owed to third
                             24   parties are accrued and unpaid, all of which the Debtors estimate will come due within thirty (30) days

                             25   after the Petition Date.

                             26
                             27   27
                                       10 CFR 50.82 and 50.75.
                                  28
                             28        See Cal. Pub. Util. Code §§ 8325-26.
                                  DECLARATION OF JASON P. WELLS                     98
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1           The funds collected, allocated, and distributed by the Debtors on account of the Environmental
                              2   Cleanup Programs are tracked by the Debtors through regulatory “balancing accounts” or ratemaking
                              3   adjustments required by the CPUC for legal ratemaking purposes. The ratemaking accounts and
                              4   mechanisms which recover the costs associated with these activities include the “Hazardous Substance
                              5   Mechanism’s Hazardous Substance Cost Recovery Account” and the “Nuclear Decommissioning
                              6   Adjustment Mechanism.”29 All costs recorded in these accounts are reserved for the payment of ECP
                              7   Costs as approved by the CPUC. Surplus funds remaining in the Hazardous Substance Cost Recovery
                              8   Account at the end of the year are either rolled over and allocated to Environmental Cleanup Programs
                              9   for the next fiscal year or refunded to Customers through rate adjustments.
                             10                   4.      The Third-Party Programs

                             11           Under programs authorized by statute and CPUC decisions, the Debtors act as servicing and

                             12   billing agents to third parties (e.g., private utility providers) that sell electricity or natural gas directly
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                             13   to retail customers using the Debtors’ transmission and distribution facilities. 30 Under such
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                             14   arrangements, the Debtors send invoices to, and collect money from, Customers on behalf of the third

                             15   parties and then remit such payments to the third parties.

                             16           The programs under which such third parties provide this electricity or natural gas are known

                             17   as Community Choice Aggregation, Direct Access, and Core Gas Aggregation.                    The third-party

                             18   entities providing service under these programs are known, as Community Choice Aggregators

                             19   (“CCAs”), Energy Service Providers (“ESPs”), and Core Transport Agents (“CTAs”), respectively.

                             20   In addition, the Debtors act as billing agent for the California Department of Water Resources

                             21   (“DWR”), which has purchased energy on behalf of Customers and recovers financing costs from

                             22   Customers using the Debtors’ billing system and other facilities. The Third-Party Programs that

                             23   deliver electricity serve over 3 million customers and are anticipated to account for approximately 40%

                             24   of the electricity load in the Debtors’ territory.

                             25   29
                                     PG&E’s Electric Preliminary Statement Part S (Hazardous Substance Mechanism), https://www.pge.
                                  com/tariffs/assets/pdf/tariffbook/ELEC_PRELIM_S%20(Prelim).pdf.;      and     PG&E’s      Electric
                             26   Preliminary Statement DB (Nuclear Decommissioning Adjustment Mechanism), https://www.pge.
                                  com/tariffs/assets/pdf/tariffbook/ELEC_PRELIM_DB.pdf.
                             27   30
                                     Such statutes include Cal. Pub. Util. Code §§ 365.1 and 366 (direct access), 366.2 (community
                             28   choice aggregation), and Cal. Water Code § 80110a.
                                  DECLARATION OF JASON P. WELLS                        99
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          The Debtors receive fees and revenues from Customers of the third parties to reimburse the
                              2   Debtors for their costs of delivering the electricity and natural gas over the Debtors’ utility
                              3   transmission and distribution system and for acting as servicing and billing agent. In addition to
                              4   amounts owed to the Debtors from such Customers, the Debtors also collect from such Customers
                              5   amounts owed to the third parties for the electricity and natural gas supplied by the third parties (the
                              6   “TPP Funds”). Remittance of such pass-through revenues by the Debtors to the third parties in
                              7   connection with the Third-Party Programs (the “TPP Costs”) ranges from daily to weekly.
                              8          Failure to provide third party providers with revenue owed to them under the Third Party
                              9   Programs for purchases of their electricity and natural gas would improperly interfere with their
                             10   relationships with their Customers and could jeopardize the continued supply of electricity and natural
                             11   gas to their Customers who rely on the same. With over 3 million Customers serviced with electricity
                             12   pursuant to the Third-Party Programs—which is anticipated to account for approximately 40% of the
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                             13   electricity load in the Debtors’ territory in 2019—the normal and uninterrupted remittance of Customer
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                             14   payments through the Debtors to CCAs, ESPs, CTAs, and DWR is of the utmost importance in order
                             15   for such entities to meet their obligations to such customers and their suppliers, contractors, and
                             16   lenders.
                             17          Based on historical averages, on a monthly basis the aggregate amount of the TPP Funds
                             18   received by the Debtors is approximately $181.2 million. As of the Petition Date, the Debtors estimate
                             19   that approximately $52.6 million in TPP Costs are payable to third parties, all of which the Debtors
                             20   estimate will come due during the Interim Period.
                             21                  5.     The GHG Credit Programs

                             22          I understand based on discussion with counsel that, pursuant to statutes enacted by the

                             23   California Legislature and regulations issued by the California Air Resources Board,31 California

                             24
                                  31
                             25      Such statutes and regulations include Assembly Bill (AB) 32, the California Air Resources Board
                                  regulations implementing AB 32, and the Low Carbon Fuel Standard regulation issued by the
                             26   California Air Resources Board. See California Global Warming Solutions Act of 2006, Cal. Health &
                                  Safety Code §§ 38500, et. seq.; Low Carbon Fuel Standard (LCFS), Cal. Code of Regs. tit. 17, §§
                             27   95480- 95503. Decisions of the California Public Utilities Commission authorize PG&E to issue CC
                                  Credits (as defined below) to retail customers under AB 32, and also authorize PG&E to participate in
                             28   the LCFS (as defined below) program and distribute LCFS Credits to customers.
                                  DECLARATION OF JASON P. WELLS                    100
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   businesses that emit GHGs, such as the Debtors, are mandated to reduce their emissions of GHGs and
                              2   provide credits to Customers to give them incentives to do the same. For example, the Debtors issue
                              3   semi-annual California Climate Credits for electric Customers and annual California Climate Credits
                              4   for natural gas Customers (“CC Credits”). In addition, the Debtors administer the Low Carbon Fuel
                              5   Standard (“LCFS”) credit program. Pursuant to such program, the Debtors administer and distribute
                              6   point of purchase rebates to Customers who switch from a gasoline-powered vehicle to an electric
                              7   vehicle (“LCFS Credits”).
                              8           Following approval by the CPUC, the projected costs associated with the CC Credits (the “CC
                              9   Costs”) are funded through various surcharges and fees collected by the Debtors through rates from
                             10   Customers and revenues accrued from the monetization of credits by the Debtors. The CPUC has
                             11   approved approximately $443.1 million in CC Costs for the Debtors’ issuance of CC Credits for 2019.
                             12   The LCFS Credits provided to Customers are funded by the Debtors’ monetization of LCFS credits
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                             13   earned by the Debtors from the ARB for their GHG compliance. The Debtors sell their LCFS credits
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                             14   in the open market to other GHG emitting businesses who buy them to offset their own compliance
                             15   costs (the funds collected through rates and revenues from the monetization of CC Credits and LCFS
                             16   credits collectively, the “GHG Funds” and the CC Credits and LCFS Credits provided using the GHG
                             17   Funds including administrative costs, the “GHG Costs”). The GHG Funds are typically tracked by the
                             18   Debtors through regulatory “balancing accounts” required by the CPUC for legal ratemaking purposes.
                             19   As of the Petition Date, the Debtors estimate that approximately $128.9 million in GHG Costs are
                             20   accrued and unpaid. The Debtors do not expect that any of such amounts will come due during the
                             21   Interim Period.
                             22                 6.      The Customer Support Programs

                             23          In the ordinary course of business, the Debtors support Customers through a variety of product

                             24   offerings, which provide the Debtors with additional revenue to offset and reduce the rates paid by gas

                             25   and electric Customers. For example, the Debtors license and lease space on the Debtors’ assets (such

                             26   as towers, conduit, and fiber network), to enable Customers to install equipment to provide

                             27   telecommunications services in California. If Customers request installation of or modifications to

                             28    such equipment, the Debtors engage with contractors and other vendors to perform such work for the
                                  DECLARATION OF JASON P. WELLS                  101
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   benefit of the Customers. The Debtors also support private and public sector Customers seeking
                              2   sustainable solutions by acting as a general contractor for Customer projects that range from replacing
                              3   heating systems for large institutional or government Customers to replacing street lights with LED
                              4   lights for municipalities. The Debtors subcontract such projects to completion. In 2018, the Debtors
                              5   estimate that they supported more than 100 Customers through their Customer Support Programs.
                              6          The subcontractors and other vendors engaged by the Debtors to complete Customer Support
                              7   Program projects perform their work under work authorizations with the Debtors. The Debtors receive
                              8   invoices from the subcontractor first and then invoice the Customer for the same amount plus a
                              9   markup. If the Debtors do not remit payment to a subcontractor, the subcontractor may refuse to
                             10   complete the project and may result in the imposition of liens by the contractors on Customer property.
                             11   Such refusal could jeopardize the Customer’s project, the Debtors’ relationship with the Customer, any
                             12   financing obtained by the Customer to fund the project and, as a result, the Debtors’ revenue associated
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                             13   therewith. In addition, a contractor’s refusal to perform could result in a breach of the Debtors’
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                             14   performance obligations under its agreement with the Customer. As of the Petition Date, the Debtors
                             15   estimate that they owe approximately $12.7 million to contractors and vendors pursuant to the
                             16   Customer Support Programs (the “CSP Costs”), and that approximately $5.3 million will come due
                             17   within thirty (30) days after the Petition Date. As noted above, all of such amounts will be recovered
                             18   from Customers.
                             19          As indicated above, I understand based on discussions with counsel that most of the Customer
                             20   Programs are the subject of statutory or regulatory mandates. Additionally, with respect to the Public
                             21   Purpose Programs and the GHG Credit Programs, California statutes and regulations mandate that all
                             22   PPP Funds and GHG Funds be set aside for the express purpose of funding public interest programs
                             23   and issuing credits to Customers that are designed to benefit the broader public interests. Failure to
                             24   fund the Public Purpose Programs and the GHG Credit Programs with the proceeds specifically

                             25   designated therefor, including payment of prepetition costs, would be in direct conflict with regulatory
                             26   requirements and unwarranted under the circumstances. With respect to the Environmental Cleanup
                             27   Programs, any suspension or delay in administering the Environmental Cleanup Programs is contrary
                             28
                                  DECLARATION OF JASON P. WELLS                    102
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   to public health and welfare and may exacerbate not only existing circumstances but the ultimate costs
                              2   of cleanup as well.
                              3          Furthermore, because of the unique nature and scale of their business operations, the Debtors’
                              4   Customers will be particularly vulnerable to any suspension of the Debtors’ obligations under the
                              5   Deposit and Reimbursement Programs, and the ripple effects of any suspension could be far reaching.
                              6   If lower-income residential Customers, for example, are unable to receive their Security Deposit
                              7   Refunds, they may be deprived of necessary funds and be subject to undue hardship. Customers who
                              8   have budgeted for the use of the Security Deposit Refunds may be unable to meet their day-to-day
                              9   financial commitments, including, for Customers who have left the utility’s service area, establishing
                             10   credit with another utility using the funds from their Security Deposit Refund.
                             11          Accordingly, I respectfully submit that honoring all Customer Program Obligations, including
                             12   payment of Security Deposit Refunds, MLX Deposit Refunds, UG Costs, OCP Costs, PPP Costs, ECP
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                             13   Costs, TPP Costs, GHG Costs, and CSP Costs in the ordinary course as they come due, including all
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                             14   prepetition amounts, is a prudent and sound exercise of the Debtors’ business judgment and should be
                             15   approved.
                             16          I respectfully submit that payment of the Customer Program Obligations is necessary to avoid
                             17   immediate and irreparable harm because (a) failure to make such payments may cause the Debtors to
                             18   violate statutory and regulatory mandates, (b) failure to pay the Security Deposit Refunds, and MLX
                             19   Deposit Refunds, may inflict a significant hardship on the Debtors’ Customers, (c) failure to pay the
                             20   prepetition OCP Costs, UG Costs, PPP Costs, ECP Costs, GHG Costs, and CSP Costs will threaten the
                             21   viability of the UG Programs, Other Customer Programs, Public Purpose Programs, Environmental
                             22   Cleanup Programs, GHG Credit Programs, and Customer Support Programs and undermine public
                             23   confidence in the Debtors, and (d) failure to pay the pass-through TPP Costs will threaten the viability
                             24   of certain third party entities and the continued supply of electricity and natural gas to certain

                             25   customers.
                             26   VI.    MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 105(a), 363(b), AND 503(b) AND
                                         FED. R. BANKR. P. 6003 AND 6004 (I) FOR INTERIM AND FINAL AUTHORITY TO
                             27          PAY PREPETITION OBLIGATIONS OWED TO SHIPPERS, WAREHOUSEMEN,
                                         AND OTHER LIEN CLAIMANTS, AND (II) GRANTING ADMINISTRATIVE
                             28
                                  DECLARATION OF JASON P. WELLS                     103
                                  IN SUPPORT OF FIRST DAY MOTIONS
                                         EXPENSE PRIORITY STATUS FOR CLAIMS ARISING FROM GOODS
                              1          DELIVERED TO THE DEBTORS POSTPETITION (THE “LIEN CLAIMANTS
                                         MOTION”)
                              2
                                         Pursuant to the Lien Claimants Motion, the Debtors request (i) interim and final authority to
                              3
                                  pay the prepetition claims (the “Lien Claims”) of certain third-party shippers, warehousemen,
                              4
                                  vendors, and other service providers or contractors that may be permitted to assert statutory or
                              5
                                  possessory liens against the Debtors’ property and equipment if the Debtors fail to pay the prepetition
                              6
                                  amounts owed to those parties for their various goods and services (collectively, the “Lien
                              7
                                  Claimants”), and (ii) granting administrative priority status to all undisputed obligations of the
                              8
                                  Debtors owing to third-party vendors and suppliers arising from the postpetition delivery of goods
                              9
                                  ordered prior to the Petition Date and authorizing the Debtors to pay such obligations in the ordinary
                             10
                                  course of business.
                             11
                                         A.       The Lien Claimants.
                             12
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                                         The Debtors routinely transact business with a number of entities that provide goods and
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                             13
                                  services that may be permitted to assert statutory or possessory liens against the Debtors’ property and
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                             14
                                  equipment if the Debtors fail to pay for those parties’ various goods or services. The Lien Claimants
                             15
                                  generally fall into the following categories: (i) Shippers, (ii) Warehousemen, and (iii) Maintenance and
                             16
                                  Repairmen (each as defined below). Each of these categories of Lien Claimants is discussed in further
                             17
                                  detail below.
                             18
                                         As of the Petition Date, the Debtors estimate that they owe approximately $65,500,000 on
                             19
                                  account of Lien Claims, of which approximately $25,800,000 will come due during the Interim
                             20
                                  Period.32 A chart outlining the various categories and approximate amounts of the Lien Claims that the
                             21
                                  Debtors are seeking authority to pay pursuant to the Lien Claimants Motion on an interim and final
                             22
                                  basis is set forth below:
                             23
                             24

                             25
                                  32
                             26      Concurrently with the Lien Claimants Motion, the Debtors have filed the Operational Integrity
                                  Suppliers Motion (as defined below). Although the Debtors have endeavored to provide accurate
                             27   figures and calculations herein, there may, in some instances, be overlap between the amounts sought
                                  to be paid pursuant to the Lien Claimants Motion and the amounts sought to be paid pursuant to the
                             28   Operational Integrity Suppliers Motion.
                                  DECLARATION OF JASON P. WELLS                    104
                                  IN SUPPORT OF FIRST DAY MOTIONS
                                                                                   Approx. Amount            Approx. Amount
                              1
                                                          Categories               Seeking to Pay on         Seeking to Pay on
                              2                                                      Interim Basis              Final Basis

                              3                Shippers                                $1,800,000                $6,000,000

                              4                Warehouseman                            $4,800,000                $4,800,000
                                               Maintenance and Repairmen              $19,200,000               $54,700,000
                              5
                                               Total Approx. Lien Claims              $25,800,000               $65,500,000
                              6
                              7             Shippers. In the ordinary course of business, the Debtors purchase natural gas (the “Purchased

                              8   Natural Gas”) from entities operating in all of the major natural gas basins in western North America,

                              9   including basins in western Canada, the Rocky Mountains, and the southwestern United States.

                             10   Although the Debtors own and operate over 6,400 miles of transmission pipelines, these pipelines do

                             11   not connect directly to the Debtors’ natural gas sources. Therefore, it is necessary for the Debtors to

                             12   rely on third-party transportation service providers (the “Shippers”) to transport Purchased Natural
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                             13   Gas from their sources to the Debtors’ transmission pipelines so that the Debtors may deliver natural
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                             14   gas to their residential, commercial, industrial, and agricultural customers and to fuel the Utility’s gas-

                             15   fired electric generation facilities in northern and central California. The Debtors’ ability to operate in

                             16   the ordinary course, therefore, depends on their ability to take delivery of and transport Purchased

                             17   Natural Gas in a timely fashion. Additionally, the Debtors also rely on Shippers for the transportation

                             18   of piping supplies, valves, replacement parts and other materials, all of which are integral to the day to

                             19   day operations of their business.

                             20             It is my understanding based upon discussions with counsel that, if the Debtors fail to pay their

                             21   Shippers in a timely manner, the Shippers may seek to assert statutory or possessory liens against

                             22   Purchased Natural Gas or other materials and property that is in their possession with respect to any

                             23   delinquent charges, potentially blocking the Debtors’ access to the Purchased Natural Gas and such

                             24   materials and property that is in transport.33 Further, in many cases, only one third-party transportation

                             25
                             26
                             27
                                  33
                             28        For example, section 7307 of California’s Commercial Code provides in pertinent part that:
                                  DECLARATION OF JASON P. WELLS                       105
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   service provider is capable of transporting Purchased Natural Gas or other materials from a given
                              2   source, leaving the Debtors with no choice but to rely on a particular Shipper. With millions of
                              3   dollars’ worth of Purchased Natural Gas and other materials and property in transit at any given time,
                              4   the cost of a disruption to the Debtors’ operations that could be caused by the Shippers’ exercising
                              5   their rights likely far outweighs the prepetition amounts owed to the Shippers.
                              6          The Debtors estimate that the aggregate amount owed to Shippers for services provided during
                              7   the period before the Petition Date is approximately $6,000,000, of which the Debtors are requesting
                              8   authority to pay approximately $1,800,000 on an interim basis.
                              9          Warehousemen. In the ordinary course of business, the Debtors store natural gas that they
                             10   purchase in various storage facilities (the “Stored Natural Gas”). The Debtors procure gas storage
                             11   capacity as a tool to ensure reliability, in order to inject and withdraw gas to ensure compliance with
                             12   system requirements, and to balance their position and serve load. Additionally, the Debtors store
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                             13   large diameter pipes used for natural gas pipelines, valves, natural gas replacement pipes and fittings,
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                             14   cables, wiring, and other parts for the electrical grid, and other property in certain third party
                             15   warehouse facilities. Because the Debtors operate only three storage facilities of their own, all of
                             16   which have limited capacity, they rely on the services of these third-party storage providers (the
                             17   “Warehousemen”).
                             18          It is my understanding based upon discussions with counsel that, if the Debtors fail to pay their
                             19   Warehousemen in a timely manner, the Warehousemen may seek to assert statutory or possessory liens
                             20   against the Debtors’ property that is in their possession; potentially blocking the Debtors’ access to the
                             21
                             22
                             23
                             24
                                                 A carrier has a lien on the goods covered by a bill of lading or on the
                             25                  proceeds thereof in its possession for charges after the date of the
                                                 carrier’s receipt of the goods for storage or transportation, including
                             26                  demurrage and terminal charges, and for expenses necessary for
                                                 preservation of the goods incident to their transportation or reasonably
                             27                  incurred in their sale pursuant to law.
                             28   California Code, Commercial Code – COMM § 7307.
                                  DECLARATION OF JASON P. WELLS                     106
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Stored Natural Gas and other materials that are necessary for the business operations. 34 The Debtors
                              2   estimate that the aggregate amount owed to Warehousemen for services provided during the period
                              3   before the Petition Date is approximately $4,800,000, all of which is estimated to come due during the
                              4   Interim Period.
                              5          Maintenance and Repairmen. Certain of the Lien Claimants provide maintenance and repair
                              6   services on the Debtors’ vast network of production, transmission, and distribution facilities, including
                              7   the Debtors’ generation units and gas facilities (the “Maintenance and Repairmen”).                  The
                              8   Maintenance and Repairmen, among other things, maintain, repair, refurbish, and replace components
                              9   of the Debtors’ facilities and equipment and provide fuel and parts for the Debtors’ generation units.
                             10   Many of the Maintenance and Repairmen are not under contract to perform future services, but rather
                             11   perform work and related services on an order-by-order basis. If the Debtors become delinquent in
                             12   their payments for such goods provided or services rendered, the Maintenance and Repairmen may
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                             13   assert liens, including mechanics’ liens and materialman’s liens, against the Debtors’ property for the
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                             14   amounts owed. Additionally, those Maintenance and Repairmen that do have contracts with the
                             15   Debtors may have been granted liens or other interests pursuant to such agreements to secure amounts
                             16   owed to them under their relevant agreements. The Debtors estimate that the aggregate amount owed
                             17   to Maintenance and Repairmen for goods and services provided during the period before the Petition
                             18   Date is approximately $54,700,000, of which the Debtors are requesting authority to pay
                             19   approximately $19,200,000 on an interim basis.
                             20          In addition to having secured claims, if the Debtors are unable to satisfy the Lien Claims as
                             21   requested in the Lien Claimants Motion, the Lien Claimants may refuse to provide critical ongoing
                             22   goods or services to the Debtors or may seek to enforce their rights and liens on account of such
                             23   claims. Accordingly, the Debtors seek authority to pay and discharge, on a case-by-case basis, the
                             24   Lien Claims that the Debtors believe have created, or could give rise to, a lien against the Debtors’

                             25
                                  34
                             26     See California Code, Commercial Code – COMM § 7209 (“A warehouse has a lien against the bailor
                                  on the goods covered by a warehouse receipt or storage agreement or on the proceeds thereof in its
                             27   possession for charges for storage or transportation, including demurrage and terminal charges,
                                  insurance, labor, or other charges, present or future, in relation to the goods, and for expenses
                             28   necessary for preservation of the goods or reasonably incurred in their sale pursuant to law.”)
                                  DECLARATION OF JASON P. WELLS                     107
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                              1   property or equipment, regardless of whether such Lien Claimants already have actually perfected their
                              2   interests.
                              3           B.     The Prepetition Orders

                              4           In addition to the relief requested with respect to the Lien Claimants, as of the Petition Date,

                              5   the Debtors have certain prepetition purchase orders outstanding with various third-party vendors and

                              6   suppliers (the “Vendors”) for goods ordered by the Debtors that have not yet been delivered by the

                              7   Vendors to the Debtors’ facilities (the “Prepetition Orders”). These Vendors may be concerned that,

                              8   because the Debtors’ obligations under the Prepetition Orders arose prior to the Petition Date, such

                              9   obligations will be treated as general unsecured claims in the Chapter 11 Cases. Accordingly, certain

                             10   Vendors may refuse to provide goods purchased (or may recall shipments thereof) pursuant to the

                             11   Prepetition Orders unless the Debtors issue substitute purchase orders postpetition or obtain an order of

                             12   the Court confirming that all undisputed obligations of the Debtors arising from the postpetition
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                             13   delivery of goods subject to Prepetition Orders are afforded administrative expense priority status
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                             14   under section 503(b) of the Bankruptcy Code.

                             15           I respectfully submit that the relief requested in the Lien Claimants Motion represents an

                             16   exercise of sound business judgment and is necessary to facilitate a successful reorganization.

                             17   Authorizing the Debtors to pay the Lien Claims is in the best interests of the Debtors, their estates, and

                             18   all parties in interest. The Lien Claimants provide valuable shipping, warehousing, and maintenance

                             19   and repair services to the Debtors, and certain of the Lien Claimants currently hold goods and property

                             20   that are necessary to the Debtors’ continued operations. It is my understanding based upon discussions

                             21   with counsel that, if the Debtors do not pay the Lien Claims, the Shippers and Warehousemen likely

                             22   will assert possessory liens on the Debtors’ property and thereby prevent access to goods necessary to

                             23   the Debtors’ ongoing operations. Similarly, the Maintenance and Repairmen will assert mechanics’

                             24   and materialman’s liens on the Debtors’ properties, thereby securing the outstanding amounts they are

                             25   owed. Under these circumstances, I respectfully submit that having the authority to satisfy these

                             26   claims not only will avoid any disruptions to their operations and the ability to provide utility service

                             27   to their customers, but should not prejudice any other parties in interest by reason of the lien rights

                             28    held by the Lien Claimants.
                                  DECLARATION OF JASON P. WELLS                     108
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1          Accordingly, I respectfully submit that the relief requested in the Lien Claimants Motion is
                              2   necessary and appropriate, is in the best interests of their estates and all parties in interest, is necessary
                              3   to avoid immediate and irreparable harm to the Debtors, and should be granted.
                              4   VII.   MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 105(a), 363(b), AND 503(b)(9)
                                         AND FED. R. BANKR. P. 6003 AND 6004 FOR INTERIM AND FINAL AUTHORITY
                              5          TO PAY PREPETITION OBLIGATIONS OWED TO CERTAIN SAFETY AND
                                         RELIABILITY, OUTAGE, AND NUCLEAR FACILITY SUPPLIERS (THE
                              6          “OPERATIONAL INTEGRITY SUPPLIERS MOTION”)
                              7          Pursuant to the Operational Integrity Suppliers Motion, the Debtors are seeking interim and
                              8   final authority to pay the prepetition claims (the “Operational Integrity Supplier Claims”) of certain
                              9   vendors, suppliers, service providers, and other similar parties and entities that are essential to
                             10   protecting the public health and maintaining the going-concern value and integrity of the Debtors’
                             11   businesses and operations (the “Operational Integrity Suppliers”).
                             12          In the normal and day to day operation of their business, the Debtors rely heavily on
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                             13   Operational Integrity Suppliers for essential and specialized goods and services so that the Debtors can
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                             14   provide safe and reliable electric and natural gas service to their customers’ homes and businesses,
                             15   while remaining in compliance with all applicable state and federal laws and regulations.
                             16          The Debtors spend an average of approximately $1.9 billion per month on goods and services
                             17   provided by third party vendors and suppliers. As of the Petition Date, the Debtors estimate that they
                             18   owe approximately $116,200,000 on account of Operational Integrity Supplier Claims (the
                             19   “Operational Integrity Supplier Cap”), of which approximately $30,100,000 will come due in the
                             20   Interim Period.35 These amounts represent approximately 5.5% of the Debtors’ total outstanding trade
                             21   debt as of the Petition Date. A chart outlining the representative categories and approximate amounts
                             22   of the Operational Integrity Supplier Claims that the Debtors are seeking authority to pay pursuant to
                             23   the Operational Integrity Suppliers Motion on an interim and final basis is set forth below. The
                             24   estimated amounts of Operational Integrity Supplier Claims set forth herein and in the chart below are

                             25
                                  35
                             26     Concurrently with the Operational Integrity Suppliers Motion, the Debtors filed the Lien Claimants
                                  Motion. Although the Debtors have endeavored to provide accurate figures and calculations herein,
                             27   there may, in some instances, be overlap between the amounts sought to be expended pursuant to the
                                  Operational Integrity Suppliers Motion and the amounts sought to be expended pursuant to the Lien
                             28   Claimants Motion.
                                  DECLARATION OF JASON P. WELLS                       109
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                              1   exclusive of any amounts that may be owed to Operational Integrity Suppliers that may be entitled to
                              2   administrative expense priority pursuant to section 503(b)(9) of the Bankruptcy Code (the “503(b)(9)
                              3   Claims”). Pursuant to the Operational Integrity Suppliers Motion, the Debtors also request authority
                              4   to pay the 503(b)(9) Claims of any Operational Integrity Supplier to the extent the Debtors determine it
                              5   is necessary and appropriate in accordance with the procedures and protocol set forth therein;
                              6   provided, however, any amounts paid by the Debtors in satisfaction of such 503(b)(9) Claims shall not
                              7   be included in or subject to the Operational Integrity Supplier Cap.
                              8                                                        Approx. Amount          Approx. Amount
                                               Representative Categories of
                                                                                       Seeking to Pay on       Seeking to Pay on
                              9               Operational Integrity Suppliers
                                                                                         Interim Basis            Final Basis
                             10         Safety and Reliability Vendors and
                                                                                          $28,600,000            $110,600,000
                                        Service Providers
                             11
                                        Outage Vendors and Service Providers               $1,200,000              $4,500,000
                             12
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                             13         Nuclear Facility Vendors and Service
                                                                                            $300,000               $1,100,000
                                        Providers
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                             14
                                               Total Estimated Operational
                                                                                          $30,100,000            $116,200,000
                             15                 Integrity Supplier Claims
                             16
                             17
                                         A.       The Debtors’ Operational Integrity Suppliers
                             18
                                         In order to fulfill their obligations to provide safe electric and natural gas service to their
                             19
                                  approximately 16 million customers in northern and central California, the Debtors rely on the goods
                             20
                                  and services provided by the Operational Integrity Suppliers to maintain and safely and reliably
                             21
                                  operate their vast network of production, transmission, and distribution facilities. Due to the complex,
                             22
                                  technical, and potentially hazardous nature of the Debtors’ facilities, the Debtors often do business
                             23
                                  with a select vendor for particular goods or services and rely on such vendor as the Debtors’ primary
                             24
                                  supplier or service provider (i.e., the supply source for certain complex parts and specialty equipment,
                             25
                                  specifically designed systems, and specialized labor necessary to the Debtors’ operations).
                             26
                                  Additionally, certain of the Operational Integrity Suppliers have developed capabilities and expertise
                             27
                                  specific to the Debtors’ needs that cannot be easily or cost-effectively replaced, if at all, and which
                             28
                                  DECLARATION OF JASON P. WELLS                     110
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                              1   would be lost if the Debtors were forced to seek similar services elsewhere. Further, due to the myriad
                              2   of federal and state regulations under which the Debtors operate, many of the Operational Integrity
                              3   Suppliers are required to possess certain certifications, permits, or licenses in order to provide goods or
                              4   services to the Debtors. The universe of vendors that possess such certifications, permits, or licenses is
                              5   limited, and, thus, the Debtors are likely to encounter significant difficulty replacing such Operational
                              6   Integrity Suppliers on a timely basis, if at all.
                              7           The Operational Integrity Suppliers generally fall into three primary categories: (i) entities that
                              8   provide goods and services necessary for safe and reliable electric and natural gas service (the “Safety
                              9   and Reliability Vendors”); (ii) entities that provide goods and services related to planned and
                             10   unplanned outages (the “Outage Vendors”); and (iii) entities that provide goods and services in
                             11   connection with the Debtors’ operation and decommissioning of their nuclear reactor power units (the
                             12   “Nuclear Facility Vendors”). Each of these categories of Operational Integrity Suppliers is discussed
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                             13   in further detail below.
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                             14                   1.      Safety and Reliability Vendors

                             15           Safety is a core value for a utility company.         The potentially hazardous nature of the

                             16   transmission and distribution of electricity and natural gas and the generation of electricity mandates a

                             17   focus on the safety of the public, the Debtors’ workforce, and the Debtors’ contractors. Further,

                             18   reliable electric and natural gas service is of the utmost importance to the safety, health, and welfare of

                             19   the Debtors’ customers and their communities, as well as to the efficiency of the economy of central

                             20   and northern California.

                             21           The Safety and Reliability Vendors generally fall into one or more of the following

                             22   subcategories: (i) entities that provide goods and services that are highly specialized (the “Specialized

                             23   Vendors”) and/or closely integrated with the Debtor’s business operations and customer relationships

                             24   (the “Integrated Vendors” and, together with the Specialized Vendors, the “Specialized and

                             25   Integrated Vendors”); (ii) select, pre-qualified, or geographically limited providers of critical goods

                             26   (the “Critical Goods Vendors”); and (iii) entities that provide goods and services related to the

                             27   Debtor’s regulatory compliance obligations (the “Regulatory Compliance Vendors”).

                             28
                                  DECLARATION OF JASON P. WELLS                       111
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                                                        a)      Specialized and Integrated Vendors
                              1
                                         The Debtors rely on Specialized and Integrated Vendors to provide specialized services that are
                              2
                                  closely integrated with the Debtors’ transmission, distribution, generation, and retail business
                              3
                                  operations. In certain cases, the Debtors must obtain the services of a Specialized Vendor because
                              4
                                  state and federal laws and regulations require vendors to possess certain certifications, permits,
                              5
                                  licenses, particular knowledge, or technical “know-how.”         Consequently, certain services (e.g.,
                              6
                                  electrical, line-related, welding, waste-removal, earth-moving, information-technology, security, and
                              7
                                  cybersecurity services) may only be performed by Specialized Vendors due to the risks posed by the
                              8
                                  nature of the Debtors’ facilities, which expose Specialized Vendors to, among other things, high-
                              9
                                  voltage electricity, high-pressure gas, high-speed rotation motors, and potentially hazardous or
                             10
                                  radioactive substances. A very limited number of vendors possess the certifications, permits, licenses,
                             11
                                  knowledge, technical “know-how,” experience, or safety qualifications necessary to perform the
                             12
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                                  services that are provided by the Specialized Vendors, and, therefore, such vendors cannot be easily
                             13
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                                  replaced.
                             14
                                         For example, the Debtors rely on Specialized Vendors such as wildland firefighting and rescue
                             15
                                  servicers to provide onsite fire suppression services. The Debtors also rely on Specialized Vendors to
                             16
                                  provide base camp services for the Debtors’ personnel. These base camp services include providing
                             17
                                  materials to support the Debtors’ fleet operations, and providing telecommunications, electrical
                             18
                                  support, housing, and meals for the Debtors’ personnel on the field.
                             19
                                         Integrated Vendors provide the Debtors with certain customer-facing services, such as
                             20
                                  customer outreach and account management (e.g., establishing and disconnecting service, metering,
                             21
                                  billing, and collecting payments). These services are crucial to maintaining the Debtors’ customer
                             22
                                  relationships and executing their business strategies. Even if the Debtors could identify substitute or
                             23
                                  replacement vendors in a timely fashion that possess the necessary qualifications, experience, and skill
                             24
                                  to provide these customer-facing services, the Integrated Vendors have specific knowledge of the
                             25
                                  Debtors’ business operations, facilities, and customer demands, which knowledge has been developed
                             26
                                  over the course of the Debtors’ longstanding relationships with the Integrated Vendors and which
                             27
                                  cannot be easily replaced. Moreover, attempting to replace the Integrated Vendors during this critical
                             28
                                  DECLARATION OF JASON P. WELLS                    112
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                              1   early period of the Chapter 11 Cases likely would cause significant disruption to the Debtors’
                              2   operations and relationships with their customers, to the detriment and prejudice of all parties in
                              3   interest.
                              4                           b)      Critical Goods Vendors

                              5           The Debtors rely on Critical Goods Vendors to supply essential electrical and gas equipment,

                              6   specialized materials and replacement parts, operations consumables, raw materials, fuels, and certain

                              7   other goods required to operate the Debtors’ electric and natural gas transmission and distribution

                              8   systems and generation units. In some cases, there is no alternative provider for certain of these

                              9   critical goods. For example, certain Critical Goods Vendors supply the Debtors with specialized

                             10   electrical equipment, transformers, specially fabricated repair and replacement parts, and other

                             11   equipment necessary for the Debtors’ transmission, distribution, generation, and gas assets. These

                             12   parts and materials are based on patented or trade-secreted designs and are available only from limited
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                             13   sources.
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                             14           In other cases, alternative vendors cannot supply the requisite critical goods in sufficient

                             15   quantity or with sufficient reliability, or such vendors are unable to supply critical goods of sufficient

                             16   quality on a cost-effective or timely basis in the appropriate geographic areas. For example, the

                             17   modern electrical grid relies on switch gear, transformers, and other state-of-the-art equipment to

                             18   manage advanced electronic metering, communications, and control technologies. Maintaining the

                             19   reliability of the electrical transmission and distribution system, therefore, requires the immediate

                             20   availability of replacement parts for this critical equipment when such equipment is out of service.

                             21   Similarly, certain of the Debtors’ electricity generation facilities are designed to utilize bulk quantities

                             22   of specialized chemicals as part of their energy-production and pollution-control activities. Due to the

                             23   chemical specifications and the quantities involved, the Debtors are dependent on a few Critical Goods

                             24   Vendors to keep the electricity generation facilities in operation. Certain raw materials and fuels used

                             25   in the Debtors’ generation facilities and gas assets are sourced locally because of the expense and

                             26   inefficiency associated with transporting such materials and fuels. In many cases, there may be limited

                             27   capacity to provide critical equipment, materials, or fuels within the general vicinity of a given electric

                             28    or natural gas transmission or distribution asset or generation facility.
                                  DECLARATION OF JASON P. WELLS                       113
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                                                         c)      Regulatory Compliance Vendors
                              1
                                         The Debtors rely on Regulatory Compliance Vendors to assist in complying with various state
                              2
                                  and federal laws and regulations. For example, among other things, the Debtors rely on certain
                              3
                                  Regulatory Compliance Vendors to (i) manage the vegetation that grows near the Debtors’
                              4
                                  transmission and distribution lines, (ii) perform safety checks and quality-assurance monitoring on
                              5
                                  electric transmission and distribution equipment, (iii) test emissions from the Debtors’ facilities to
                              6
                                  ensure compliance with environmental laws and regulations, and (iv) remove regulated waste and
                              7
                                  chemicals from the Debtors’ facilities for proper disposal.
                              8
                                         The services provided by the Regulatory Compliance Vendors are critical to maintaining the
                              9
                                  safety and compliance of the Debtors’ operations. Proper vegetation management reduces the risk of
                             10
                                  creating dangerous or hazardous conditions within the Debtors’ service area.               Even the briefest
                             11
                                  disruption in the services provided by the Regulatory Compliance Vendors could cause significant
                             12
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                                  disruption to the Debtors’ operations or increase the risk to the public. In addition, proper disposal of
                             13
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                                  regulated waste and chemicals not only protects the environment and benefits the public health, but
                             14
                                  also ensures the safety of the Debtors’ employees. Further, absent the services provided by the
                             15
                                  Regulatory Compliance Vendors, governmental entities may attempt to take various actions that would
                             16
                                  have severe negative consequences on the Debtors’ operations, including levying fines or penalties
                             17
                                  against the Debtors, disallowing cost recovery for such services, requiring that certain of the Debtors’
                             18
                                  facilities be idled or closed, or potentially revoking the Debtors’ permits or licenses.
                             19
                                                 2.      Outage Vendors
                             20
                                         The Debtors regularly plan outages of certain of their electric transmission and distribution
                             21
                                  assets, generation units, and gas facilities. During such planned outages, Outage Vendors perform
                             22
                                  maintenance on and repair, replace, upgrade, refuel, refurbish, and stress-test the Debtors’ generation
                             23
                                  and gas assets in an effort to ensure that such assets perform optimally during periods when electricity
                             24
                                  and gas consumption are at their peak. The Debtors schedule the planned outages for the least amount
                             25
                                  of time possible.
                             26
                                         Additionally, certain unplanned outages occur, oftentimes as a result of natural hazards or
                             27
                                  mechanical failures, particularly during storm season. To restore service to their customers as quickly
                             28
                                  DECLARATION OF JASON P. WELLS                      114
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                              1   as possible, the Debtors utilize Outage Vendors to assist their crews in repairing power lines, poles,
                              2   and transmission equipment. Certain of the Outage Vendors also provide critical monitoring services
                              3   during storms or periods of high wind to reduce the occurrence and/or impact of unplanned outages.
                              4          The Debtors’ Outage Vendors are skilled professionals and have specialized knowledge
                              5   necessary to safely and reliably perform the required tasks during both planned and unplanned outages.
                              6   It would be difficult for the Debtors to replace the Outage Vendors in a quick, safe, and cost-efficient
                              7   manner and, therefore, the Outage Vendors are necessary and critical to the Debtors’ operations.
                              8          Any delay in obtaining goods and services from the Outage Vendors likely would extend the
                              9   duration of both planned and unplanned outages, which, in addition to increasing the cost of the
                             10   outages, would adversely impact the reliability of the Debtors’ electric transmission and distribution
                             11   assets, generation units, and gas facilities, as well as the supply of electricity and gas to the Debtors’
                             12   customers.
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                             13                  3.      Nuclear Facility Vendors
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                             14          The Nuclear Facility Vendors provide goods and services in connection with the Debtors’

                             15   operation and decommissioning of their nuclear reactor power units located at the DCPP and

                             16   Humboldt Bay Power Plant. The Nuclear Facility Vendors maintain, repair, inspect, and refurbish the

                             17   equipment located at these facilities and provide fuel and parts, as well as disposal, quality-control,

                             18   physical-plant-security, and cybersecurity services.         The Debtors’ nuclear operations and

                             19   decommissioning activities are subject to extensive oversight by the United States Nuclear Regulatory

                             20   Commission and other regulatory bodies. The Nuclear Facility Vendors are highly skilled and have

                             21   specialized knowledge in the nuclear reactor space. Replacing Nuclear Facility Vendors would be

                             22   difficult, time-consuming, and expensive. Any disruption with respect to the Debtors’ current nuclear

                             23   assets could have significant regulatory consequences for the continued operation of those assets and

                             24   adversely affect the public safety and health, as well as the reliability of the California electricity

                             25   market.

                             26          The Operational Integrity Suppliers are essential to the Debtors’ businesses and the lack of any

                             27   of their particular goods, services, or skills, even for a short duration, could present public health and

                             28    safety risks, would disrupt the Debtors’ operations, and would cause irreparable harm to the Debtors
                                  DECLARATION OF JASON P. WELLS                     115
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                              1   and their reorganization efforts under chapter 11. In addition, many of the Operational Integrity
                              2   Suppliers are smaller, independent, or regional operators and, given the already limited pool of such
                              3   vendors and service providers in the geographic area, which pool has been further limited by the
                              4   Debtors’ current financial situation, it would be difficult (and at times impossible) to replace such
                              5   vendors or suppliers on a timely basis.
                              6          B.      Identification of the Operational Integrity Suppliers

                              7          The Debtors, with the assistance of their advisors, spent significant time prior to the Petition

                              8   Date analyzing and reviewing their operations, books and records, accounts payable systems, and

                              9   prepetition vendor and service provider lists to identify those vendors, suppliers, and service providers

                             10   that are in fact critical to the Debtors’ operations and public health and safety, the loss of which could

                             11   materially harm the Debtors’ businesses and/or their customers and the public, in order to determine

                             12   the Operational Integrity Suppliers.      Through this process, the Debtors considered the following
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                             13   criteria: (i) whether a particular vendor or service provider is a select supplier or service provider; (ii)
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                             14   whether the services provided by the vendor are so vital, or the vendors’ operations are so intertwined

                             15   with the Debtors’ businesses, that even the briefest disruption would raise safety or reliability risks or

                             16   cause significant harm to the Debtors’ operations; (iii) whether the Debtors would be unable to obtain

                             17   comparable goods or services from alternative sources on a cost-effective basis within a reasonable

                             18   timeframe; (iv) whether the Debtors’ current inventory levels or service coverage is sufficient to meet

                             19   customer demands while an alternative vendor or service provider could be located or qualified; (v)

                             20   whether a vendor is party to an executory contract with the Debtors; and (vi) whether the vendor or

                             21   service provider might be able to obtain (or has obtained) mechanics’ liens, possessory liens, shippers’

                             22   liens, or similar state-law trade liens on property necessary for the Debtors’ ongoing operations.

                             23          After evaluating the information relevant to the above criteria, the Debtors have and, upon

                             24   approval of the Court, will continue to designate, in their discretion, certain vendors as critical to the

                             25   Debtors’ operations and, therefore, as Operational Integrity Suppliers. To do so, the Debtors have

                             26   designated a centralized, high-level team comprised of representatives of the Debtors’ supply chain,

                             27   finance, treasury, and in-house legal departments (collectively, the “Supplier Management

                             28    Committee”) to review, assess, and (if the relief requested in the Operational Integrity Suppliers
                                  DECLARATION OF JASON P. WELLS                  116
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                              1   Motion is granted), authorize payment to Operational Integrity Suppliers. The Debtors and their
                              2   advisors have already implemented a detailed protocol (the “Payment Protocol”) to route all requests
                              3   for Operational Integrity Supplier treatment through the Supplier Management Committee and to
                              4   educate procurement, payables, and operations personnel on the process.
                              5                 1.      Proposed Conditions to Receiving Payment

                              6          To minimize the amount of payments required if the relief sought in the Operational Integrity

                              7   Suppliers Motion is granted, the Debtors will utilize the Payment Protocol to identify particular

                              8   Operational Integrity Suppliers and pay Operational Integrity Supplier Claims. The Debtors’ Payment

                              9   Protocol can be generally summarized as follows:
                                                i.      All aspects of any proposed payment of an Operational Integrity Supplier Claim
                             10                         will be scrutinized for, among other things, the amount of payment at issue, the
                                                        terms offered by the particular vendor, whether the supplier is party to an
                             11                         executory contract, and the business need for the goods or services at issue.
                             12                 ii.     All requests for Operational Integrity Supplier treatment, or vendors refusing
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                                                        shipment of goods or the provision of services due to non-payment of
                             13                         prepetition claims, will be received and reviewed by the Debtors’ Supplier
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                                                        Management Committee. Operational Integrity Supplier Claims will not be paid
                             14                         unless approved by the Supplier Management Committee. Additionally, the
                                                        Supplier Management Committee will consult with the Debtors’ outside legal
                             15                         and financial advisors, as necessary, to ensure compliance with the Payment
                                                        Protocol and that only those claims that are essential to maintaining the Debtors’
                             16                         operations are paid pursuant to the Operational Integrity Suppliers Motion.
                             17                 iii.    In addition to approval from the Supplier Management Committee, any request
                                                        for payment of an Operational Integrity Supplier Claim in excess of $5,000,000
                             18                         must be approved by the Debtors’ Chief Financial Officer.
                             19                 iv.     The Debtors shall endeavor to document all proposed payments pursuant to an
                                                        executed Vendor Agreement (as defined below).
                             20
                                                v.      Payments may be executed by specifically designated members of the Debtors’
                             21                         Supplier Management Committee when the Payment Protocol has been
                                                        completed and upon presentation of completed documentation.
                             22
                                         Although the Debtors and their advisors have effectively “pre-screened” certain vendors that
                             23
                                  have satisfied the criteria for Operational Integrity Supplier treatment, the Debtors are keenly aware
                             24
                                  that they must be prepared to address new or additional exigencies should they emerge, particularly in
                             25
                                  light of the size and scope of the Debtors’ operations. Thus, the Debtors’ Payment Protocol includes
                             26
                                  specific processes by which suppliers and vendors, including suppliers and vendors that may provide
                             27
                             28
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                              1   essential goods or services outside of the aforementioned representative categories, may be designated
                              2   as “Operational Integrity Suppliers” on a case-by-case and ongoing basis.
                              3                  2.      Vendor Agreements

                              4          The Debtors propose to condition the payment of Operational Integrity Supplier Claims on the

                              5   agreement of individual Operational Integrity Suppliers to supply goods and services to the Debtors (i)

                              6   on the normal and customary trade terms, practices, and programs (including credit limits, pricing

                              7   rebates, cash discounts, timing of payments, coupon reconciliation, and other applicable terms and

                              8   programs) that were in effect between such Operational Integrity Supplier and the Debtors within the

                              9   twenty-four (24) month period prior to the Petition Date (the “Customary Trade Terms”), or (ii) such

                             10   other trade terms as agreed to by the Debtors and an Operational Integrity Supplier. If the Debtors are

                             11   unable to negotiate the continued supply of goods or the provision of services upon Customary Trade

                             12   Terms, the Debtors seek authority, based on their business judgment, to pay Operational Integrity
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                             13   Suppliers all or a portion of their Operational Integrity Supplier Claims in return for the continued
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                             14   supply of critical goods or the provision of services.

                             15          To ensure that Operational Integrity Suppliers continue doing business with the Debtors on

                             16   Customary Trade Terms or on such other terms as agreed to by the Debtors and an Operational

                             17   Integrity Supplier, the Debtors propose (i) that a letter substantially in the form attached to the

                             18   Operational Integrity Suppliers Motion as Exhibit B (the “Vendor Agreement”) be delivered to, and

                             19   executed by, the Operational Integrity Suppliers, along with a copy of the order granting the relief

                             20   requested in the Operational Integrity Suppliers Motion, and (ii) that payment of Operational Integrity

                             21   Supplier Claims include a communication of the following statement:
                                                 By accepting this payment, the payee agrees to the terms of the order of
                             22
                                                 the United States Bankruptcy Court for the Northern District of
                             23                  California, dated _________, 2019, in the chapter 11 cases of PG&E
                                                 Corporation and Pacific Gas and Electric Company (Case No. 19-
                             24                  _____(__)), authorizing the Debtors to pay prepetition obligations of
                                                 Operational Integrity Suppliers.
                             25
                             26          If the Debtors, in their discretion, determine that an Operational Integrity Supplier has not

                             27   complied with the terms and provisions of the Vendor Agreement or has failed to continue to comply

                             28   with the Customary Trade Terms or such other terms that are individually agreed to by the Debtors and
                                  DECLARATION OF JASON P. WELLS                      118
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   such Operational Integrity Supplier, following the date of the agreement, the Debtors may terminate a
                              2   Vendor Agreement. If a Vendor Agreement is so terminated, or if an Operational Integrity Supplier
                              3   that has received payment of a prepetition claim later refuses to continue to supply goods or services in
                              4   compliance with the Vendor Agreement or as otherwise agreed with the Debtors, the Debtors reserve
                              5   their rights to and may seek approval from this Court to (i) deem such payment to apply to postpetition
                              6   amounts payable to such Operational Integrity Supplier, if applicable, or (ii) take any and all
                              7   appropriate steps to cause such Operational Integrity Supplier to repay payments made to it on account
                              8   of its Operational Integrity Supplier Claim to the extent that such payments exceed the postpetition
                              9   amounts then owing to such Operational Integrity Supplier. The Operational Integrity Supplier Claim
                             10   shall then be reinstated in such an amount so as to restore the Debtors and the Operational Integrity
                             11   Supplier to their original positions as if the payment of the Operational Integrity Supplier Claim had
                             12   not been made.
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                             13          Some of the Operational Integrity Suppliers may also possess or have the right to assert Liens
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                             14   on the Debtors’ assets based upon the claims held by those Operational Integrity Suppliers. As a
                             15   further condition of receiving payment of an Operational Integrity Supplier Claim, the Debtors propose
                             16   that an Operational Integrity Supplier must agree to take whatever action is necessary to remove the
                             17   Lien at the Operational Integrity Supplier’s sole expense.
                             18          Finally, the Debtors propose to maintain a matrix summarizing (i) the name of each
                             19   Operational Integrity Supplier paid, (ii) the amount paid to each Operational Integrity Supplier on
                             20   account of its Operational Integrity Supplier Claim (and any 503(b)(9) Claims), and (iii) the type of
                             21   goods or services provided by that Operational Integrity Supplier. This matrix will be provided, upon
                             22   request, to the U.S. Trustee and the professionals retained by any official committee appointed in the
                             23   Chapter 11 Cases; provided, that the professionals for any such committee shall keep the matrix
                             24   confidential and shall not disclose any of the information in the matrix to anyone, including any

                             25   member of such statutory committee, without the prior written consent of the Debtors.
                             26          The Debtors have more than ample liquidity in the form of cash on hand and a commitment for
                             27   approximately $5.5 billion in debtor-in-possession financing. I believe that some of the Operational
                             28
                                  DECLARATION OF JASON P. WELLS                     119
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Integrity Suppliers will demand that the Debtors satisfy their prepetition obligations as a condition of
                              2   doing business on a go-forward basis as a result of the commencement of the Chapter 11 Cases. In the
                              3   three weeks leading up to the Petition Date, the Debtors estimate that they have experienced
                              4   approximately $811 million in trade contraction from vendors and suppliers that have demanded
                              5   accelerated payment, cash-in-advance, new or additional cash collateral, or have stopped shipping
                              6   altogether. Further trade contraction from additional vendors could irreparably harm the Debtors’
                              7   business operations. In addition, the Utility relies on goods and services supplied by certain of the
                              8   Operational Integrity Suppliers to comply with the order appointing a third-party monitor issued by the
                              9   U.S. District Court for the Northern District of California as part of the Utility’s compliance with the
                             10   sentencing terms of its January 27, 2017 federal criminal convictions. The goal of the monitor is to
                             11   help ensure that the Utility takes reasonable and appropriate steps to, among other things, maintain the
                             12   safety of its gas and electric operations.
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                             13          Failure to pay the Operational Integrity Supplier Claims would severely inhibit the Debtors’
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                             14   ability to acquire necessary materials and services and maintain their electric transmission and
                             15   distribution system, generation units, and gas facilities in order to safely and reliably provide essential
                             16   utilities to the population of northern and central California, as well as remain in compliance with state
                             17   and federal laws and regulations, including the 2017 monitor order.           Such failure would cause
                             18   irreparable financial harm to the Debtors and may jeopardize the Debtors’ ability to operate in a safe
                             19   and reliable manner. Thus, I believe that the goods and services provided by the Operational Integrity
                             20   Suppliers are so vital that the costs associated with even the briefest of disruption in goods and services
                             21   would exceed the Operational Integrity Suppliers’ prepetition claims and, therefore, that payment of
                             22   the Operational Integrity Suppliers Claims as requested in the Operational Integrity Supplier Motion is
                             23   plainly an exercise of sound business judgment and necessary to a successful reorganization.
                             24   Moreover, as noted above, the Operational Integrity Supplier Claims are limited to approximately

                             25   5.5% of the Debtors’ total outstanding trade debt as of the Petition Date.
                             26          In addition, payment of any 503(b)(9) Claims of any Operational Integrity Supplier merely
                             27   accelerates the timing of payment and not the ultimate treatment of such claims, especially here where
                             28
                                  DECLARATION OF JASON P. WELLS                      120
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   the Debtors have ample liquidity. Accordingly, the relief should be granted and the Debtors should be
                              2   authorized to pay the 503(b)(9) Claims of any Operational Integrity Supplier in accordance with the
                              3   procedures and protocols set forth herein.
                              4           For the reasons set forth herein, I respectfully submit that the relief requested in the Operational
                              5   Integrity Supplier Motion is necessary and appropriate, is in the best interests of their estates and all
                              6   parties in interest, is necessary to avoid immediate and irreparable harm to the Debtors, and should be
                              7   granted.
                              8   VIII.   MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 105(a), 362(d), 363(b), 363(c),
                                          AND 364 AND FED. R. BANKR. P. 4001, 6003, AND 6004 FOR INTERIM AND FINAL
                              9           ORDERS (I) AUTHORIZING THE DEBTOR TO MAINTAIN INSURANCE
                                          POLICIES, WORKERS’ COMPENSATION PROGRAM, AND SURETY BOND
                             10           PROGRAM AND PAY ALL OBLIGATIONS WITH RESPECT THERETO; AND (II)
                                          GRANTING RELIEF FROM THE AUTOMATIC STAY WITH RESPECT TO
                             11           WORKERS’ COMPENSATION CLAIMS (THE “INSURANCE MOTION”)
                             12           Pursuant to the Insurance Motion, the Debtors request entry of interim and final orders
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                             13   authorizing the Debtors to (i) (a) maintain their Insurance Policies, Workers’ Compensation Program,
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                             14   and Surety Bond Program (each as defined below) in accordance with their prepetition practices and
                             15   pursuant to the policies and agreements related thereto, and perform their obligations with respect to
                             16   the foregoing during the Chapter 11 Cases, and (b) pay any prepetition obligations arising under the
                             17   Insurance Policies, Workers’ Compensation Program, and Surety Bond Program; (ii) modify the
                             18   automatic stay to the extent necessary to permit the Debtors’ employees to proceed with any claims
                             19   they may have under the Workers’ Compensation Program, and for related relief.
                             20           In the ordinary course of their operations, including the transmission and distribution of natural
                             21   gas and electricity to the Debtors’ commercial and retail customers and operating and maintaining
                             22   power generation and storage facilities, the Debtors maintain a workers’ compensation program (the
                             23   “Workers’ Compensation Program”) and various liability, property, and other insurance
                             24   arrangements (collectively, the “Insurance Policies,” and all premiums and other obligations related

                             25   thereto, including any broker or advisor fees, associated federal excise taxes and state taxes, other fees,
                             26   and deductibles, collectively, the “Insurance Obligations”) through several insurance carriers (each,
                             27   an “Insurer”). Certain of the Insurance Policies, including the Debtors’ nuclear property liability
                             28
                                  DECLARATION OF JASON P. WELLS                      121
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   policies, provide unique coverage or terms and it would be difficult for the Debtors to obtain
                              2   replacement policies in the market. A list of the Insurance Policies is annexed to the Insurance Motion
                              3   as Exhibit B.36 A description of the Workers Compensation Program and the various Insurance
                              4   Policies is set forth below.
                              5          A.      The Workers’ Compensation Program

                              6          California Labor Code §§ 3700-3823 mandate that the Debtors provide for payment of all

                              7   injury claims suffered by the Debtors’ employees arising out of the course and scope of their

                              8   employment (the “Workers’ Compensation Claims”), either by obtaining third-party insurance or

                              9   obtaining a certificate to self-insure from the California Department of Industrial Relations. The

                             10   Workers’ Compensation Program covers, among other things, workers’ compensation and employer

                             11   liability for accidents, death, or disease sustained by employees. The Debtors generally self-insure

                             12   Workers’ Compensation Claims and the annual cost of administering the Workers’ Compensation
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                             13   Program, including labor costs, medical payments, and costs associated with the investigation of
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                             14   claims, medical records, examinations and bills, is approximately $10.2 million.         This does not

                             15   encompass the payment of any Workers’ Compensation Claims.

                             16          To maintain the Workers’ Compensation Program, the Debtors are required to participate in the

                             17   California Self-Insurers’ Security Fund (the “CSISF”), which covers workers’ compensation claims

                             18   when self-insured companies default on their obligations. The CSISF also has the right to require that

                             19   participants provide cash or other collateral (the “Collateral”) to secure their obligations if they

                             20   default. To participate in the CSISF for the period July 1, 2018 through June 30, 2019, the Debtors

                             21   paid an annual fee of approximately $750,000 on July 14, 2018. The Debtors also are subject to an

                             22   annual assessment of approximately $1,500,000, paid to the California State Division of Workers’

                             23
                                  36
                             24      The Debtors have made an extensive and good-faith effort to identify all of their Insurance Policies
                                  and Insurers on Exhibit B to the Insurance Motion. However, due to the size and complexity of the
                             25   Debtors’ operations, certain Insurance Policies and Insurers may not be listed therein. Accordingly,
                                  Exhibit B to the Insurance Motion is a non-exhaustive list of the Debtors’ Insurance Policies. Further,
                             26   the Debtors may, in the future, enter into new Insurance Policies. To the extent that the Debtors
                                  identify additional Insurance Policies not listed on Exhibit B to the Insurance Motion, or enter into new
                             27   Insurance Policies, pursuant to the Insurance Motion, the Debtors seek the authority to continue such
                                  Insurance Policies uninterrupted and honor, in the Debtors’ discretion, all Insurance Obligations
                             28   relating thereto.
                                  DECLARATION OF JASON P. WELLS                     122
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   Compensation to cover costs associated with administering the CSISF. The Debtors paid this annual
                              2   assessment on December 18, 2018 for the period July 1, 2018 through June 30, 2019. The Debtors’
                              3   Workers’ Compensation Program also includes coverage for certain employees (the “LHW
                              4   Employees”) protected under the Longshore and Harbor Workers’ Compensation Act (the
                              5   “LHWCA”), 33 U.S.C. §§ 901–950. Pursuant to the LHWCA, the Debtors posted collateral in the
                              6   form of two evergreen letters of credit in the amounts of $800,000 and $300,000 (the “LHWCA
                              7   LOCs”), respectively, with the United States Department of Labor.
                              8           Although the Debtors generally self-insure and self-administer all Workers’ Compensation
                              9   Claims under their Workers’ Compensation Program, the Debtors also obtain third-party insurance in
                             10   connection with (i) their employees working outside of California through Employers Insurance
                             11   Company of Wausau, with an annual policy premium of approximately $9,000 (the “Wausau
                             12   Policy”), and (ii) claims that exceed $10 million per occurrence through AEGIS Insurance Services,
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                             13   Inc., with an annual premium of approximately $230,000 (the “AEGIS Policy”). As of the Petition
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                             14   Date, there are no outstanding premiums due under the Wausau Policy or the AEGIS Policy.
                             15           In the ordinary course of business, because the Debtors are largely self-insured, the Debtors
                             16   may be obligated to pay all or part of a Workers’ Compensation Claim directly to an employee, his or
                             17   her medical providers, or his or her heirs or legal representatives. As of the Petition Date, the Debtors
                             18   estimate that there were approximately 7,700 open claims under the Workers’ Compensation Program.
                             19   The Debtors estimate that they pay an average of approximately $2.9 million per month on account of
                             20   Workers’ Compensation Claims. The Debtors seek authority to maintain the Workers’ Compensation
                             21   Program in the ordinary course of business and to pay all prepetition amounts related to the Workers’
                             22   Compensation Program as well as amounts that may become due and owing with respect to the
                             23   Workers’ Compensation Program during these Chapter 11 Cases. Pursuant to the Insurance Motion,
                             24   the Debtors also seek authority to provide Collateral to the CSISF to the extent required.

                             25           B.      Insurance Policies

                             26           The Debtors maintain various liability and property Insurance Policies which provide the

                             27   Debtors with insurance coverage for general commercial claims, property damage, nuclear property

                             28    liability claims, cyber liability claims, crime, pollution and environmental-related claims, collision and
                                  DECLARATION OF JASON P. WELLS                        123
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   other liabilities arising from company-owned vehicles, claims relating to the administration of
                              2   employee benefit plans and the Debtors’ employment practices, directors’ and officers’ liability, and
                              3   other property-related and general liabilities, as well as excess policies related to the same. The
                              4   Debtors maintain the Insurance Policies to, among other things, help manage the various risks
                              5   associated with their electricity and natural gas business. Continuation of the Insurance Policies is
                              6   essential to the ongoing operation of the Debtors’ business.
                              7          Pursuant to each of the Insurance Policies, the Debtors are required to pay premiums based
                              8   upon a fixed rate established and billed by each Insurer37 in addition to covering applicable
                              9   deductibles. The Insurance Policies each have an annual premium that is paid prospectively. The
                             10   annual premiums for the Insurance Policies currently in effect aggregate to approximately
                             11   $439,000,000. The Debtors are not aware of any outstanding premiums or other amounts owed to the
                             12   various Insurers for the Insurance Policies.
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                             13          C.      The Debtors’ Surety Bond Program
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                             14          In the ordinary course of business, the Debtors are required to provide surety bonds (each, a

                             15   “Surety Bond”) to certain third parties, including governmental units and other public agencies, to

                             16   secure the Debtors’ payment or performance of certain obligations (the “Surety Bond Program”).

                             17   These include, among other things, Surety Bonds related to various construction and environmental

                             18   remediation projects and related permits and/or or licenses, self-insurance obligations, lease

                             19   agreements with the State of California, land maintenance obligations, and certain tax obligations.

                             20   Often, statutes or ordinances require the Debtors to post the Surety Bonds. A list of Surety Bonds in

                             21
                             22
                             23
                             24
                                  37
                             25      The Debtors purchase certain of their Insurance Policies through a participation agreement with
                                  Energy Insurance Services, Inc. (“EIS”), a “sponsored captive insurer”. Although EIS does not itself
                             26   write any policies, EIS procures insurance coverage from third-party insurers, for the benefit of the
                                  Debtors, allowing the Debtors to take advantage of reinsurance markets (accessible to EIS but
                             27   otherwise inaccessible to the Debtors), and thereby securing lower premiums and supplemental
                                  coverage that would otherwise be unavailable to the Debtors. With respect to Insurance Policies that
                             28   are procured through EIS, the Debtors pay any related premiums directly to EIS.
                                  DECLARATION OF JASON P. WELLS                     124
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                              1   the Surety Bond Program is attached as Exhibit C to the Insurance Motion. 38 The Surety Bonds are
                              2   issued by XL Specialty Insurance Company and Liberty Mutual Insurance Company and certain of its
                              3   subsidiaries (each, a “Surety”). The Debtors estimate that as of the Petition Date, the total face
                              4   amount of all outstanding Surety Bonds is approximately $166,000,000.
                              5          As a condition to issuing the Surety Bonds, the Sureties require the Debtors to enter into
                              6   indemnity agreements (collectively, the “Surety Indemnity Agreements”), pursuant to which the
                              7   Debtors indemnify the Sureties from any loss, cost, or expense that the Sureties may incur on account
                              8   of the issuance of the Surety Bonds on behalf of the Debtors (the “Indemnity Obligations”). Under
                              9   the terms of the Surety Indemnity Agreements, the Sureties may demand cash collateral or letters of
                             10   credit to secure the Indemnity Obligations at any point during the time the Surety Bonds remain
                             11   outstanding. As of the Petition Date, the Debtors have not posted any cash collateral or letters of credit
                             12   in connection with the Surety Indemnity Agreements. Just recently, however, Liberty Mutual, the
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                             13   Debtors’ principal Surety Bond provider, issued a notice of cancellation of certain Surety Bonds and a
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                             14   demand for security in the form of a letter of credit in the amount of $50,000,000.
                             15          Pursuant to the Surety Bond Program, the Debtors pay premiums based upon a fixed rate
                             16   established and billed by each Surety thereunder (collectively, the “Surety Premiums” and, together
                             17   with the Indemnity Obligations, the “Surety Bond Obligations”). The Surety Premiums are generally
                             18   determined on an annual basis and total in the aggregate approximately $820,000 per year. The
                             19   Debtors remit Surety Premium payments when the bonds are issued or renewed, typically on an annual
                             20   basis. The Debtors are not aware of any Surety Premiums that are outstanding as of the Petition Date.
                             21   In addition, the Debtors are not aware of any Surety Bonds that have been drawn.
                             22          To continue their business operations during these Chapter 11 Cases, the Debtors must be able
                             23   to continue to provide financial and other assurances to state governments, regulatory agencies, and
                             24   38
                                     The Debtors have made an extensive and good-faith effort to identify all of their Surety Bonds on
                             25   Exhibit C to the Insurance Motion. However, due to the size and complexity of the Debtors’
                                  operations, Surety Bonds and Sureties may not be listed on Exhibit C to the Insurance Motion.
                             26   Accordingly, Exhibit C to the Insurance Motion is a non-exhaustive list of the Debtors’ Surety Bonds.
                                  Further, the Debtors may, in the future, obtain new Surety Bonds not listed on Exhibit C. To the extent
                             27   that the Debtors identify additional Surety Bonds not listed on Exhibit C or obtain new Surety Bonds,
                                  the Debtors seek the authority to continue such Surety Bonds uninterrupted and honor, in the Debtors’
                             28   discretion, all Surety Bond Obligations (as defined herein) relating thereto.
                                  DECLARATION OF JASON P. WELLS                     125
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                              1   other third parties in the form of Surety Bonds. This requires the Debtors to maintain their existing
                              2   Surety Bond Program, including the payment of Surety Bond Obligations as and when they come due,
                              3   providing the Sureties with collateral, if required, renewing or potentially acquiring additional bonding
                              4   capacity as needed in the ordinary course of their business, and executing other indemnity agreements,
                              5   as needed, in connection with the Surety Bond Program. Accordingly, approval of the relief requested
                              6   in the Insurance Motion with respect to the Surety Bond Obligations is warranted and the Debtors
                              7   should be authorized to maintain and continue their Surety Bond Program and pay all Surety Bond
                              8   Obligations, including, without limitation, any Surety Bond Obligations related to the period prior to
                              9   the Petition Date. It is important to note that substantially all, if not all, of the outstanding Surety
                             10   Bonds were provided in connection with ongoing projects and other matters that the Debtors will
                             11   continue in the ordinary course of their business and, accordingly, the Debtors do not expect that any
                             12   outstanding Surety Bonds will be called upon. The Debtors also expect that if the relief sought in the
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                             13   Insurance Motion is granted, it should address the concerns raised by Liberty Mutual and result in a
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                             14   withdrawal of its notice of cancellation of the Surety Bonds.
                             15          D.      The Debtors’ Insurance Service Providers

                             16          The Debtors employ brokers (the “Brokers”), including Marsh, LLC, Price Forbes & Partners,

                             17   and Guy Carpenter & Company, LLC, to coordinate the procurement and negotiation of certain

                             18   Insurance Policies including, but not limited to, those related to workers’ compensation, directors’ and

                             19   officers’ liability, fiduciary liability, general commercial liability, and first-party property liability

                             20   policies. With respect to most of the Insurance Policies as to which the Brokers are involved, the

                             21   Insurers charge the Brokers directly for all insurance premiums and other amounts due under such

                             22   Insurance Policies. The Brokers then send the Debtors a statement for the payment of such insurance

                             23   premiums, and, once paid by the Debtors, the Brokers submit the payments to the Insurers.39 The

                             24   Brokers receive a fee (the “Broker Fees”) from the Debtors for administering certain of the Insurance

                             25   Policies.

                             26
                             27   39
                                     With respect to Insurance Policies that are procured through EIS, the Debtors pay any related
                             28   premiums directly to EIS and do not use Brokers.
                                  DECLARATION OF JASON P. WELLS                     126
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1             The Debtors also employ a third-party administrator (the “Insurance Administrator”) to
                              2   investigate, administer, and pay claims arising under their Insurance Policies. The Debtors pay fees for
                              3   these services on a monthly basis (such fees, together with the Brokers’ Fees, the “Service Provider
                              4   Fees”).     The Service Provider Fees are budgeted based on a flat fee and total approximately
                              5   $5,500,000 each year.
                              6             Because the Brokers and Insurance Administrator are intimately familiar with the Debtors and
                              7   the Insurance Policies, the Debtors request authority, but not direction, to pay any prepetition Service
                              8   Providers’ Fees that may be owed, including as a result of any future reconciliations, and to continue to
                              9   honor all of their obligations to them in the ordinary course. Based on the information currently
                             10   available, the Debtors are not aware of any Service Provider Fees that are owed with respect to the
                             11   period prior to the Petition Date.
                             12             In light of the risks applicable to the Debtors’ operations and the critical need for the Debtors to
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                             13   protect their assets and operations from such risks and to provide Surety Bonds as required, it is
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                             14   essential that the Debtors maintain the Insurance Policies, and the Surety Bond Program and pay all
                             15   Insurance Obligations, Surety Bond Obligations, and Service Provider Fees during the course of these
                             16   Chapter 11 Cases. Without authority to maintain and pay amounts owing in connection with these
                             17   programs, the ability of the Debtors to conduct operations in many locations could come to a halt to the
                             18   detriment and prejudice of all parties in interest.         Additionally, based on the Debtors’ current
                             19   circumstances, it is not likely that the Debtors will be able to renew or replace their existing Insurance
                             20   Policies or Surety Bonds on terms more favorable than those currently offered by the Insurers and
                             21   Sureties. The process of establishing new programs would also be burdensome and costly to the
                             22   Debtors. Additionally, the relief sought in the Insurance Motion will avoid the risk of any potential
                             23   disruption of necessary coverage and the Debtors’ potential exposure to significant liability and to
                             24   fines under various applicable federal and state laws and regulations.

                             25             For the reasons set forth herein, I respectfully submit that the relief requested in the Insurance
                             26   Motion is necessary and appropriate, is in the best interests of their estates and all parties in interest, is
                             27   necessary to avoid immediate and irreparable harm to the Debtors, and should be granted.
                             28
                                  DECLARATION OF JASON P. WELLS                        127
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                                  IX.    MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 105(a), 363(b), 507(a) AND
                              1          541(d) AND FED. R. BANKR. P. 6003 AND 6004 FOR INTERIM AND FINAL
                                         AUTHORITY TO PAY CERTAIN PREPETITION TAXES AND ASSESSMENTS AND
                              2          GRANTING RELATED RELIEF (THE “TAXES MOTION”)
                              3          Pursuant to the Taxes Motion, the Debtors request entry of interim and final orders authorizing,
                              4   but not directing, the Debtors to pay prepetition taxes, assessments, fees, and other charges in the
                              5   ordinary course of business, including any such taxes, assessments, fees, and charges subsequently
                              6   determined upon audit, or otherwise, to be owed (collectively, the “Taxes and Assessments”).
                              7          In the ordinary course of their businesses, the Debtors collect, withhold, and incur a variety of
                              8   Taxes and Assessments that they remit periodically to various federal, state, and local taxing, licensing,
                              9   regulatory, and other governmental authorities (collectively, the “Taxing Authorities”). A list of the
                             10   Taxing Authorities is annexed to the Taxes Motion as Exhibit B (the “Taxing Authorities List”).40
                             11          As set forth in further detail below, the Debtors generally pay the Taxes and Assessments bi-

                             12   monthly, monthly, quarterly or annually, in each case, as required by applicable laws and regulations.
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                             13   As of the Petition Date, the Debtors estimate that an aggregate amount of approximately $139,200,000
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                             14   in Taxes and Assessments are due and owing to the various Taxing Authorities, of which,

                             15   approximately $11,300,000 will come due during the Interim Period. A chart outlining the various

                             16   categories and approximate amounts of the Taxes and Assessments that the Debtors are seeking

                             17   authority to pay pursuant to the Taxes Motion is set forth below. The amounts of the Taxes and

                             18   Assessments set forth below are good faith estimates based on the Debtors’ books and records and
                             19   remain subject to potential audits and other adjustments. As such, the Debtors also seek authority to
                             20   pay any Taxes and Assessments due and owing following any such audit and adjustments.
                             21
                             22
                             23
                             24
                                  40
                             25     The Debtors have made an extensive and good-faith effort to identify all Taxing Authorities to
                                  which the Debtors owe any amount on Exhibit B to the Taxes Motion. However, due to the size and
                             26   complexity of the Debtors’ operations, certain Taxing Authorities may not be listed therein.
                                  Accordingly, Exhibit B to the Taxes Motion is a non-exhaustive list of Taxing Authorities to which the
                             27   Debtors may owe Taxes and Assessments. To the extent that the Debtors identify additional Taxing
                                  Authorities not listed on Exhibit B to the Taxes Motion, the Debtors seek the authority to pay any
                             28   Taxes and Assessments due and owing to such Taxing Authorities.
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                                                                                Approx. Amount
                              1
                                                                                Seeking Authority         Approx. Amount
                              2                  Categories of Taxes and        to Pay on Interim       Seeking Authority to
                                                       Assessments                     Basis             Pay on Final Basis
                              3               Sales and Use Taxes                   $1,100,000             $1,100,000
                                              Property Taxes                        $0                     $43,500,000
                              4               Income Taxes                          De minimis             De minimis
                              5               Excise Taxes                          $200,000               $200,000
                                              San Francisco Gross Receipts          $3,200,000             $5,500,000
                              6               Tax and Payroll Tax
                                              Pass Through Fees                     $6,800,000             $79,700,000
                              7               Regulatory Fees                       $0                     $9,200,000
                                              Other Taxes and Fees                  De minimis             De minimis
                              8
                                              Total Taxes and                       $11,300,000            $139,200,000
                              9               Assessments:

                             10          A.       Sales and Use Taxes
                                         The Debtors incur sales tax on account of the purchase of tangible personal property utilized by
                             11
                                  the Debtors in the ordinary course of business (collectively, the “Sales Taxes”). The Debtors incur use
                             12
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                                  taxes on account of the purchase of tangible personal property utilized by the Debtors in the ordinary
                             13
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                                  course of business from vendors who do not collect sales tax (collectively, the “Use Taxes” and,
                             14
                                  together with the Sales Taxes, the “Sales and Use Taxes”).
                             15
                                         The Debtors pay approximately $500,000 to $4,000,000 per month in aggregate Sales and Use
                             16
                                  Taxes depending on the volume of nuclear fuel purchases, which can be seasonal. Although the
                             17
                                  Debtors believe they are current with respect to their payment of Sales and Use Taxes, the Debtors
                             18
                                  estimate that, as of the Petition Date, they owe approximately $1,100,000 in Sales and Use Taxes, all
                             19
                                  of which will become due and payable during the Interim Period.
                             20
                                         B.       Property Taxes
                             21
                                         The Debtors own real and personal property located in approximately fifty (50) counties within
                             22
                                  the State of California, as well as Texas and Nevada, that are subject to state and local real and
                             23
                                  personal property taxes (the “Property Taxes”).         The California State Board of Equalization
                             24
                                  determines the aggregate value of all real and personal property owned by the Debtors in the state and
                             25
                                  allocates that value among each of the counties where property is located. The counties then tax the
                             26
                                  Debtors based on the allocated property values. Property Taxes accrue on an annualized basis and are
                             27
                                  paid twice a year. Property Taxes with respect to real property create a statutory first priority lien on
                             28
                                  DECLARATION OF JASON P. WELLS                     129
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                              1   the taxed property to the extent not paid.       In fiscal year 2018, the Debtors paid approximately
                              2   $491,900,000 in aggregate Property Taxes to the relevant Taxing Authorities. The Debtors estimate
                              3   that, as of the Petition Date, approximately $43,500,000 of Property Taxes have accrued or relate to the
                              4   period prior to the Petition Date but have not yet been paid, none of which will become due and
                              5   payable during the Interim Period.
                              6             C.     Income Taxes

                              7             Under certain applicable laws, federal, state, and local Taxing Authorities levy taxes based on

                              8   the Debtors’ income (the “Income Taxes”).41 The Debtors allocate income tax liability between

                              9   themselves pursuant to that certain Tax Sharing Agreement dated as of January 1, 1997. In California,

                             10   Taxing Authorities are entitled to assert statutory liens on the Debtors’ property that is located, or

                             11   subject to tax, in the respective jurisdiction if these income taxes are not paid. Moreover, in California,

                             12   directors and officers may be personally liable for failure to timely pay these taxes. The Debtors also
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                             13   pay a relatively minor amount of Income Taxes in several other states and in the District of Columbia.
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                             14   The Debtors are required to pay Income Taxes on a quarterly pre-payment basis (which is offset

                             15   against amounts the Debtors are ultimately determined to owe on an annual basis). The Debtors have

                             16   substantial net operating losses and do not anticipate the need to pay any federal or California Income

                             17   Taxes for the period prior to the fiscal year ending December 31, 2017. The Debtors estimate that, as

                             18   of the Petition Date, they owe a de minimis amount of state and local Income Taxes in jurisdictions

                             19   other than California, which will come due during the Interim Period.
                                            D.     Excise Taxes
                             20
                                            Under applicable laws, federal, state, and local Taxing Authorities levy taxes based on the
                             21
                                  Debtors’ purchases or sales of specific goods (e.g., alternative fuel excise tax) or services (e.g.,
                             22
                                  insurance premiums paid to foreign insurance companies) (collectively, the “Excise Taxes”). The
                             23
                                  Debtors generally pay Excise Taxes on a quarterly basis or as otherwise required by applicable laws
                             24
                                  and regulations. The Debtors estimate that, as of the Petition Date, they owe approximately $200,000
                             25
                                  in Excise Taxes, all of which will become due and payable during the Interim Period.
                             26
                             27
                                  41
                             28        Income Taxes includes California franchise taxes, which are calculated based on income.
                                  DECLARATION OF JASON P. WELLS                      130
                                  IN SUPPORT OF FIRST DAY MOTIONS
                                         E.      San Francisco Gross Receipts and Payroll Tax
                              1
                                         The Debtors incur a Gross Receipts and Payroll Tax assessed by the City of San Francisco (the
                              2
                                  “Gross Receipts Tax”) to operate their businesses in that city. The Gross Receipts Tax is generally
                              3
                                  remitted by the Debtors several times a year and is based on San Francisco gross receipts and payroll.
                              4
                                  In 2018, the Debtors’ aggregate liability for the Gross Receipts Tax was approximately $13,300,000.
                              5
                                  Although the Debtors believe they are current with respect to their payment of the Gross Receipts Tax,
                              6
                                  the Debtors estimate that, as of the Petition Date, they owe approximately $5,500,000 in Gross
                              7
                                  Receipts Tax, $3,200,000 of which will become due and payable during the Interim Period.
                              8
                                         F.      Pass Through Fees
                              9
                                         The Debtors collect a variety of fees and taxes, including, but not limited to, utility users tax,
                             10
                                  excessive electric use tax, business license tax, and city franchise surcharges and other fees collected
                             11
                                  through customer billings and remitted to the applicable state and local municipalities (collectively, the
                             12
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                                  “Pass Through Fees”). Pass Through Fees are generally remitted by the Debtors to the applicable
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                             13
                                  Taxing Authorities several times a year. Pass Through Fees vary by county and are typically based on
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                             14
                                  total revenues allocated based on public and private miles of electricity lines. Pass Through Fees paid
                             15
                                  to cities are either based on the Debtors’ revenues within the city’s boundaries or are calculated using
                             16
                                  the same formula that is used by the counties. In fiscal year 2018, the Debtors accrued approximately
                             17
                                  $690,500,000 in aggregate Pass Through Fees to the relevant Taxing Authorities.             Although the
                             18
                                  Debtors believe that they are current with respect to their payment of Pass Through Fees, the Debtors
                             19
                                  estimate that, as of the Petition Date, they owe approximately $79,700,000 in Pass Through Fees,
                             20
                                  approximately $6,800,000 of which will become due and payable during the Interim Period.
                             21
                                         G.      Regulatory Fees
                             22          The Debtors collect and remit various regulatory fees to commissions that regulate public
                             23   utility companies, including for audit costs incurred by such commissions (the “Regulatory Fees”).
                             24   These commissions include, without limitation, the California Energy Resources Conservation and
                             25   Development Commission the Federal Energy Regulatory Commission, Nuclear Regulatory
                             26
                             27
                             28
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                              1   Commission, and the California Public Utilities Commission. 42 Regulatory Fees are generally remitted
                              2   by the Debtors to the applicable Taxing Authorities quarterly.                 The Debtors estimate that
                              3   approximately $9,200,000 in Regulatory Fees have accrued and remain unpaid as of the Petition Date,
                              4   none of which will become due and owing during the Interim Period.
                              5             H.     Other Taxes and Fees

                              6             In addition to the foregoing, the Debtors collect, withhold, or incur certain other taxes, fees, and

                              7   charges, including, but not limited to, taxes, license and registration fees, environmental permit fees,

                              8   land fees, and encroachment fees paid on behalf of the Debtors and their subsidiaries (collectively,

                              9   “Other Taxes and Fees”). Although the Debtors believe that they are current with respect to their

                             10   payment of Other Taxes and Fees, the Debtors estimate that, as of the Petition Date, they owe a de

                             11   minimis amount of Other Taxes and Fees, which will become due and payable during the Interim

                             12   Period.
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                             13             The Debtors must continue to pay the Taxes and Assessments to continue operating in certain
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                             14   jurisdictions and to avoid the incurrence of unnecessary costs during the Chapter 11 Cases.

                             15   Specifically, it is my understanding that the Debtors’ failure to pay the Taxes and Assessments may

                             16   interfere with the Debtors’ continued operations and restructuring, and increase the scope of secured

                             17   and priority claims held by the applicable Taxing Authorities against the Debtors’ estates. I further

                             18   understand, based on discussions with counsel, that certain of the Taxes and Assessments (such as

                             19   certain Pass Through Fees) may constitute “trust fund” taxes, which the Debtors are required to collect

                             20   or hold in trust for payment to the Taxing Authorities. Moreover, failure to pay certain of the Taxes

                             21   and Assessments may expose the Debtors’ directors and officers to personal liability, which would

                             22   cause further distraction and delays and negatively impact the administration of these Chapter 11

                             23   Cases.

                             24
                                  42
                             25      California Public Utilities Commission Regulatory Fees include not only direct regulatory fees, but
                                  also the costs of indirect regulatory expenses, such as directed contract costs for Commission auditors
                             26   and consultants; and the costs of intervenor compensation awards pursuant to California Public
                                  Utilities Code §§ 1801-1812, which require Commission jurisdictional utilities to pay the reasonable
                             27   costs of an intervenor's participation if that party makes a substantial contribution to the Commission's
                                  proceedings. The costs of these direct and indirect Regulatory Fees are recovered in the Debtors’ utility
                             28   rates.
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                              1          Accordingly, for the reasons set forth herein, I respectfully submit that the relief requested in
                              2   the Taxes Motion is necessary and appropriate, is in the best interests of their estates and all parties in
                              3   interest, is necessary to avoid immediate and irreparable harm to the Debtors, and should be granted.
                              4   X.     MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 366 AND 105(a) REQUESTING
                                         ENTRY OF AN ORDER (I) APPROVING DEBTORS’ PROPOSED FORM OF
                              5          ADEQUATE ASSURANCE OF PAYMENT TO UTILITY PROVIDERS, (II)
                                         ESTABLISHING PROCEDURES PROVIDING ADEQUATE ASSURANCE AND
                              6          RESOLVING OBJECTIONS OF UTILITY PROVIDERS, AND (III) PROHIBITING
                                         UTILITY PROVIDERS FROM ALTERING, REFUSING, OR DISCONTINUING
                              7          UTILITY SERVICE (THE “UTILITIES MOTION”)
                              8          Pursuant to the Utilities Motion, the Debtors are seeking entry of an order (i) approving the
                              9   Debtors’ proposed form of adequate assurance of payment for postpetition Utility Services (as defined
                             10   below), (ii) establishing procedures for providing adequate assurance and resolving objections of
                             11   Utility Providers (as defined below) relating to the adequacy of the proposed adequate assurance, and
                             12   (iii) prohibiting the Utility Providers from altering, refusing, or discontinuing service to, or
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                             13   discriminating against, the Debtors because of the commencement of the Chapter 11 Cases or a debt
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                             14   that is owed by the Debtors for Utility Services rendered prior to the Petition Date.
                             15          A.      The Debtor’s Utility Services
                                                 1.      Utility Providers
                             16
                                         In the ordinary course of their businesses, the Debtors incur expenses for electricity, natural
                             17
                                  gas, oil, water, sewer, telephone, and other utility services (collectively, the “Utility Services”). A list
                             18
                                  (the “Utility Service List”) of the approximately 150 utility providers (collectively, the “Utility
                             19
                                  Providers”) that provide Utility Services to the Debtors as of the Petition Date is attached to the
                             20
                                  Utilities Motion as Exhibit B.43
                             21
                                         Historically, the Debtors have a good payment history with the Utility Providers. To the best of
                             22
                                  the Debtors’ knowledge, there are no defaults or material arrearages for the Debtors’ undisputed
                             23
                                  invoices for prepetition Utility Services other than payment interruptions that may be caused by the
                             24

                             25   43
                                    The Debtors reserve the right to amend or supplement the Utility Service List to include any Utility
                             26   Provider omitted. The inclusion of any entity on the Utility Service List is not an admission that such
                                  entity is a utility within the meaning of section 366 of the Bankruptcy Code, and the Debtors reserve
                             27   the right to contest any such characterization in the future. Additionally, the Debtors themselves
                                  provide significant Utility Services to their business operations. For obvious reasons those Utility
                             28   Services are not included in the Utilities Motion.
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                              1   commencement of the Chapter 11 Cases. Based on the monthly average for the twelve (12) months
                              2   prior to the Petition Date, the Debtors estimate that their cost of Utility Services for the next thirty (30)
                              3   days will be approximately $8,600,000.
                              4          Uninterrupted Utility Services are essential to the Debtors’ ongoing operations and, therefore,
                              5   the success of the Debtors’ reorganization. The Debtors coordinate their complex businesses through
                              6   their headquarters in San Francisco, California and their other facilities located in Northern California,
                              7   including without limitation, their numerous power generation facilities, distribution facilities,
                              8   compressor stations, and storage facilities. Any interruption of Utility Services provided at these
                              9   locations would disrupt the Debtors’ ability to communicate with, and provide the necessary support
                             10   and services to, their employees, vendors, various regulatory authorities, and, most importantly, their
                             11   customers. Should any Utility Provider alter, refuse, or discontinue service, even briefly, the Debtors’
                             12   business operations could be severely disrupted, which, in turn, could lead to subsequent power
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                             13   outages or other service disruptions for the Debtors’ customers. Any disruptions, therefore, would
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                             14   negatively impact the Debtors’ business operations, customers, and all parties in interest.
                             15          B.      Proposed Adequate Assurance

                             16          The Debtors intend to pay all postpetition obligations owed to the Utility Providers in a timely

                             17   manner and have sufficient funds to do so. The Debtors have a commitment for debtor in possession

                             18   financing, which, together with existing cash and cash generated from operations, is more than

                             19   adequate to fund their day to day expenses, including postpetition amounts for Utility Services.

                             20   Notwithstanding the foregoing, to provide adequate assurance of payment to the Utility Providers

                             21   pursuant to section 366(c) of the Bankruptcy Code, the Debtors propose to deposit into a segregated,

                             22   interest-bearing bank account (the “Adequate Assurance Account”) a sum equal to the cost of two (2)

                             23   weeks of Utility Services, calculated based on the historical average of the Debtors’ utility expenses

                             24   over the twelve-month period prior to the Petition Date (the “Adequate Assurance Deposit”). The

                             25   Adequate Assurance Deposit will not, however, include any amount on account of any Utility Provider

                             26   that (a) agrees to a lesser amount, (b) already holds a deposit, letter of credit, surety bond, or other type

                             27   of instrument securing the Debtors’ performance equal to or greater than two weeks of Utility Services,

                             28
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                              1   or (c) is paid in advance for its Utility Services. 44 Based on the foregoing calculation, the Debtors
                              2   estimate that the total amount of the Adequate Assurance Deposit will be approximately $4,800,000.
                              3          The Debtors shall, however, have the right to reduce the Adequate Assurance Deposit to the
                              4   extent that any of the following occurs: (a) the Adequate Assurance Deposit includes any amount on
                              5   account of a Utility Provider that the Debtors subsequently determine should be removed from the
                              6   Utility Service List; (b) a Utility Provider properly serves an Additional Adequate Assurance Request
                              7   (as defined below), and any settlement results in such Utility Provider’s removal from the Utility
                              8   Service List or in the Debtors’ provision of alternate assurance to the Utility Provider; or (c) any
                              9   Utility Provider has instead been provided with a letter of credit, cash deposit, or some other form of
                             10   security acceptable to the Utility Provider. The Debtors submit that the Adequate Assurance Deposit,
                             11   together with the Debtors’ ability to pay for future Utility Services in the ordinary course of business
                             12   (the “Proposed Adequate Assurance”), constitutes sufficient adequate assurance to the Utility
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                             13   Providers.
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                             14          C.      Proposed Adequate Assurance Procedures and the Resolution of Objections

                             15          The Debtors propose that the procedures described below (the “Adequate Assurance

                             16   Procedures”) be utilized in connection with the Proposed Adequate Assurance:
                                                 a.     The Debtors will fax, e-mail, serve by overnight mail, or otherwise
                             17                         expeditiously send a copy of the Proposed Order (as approved by the
                                                        Bankruptcy Court), which includes the proposed Adequate Assurance
                             18                         Procedures, to each Utility Provider on the Utility Service List within three (3)
                                                        business days after entry of the Proposed Order by the Bankruptcy Court.
                             19
                                                 b.     The Debtors will deposit the Adequate Assurance Deposit in the Adequate
                             20                         Assurance Account within five (5) business days of entry of the Proposed Order;
                                                        provided, that to the extent any Utility Provider receives any additional
                             21                         assurance of payment as set forth herein, the Debtors may reduce the Adequate
                                                        Assurance Deposit maintained in the Adequate Assurance Account by such
                             22                         amount.
                             23                  c.     The portion of the Adequate Assurance Deposit attributable to each Utility
                                                        Provider shall be returned to the Debtors on the earlier of (i) the date on which
                             24                         the Debtors have terminated the service from such provider and have satisfied in
                                                        full all postpetition obligations due and owing to the applicable Utility Provider
                             25                         and (ii) the effective date of a plan of reorganization in the Chapter 11 Cases, if
                                                        not applied earlier.
                             26
                                  44
                             27      To the extent that any Utility Provider is or will hold any cash deposit from the Debtors that is in
                                  excess of two (2) weeks’ worth of the average utility cost, the Debtors reserve their right to demand
                             28   return of such excess amounts.
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                                               d.    Any Utility Provider not satisfied with the Proposed Adequate Assurance must
                              1                      serve a written request for additional assurance (an “Additional Assurance
                                                     Request”) on the following parties: (i) the Debtors, 77 Beale Street, San
                              2                      Francisco, CA 94105 (Attn: Mari Becker and Nicholas Bijur); (ii) Weil, Gotshal
                                                     & Manges LLP, 767 Fifth Avenue, New York, New York 10153 (Attn.: Stephen
                              3                      Karotkin, Esq. and Lisa Lansio, Esq.); and (iii) Keller & Benvenutti, 650
                                                     California Street, Suite 1900, San Francisco, CA 94108 (Attn: Tobias S. Keller,
                              4                      Esq. and Jane Kim, Esq.) (collectively, the “Adequate Assurance Notice
                                                     Parties”).
                              5
                                               e.    Any Additional Assurance Request must (i) be made in writing, (ii) set forth the
                              6                      location for which Utility Services are provided, (iii) include a summary of the
                                                     Debtors’ payment history relevant to the affected account(s), including the
                              7                      amounts of any security deposits, and (iv) set forth an explanation of why the
                                                     Utility Provider believes the Proposed Adequate Assurance is not sufficient
                              8                      adequate assurance of future payment.
                              9                f.    Any Additional Assurance Request must be made and actually received by the
                                                     Adequate Assurance Notice Parties by no later than twenty (20) days after entry
                             10                      of the Proposed Order by the Court, or such greater period as may be agreed to
                                                     by the Debtors and the relevant Utility Provider. If a Utility Provider fails to
                             11                      timely file and serve an Additional Assurance Request, it shall: (i) be deemed to
                                                     have received adequate assurance of payment “satisfactory” to such Utility
                             12                      Provider in compliance with section 366 of the Bankruptcy Code; and (ii) be
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                                                     forbidden to discontinue, alter, or refuse service to, or discriminate against, the
                             13                      Debtors on account of any unpaid prepetition charges, or require additional
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                                                     assurance of payment other than the Proposed Adequate Assurance.
                             14
                                               g.    Upon receipt by the Adequate Assurance Notice Parties of any Additional
                             15                      Assurance Request as set forth above, the Debtors shall have the greater of (i)
                                                     twenty (20) days from the receipt of such Additional Assurance Request, and (ii)
                             16                      thirty (30) days from entry of the Proposed Order (the “Resolution Period”) to
                                                     negotiate with such Utility Provider to resolve such Utility Provider’s Additional
                             17                      Assurance Request, or such greater period as may be agreed to by the Debtors
                                                     and the relevant Utility Provider.
                             18
                                               h.    If the Debtors, in their sole discretion, determine that an Additional Assurance
                             19                      Request or any consensual agreement reached in connection therewith is
                                                     reasonable, the Debtors may resolve any Additional Assurance Request without
                             20                      further order of the Court, and may, in connection with any such agreement, in
                                                     their sole discretion, provide a Utility Provider with additional adequate
                             21                      assurance of future payment, including but not limited to cash deposits,
                                                     prepayments, or other forms of security.
                             22
                                               i.    If the Debtors determine that the Additional Assurance Request is not
                             23                      reasonable and are not able to reach a resolution with the Utility Provider during
                                                     the Resolution Period, the Debtors, during or immediately after the Resolution
                             24                      Period, will schedule a hearing before this Court to determine the adequacy of
                                                     assurances of payment with respect to such Utility Provider (the
                             25                      “Determination Hearing”) pursuant to section 366(c)(3) of the Bankruptcy
                                                     Code.
                             26
                                               j.    Pending resolution of a disputed Additional Assurance Request at the
                             27                      Determination Hearing, the relevant Utility Provider shall be prohibited from
                                                     discontinuing, altering, or refusing service to the Debtors on account of unpaid
                             28
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                                                        charges for prepetition services or on account of any objections to the Proposed
                              1                         Adequate Assurance.
                              2
                                  Absent compliance by the Utility Providers with the above Adequate Assurance Procedures, the
                              3
                                  Debtors request that the Utility Providers be prohibited from altering, refusing, or discontinuing
                              4
                                  service on account of any unpaid prepetition charges and be deemed to have received adequate
                              5
                                  assurance of payment in compliance with section 366 of the Bankruptcy Code.
                              6
                                         D.      Subsequent Modifications of Utility Service List
                              7
                                         The Debtors have made an extensive and good-faith effort to identify all of their Utility
                              8
                                  Providers and include them on the Utility Service List. Nonetheless, to the extent that the Debtors
                              9
                                  subsequently identify additional Utility Providers, the Debtors seek authority, in their sole discretion,
                             10
                                  to amend the Utility Service List to add any Utility Provider. The Debtors further request that the
                             11
                                  Court’s order approving the Utilities Motion be deemed to apply to any such subsequently identified
                             12
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                                  Utility Provider, regardless of when such Utility Provider is added to the Utility Service List. The
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                             13
                                  Debtors will serve a copy of the Utilities Motion and the Proposed Order on any such Utility Provider
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                             14
                                  subsequently added to the Utility Service List and deposit two weeks’ worth of estimated utility costs
                             15
                                  in the Adequate Assurance Account for the benefit of such Utility Provider (less any amounts already
                             16
                                  on deposit with any such subsequently added Utility Provider that exceed outstanding prepetition
                             17
                                  amounts). Subsequently added Utility Providers shall have twenty (20) days from the date of service
                             18
                                  of the Proposed Order to make an Additional Assurance Request in accordance with the Adequate
                             19
                                  Assurance Procedures.
                             20
                                         Any Utility Provider subsequently added to the Utility Service List that objects to the Proposed
                             21
                                  Order with respect to such Utility Provider must file an objection in accordance with the Federal Rules
                             22
                                  of Bankruptcy Procedure, the Bankruptcy Local Rules, and the Adequate Assurance Procedures.
                             23
                                         I respectfully submit that the relief requested will ensure that the Debtors’ operations will not
                             24
                                  be disrupted, which would severely impact their businesses and prospects for a successful
                             25
                                  reorganization. The relief requested provides the Utility Providers with fair and orderly procedures for
                             26
                                  determining requests for Additional Adequate Assurance, without which the Debtors could be forced
                             27
                                  to address in excess of one hundred requests by Utility Providers in a disorganized manner at a critical
                             28
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                              1   period in the Chapter 11 Cases when the Debtors’ efforts should be more productively focused on
                              2   operations for the benefit of all parties in interest.
                              3           Accordingly, for the reasons set forth herein, I respectfully submit that the relief requested in
                              4   the Utilities Motion is necessary and appropriate, is in the best interests of their estates and all parties
                              5   in interest, and should be granted.
                              6   XI.     MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 105(a) AND 362 FOR INTERIM
                                          AND FINAL ORDERS ESTABLISHING NOTIFICATION PROCEDURES AND
                              7           APPROVING RESTRICTIONS ON CERTAIN TRANSFERS OF STOCK OF, AND
                                          CLAIMS AGAINST, THE DEBTORS (THE “NOL MOTION”)
                              8
                                          Pursuant to the NOL Motion, the Debtors seek entry of interim and final orders authorizing the
                              9
                                  Debtors to establish procedures (the “Procedures”) to protect the potential value of the Debtors’
                             10
                                  consolidated net operating loss carryforwards (“NOLs”) and other tax benefits (collectively, the “Tax
                             11
                                  Attributes”) for use in connection with the reorganization of the Debtors. The Procedures apply to (a)
                             12
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                                  common stock of PG&E Corp. (the “Common Stock”) and preferred stock of the Utility (“Preferred
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                             13
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                                  Stock”) (together with the Common Stock, the “PG&E Stock”) and any options or similar rights
                             14
                                  (within the meaning of applicable Treasury Regulations) to acquire such stock (the “Options”), and (b)
                             15
                                  claims (each, as defined in section 101(5) of the Bankruptcy Code) against one or more of the Debtors
                             16
                                  (a “Claim”). The Debtors request relief effective nunc pro tunc to the date hereof.
                             17
                                          A.      The Debtors’ Tax Attributes
                             18
                                          The Debtors possess certain Tax Attributes, including, as of the Petition Date, estimated federal
                             19
                                  NOLs of approximately $4 billion and certain tax credits (including investment tax credits and research
                             20
                                  and development tax credits) of approximately $115 million. The Tax Attributes are valuable assets.
                             21
                                          It is my understanding based upon discussions with counsel that Title 26 of the United States
                             22
                                  Code (the “Tax Code”) generally permits a corporation to carry forward its NOLs to reduce future
                             23
                                  taxable income, thereby reducing, along with available tax credits, such corporation’s tax liability in
                             24
                                  future periods. See, e.g., 26 U.S.C. §§ 38 and 172.        Accordingly, absent any intervening limitations
                             25
                                  and depending on future operating results and the consummation of taxable asset dispositions by the
                             26
                                  Debtors, the Tax Attributes could substantially reduce the Debtors’ U.S. federal income tax liability for
                             27
                                  current and future periods, including during the pendency of these Chapter 11 Cases.              The Tax
                             28
                                  DECLARATION OF JASON P. WELLS                        138
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                              1   Attributes are available to reduce the Debtors’ federal income tax liability through the taxable year that
                              2   includes the effective date of a chapter 11 plan and potentially thereafter, depending on the
                              3   consequences of the restructuring.      The Tax Attributes, therefore, could translate into future tax
                              4   savings over time, and any such savings could enhance the Debtors’ cash position for the benefit of all
                              5   parties in interest and contribute to the Debtors’ efforts toward a successful reorganization.
                              6          It is my understanding based upon discussions with counsel that the Debtors’ ability to utilize
                              7   the Tax Attributes to reduce future tax liability is subject to certain statutory limitations. Sections 382
                              8   and 383 of the Tax Code limit a corporation’s ability to utilize its NOLs, tax credits, and certain other
                              9   tax benefits to offset future income once that corporation has undergone an “ownership change” within
                             10   the meaning of section 382 of the Tax Code (an “Ownership Change”). Pursuant to section 382 of
                             11   the Tax Code, an Ownership Change generally occurs when the percentage of a corporation’s equity
                             12   held by one or more of its “5-percent shareholders” (each, as that term is used in section 382 of the
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                             13   Tax Code, a “5-Percent Shareholder”) increases by more than fifty (50) percentage points above the
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                             14   lowest percentage of the corporation’s equity owned by such shareholder(s) at any time during the
                             15   relevant testing period (usually three years).
                             16          The Debtors do not believe that PG&E Corp. has undergone an Ownership Change prior to the
                             17   Petition Date. Accordingly, the Debtors believe that they have significant Tax Attributes that would be
                             18   severely impaired by the occurrence of an Ownership Change during the pendency of these Chapter 11
                             19   Cases. Therefore, it is in the best interests of the Debtors and their stakeholders (including a customer
                             20   base of over 16 million residential and non-residential customers) to restrict acquisitions of PG&E
                             21   Stock that could result in an Ownership Change occurring before the effective date of a chapter 11 plan
                             22   or any applicable bankruptcy court order. Such a restriction would protect the Debtors’ ability to use
                             23   the Tax Attributes during the pendency of these chapter 11 cases or, potentially, in the event of a future
                             24   transaction, to offset gain or other income recognized in connection with the Debtors’ sale or

                             25   ownership of their assets, which may be significant in amount. In the event a pre-effective date
                             26   Ownership Change occurred, the resulting limitation on the Debtors’ Tax Attributes primarily depends
                             27   on the value of the PG&E Stock at such time, and thus becomes increasingly severe as the value of the
                             28
                                  DECLARATION OF JASON P. WELLS                      139
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                              1   PG&E Stock declines. Although (as described below) the limitations imposed by section 382 of the
                              2   Tax Code may be significantly less restrictive when an Ownership Change occurs pursuant to a
                              3   confirmed chapter 11 plan (or any applicable bankruptcy court order), the benefits available under
                              4   section 382 of the Tax Code in connection with a confirmed chapter 11 plan (or any applicable
                              5   bankruptcy court order) are not applied retroactively to reduce the limitations imposed on a
                              6   corporation’s ability to utilize its tax benefits resulting from a previous Ownership Change (such as an
                              7   Ownership Change occurring during the pendency of a chapter 11 case).
                              8          A chapter 11 plan that contemplates a reorganization of the Debtors may involve the issuance
                              9   of new common stock in the Debtors (or any successor to the Debtors) and the distribution of such
                             10   stock to certain creditors in satisfaction, in whole or in part, of their respective Claims. This issuance
                             11   and distribution could potentially result in an Ownership Change. In such event, it is possible that the
                             12   special relief afforded by section 382(l)(5) of the Tax Code could be both available and beneficial to
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                             13   the Debtors; the Debtors, in that circumstance, may seek to qualify the restructuring for such relief.
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                             14   Such relief, however, may become unavailable to the Debtors if the trading and accumulation of
                             15   certain Claims prior to the effective date of a chapter 11 plan is left unrestricted.
                             16          B.      The Proposed Procedures Relating to PG&E Stock

                             17          By establishing procedures for monitoring acquisitions of PG&E Stock (the “Stock

                             18   Procedures”), the Debtors can preserve their ability to seek the necessary relief if it appears that any

                             19   such acquisition(s) may impair the Debtors’ ability to utilize their Tax Attributes. Therefore, the

                             20   Debtors propose the following Stock Procedures:45

                             21                  (a)   Definitions. For purposes of these Stock Procedures, the following terms have
                                  the following meanings:
                             22
                                                         (i)     “Acquiring Group” shall mean any group of persons (including any
                             23   Entity) that has a plan or arrangement to acquire beneficial ownership of the stock of more than one
                                  Debtor within the meaning of Treasury Regulations section 1.1502-92(c)(3)(i).
                             24
                                                       (ii)     “Beneficial ownership” of PG&E Stock and Options to acquire PG&E
                             25   Stock shall be determined in accordance with section 382 of the Tax Code, the regulations
                                  promulgated by the U.S. Department of the Treasury under the Tax Code (the “Treasury
                             26   Regulations”), and rulings issued by the Internal Revenue Service (the “IRS”), and as described in the

                             27   45
                                     The Security Procedures delineated herein summarize the relevant portion of Exhibit 1 to the
                             28   proposed orders annexed to the NOL Motion, which sets forth the Procedures.
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                                  IN SUPPORT OF FIRST DAY MOTIONS
                                  NOL Motion, and, thus, to the extent provided in those sources, from time to time shall include,
                              1   without limitation, (A) direct and indirect ownership (but determined without regard to any rule that
                                  treats stock of an entity as to which the constructive ownership rules apply as no longer owned by that
                              2   entity) e.g., a holding company would be considered to beneficially own all stock owned or acquired
                                  by its subsidiaries, (B) ownership by a holder’s family members, (C) ownership by any Entity, and (D)
                              3   to the extent set forth in Treasury Regulations section 1.382-4, the ownership of an Option to acquire
                                  PG&E Stock.
                              4
                                                        (iii)  “Entity” shall mean any “entity” as such term is defined in Treasury
                              5   Regulations section 1.382-3(a), including any group of persons acting pursuant to a formal or informal
                                  understanding among themselves to make a coordinated acquisition of PG&E Stock.
                              6
                                                       (iv)    “Substantial Stockholder” shall mean any person (including any Entity)
                              7   or Acquiring Group that beneficially owns at least 24.6 million shares of Common Stock (representing
                                  approximately 4.75% of all issued and outstanding shares of Common Stock).
                              8
                                                 (b)     Notice of Substantial Ownership. Any person (including any Entity) or
                              9   Acquiring Group that beneficially owns, at any time on or after the Petition Date, PG&E Stock in an
                                  amount sufficient to qualify such person or Acquiring Group as a Substantial Stockholder shall file
                             10   with this Court and serve upon (i) PG&E Corporation, 77 Beale Street, P.O. Box 770000 San
                                  Francisco, California 94177 (Attn: Mark Caron); (ii) Weil, Gotshal & Manges LLP, 767 Fifth Avenue,
                             11   New York, New York 10153 (Attn: Stephen Karotkin, Esq.; Jessica Liou, Esq.; and Matthew Goren,
                                  Esq., as proposed counsel to the Debtors; (iii) counsel to any statutory committees appointed in the
                             12   Chapter 11 Cases (each, an “Official Committee”); and (iv) counsel to the lenders under the Debtors’
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                                  proposed debtor in possession financing facilities (the “DIP Lenders”) (collectively, the “Disclosure
                             13   Parties”) a notice of such person’s or Acquiring Group’s substantial ownership (a “Substantial Stock
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                                  Ownership Notice”), in substantially the form annexed to the proposed orders to the NOL Motion as
                             14   Exhibit 2, which describes specifically and in detail such person’s or Acquiring Group’s ownership of
                                  PG&E Stock, on or before the date that is the later of (x) twenty (20) calendar days after the entry of
                             15   the order granting the requested relief or (y) ten (10) business days after such person or Acquiring
                                  Group qualifies as a Substantial Stockholder. At the election of the filing person or Acquiring Group,
                             16   the Substantial Stockholder Ownership Notice to be filed with this Court (but not the Substantial Stock
                                  Ownership Notice that is served upon the Debtors, the attorneys for the Debtors, and the attorneys for
                             17   any Official Committee) may be redacted to exclude the taxpayer identification number and the
                                  amount of PG&E Stock beneficially owned.
                             18
                                                 (c)     Acquisition of PG&E Stock. At least twenty (20) business days prior to the
                             19   proposed date of any transfer of PG&E Stock or exercise of any Option to acquire PG&E Stock that
                                  would result in an increase in the amount of PG&E Stock beneficially owned by any person (including
                             20   any Entity) or Acquiring Group that currently is or, as a result of the proposed transaction, would be a
                                  Substantial Stockholder (a “Proposed Acquisition Transaction”), such person, Acquiring Group or
                             21   Substantial Stockholder (a “Proposed Transferee”) shall file with this Court and serve upon the
                                  Disclosure Parties a notice of such Proposed Transferee’s intent to purchase, acquire, or otherwise
                             22   accumulate PG&E Stock (an “Acquisition Notice”), in substantially the form annexed to the proposed
                                  orders to the NOL Motion as Exhibit 3, which describes specifically and in detail the Proposed
                             23   Acquisition Transaction. At the election of the filing person or Acquiring Group, the Acquisition
                                  Notice to be filed with this Court (but not the Acquisition Notice that is served upon the Debtors, the
                             24   attorneys for the Debtors, and the attorneys for any Official Committee) may be redacted to exclude
                                  the taxpayer identification number and the amount of PG&E Stock beneficially owned.
                             25
                                                 (d)    Objection Procedures. The Debtors and any Official Committee shall have
                             26   fifteen (15) business days after the filing of an Acquisition Notice (the “Objection Period”) to file
                                  with this Court and serve on a Proposed Transferee, an objection (each, an “Objection”) to any
                             27   Proposed Acquisition Transaction described in such Acquisition Notice. If the Debtors or any Official
                                  Committee files an Objection by the expiration of the Objection Period (the “Objection Deadline”),
                             28
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                                  then the applicable Proposed Acquisition Transaction shall not be effective unless approved by a final
                              1   and nonappealable order of this Court. If neither the Debtors nor any Official Committee file an
                                  Objection by the Objection Deadline or if the Debtors and any and all Official Committees provide
                              2   written authorization to the Proposed Transferee, approving the Proposed Acquisition Transaction then
                                  such Proposed Acquisition Transaction may proceed solely as specifically described in the applicable
                              3   Acquisition Notice. Any further Proposed Acquisition Transaction must be the subject of an additional
                                  Acquisition Notice and Objection Period.
                              4
                                         C.      The Proposed Procedures Relating to Claims
                              5
                                         The procedures relating to the trading of Claims (the “Claims Procedures”), which only will
                              6
                                  become effective upon entry of the order granting the requested relief on a final basis, permit the full
                              7
                                  trading of Claims until the Debtors or another Plan Proponent (as defined below) decides to pursue a
                              8
                                  plan of reorganization contemplating the potential utilization of section 382(l)(5) of the Tax Code, at
                              9
                                  which point, if necessary for the Debtors to utilize that provision, a purchaser of certain Claims on or
                             10
                                  after the Petition Date may be required to resell some or all of such Claims. The following are certain
                             11
                                  principal provisions of the proposed Claims Procedures:46
                             12
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                                                  (a)     Disclosure of 382(l)(5) Plan. If the proponent of a Plan (a “Plan Proponent”)
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                             13   determines that the reorganized Debtors likely will benefit from the application of section 382(l)(5) of
                                  the Tax Code and reasonably anticipates that the reorganized Debtors (or any successors thereto) (the
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                             14   “Post-Emergence PG&E”) will invoke such section (a “382(l)(5) Plan”), then the Plan Proponent
                                  shall disclose the following in its proposed disclosure statement or, in the case of items (iii) through (v)
                             15   described below, a later, separate notice (collectively, the “Proposed 382(l)(5) Disclosure
                                  Statement”):
                             16
                                                        (i)     Adequate information about the incremental tax benefits anticipated to
                             17   be realized through the use of section 382(l)(5) of the Tax Code that, taking into account the Debtors’
                                  anticipated net unrealized built-in gains or net unrealized built-in losses, would not otherwise be
                             18   available;

                             19                           (ii)     A summary of any restrictions expected to be imposed on the
                                  transferability of securities issued under the Plan in order to preserve such incremental tax benefits;
                             20
                                                         (iii)   The (A) dollar amount of Claims (by class or other applicable
                             21   classification) expected to result in a one-percent (1%) interest in the equity of Post-Emergence PG&E
                                  (the “New PG&E Stock”) and (B) number of any of the specified interests (the “Owned Interests”) in
                             22   the Debtors expected to result in a one-percent (1%) interest in the New PG&E Stock, in each case
                                  based upon then-available information;
                             23
                                                        (iv)    A specified date (the “Determination Date”) that is not less than ten
                             24   (10) calendar days after the service of the notice of the hearing with respect to the Proposed 382(l)(5)
                                  Disclosure Statement; and
                             25
                                                        (v)    A specified date (the “Reporting Deadline”) that is not less than five (5)
                             26   calendar days after the Determination Date, by which persons (including Entities, which for purposes

                             27   46
                                    The complete proposed Claims Procedures are set forth in Exhibit 1 to the Proposed Final Order to
                             28   the NOL Motion (the “Proposed Final NOL Order”), which sets forth the Procedures.
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                                  of the Claims Procedures also includes an “entity” within the meaning of Treasury Regulations section
                              1   1.382-3(a)) must serve on various parties the Notice of Substantial Claim Ownership (as defined in
                                  paragraph B(3) of Exhibit 1 to the Proposed Final NOL Order) required by these Claims Procedures.
                              2
                                                 (b)     Claims Trading Before and After the Determination Date.
                              3
                                                        (i)     Any person generally may trade freely and make a market in Claims
                              4   until the Determination Date.
                              5                          (ii)   After the Determination Date, any acquisition of Claims by a person
                                  (including any Entity) who filed or was required to file a Notice of Substantial Claim Ownership or by
                              6   a person who would be required to file a Notice of Substantial Claim Ownership as a result of the
                                  consummation of the contemplated transaction if the proposed acquisition date had been the
                              7   Determination Date (each such person, a “Proposed Claims Transferee”), shall not be effective
                                  unless consummated in compliance with the Claims Procedures.
                              8
                                                        (iii)   At least ten (10) business days prior to the proposed date of any
                              9   acquisition of Claims by a Proposed Claims Transferee (each acquisition, a “Proposed Claims
                                  Acquisition Transaction”), such Proposed Claims Transferee shall serve upon the Plan Proponent and
                             10   its counsel (and the Debtors and their counsel if not the Plan Proponent), counsel to the DIP Lenders,
                                  and counsel to any Official Committee a notice of such Proposed Claims Transferee’s request to
                             11   purchase, acquire, or otherwise accumulate a Claim (a “Claims Acquisition Request”), in
                                  substantially the form annexed to the Proposed Final NOL Order as Exhibit 6, which describes
                             12   specifically and in detail the Proposed Claims Acquisition Transaction, regardless of whether such
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                                  transfer would be subject to the filing, notice, and hearing requirements set forth in Bankruptcy Rule
                             13   3001.
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                             14                         (iv)    The Plan Proponent may determine, in consultation with the Debtors (if
                                  not the Plan Proponent), counsel to any Official Committee and counsel to the DIP Lenders, whether to
                             15   approve a Claims Acquisition Request. If the Plan Proponent does not approve a Claims Acquisition
                                  Request in writing within eight (8) business days after the Claims Acquisition Request is filed with the
                             16   Court, the Claims Acquisition Request shall be deemed rejected.
                             17                  (c)     Creditor Conduct and Sell-Downs
                             18                          (i)     Following the Determination Date, if the Plan Proponent determines that
                                  certain persons holding Claims must sell or transfer all or a portion of their beneficial ownership of
                             19   Claims so that the requirements of section 382(l)(5) of the Tax Code will be satisfied, the Plan
                                  Proponent may request—after notice to counsel to any Official Committee, counsel to the DIP
                             20   Lenders, and the relevant claimholder(s), and a hearing—that this Court enter an order approving the
                                  issuance of a notice (a “Sell-Down Notice”) that such claimholder(s) must sell, cause to sell, or
                             21   otherwise transfer a specified amount of its beneficial ownership of Claims. Notwithstanding anything
                                  to the contrary in the NOL Motion, no claimholder shall be required to sell, cause to sell, or otherwise
                             22   transfer any beneficial ownership of Claims if such sale or transfer would result in the claimholder’s
                                  beneficial ownership of an aggregate amount of Claims (by class or other applicable classification) that
                             23   is less than such claimholder’s “Protected Amount” (as defined in paragraph B(1)(p) of Exhibit 1 to the
                                  Proposed Final NOL Order).
                             24
                                                          (ii)    Each Sell-Down Notice shall direct such claimholder to sell, cause to
                             25   sell, or otherwise transfer its beneficial ownership of the amount of Claims specified in the Sell-Down
                                  Notice to certain permitted transferees.
                             26
                                                         (iii)  Any person (including any Entity) that violates its obligations under the
                             27   Claims Procedures shall be precluded from receiving, directly or indirectly, any consideration
                                  consisting of a beneficial ownership of New PG&E Stock that is attributable to the “Excess Amount of
                             28
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                                  Claims” (as defined in paragraph B(5)(b) of Exhibit 1 to the Proposed Final NOL Order) for such
                              1   person, including any consideration in lieu thereof, provided that such person may be entitled to
                                  receive any other consideration to which such person may be entitled by virtue of holding Claims.
                              2
                                         The Procedures are necessary to avoid severely impairing the Debtors’ ability to utilize their
                              3
                                  Tax Attributes. The Debtors’ ability to preserve their Tax Attributes may be seriously impaired unless
                              4
                                  the Stock Procedures are established immediately and nunc pro tunc to the Petition Date to ensure that
                              5
                                  the acquisition of PG&E Stock is either precluded or closely monitored and made subject to Court
                              6
                                  approval.
                              7
                                         The Stock Procedures must be implemented as soon as possible. Even if a transfer were to be
                              8
                                  null and void under section 362 of the Bankruptcy Code or as a result of a final order of the Court that
                              9
                                  prohibited such a transfer retroactively to the Petition Date, under federal income tax law, such transfer
                             10
                                  nevertheless may be regarded as having occurred for tax purposes, in which event the Debtors’ estates
                             11
                                  could suffer an irrevocable loss of value. Accordingly, if a transfer occurs that limits the Debtors’
                             12
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                                  ability to utilize their Tax Attributes under section 382 of the Tax Code, the Debtors’ ability to realize
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                             13
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                                  the value of their Tax Attributes may be permanently lost. The relief requested, therefore, is crucial to
                             14
                                  prevent an irrevocable diminution of the value of the Debtors’ estates.
                             15
                                         The Claims Procedures permit the full trading of Claims until the Debtors or another Plan
                             16
                                  Proponent decides to pursue a Plan that contemplates the potential utilization of section 382(l)(5) of
                             17
                                  the Tax Code, at which point, if necessary for the Debtors’ ability to utilize that provision, a purchaser
                             18
                                  of certain Claims on or after the Petition Date may be required to resell some or all of such Claims.
                             19
                                              It is my understanding based upon discussions with counsel that, under the De Minimis Rule,
                             20
                                  a debtor may, for purposes of the Section 382(l)(5) Safe Harbor, “treat indebtedness as always having
                             21
                                  been owned by the beneficial owner of the indebtedness immediately before the [O]wnership [C]hange
                             22
                                  if the beneficial owner is not, immediately after the [O]wnership [C]hange, either a 5-[P]ercent
                             23
                                  [S]hareholder or an [E]ntity through which a 5-[P]ercent [S]hareholder owns an indirect ownership
                             24
                                  interest” in the debtor. 26 C.F.R. § 1.382-9(d)(3). If a creditor is treated as having continuously
                             25
                                  owned its Claim(s) under the De Minimis Rule, such creditor will be regarded as a Qualified Creditor
                             26
                                  so long as the particular Claim(s) that it holds either (a) arose in the ordinary course of the debtor’s
                             27
                                  business or (b) came into existence at least eighteen (18) months prior to the Petition Date.
                             28
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                              1          It is my understanding based upon discussions with counsel that the requested relief will ensure
                              2   that the Debtors will have flexibility, if the Debtors determine it to be desirable, to structure a chapter
                              3   11 plan or other distributions to comply with the requirements of the Section 382(l)(5) Safe Harbor and
                              4   thus to preserve the Tax Attributes to the fullest extent possible.
                              5          Accordingly, for the reasons set forth herein, I respectfully submit that the relief requested in
                              6   the NOL Motion is necessary and appropriate, is in the best interests of their estates and all parties in
                              7   interest, is necessary to avoid immediate and irreparable harm to the Debtors, and should be granted.
                              8   XII.   MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 521(A) AND 105(A) AND FED.
                                         R. BANKR. P. 1007(C) FOR ENTRY OF ORDER (I) EXTENDING TIME TO FILE
                              9          SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL
                                         AFFAIRS, AND (II) EXTENDING TIME TO FILE 2015.3 REPORTS (THE
                             10          “EXTENSION OF TIME TO FILE SCHEDULES AND STATEMENTS MOTION”)
                             11          Pursuant to the Extension of Time to File Schedules and Statements Motion, the Debtors
                             12   request entry of an order extending the initial fourteen (14) day period to file their schedules of assets
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                             13   and liabilities and statements of financial affairs (collectively, the “Schedules and Statements”) by
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                             14   sixty (60) days, to allow the Debtors a total of seventy-four (74) days after the Petition Date to file
                             15   their Schedules and Statements (the “Schedules and Statements Deadline”), without prejudice to the
                             16   Debtors’ right to request additional time if necessary. Additionally, the Debtors request that the Court
                             17   grant an extension until thirty (30) days after the meeting of creditors to be held pursuant to section
                             18   341 of the Bankruptcy Code for the Debtors to either file their initial reports of financial information
                             19   with respect to entities in which their chapter 11 estates hold a controlling or substantial interest, as set
                             20   forth in Bankruptcy Rule 2015.3 (the “2015.3 Reports”), or file a motion with the Court seeking a
                             21   modification of such reporting requirements for cause.
                             22          The Debtors own and operate approximately 136 generating facilities, nine (9) natural gas
                             23   compressor stations, over 120,000 circuit miles of electric transmission and distribution lines, and
                             24   nearly 50,000 miles of natural gas transmission and distribution pipelines throughout California. The

                             25   scope and complexity of the Debtors’ businesses, coupled with the limited time available to the
                             26   Debtors to assemble the required information, necessitate an extension of the Schedules and
                             27   Statements Deadline and the deadline to file the 2015.3 Reports. It is my understanding that collecting
                             28
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                              1   the necessary information to prepare the Schedules and Statements and the 2015.3 Reports requires an
                              2   enormous expenditure of time and effort on the part of the Debtors, their employees, and their
                              3   professionals.
                              4           In light of the foregoing, I respectfully submit that given the volume of work entailed in
                              5   completing the Schedules and Statements and the 2015.3 Reports, as well as the competing demands
                              6   on the Debtors’ employees and professionals to stabilize the Debtors’ business operations and address
                              7   the other many issues that arise during the critical postpetition period, the Debtors, as a practical
                              8   matter, are unable to properly and accurately complete the Schedules and Statements and 2015.3
                              9   Reports within the initial statutory period and that the requested extensions are necessary.
                             10   XIII.   MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 105(a), 342(a) AND 521(a)(1)
                                          AND FED. R. BANKR. P. 1007 AND 2002 FOR ENTRY OF ORDER (I) WAIVING THE
                             11           REQUIREMENTS TO FILE LISTS OF CREDITORS AND EQUITY HOLDERS AND
                                          GRANTING RELATED RELIEF; AND (II) AUTHORIZING AND APPROVING
                             12           PROCEDURES FOR PROVIDING NOTICE OF THE COMMENCEMENT OF
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                                          CHAPTER 11 CASES (THE “CREDITOR MATRIX AND NOTICE OF
                             13           COMMENCEMENT MOTION”)
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                             14           Pursuant to the Creditor Matrix and Notice of Commencement Motion, the Debtors request
                             15   entry of an order (i) waiving the requirements that the Debtors file lists of creditors and equity holders
                             16   on the Petition Date, as set forth in section 521(a)(1) of the Bankruptcy Code, Bankruptcy Rules
                             17   1007(a)(1) and (a)(3), and Amended General Order 13 (the “General Order”) of the United States
                             18   Bankruptcy Court for the Northern District of California (collectively, the “Notice Rules”); and (ii)
                             19   authorizing the Debtors to implement certain procedures for the mailing and publication of the notice
                             20   announcing the commencement of these Chapter 11 Cases and the meeting of creditors to be held
                             21   pursuant to section 341 of the Bankruptcy Code (the “Notice of Commencement”).
                             22           It is my understanding based upon discussions with counsel that, pursuant to the Notice Rules,
                             23   unless a debtor’s schedules of assets and liabilities are filed simultaneously with a chapter 11 petition,
                             24   a debtor must file a list of creditors as of the Petition Date (the “List of Creditors”) with the petition.

                             25   Similarly, it is my understanding based upon discussions with counsel that the Notice Rules require
                             26   that unless the Court orders otherwise, the debtor must file within fourteen (14) days after entry of the
                             27   order for relief a list of the debtor’s equity security holders of each class (the “List of Equity
                             28
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                              1   Holders”) showing the number and kinds of interests registered in the name of each holder, and the
                              2   last known address or place of business for each holder. I respectfully submit that waiving the
                              3   requirements to file a List of Creditors and, for PG&E Corp., a List of Equity Holders is appropriate.
                              4          Contemporaneously with the Creditor Matrix and Notice of Commencement Motion, the
                              5   Debtors have filed the Extension of Time to File Schedules and Statements Motion, requesting an
                              6   extension of the time to file their Schedules and Statements, and, therefore, have not yet filed their
                              7   Schedules and Statements with the Bankruptcy Court. Accordingly, without the relief requested in the
                              8   Creditor Matrix and Notice of Commencement Motion, the Notice Rules would require the Debtors to
                              9   each file a separate List of Creditors on the date hereof.
                             10          The Debtors have filed the Claims and Noticing Agent Retention Application (as defined
                             11   below) in these Chapter 11 Cases. It is my understanding based upon discussions with counsel that the
                             12   Court is empowered to use outside facilities or services to provide notices and other administrative
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                             13   information to parties in interest, if the costs are paid from the assets of the estates. Under the
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                             14   proposed Notice of Commencement Procedures (as defined and as set forth below), as soon as
                             15   practicable after the Petition Date, the Debtors will furnish their consolidated List of Creditors to Prime
                             16   Clerk, LLC (“Prime Clerk”) so that Prime Clerk can mail the Notice of Commencement to creditors
                             17   identified on the Debtors’ List of Creditors. I respectfully submit that the requirement that the List of
                             18   Creditors be filed on the Petition Date should be waived.
                             19          All of the outstanding common stock of the Utility is owned by PG&E Corp. This information
                             20   is set forth in the List of Equity Holders filed as a part of the Utility’s chapter 11 petition. With respect
                             21   to PG&E Corp., however, I respectfully submit that the requirement that it file a List of Equity Holders
                             22   should be waived. PG&E Corp. is a public company and, as of October 25, 2018, had 518,674,276
                             23   shares of common stock outstanding. The ownership of these shares changes daily, if not more
                             24   frequently. I respectfully submit that preparing the List of Equity Holders with last-known addresses

                             25   will be expensive for the Debtors, time consuming, and difficult to accomplish quickly and accurately.
                             26   I further submit that PG&E Corp.’s equity security holders will not be prejudiced if the List of Equity
                             27   Holders is not filed. As set forth in the Notice of Commencement Procedures, such parties will receive
                             28
                                  DECLARATION OF JASON P. WELLS                       147
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   appropriate notice of the commencement of these Chapter 11 Cases. Accordingly, the requirement that
                              2   the Debtors file a List of Equity Holders for PG&E Corp. should be waived.
                              3          A.      Proposed Procedures for Service of the Notice of Commencement

                              4          The Debtors propose the following procedures (the “Notice of Commencement Procedures”)

                              5   with respect to service and publication of the Notice of Commencement:
                                                 1.     Mailing of the Notice of Commencement
                              6
                                         Pursuant to the Creditor Matrix and Notice of Commencement Motion, in light of the
                              7
                                  requirement to notify creditors and shareholders of the commencement of these Chapter 11 Cases and
                              8
                                  to notify creditors of the meeting of creditors under section 341 of the Bankruptcy Code (the “Section
                              9
                                  341 Meeting”), the Debtors seek authority to have Prime Clerk undertake the mailing of the Notice of
                             10
                                  Commencement, substantially in the form annexed as Exhibit 1 to the proposed order filed with the
                             11
                                  Creditor Matrix and Notice of Commencement Motion, to the creditors listed on the Debtors’
                             12
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                                  consolidated List of Creditors.
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                                         For purposes of the Creditor Matrix and Notice of Commencement Motion, the Debtors have
                             14
                                  not included their 16 million customers or their nearly 24,000 employees as creditors on the List of
                             15
                                  Creditors (other than any customers or employees that may otherwise be creditors (e.g., litigation
                             16
                                  claimants)) and, it is my understanding based upon discussions with counsel, that the Notice Rules do
                             17
                                  not require the Debtors to provide the Notice of Commencement to such parties. Moreover, Prime
                             18
                                  Clerk estimates that the cost of mailing the Notice of Commencement to such parties via traditional
                             19
                                  first class mail would increase the cost of preparing and mailing the Notice of Commencement by
                             20
                                  approximately $9.4 million. Nevertheless, employees will be made aware of the commencement of
                             21
                                  these Chapter 11 Cases through customary employee communication channels that the Debtors have
                             22
                                  historically utilized. Additionally, given the extensive media coverage of these Chapter 11 Cases and
                             23
                                  the proposed publication procedures described below, I believe that the Debtors’ customers will also
                             24
                                  be adequately informed regarding the commencement of these Chapter 11 Cases.
                             25
                                         As set forth above, as PG&E Corp. is a public company, the ownership of its shares changes on
                             26
                                  a daily, if not more frequent, basis. Accordingly, serving the Notice of Commencement on holders of
                             27
                                  PG&E Corp.’s equity interests by mail also would be a very costly undertaking and not necessarily
                             28
                                  DECLARATION OF JASON P. WELLS                   148
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   very effective. Further, it is highly likely that PG&E Corp.’s equity security holders will learn of these
                              2   Chapter 11 Cases through the financial press, the extensive publication proposed by the Debtors below,
                              3   as well as the Debtors’ reporting with the United States Securities and Exchange Commission.
                              4   Accordingly, I respectfully submit that the requirement that the Debtors provide the Notice of
                              5   Commencement to holders of equity interests in PG&E Corp. should be waived.
                              6                    2.        Publication of the Notice of Commencement

                              7           In addition to providing the Notice of Commencement to the Debtors’ creditors as set forth

                              8   above, the Debtors propose to publish, as soon as practicable, the Notice of Commencement,

                              9   substantially in the form attached to the Proposed Order (i) once in the national editions of the Wall

                             10   Street Journal and USA Today, and (ii) once in each of the Los Angeles Times, San Francisco

                             11   Chronicle, The Bakersfield Californian, The Fresno Bee, The Modesto Bee, The Sacramento Bee, The

                             12   Santa Rosa Press Democrat, The San Jose Mercury News, The East Bay Times, The Stockton Record,
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                             13   the Paradise Post, and the Chico Enterprise-Record. The Debtors also propose to post the Notice of
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                             14   Commencement on the website to be established by Prime Clerk (as defined below) and on the

                             15   Debtors’ website. Publication of the Notice of Commencement as proposed above is the most practical

                             16   method by which to notify customers, employees and equity holders who do not receive the Notice of

                             17   Commencement by mail and other parties in interest of the commencement of these Chapter 11 Cases.

                             18   Notice by publication also will ensure an efficient use of estate resources.

                             19           Based on the foregoing, I respectfully submit that the proposed Notice of Commencement

                             20   Procedures will ease administrative burdens that would otherwise fall upon the Court and the U.S.

                             21   Trustee, while at the same time ensuring that actual notice is provided to all of the Debtors’ creditors,

                             22   equity holders, and customers in an efficient and cost-effective manner. Accordingly, I respectfully

                             23   submit that the relief requested is appropriate in these Chapter 11 Cases to provide adequate notice to

                             24   all parties in interest.

                             25
                             26
                             27
                             28
                                  DECLARATION OF JASON P. WELLS                     149
                                  IN SUPPORT OF FIRST DAY MOTIONS
                                  XIV. MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 503(b)(9) AND 105(a) FOR
                              1        ENTRY OF ORDER ESTABLISHING PROCEDURES FOR THE ASSERTION,
                                       RESOLUTION, AND SATISFACTION OF CLAIMS ASSERTED PURSUANT TO 11
                              2        U.S.C. § 503(b)(9) (THE “503(b)(9) PROCEDURES MOTION”)
                              3          Pursuant to the 503(b)(9) Procedures Motion, the Debtors request entry of an order establishing
                              4   procedures for the assertion, resolution, and satisfaction of unpaid 503(b)(9) Claims.
                              5          Prior to the Petition Date and in the ordinary course of their business, the Debtors purchased on
                              6   credit a variety of raw materials, equipment, specially fabricated repair and replacement parts, supplies,
                              7   and other goods (collectively, the “Goods”) for use in their electric and natural gas transmission,
                              8   distribution, generation and other operations. As of the Petition Date, the Debtors were in possession
                              9   of certain Goods that had been delivered to them by various Vendors, but for which the Debtors had
                             10   not yet made payment.
                             11          There will be some uncertainty among Vendors over the procedures and methods they must
                             12   undertake to properly assert administrative expense claims pursuant to section 503(b)(9) of the
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                             13   Bankruptcy Code. This may result in numerous inquiries and demands on the Debtors’ employees and
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                             14   professionals, as well as in the initiation of piecemeal litigation, which would divert the attention of the
                             15   Debtors and their professionals from the more pressing task of administering these Chapter 11 Cases
                             16   and overseeing the Debtors’ operations in a safe and reliable manner.             To avoid the resulting
                             17   distraction, delay, and expense that may ensue, I respectfully submit that the following Procedures
                             18   should be the sole and exclusive method for the assertion, resolution, allowance, and satisfaction of
                             19   503(b)(9) Claims:
                             20                         (a)     Any Vendor asserting a 503(b)(9) Claim must prepare a proof of claim (a
                                                 “Proof of 503(b)(9) Claim”), substantially in the form annexed as Schedule 1 to the
                             21                  proposed order for the 503(b)(9) Procedures Motion (the “Proof of 503(b)(9) Claim
                                                 Form”) that sets forth: (i) the value of the Goods the Vendor contends the Debtors
                             22                  received within twenty (20) days prior to the Petition Date; (ii) documentation,
                             23                  including invoices, receipts, bills of lading, and the like, identifying the particular
                                                 Goods for which the claim is being asserted; (iii) documentation regarding which
                             24                  Debtor the Goods were shipped to, the date the Goods were received by such Debtor,
                                                 and the alleged value of such Goods; and (iv) a statement indicating (I) whether the
                             25                  value of such Goods listed in the Proof of 503(b)(9) Claim represents a combination of
                                                 services and Goods, (II) the percentage of value related to services and related to
                             26                  Goods, and (III) whether the Vendor has filed any other claim against any Debtor
                             27                  regarding the Goods underlying its Proof of 503(b)(9) Claim;

                             28
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                                  IN SUPPORT OF FIRST DAY MOTIONS
                                                          (b)    All Proofs of 503(b)(9) Claims must be submitted to the Debtors’
                              1                  proposed claims and noticing agent, Prime Clerk, so as to be received no later than the
                              2                  fiftieth (50th) day after the Petition Date (the “503(b)(9) Claim Filing Deadline”),
                                                 either (i) by mail or hand delivery at PG&E Corporation Claims Processing Center c/o
                              3                  Prime Clerk, 850 3rd Avenue, Suite 412, Brooklyn, New York 11232, or (ii)
                                                 electronically via the interface provided on Prime Clerk’s website at
                              4                  http://restructuring.primeclerk.com/PGE/EPOC-index. Proofs of 503(b)(9) Claims sent
                                                 by facsimile or electronic mail will not be accepted;
                              5
                              6                         (c)    The Debtors shall have seventy-five (75) days (or such later date as may
                                                 be approved by the Court) after the 503(b)(9) Claim Filing Deadline to file with the
                              7                  Court and serve any objections (the “Objections”) to timely filed 503(b)(9) Claims (the
                                                 “Objection Deadline”), without prejudice to the Debtors’ right to set an extension to
                              8                  such Objection Deadline;
                              9
                                                        (d)    Vendors shall have until twenty (20) days after the filing of the
                             10                  applicable Objection to file with the Court and serve on the Notice Parties any replies to
                                                 such Objections;
                             11
                                                        (e)     All timely filed 503(b)(9) Claims will be deemed allowed unless
                             12                  objected to by the Debtors on or before the Objection Deadline;
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                             13
                                                        (f)     Notwithstanding and without limiting the foregoing, the Debtors are
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                             14                  authorized, but not required, to negotiate, in their sole discretion, with any Vendor and
                                                 to seek an agreement resolving any Objection to such Vendor’s 503(b)(9) Claim
                             15                  without the need for any further order by the Court;
                             16                          (g)    If the Debtors cannot reach agreement with a Vendor regarding a
                                                 particular Objection to such Vendor’s 503(b)(9) Claim, the Debtors will schedule the
                             17
                                                 matter for a hearing by the Court;
                             18
                                                         (h)     To the extent a 503(b)(9) Claim is allowed, such 503(b)(9) Claim will be
                             19                  satisfied pursuant to and as set forth in, a chapter 11 plan for the Debtors as confirmed
                                                 by the Court, or as otherwise ordered by the Court after notice and an opportunity for a
                             20                  hearing; provided, that the Debtors reserve the right to exercise any lawful right of
                             21                  setoff against any 503(b)(9) Claim; and

                             22                          (i)    Vendors shall be forever barred, without further order of the Court, from
                                                 asserting 503(b)(9) Claims after the expiration of the 503(b)(9) Claim Filing Deadline,
                             23                  but shall not be barred from asserting related or unrelated general unsecured claims in
                                                 accordance with any unsecured claims bar date established in these Chapter 11 Cases.
                             24
                                         Pursuant to the 503(b)(9) Procedures Motion, the Debtors propose that the Procedures be the
                             25
                                  sole and exclusive method for the assertion, resolution, allowance, and satisfaction of 503(b)(9) Claims
                             26
                                  and request that all Vendors be prohibited from invoking any other means therefor, including, without
                             27
                                  limitation, the filing of a motion for allowance, or to compel payment, of any 503(b)(9) Claims.
                             28
                                  DECLARATION OF JASON P. WELLS                    151
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1            It is my understanding based upon discussions with counsel that deferring litigation of claims
                              2   asserted under section 503(b)(9) of the Bankruptcy Code and establishing uniform procedures for
                              3   resolving such claims is a common practice in chapter 11 cases, as is the establishment of a bar date.
                              4   Moreover, the Debtors believe that the Procedures will facilitate their ability to resolve claims with
                              5   Vendors asserting a 503(b)(9) Claim, expediting the resolution of 503(b)(9) Claims, and assisting with
                              6   the administration of these Chapter 11 Cases.
                              7            Accordingly, I respectfully submit that the relief requested in the 503(b)(9) Claims Motion
                              8   should be granted.
                              9   XV.      MOTION OF DEBTORS FOR ENTRY OF ORDER PURSUANT TO 11 U.S.C. §§ 546(c)
                                           AND 105(a) AND FED. R. BANKR. P. 9019 ESTABLISHING AND IMPLEMENTING
                             10            EXCLUSIVE AND GLOBAL PROCEDURES FOR THE TREATMENT OF
                                           RECLAMATION CLAIMS (THE “RECLAMATION PROCEDURES MOTION”).
                             11
                                           Pursuant to the Reclamation Procedures Motion, the Debtors are seeking entry of an order
                             12
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                                  establishing procedures for the treatment of all claims that may be asserted against the Debtors seeking
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                             13
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                                  the reclamation of Goods pursuant to section 546(c) of the Bankruptcy Code (the “Reclamation
                             14
                                  Claims”) and prohibiting any Seller from (as defined below) from taking any other remedial action
                             15
                                  with respect to its Goods, including any other effort to reclaim the same.
                             16
                                           As a result of the commencement of these Chapter 11 Cases, the Debtors have received, and
                             17
                                  expect to continue to receive, Reclamation Claims from various parties (collectively, the “Sellers”)
                             18
                                  that, in the ordinary course of business, sold and delivered a variety of Goods to the Debtors prior to
                             19
                                  the Petition Date, but for which the Debtors have not yet been invoiced or made payment to the Seller
                             20
                                  in full. 47
                             21
                                           To avoid potentially extensive piecemeal litigation that would interfere with the orderly
                             22
                                  administration of these Chapter 11 Cases, the Debtors seek to establish the Reclamation Procedures for
                             23
                                  the reconciliation and allowance of Reclamation Claims. The Reclamation Procedures will effectively
                             24

                             25
                             26   47
                                    Certain Sellers may receive payment on account of their prepetition claims pursuant to certain other
                             27   motions filed by the Debtors contemporaneously herewith. To the extent a Seller receives payment on
                                  account of its prepetition claim pursuant to an order approving any such motion, the Reclamation
                             28   Procedures shall not apply to such Seller.
                                  DECLARATION OF JASON P. WELLS                     152
                                  IN SUPPORT OF FIRST DAY MOTIONS
                              1   and efficiently streamline the process of resolving any potential Reclamation Claims for the benefit of
                              2   the Debtors and all other parties in interest.
                              3          The Debtors propose the following procedures (the “Reclamation Procedures”) for processing
                              4   and reconciling Reclamation Claims:
                              5                         (a)    any Seller asserting a Reclamation Claim must satisfy all procedural and
                                                 timing requirements entitling it to have a right to reclamation under section 546(c) of
                              6                  the Bankruptcy Code;
                              7                          (b)    any Seller asserting a Reclamation Claim must submit a written demand
                              8                  asserting such Reclamation Claim (a “Reclamation Demand”), which must include, to
                                                 the extent such information is already available or known to such Seller, (i) a
                              9                  description of the Goods subject to the Reclamation Demand; (ii) copies of any
                                                 purchasing orders, invoices, receipts, bills of lading and the like, identifying the
                             10                  particular Goods for which the Reclamation Demand is being asserted; (iii) any
                                                 evidence regarding the date(s) such Goods were shipped to and received by the Debtors
                             11                  and the alleged value of such Goods; and (iv) a statement indicating whether the Seller
                             12                  has filed or intends to file any other claim against the Debtors regarding the Goods
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                                                 underlying its Reclamation Demand (collectively, the “Reclamation Demand
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                             13                  Requirements”);
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                             14                         (c)    all Reclamation Demands must be submitted to Prime Clerk, by the
                                                 applicable deadline set forth below, either by mail or hand delivery at PG&E
                             15
                                                 Corporation Reclamations Demands, c/o Prime Clerk LLC, 850 3rd Avenue, Suite 412,
                             16                  Brooklyn, New York 11232, and not filed on the Court docket;

                             17                          (d)    to the extent that any Seller asserted a Reclamation Demand prior to
                                                 entry of the proposed order (the “Reclamation Procedures Order”) granting the relief
                             18                  requested in the Reclamation Procedures Motion that complied with the procedures and
                                                 timing requirements of section 546(c) of the Bankruptcy Code, but otherwise did not
                             19
                                                 meet the Reclamation Demand Requirements, such Seller shall have twenty (20) days
                             20                  from the date of entry of the Reclamation Procedures Order to submit to the Debtors
                                                 (via Prime Clerk as set forth in (c) above) the supplemental information or evidence
                             21                  required to meet the Reclamation Demand Requirements;
                             22                          (e)     unless a Seller has already submitted a Reclamation Demand to the
                                                 Debtors within the forty-five (45) days prior to the Petition Date, any Seller asserting a
                             23
                                                 Reclamation Claim must have submitted a Reclamation Demand (subject to the Seller’s
                             24                  right to supplement the Reclamation Demand as set forth in (d) above to meet the
                                                 Reclamation Demand Requirements) so that it was received by the Debtors (via Prime
                             25                  Clerk as set forth in (c) above) on or before twenty (20) days after the Petition Date (the
                                                 “Reclamation Deadline”);
                             26
                                                     (f)    upon entry of the Reclamation Procedures Order, the Debtors will serve
                             27
                                              upon all Sellers who have submitted a Reclamation Demand by the Reclamation
                             28               Deadline a copy of such order at the address indicated in its Reclamation Demand;
                                DECLARATION OF JASON P. WELLS                   153
                                IN SUPPORT OF FIRST DAY MOTIONS
                              1                        (g)    no later than 120 days after entry of the Reclamation Procedures Order
                              2                (the “Reclamation Notice Deadline”), the Debtors will file with the Court a notice (the
                                               “Reclamation Notice”) listing the timely submitted Reclamation Claims and the
                              3                amounts (if any) and proposed status and treatment of each such Reclamation Claim
                                               that the Debtors determine to be valid. The Debtors will serve the Reclamation Notice
                              4                on (i) the United States Trustee for Region 17; (ii) the attorneys for any statutory
                                               committees appointed in these Chapter 11 Cases; (iii) counsel to the agent(s) under the
                              5                Debtors’ proposed debtor-in-possession financing facilities, and (iv) each Seller listed
                              6                in the Reclamation Notice, at the address indicated in the respective Seller’s
                                               Reclamation Demand (collectively, the “Notice Parties”);
                              7
                                                      (h)     if the Debtors fail to file the Reclamation Notice by the Reclamation
                              8                Notice Deadline, any holder of a Reclamation Claim that submitted a timely
                                               Reclamation Demand in accordance with the Reclamation Procedures may bring a
                              9
                                               motion on its own behalf to seek relief with respect to its Reclamation Claim;
                             10
                                                       (i)    any party that wishes to object to the Reclamation Notice must file and
                             11                serve an objection (a “Reclamation Notice Objection”) on the Notice Parties, so as to
                                               be received no later than 4:00 p.m. (prevailing Eastern Time) on the twentieth (20th)
                             12                day after the date on which the Reclamation Notice is filed (the “Reclamation
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                                               Objection Deadline”). Any Reclamation Notice Objection must include (i) a copy of
                             13
                                               the Reclamation Demand, with evidence of the date mailed to the Debtors; and (ii) a
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                             14                statement describing with specificity the objections to the Reclamation Notice and any
                                               legal and factual bases for such objections;
                             15
                                                       (j)    any Reclamation Claim listed in the Reclamation Notice for which no
                             16                Reclamation Notice Objection is filed and served by the Reclamation Objection
                                               Deadline shall be deemed allowed by the Court in the amount identified by the Debtors
                             17
                                               in the Reclamation Notice, provided that all issues relating to the treatment of any such
                             18                allowed Reclamation Claim under a chapter 11 plan for the Debtors shall be reserved;

                             19                         (k)     notwithstanding and without limiting the foregoing, the Debtors will be
                                               authorized, but not required, to negotiate, with any Seller to seek an agreement
                             20                resolving the Seller’s Reclamation Claim. If no agreement is reached resolving the
                             21                Reclamation Notice Objection, the Debtors or the Sellers may file a motion with the
                                               Court requesting a hearing with respect to the Reclamation Notice Objection. If the
                             22                Debtors and a Seller agree on the validity, amount, or treatment of the Seller’s
                                               Reclamation Claim, the Debtors will file with the Court a notice of settlement (a
                             23                “Settlement Notice”) and serve such Settlement Notice on the Notice Parties. Each
                                               Notice Party will have ten (10) days from the date of service of such Settlement Notice
                             24                to file with the Court and serve on the other Notice Parties and attorneys for the Debtors
                             25                an objection thereto (a “Settlement Objection”);

                             26                       (l)     if no Settlement Objection is timely filed and served, such Reclamation
                                               Claim will be treated in accordance with the Settlement Notice without further order of
                             27                the Court;
                             28
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                                  IN SUPPORT OF FIRST DAY MOTIONS
                                                         (m)    if a Settlement Objection is timely filed and served, the parties may
                              1                  negotiate a consensual resolution of such objection to be incorporated in a stipulation
                              2                  filed with the Court (a “Settlement Stipulation”). Upon the filing of a Settlement
                                                 Stipulation, the applicable Reclamation Claim shall be allowed and treated in
                              3                  accordance with the terms of the Settlement Stipulation without further order of the
                                                 Court;
                              4
                                                        (n)    if no consensual resolution of a Settlement Objection is reached, the
                              5                  Debtors may file a motion with the Court requesting a hearing with respect to the
                              6                  Settlement Notice;

                              7                          (o)     if a Seller receives payment on account of the Seller’s prepetition claims
                                                 pursuant to any other motion that has been or may be filed by the Debtors, including,
                              8                  without limitation, (i) the 503(b)(9) Procedures Motion; and (ii) the Operational
                                                 Integrity Suppliers Motion, to the extent a Seller receives payment on account of its
                              9
                                                 prepetition claim pursuant to an order approving any of such motions, the Reclamation
                             10                  Procedures shall not apply to such Seller to the extent of any such payment; and

                             11                         (p)     all Sellers shall be forever barred, without further order of the Court,
                                                 from asserting a Reclamation Demand after the expiration of the Reclamation Deadline,
                             12                  but shall not be barred from asserting, subject to applicable deadlines, related or
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                                                 unrelated general unsecured claims or administrative expense status pursuant to section
                             13
                                                 503(b)(9) of the Bankruptcy Code.
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                             14          The Debtors propose that the Reclamation Procedures shall be the sole and exclusive method
                             15   for addressing and resolving Reclamation Claims. As a result, pursuant to the Reclamation Procedures
                             16   Motion, the Debtors request that all Sellers be prohibited from seeking any other means for the
                             17   resolution or treatment of their Reclamation Claims, including, without limitation, the following: (a)
                             18   commencing adversary proceedings or contested matters in connection with any Reclamation Claim,
                             19   (b) seeking to obtain possession of any Goods except as may be permitted by the Reclamation
                             20   Procedures, or (c) interfering with the delivery of any Goods to the Debtors or the retention of any
                             21   Goods by the Debtors. The Reclamation Procedures will effectively and efficiently streamline the
                             22   process of resolving the Reclamation Claims for the Debtors and the Sellers alike, without impacting
                             23   the parties’ substantive rights to pursue or contest the Reclamation Claims.
                             24          I respectfully submit that the Reclamation Procedures will effectively and efficiently streamline
                             25   the process of resolving the Reclamation Claims for the Debtors and the Sellers alike, without
                             26   impacting the parties’ substantive rights to pursue or contest the Reclamation Claims. Accordingly, I
                             27   respectfully submit that the relief requested in the Reclamation Procedures Motion should be granted.
                             28
                                  DECLARATION OF JASON P. WELLS                     155
                                  IN SUPPORT OF FIRST DAY MOTIONS
                                  XVI. DEBTORS’ APPLICATION PURSUANT TO 28 U.S.C. § 156(C) FOR APPOINTMENT
                              1        OF PRIME CLERK LLC AS CLAIMS AND NOTICING AGENT (THE “SECTION
                                       156(C) APPLICATION”)
                              2
                                         Pursuant to the 156(c) Application, the Debtors are seeking entry of an order appointing Prime
                              3
                                  Clerk as their claims and noticing agent (the “Claims and Noticing Agent”) for the Debtors and their
                              4
                                  Chapter 11 Cases, including assuming full responsibility for the distribution of notices and the
                              5
                                  maintenance, processing and docketing of proofs of claim filed in the Chapter 11 Cases, including
                              6
                                  assuming full responsibility for the distribution of notices and the maintenance, processing, and
                              7
                                  docketing of proofs of claim filed in the Chapter 11 Cases, as set forth in the Engagement Agreement
                              8
                                  attached as Exhibit B to the Section 156(c) Application; provided, however, the Debtors are seeking
                              9
                                  approval solely of those terms and provisions set forth in the Section 156(c) Application. By separate
                             10
                                  application, the debtors will seek authorization to retain and employ Prime Clerk as administrative
                             11
                                  advisor in the Chapter 11 Cases pursuant to section 327(a) of the Bankruptcy Code because the
                             12
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                                  administration of the Chapter 11 Cases will require Prime Clerk to perform duties outside the scope of
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                             13
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                                  28 U.S.C. § 156(c).
                             14
                                         By appointing Prime Clerk as the Claims and Noticing Agent in the Chapter 11 Cases, the
                             15
                                  distribution of notices and the processing of claims will be expedited, and the Office of the Clerk of the
                             16
                                  Bankruptcy Court will be relieved of the administrative burden of processing what may be an
                             17
                                  overwhelming number of claims. Accordingly, I respectfully submit that the Section 156(c)
                             18
                                  Application should be approved.
                             19
                                  XVII. MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 105, 362, 363, AND 364 AND
                             20         FED. R. BANKR. P. 6003 AND 6004 TO (A) HONOR PREPETITION OBLIGATIONS
                                        TO NATURAL GAS AND ELECTRICITY EXCHANGE OPERATORS, (B) GRANT
                             21         ADMINISTRATIVE EXPENSE CLAIMS AND AUTHORIZE POSTING OF
                                        COLLATERAL TO EXCHANGE OPERATORS TRADING COUNTERPARTIES,
                             22         AND FUTURE COMMISSION MERCHANTS, (C) MODIFY THE AUTOMATIC
                                        STAY, AND (D) GRANT RELATED RELIEF (THE “EXCHANGE OPERATORS
                             23         MOTION”)
                             24          Pursuant to the Exchange Operators Motion, the Debtors are seeking interim and final authority

                             25   to (i) pay all outstanding Prepetition Exchange Obligations (as defined below) owed to ICE NGX

                             26   Canada Inc. (together with certain of its affiliates and subsidiaries, “ICE NGX”) and California

                             27   Independent System Operator Corporation (“CAISO” and, together with ICE NGX, the “Exchange

                             28
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                              1   Operators”), under those certain Prepetition Exchange Agreements (as defined below), in the ordinary
                              2   course as they come due, (ii) provide the Exchange Operators with administrative expense claims on
                              3   account of all Exchange Obligations (as defined below), (iii) confirm the existing liens and security
                              4   interests of the Exchange Operators in their collateral and authorize the Utility to pledge additional
                              5   collateral to the Exchange Operators in the form of cash, letters of credit, and/or other forms of
                              6   collateral acceptable to the parties on account of all Postpetition Exchange Obligations (as defined
                              7   below), (iv) permit the Trading Counterparties (as defined below) to apply existing cash collateral to
                              8   their prepetition obligations and authorize the Utility to provide cash collateral for postpetition
                              9   obligations to Trading Counterparties, (v) provide cash or other collateral to the Future Commission
                             10   Merchants (as defined below), and (vi) modify the automatic stay under section 362 of the Bankruptcy
                             11   Code to the extent necessary to allow the (A) Exchange Operators to exercise any valid rights of setoff
                             12   or recoupment (the “Trade Setoff”), and to apply collateral and the proceeds thereof and settle
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                             13   transactions, whether undertaken with respect to collateral or obligations that arose, and whether such
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                             14   collateral and proceeds were posted or arose, prior to or after the Petition Date, and, upon default,
                             15   exercise their rights, in each case under and in accordance with the terms of the agreements and tariffs
                             16   that govern the relationship between the Exchange Operators and the Utility, and (B) Trading
                             17   Counterparties to exercise any valid right to setoff, settle or recoup any mutual obligations owing by
                             18   the Utility to such Trading Counterparties, and to apply cash collateral to prepetition obligations,
                             19   notwithstanding any limits otherwise imposed by section 553 of the Bankruptcy Code, and (vii) grant
                             20   related relief.
                             21           A.        ICE NGX
                             22           To clear transactions relating to the procurement of natural gas, the Utility is party to that
                             23   certain contracting party agreement (the “CPA”) with ICE NGX. ICE NGX is a centralized exchange
                             24   and clearinghouse (the “NGX Exchange” and the Utility’s obligations thereunder, the “NGX
                             25   Exchange Obligations”) that provides electronic trading, central counterparty clearing, and data
                             26   services to natural gas, crude oil, and electricity markets in North America. Pursuant to the CPA, the
                             27   Utility purchases natural gas from ICE NGX for (i) its core gas supply, which is delivered to “core”
                             28
                                  DECLARATION OF JASON P. WELLS                    157
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                              1   customers (e.g., residential and small commercial customers), (ii) its electric gas supply, which is used
                              2   to fuel the Utility’s gas-fired electric generation facilities, including certain units operating under
                              3   tolling agreements, and (iii) for temporary storage in both Utility-owned and third party-owned gas
                              4   storage facilities. The Utility also sells excess natural gas through the NGX Exchange.
                              5              The Utility participates on the NGX Exchange primarily through the purchase of futures
                              6   contracts for natural gas. The Utility typically orders natural gas supply through ICE NGX for a
                              7   particular month – the month’s “flow” – in the prior month, but the Utility may also enter into daily
                              8   orders for the next day’s “flow.” For example, in January 2019, the Utility placed orders through ICE
                              9   NGX on the NGX Exchange to cover its February 2019 “flow.” Payment to ICE NGX is generally not
                             10   due until the 25th day of the month following the month in which the natural gas is delivered to the
                             11   Utility.
                             12              Given the delay between the placement of orders for natural gas, deliveries of natural gas, and
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                             13   the payment thereon, ICE NGX requires the Utility to post collateral and other credit support to secure
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                             14   payment for transactions effected through the NGX Exchange (such collateral, and all proceeds
                             15   thereof, the “NGX Collateral”), and, in some instances, to prepay such obligations. ICE NGX is the
                             16   only party with any lien or security interest on the NGX Collateral, and ICE NGX holds a first-priority
                             17   lien on, and security interest in, all NGX Collateral.
                             18              Pursuant to the CPA, NGX Exchange Obligations are required to be fully-collateralized on a
                             19   daily basis and the value of collateral may change on a day-to-day basis due to fluctuations in natural
                             20   gas prices. The Utility’s failure to post appropriate NGX Collateral can result in ICE NGX, among
                             21   other things, having the right or ability under the CPA to (i) declare all NGX Exchange Obligations
                             22   immediately due and payable, (ii) request additional NGX Collateral, (iii) terminate any open
                             23   transactions, and/or (iv) suspend the Utility’s participation in the NGX Exchange. In addition, under
                             24   the CPA, ICE NGX is authorized to setoff, settle, or otherwise recoup amounts owed by the Utility to

                             25   ICE NGX against amounts owed by ICE NGX to the Utility.
                             26              The Utility purchases a significant amount of its natural gas each month through the NGX
                             27   Exchange, including approximately $40 million for January 2019 deliveries, representing
                             28
                                  DECLARATION OF JASON P. WELLS                       158
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                              1   approximately 92% of the supply needed for its electric gas supply, and approximately 19% for its core
                              2   gas supply customers. Given the Utility’s current credit rating, its ability to procure natural gas from
                              3   alternative suppliers is extremely limited. Should the Utility be unable to procure gas through the
                              4   NGX Exchange, it may be foreclosed from participating in natural gas markets altogether. As a result,
                              5   the Utility would be required to deplete its limited reserves of natural gas in an effort to delay a natural
                              6   gas shortfall. Depending on weather conditions and the appetite for other natural gas suppliers to
                              7   honor existing contracts, gas in storage could be exhausted in a matter of weeks, forcing the Utility to
                              8   stop delivering natural gas to some customers.
                              9          Moreover, even if the Utility were able to secure alternative suppliers that may be willing to
                             10   supply natural gas to the Utility, such alternative suppliers would likely charge higher prices, which
                             11   may be passed on to the Utility’s customers through higher bills. These alternative suppliers may also
                             12   impose extremely burdensome contract terms on the Utility. Accordingly, preserving the Utility’s
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                             13   ability to participate in the NGX Exchange is essential to accessing sufficient natural gas supplies
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                             14   needed to maintain uninterrupted utility services and the success of these Chapter 11 Cases.
                             15          B.      CAISO

                             16          Due to the complexities involved in storing electricity after it is generated and transmitting it to

                             17   end users, the Utility participates in energy markets operated by the CAISO (the “CAISO Market”

                             18   and, together with the NGX Exchange, the “Exchanges”). CAISO settles transactions by the Utility

                             19   and its other participants, including transactions in the CAISO Market, and issues charges for services

                             20   related to maintaining the reliability of the grid, pursuant to the rates, terms and conditions of a tariff

                             21   approved by the Federal Energy Regulatory Commission (the “Tariff” and, together with ICE NGX’s

                             22   CPA, the “Prepetition Exchange Agreements”). CAISO controls a competitive wholesale electricity

                             23   market in California and manages access to, and the reliability of, the bulk of the transmission system

                             24   in California. CAISO provides the Utility with particular channels to buy and sell electricity, which is

                             25   critical to the Utility’s operations, and to transmit the electricity it generates, buys and sells. The

                             26   Utility also utilizes CAISO to obtain transmission congestion instruments to mitigate the Utility’s risks

                             27   associated with electricity generation assets. The Utility procures all of the energy needed to meet its

                             28    customers’ demand through the CAISO Market. The Utility sells and transmits all of the power it
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                              1   generates and purchases under power purchase agreements to CAISO. CAISO determines which of
                              2   the Utility’s resources (or those controlled by other parties) to operate at which times to meet the
                              3   CAISO system wide load and ensure the reliability of the grid.
                              4          Given CAISO’s central role in California’s electricity market, the Utility consummates
                              5   transactions through CAISO that it would not otherwise be able to execute with any other party or
                              6   entity. Specifically, through CAISO and the CAISO Market, the Utility: (i) sells all of the energy from
                              7   its Utility owned generation units as well as those units it has under contract with third parties, (ii)
                              8   purchases all of the energy in the day-ahead and real-time energy markets to meet customer demands,
                              9   (iii) acts as a scheduling coordinator for the Utility’s generation facilities as well as certain third-party
                             10   generation facilities, (iv) transmits the power it generates, buys, and sells, (v) sells and purchases
                             11   congestion revenue rights, and (vi) settles for other services as required as a load serving entity.
                             12   Because the Utility buys and sells all of the electricity through CAISO that it needs to meet customer
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                             13   demand and to generate revenue from its generation portfolio, any disruption or the loss of access to
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                             14   this market would severely impact the Utility’s ability to operate. In that scenario, the Utility would be
                             15   unable to generate revenue from its owned and contracted resources and, likewise, would be unable to
                             16   buy electricity to meet the demands of its customers.
                             17          Although the Utility is often a “net” creditor of CAISO, because it has been a net seller of
                             18   energy to the CAISO Market, it may also at any given time owe money to CAISO on a net basis. To
                             19   minimize credit risk, the Utility’s liabilities to CAISO for the charges described in the Tariff
                             20   (collectively, the “CAISO Obligations” and, together with the NGX Obligations, the “Exchange
                             21   Obligations”) are secured by collateral, such as cash collateral and/or letters of credit, the amount and
                             22   form of which are controlled by the terms of the Tariff (the “CAISO Collateral” and, together with
                             23   the NGX Collateral, the “Exchange Collateral”). In addition, CAISO is authorized under the Tariff to
                             24   setoff, settle, or otherwise recoup amounts owed by the Utility to CAISO against amounts owed by

                             25   CAISO to the Utility. To the extent amounts owed by the Utility to CAISO exceed amounts owed by
                             26   CAISO, the Utility must pay the difference in cash. The Utility’s failure to meet its obligations to
                             27   CAISO can result in CAISO’s refusal to continue to do business with the Utility, and/or refusal to
                             28
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                              1   allow the Utility to participate in the CAISO Market. The Utility may also be precluded from acting as
                              2   a scheduling coordinator for generation facilities.
                              3          The Utility’s participation on the Exchanges is currently governed by the Utility’s market risk
                              4   and credit policies, which establish internal policies and controls with respect to Exchange activity. As
                              5   of the Petition Date, the Utility estimates that it owes approximately $38 million to ICE NGX and
                              6   approximately $13.7 million to CAISO on account of prepetition Exchange Obligations (collectively,
                              7   the “Prepetition Exchange Obligations”). CAISO invoices its participants, including the Utility,
                              8   each Wednesday (and at other times depending on the charge type) and payment is due on the fourth
                              9   business day after the invoice is issued. ICE NGX’s Prepetition Exchange Obligations will become
                             10   due and owing during the Interim Period. As of the Petition Date, ICE NGX and CAISO are holding
                             11   cash collateral in the amounts of $36.4 million and $40 million, respectively.
                             12          Participating in the Exchanges protects the Utility from harmful fluctuations in commodity
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                             13   prices and helps it to better manage the future energy demands of its customers.              Specifically,
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                             14   participation in the Exchanges enables the Utility to procure natural gas for the long-term, thereby
                             15   fixing the Utility’s exposure to pricing. The Utility can also make short-term purchases of gas and
                             16   power through the Exchanges, which enables the Utility to cover customer shortfalls quickly and
                             17   efficiently, or quickly sell excess supply, thereby mitigating the Utility’s losses associated therewith.
                             18          To maintain continued access to the critical gas and power markets in which the Utility
                             19   operates, and to maintain the Utility’s access to the power grid over which it must transmit nearly all of
                             20   the power it buys, sells, and generates, the Utility requests authority for the Exchange Operators to
                             21   setoff, settle, or recoup Prepetition Exchange Obligations and apply Exchange Collateral in satisfaction
                             22   thereof to the extent permitted by the terms of the Prepetition Exchange Agreements, and for the
                             23   Utility to pay the Prepetition Exchange Obligations in the ordinary course of business on a postpetition
                             24   basis including “true-up” amounts which may be invoiced in the future for prepetition delivery dates or

                             25   charges. (True-ups may result, for example, from revisions to estimated versus actual volumes and
                             26   service charges and may lag behind the initial invoice by months or more). In addition, the Utility is
                             27   seeking authority to ensure payment of ongoing Prepetition Exchange Obligations and postpetition
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                                  DECLARATION OF JASON P. WELLS                         161
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                              1   obligations to the Exchange Operators under the Prepetition Exchange Agreements (collectively, the
                              2   “Postpetition Exchange Obligations,” which, together with the Prepetition Exchange Obligations,
                              3   constitute Exchange Obligations) by: (i) providing the Exchange Operators with administrative
                              4   expense claims on account of the Exchange Obligations under section 364(b) of the Bankruptcy Code
                              5   (the “Administrative Expense Claims”), and (ii) confirming the first-priority liens and security
                              6   interests of the Exchange Operators in the existing Exchange Collateral and seeking authority to pledge
                              7   additional collateral to the Exchange Operators, as applicable, in the ordinary course of business and
                              8   consistent with the Prepetition Exchange Agreements to secure postpetition obligations, including the
                              9   Postpetition Exchange Obligations, on a first-priority basis in such collateral (the “Postpetition
                             10   Exchange Collateral”). Because the Prepetition Exchange Obligations are fully secured, no other
                             11   parties in interest will be prejudiced by the foregoing relief.
                             12          Additionally, the Utility participates in other gas and electricity markets and exchanges, and is
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                             13   concerned that certain counterparties in those markets and exchanges, such as natural gas suppliers,
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                             14   natural gas transportation providers,      natural gas storage providers, gas fired electric generators,
                             15   renewable electric generators, RPS shaping and firming providers, and buyers of the Utility’s resource
                             16   adequacy and renewable energy products (collectively, the “Trading Counterparties”) may seek to
                             17   terminate their agreements with the Utility or seek to liquidate the Utility’s natural gas or electricity
                             18   positions as a result of the commencement of these Chapter 11 Cases. The Trading Counterparties
                             19   currently hold cash collateral as security for outstanding obligations. In order to avoid a termination of
                             20   their agreements, pursuant to the Exchange Operators Motion, the Utility also requests that the Trading
                             21   Counterparties be authorized to exercise any valid setoff rights, apply cash collateral to outstanding
                             22   obligations, and, to the extent of any excess cash collateral, continue to hold the same to secure
                             23   postpetition obligations to the Trading Counterparties. The Utility also requests authority to provide
                             24   the Trading Counterparties with cash or other collateral in connection with ongoing postpetition

                             25   transactions.
                             26          C.       FCM

                             27          In addition to the Exchange Operators, the Utility is party to certain agreements (the

                             28    “Prepetition FCM Agreements”) with Macquarie Futures USA LLC and BNP Paribas Securities
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                              1   Corp. (collectively, the “Future Commission Merchants”) to buy or sell futures contracts (or options
                              2   on futures contracts) and other forward contracts related to certain commodities and commodity related
                              3   products. The Future Commission Merchants solicit or accept orders to buy or sell futures contracts,
                              4   options on futures, retail off-exchange forex contracts or swaps, and accept money or other assets from
                              5   customers to support such orders. In connection with the Prepetition FCM Agreements, the Utility is
                              6   required to provide collateral, including initial margin and variation margin, from time to time in such
                              7   amounts, at such times, and in such form (usually cash) as requested by each Future Commission
                              8   Merchant in its discretion. The collateral amounts requested by a Future Commission Merchant may be
                              9   affected by the Utility’s open trading positions and the Future Commission Merchant’s perception of
                             10   the Utility’s credit risk. Again, in order to avoid a termination of the Prepetition FCM Agreements,
                             11   which provide the Utility with the ability to protect against price fluctuations, the Utility seeks
                             12   authority to provide such additional cash or other collateral required by the Prepetition FCM
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                             13   Agreements in an amount not to exceed $15,000,000.
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                             14          I respectfully submit that allowing the Utility to continue its trading and exchange practices in
                             15   the ordinary course, without interruption, including the payment of any Prepetition Exchange
                             16   Obligations, and the furnishing of collateral in connection therewith, is a sound exercise of its business
                             17   judgment. The Utility has utilized the same, or substantially similar, exchange practices for years.
                             18   Indeed, it is impossible for the Utility to operate its business without such practices. In particular,
                             19   absent the ability to participate in the Exchanges, the Utility would simply be unable to effectively
                             20   procure and sell its natural gas and electricity—a result that may lead to the Utility’s inability to meet
                             21   customer demand, risks to gas and electric system reliability in California and, with respect to the
                             22   CAISO practices, to pricing volatility in the power markets or to a decrease in the reliability of the
                             23   state-wide system.
                             24          Payment of the Prepetition Exchange Obligations is essential to the Utility’s continued

                             25   operations and the proper functioning of the California gas and power markets within which the Utility
                             26   plays a crucial role. Any limitation on the Utility’s ability to continue their prepetition trading and
                             27   exchange practices will: (i) cause disruption to the Utility’s operations and, potentially, to the
                             28
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                              1   California gas and power markets; and (ii) compromise the Utility’s ability to procure natural gas and
                              2   power in amounts needed to satisfy customer demand and maintain system reliability. The Exchange
                              3   Operators are currently in possession of significant amounts of collateral and are fully secured with
                              4   respect to the Prepetition Exchange Obligations. Consequently, as stated, the relief requested in the
                              5   Exchange Operators Motion will not prejudice any party in interest, including the Utility’s unsecured
                              6   creditors.
                              7           Accordingly, I respectfully submit that the relief requested in the Exchange Operators Motion
                              8   is necessary and appropriate, is in the best interests of their estates and all parties in interest, is
                              9   necessary to avoid immediate and irreparable harm to the Debtors, and should be granted.
                             10   XVIII. MOTION OF DEBTORS PURSUANT TO BANKR. L. R. 9006-1 REQUESTING
                                         ORDER SHORTENING TIME FOR HEARING ON FIRST DAY MOTIONS (THE
                             11          “MOTION TO SHORTEN”)
                             12           Pursuant to the Motion to Shorten, the Debtors are seeking entry of an order shortening time for
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                             13   a hearing on the following First Day Motions: (i) Joint Administration Motion; (ii) DIP Financing
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                             14   Motion; (iii) Cash Management Motion; (iv) Employee Wages and Benefits Motion; (v) Public
                             15   Purpose Programs Motion; (vi) Operational Integrity Suppliers Motion; (vii) Lien Claimants Motion;
                             16   (viii) Insurance Motion; (ix) Taxes Motion; (x) NOL Motion; (xi) Exchange Operator Motion; (xii)
                             17   Extension of Time to File Schedules and Statements Motion; (xiii) Creditor Matrix and Notice of
                             18   Commencement Motion; (xiv) Section 156(c) Application; and (xv) the Responsible Individual
                             19   Application (collectively, the “Emergency First Day Motions”).
                             20           Specifically, the relief requested in the Emergency First Day Motions is necessary, to among
                             21   other things, protect the interests of the Debtors’ employees and customers, to avoid disruption to their
                             22   operations, to maintain the cash management systems, and to maintain public programs (most of which
                             23   are mandated by statute or regulation) during the pendency of the Chapter 11 Cases. The relief
                             24   requested in the Emergency First Day Motions is designed to prevent unnecessary disruptions in the

                             25   operations of the Debtors’ businesses generally, and all of such relief is necessary to preserve and
                             26   maximize the value of the Debtors’ estates and operations for the benefit of all parties in interest.
                             27
                             28
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                              1          Accordingly, for the reasons set forth herein, I respectfully submit that the relief requested in
                              2   the Motion to Shorten is necessary and appropriate, is in the best interests of their estates and all
                              3   parties in interest, and should be granted.
                              4          For the reasons set forth in the Emergency First Day Motions and herein, the relief requested in
                              5   the Emergency First Day Motions is essential to avoid the disruption of operations and to promote the
                              6   Debtors’ smooth transition into chapter 11 for the benefit of all parties in interest.
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